Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 1 of 227 PageID:
                                  60346




                         Exhibit 1
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   Article


   Perineal Powder Use and Risk of Ovarian Cancer
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   Background         Case-control studies have reported an increased risk of ovarian cancer among talc users; however, the only
                      cohort study to date found no association except for an increase in serous invasive ovarian cancers. The purpose
                      of this analysis was to assess perineal powder use and risk of ovarian cancer prospectively in the Women’s Health




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                      Initiative Observational Study cohort.

      Methods         Perineal powder use was assessed at baseline by self-report regarding application to genitals, sanitary napkins,
                      or diaphragms and duration of use. The primary outcome was self-reported ovarian cancer centrally adjudicated
                      by physicians. Cox proportional hazard regression was used to estimate risk, adjusting for covariates, including
                      person-time until diagnosis of ovarian cancer (n = 429), death, loss to follow-up, or September 17, 2012. All statisti-
                      cal tests were two-sided.

        Results       Among 61 576 postmenopausal women, followed for a mean of 12.4 years without a history of cancer or bilateral
                      oophorectomy, 52.6% reported ever using perineal powder. Ever use of perineal powder (hazard ratio [HR]adj =
                      1.06, 95% confidence interval [CI] = 0.87 to 1.28) was not associated with risk of ovarian cancer compared with
                      never use. Individually, ever use of powder on the genitals (HRadj = 1.12, 95% CI = 0.92 to 1.36), sanitary napkins
                      (HRadj = 0.95, 95% CI = 0.76 to 1.20), or diaphragms (HRadj = 0.92, 95% CI = 0.68 to 1.23) was not associated with
                      risk of ovarian cancer compared with never use, nor were there associations with increasing durations of use.
                      Estimates did not differ when stratified by age or tubal ligation status.

    Conclusion        Based on our results, perineal powder use does not appear to influence ovarian cancer risk.

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   In 2013, it is estimated that there will be 22 240 new cases of ovarian     of 1.40 (95% confidence interval [CI] = 1.29 to 1.52) for popula-
   cancer and 14 030 ovarian cancer deaths in the United States (US) alone     tion-based case-control, 1.12 (95% CI = 0.92 to 1.36) for hospital
   (1). Since the 1960s, there has been speculation that the use of perineal   based case-control, and 1.35 (95% CI = 1.26 to 1.46) for all case-
   powder is associated with ovarian cancer. In 2006, the International        control studies (2). More recently, a large pooled analysis found
   Agency for Research on Cancer (IARC) reviewed studies examining             that ever use of perineal powder increased epithelial ovarian cancer
   perineal powder use and ovarian cancer and classified talc as a possible    risk by 24% compared with non-use (OR = 1.24, 95% CI = 1.15 to
   carcinogen (2,3). The proportion of US women ever using talc pow-           1.33) (8). Increased risk was associated with invasive serous, endo-
   der on the perineum was estimated in 2001 to be approximately 40%           metrioid, clear cell, and borderline serous subtypes of epithelial
   (4), whereas 52% reported ever use of perineal powder in 1993–1998          ovarian cancer (8). However, when looking at the lifetime number
   within the Women’s Health Initiative (WHI) (5).                             of applications of perineal powder, there was no statistically sig-
       The primary proposed mechanism linking perineal powder                  nificant trend for increasing applications, attributed to difficulty
   use to ovarian cancer is an inflammatory response (6). Talc par-            in recalling details of frequency and duration of perineal powder
   ticulates from perineal application have been shown to migrate              use (8).
   to the ovaries (6), disrupting the surface ovarian epithelial tissue            To date there has only been one prospective study conducted
   leading to entrapment of the talc particles within inclusion cysts          examining perineal powder use and risk of ovarian cancer (9). In
   (7). Furthermore, tubal ligation and/or hysterectomy, which would           the Nurses’ Health Study (NHS) cohort, no overall association was
   eliminate the pathway of talc particulates to the ovaries, are associ-      found between ever use of perineal powder and epithelial ovarian
   ated with reduced ovarian cancer risk (6).                                  cancer (relative risk [RR] = 1.09, 95% CI = 0.86 to 1.37) or serous
       A meta-analysis examining the risk of ovarian cancer among              ovarian cancers (RR = 1.26, 95% CI = 0.94 to 1.69) (9). However,
   ever perineal powder users vs non-users showed odds ratios (ORs)            there was a 40% (95% CI = 1.02 to 1.91) increase in risk for serous


   jnci.oxfordjournals.org                                                                                                  JNCI | Article 1 of 6
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 3 of 227 PageID:
                                  60348
 invasive ovarian cancer with ever perineal powder use, which com-        and duration was the maximum duration reported of any single
 prises 86% of serous ovarian cancers in this cohort (9).                 area of application, because we could not exclude the possibility
     Limitations of recall bias and misclassification make it difficult   that applications were concurrent. Lastly, all possible combinations
 to determine the true relationship between perineal powder (10),         of the three application areas were assessed.
 a commonly used cosmetic product, and ovarian cancer, a disease
 with poor survival and few known modifiable risk factors. The            Outcome Ascertainment
 prior prospective cohort study, which should not be affected by          Ovarian cancer cases were initially self-reported by participants in
 recall bias, had no information on duration of use limiting inter-       the WHI-OS on annual questionnaires. Medical records, includ-
 pretation. Here we expand on the available evidence by assessing         ing hospital discharge summaries and pathology reports, were
 perineal powder use and risk of ovarian cancer in the Women’s            requested for each self-reported case and adjudicated by a physi-
 Health Initiative Observational Study (WHI-OS). The WHI-OS               cian at the local Clinical Center and then centrally by the WHI’s
 is a large cohort that collected information on several application      Clinical Coordinating Center (11).
 areas of perineal powder use and their respective durations of use.
                                                                          Covariate Ascertainment
                                                                          Potential covariates considered included age, race, education, alco-
 Methods                                                                  hol servings per week, smoking status, metabolic equivalent (MET)
 Study Population                                                         hours per week of recreational physical activity, Body Mass Index
 The WHI-OS enrolled 93 676 women from 40 clinical centers                (BMI), and self-reported family history of ovarian or breast can-




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 across the United States from 1993 to 1998 (11). Women were eli-         cer. Reproductive factors considered were age at menarche, age at
 gible if they were aged 50 to 79 at enrollment, postmenopausal, and      menopause, age at first birth, age at last birth, parity, breastfeeding
 planned to reside in the area for at least three years (11). Women       duration, history of tubal ligation, history of hysterectomy, history
 were excluded from the WHI-OS if they were participating in              of irregular cycles, history of endometriosis, duration of oral con-
 another clinical trial, unlikely to survive three years due to medi-     traceptive use, and duration of postmenopausal hormone use. All
 cal conditions, or had conditions that would interfere with study        covariates were from baseline and were not updated.
 participation (11). Participants completed annual mailed question-
 naires to update information on risk factors and outcomes, includ-       Statistical Analysis
 ing ovarian cancer (11). Written informed consent was obtained           To estimate the association between perineal powder use and
 from participants, and all clinical centers were approved by their       ovarian cancer, proportional hazard regression models were used.
 respective institutional review boards (11). The current analysis        Participants contributed person-time until diagnosis of ovarian
 was approved by the University of Massachusetts, Amherst Human           cancer, death, loss to follow-up, or September 17, 2012, whichever
 Subjects Review Committee.                                               came first. Participants with other cancers were still considered at
    For this analysis, participants were additionally excluded if         risk for ovarian cancer and were not censored at the time of other
 they reported a bilateral oophorectomy or an unknown number              cancer diagnoses. Information on incident oophorectomy during
 of ovaries at baseline (n = 20 960), a history of any cancer at base-    follow-up was not available and thus participants were not cen-
 line except nonmelanoma skin cancer (n = 10 622), or were missing        sored in this analysis. The proportional hazards assumption was
 exposure or follow up information (n = 516). After applying the          tested using weighted Schoenfeld residuals.
 exclusion criteria, 61 576 participants with 429 adjudicated incident        Covariates were included in the adjusted model according to
 ovarian cancer cases remained.                                           purposeful selection, where covariates with Wald P values of .25
                                                                          or less in age-adjusted models were entered into an initial multi-
 Exposure Ascertainment                                                   variable model and then each covariate was subsequently tested
 Perineal powder use was assessed via self-report at baseline.            individually via likelihood ratio tests in order of decreasing Wald P
 Participants were asked, “Have you ever used powder on your pri-         values. Variables that had P values of .10 or less during the backwards
 vate parts (genital areas)?” Those who responded yes further indi-       elimination were kept in the model until a parsimonious model was
 cated the duration of use with the following possible responses:         obtained. Additional variables shown in previous literature (8,9) but
 less than 1 year, 1–4 years, 5–9 years, 10–19 years, or 20 or more       not statistically significant in our population were also included in
 years. For persons that reported ever use of a diaphragm, partici-       the final multivariable model. Lastly, family history of breast cancer
 pants were asked, “Did you ever use powder on your diaphragm?”           and personal history of endometriosis did not change estimates and
 and those who responded yes further indicated duration. The third        were not included in the final multivariable model.
 category evaluated was “Did you ever use powder on a sanitary                Models fitted included the following independent variables:
 napkin or pad?” with those responding yes also reporting dura-           1) combined ever perineal powder use, 2) ever powder use by
 tion. Each area of application variable was assessed dichotomously       application area (ie, applied to genitals, applied to diaphragm, or
 and the duration of use, collapsed into fewer categories because of      applied to sanitary napkins), 3) duration of use by application area,
 small numbers, was assessed categorically as never, 9 years or less,     and 4) application area combinations (ie, genital only, diaphragm
 or 10 or more years. A combined ever perineal powder variable and        only, sanitary napkin only, genital and sanitary napkin, genital and
 duration variable for any powder use was created; where ever use         diaphragm, diaphragm and sanitary napkin, and all three areas
 was defined as report of ever use of any of the three application        of application). For duration models, test for trend was used to
 categories, never was report of never use for all three categories,      evaluate linear trends across duration categories by modeling the

 2 of 6   Article   |   JNCI                                                                     Vol. 106, Issue 9 | dju208 | September 10, 2014
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 4 of 227 PageID:
                                  60349
  categories as a continuous variable in the multivariable regression              Table 1. Characteristics of postmenopausal women according to
  models.                                                                          perineal powder use status (n = 61 285): Women’s Health Initiative
                                                                                   Observational Study, 1993–2012
      Because powder particles may not reach the ovaries due to tubal
  ligation and because previous studies have shown a stronger asso-                                            Never perineal          Ever perineal
  ciation between powder use and ovarian cancer in women without                                                powder use             powder use
  tubal ligation (4), we separately examined women without tubal                   Characteristic, n (%)          n = 29 066             n = 32 219
  ligation. We also stratified by age at baseline, because older women             Race
  may have had more potential for exposure to talc contaminated                      White                        24 006 (82.6)         27 336 (84.8)
  with asbestos. Additionally, associations by ovarian cancer histo-                 Nonwhite                       4991 (17.2)          4811 (14.9)
  logical subtype were evaluated. All analyses were performed using                Body mass index category, kg/m2
                                                                                     <25.0                        13 056 (44.9)         12 461 (38.7)
  Stata v.12.1 (StataCorp, College Station, TX) and two-sided P val-
                                                                                     25.0–29.9                      9734 (33.5)         10 799 (33.5)
  ues of .05 or less were considered statistically significant.                      30.0 +                         5935 (20.4)          8571 (26.6)
                                                                                   Smoking status
                                                                                     Never                        15 347 (52.8)         15 621 (48.5)
  Results                                                                            Past                         11 481 (39.5)         14 339 (44.5)
                                                                                     Current                        1912 (6.6)           1881 (5.8)
  The average age of the participants at baseline was 63.3 years.
                                                                                   Duration of oral contraceptive use, y
  Participants were followed for a mean of 12.4 years; never powder                  Never                        17 877 (61.5)         17 954 (55.7)
  users were followed for a mean of 12.2 years (range = 0.12 to 17.9




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                                                                                     <5                             6241 (21.5)          7858 (24.4)
  years) and ever powder users were followed for a mean of 12.6 years                5 to <10                       2528 (8.7)           3270 (10.2)
  (range = 0.03 to 18.0). The majority of the participants were white                10 to <15                      1650 (5.7)           2125 (6.6)
                                                                                     15+                             760 (2.6)           1005 (3.1)
  (83.7%), had less than a college degree (56.1%), and were over-
                                                                                   Diaphragm use                  10 826 (37.3)         16 353 (50.8)
  weight/obese (57.2%). Approximately half (52.6%) of the popula-                  Tubal ligation                   4929 (17.0)          5901 (18.3)
  tion reported ever use of perineal powder. Ever powder users were                Hysterectomy                     6878 (23.7)          8285 (25.7)
  heavier (27.5 kg/m2 vs 26.5 kg/m2, P < .0001) and were more likely               Family history of ovarian         606 (2.1)             660 (2.1)
  to have used oral contraceptives (44% vs 36%, P < .0001) and/or                    cancer
                                                                                   Parity
  diaphragms (50.8% vs 37.3 %, P < .0001) than never users (Table 1).
                                                                                     0                              3687 (12.7)          3769 (11.7)
      Use of powder on the genitals was associated with a 12%                        1–2                            9773 (33.6)         11 585 (36.0)
  increase in the multivariable-adjusted hazard ratio of ovarian cancer              3–4                           11 101 (38.2)        12 609 (39.1)
  (HRadj = 1.12, 95% CI = 0.92 to 1.36), though this was not statistically           5+                             4365 (15.0)          4098 (12.7)
  significant (Table 2). Use of powder on sanitary napkins (HRadj = 0.95,          Age at last birth, y
                                                                                     Never had term                 6219 (21.4)          6260 (19.4)
  95% CI = 0.76 to 1.20) or diaphragms (HRadj = 0.92, 95% CI = 0.68
                                                                                     pregnancy
  to 1.23) also was not associated with risk. Duration of powder use on              < 20                            210 (0.7)             324 (1.0)
  the genitals, sanitary napkins, or on the diaphragm was not associated             20–29                          9143 (31.5)         11480 (35.6)
  with ovarian cancer; Ptrend for years of use: .67, .69, and .67 respectively.      30+                          13 011 (44.8)         13 668 (42.4)
  Combined ever powder use from any of the three application areas                 Duration of postmenopausal hormone use, y
                                                                                     Never                        13 381 (46.0)         13 880 (43.1)
  did not show an association with ovarian cancer risk (HRadj = 1.06,
                                                                                     <5                             6498 (22.4)          7546 (23.4)
  95% CI = 0.87 to 1.28). For combined duration of use, which was the                5 to <10                       3783 (13.0)          4567 (14.2)
  longest duration of use among the three areas of application, there                10 to <15                      2688 (9.3)           3128 (9.7)
  was no evidence of an association with risk of ovarian cancer [Ptrend for          15+                            2716 (9.3)           3097 (9.6)
  years of use: .77]. Use of powder on genitals, the most common appli-
  cation area, for 20 or more years was not associated with increased              50 to 59 years = 1.29, 95% CI = 0.91 to 1.82; HRadj for those 60 to
  risk of ovarian cancer compared with never users (HRadj = 1.10, 95%              69 years = 0.94, 95% CI = 0.70 to 1.26; and HRadj for those 70 to
  CI = 0.82 to 1.48). In a sensitivity analysis, invasive serous ovarian           79 years = 1.01, 95% CI = 0.68 to 1.48. When restricted to only
  cancer risk was not increased (HRadj = 0.96, 95% CI = 0.65 to 1.41),             whites or to those who had never used oral contraceptives, results
  even in women reporting durations of use greater than 10 years.                  were again unchanged.
      There was no evidence of an association between perineal pow-
  der use and ovarian cancer risk by category of application (Table 3).
  Combined ever powder use was not associated with individual                      Discussion
  subtypes of ovarian cancer (Table 4). The multivariable-adjusted                 In this large prospective study, ever perineal powder use was not
  hazard ratio for serous ovarian cancer was 1.16 (95% CI = 0.88                   associated with ovarian cancer risk, nor was it associated with ovar-
  to 1.53). Additionally, duration of combined ever powder use was                 ian cancer when assessed by area of application, duration of use,
  also not shown to be associated with any subtype of ovarian cancer               or ovarian cancer subtype. While many case-control studies have
  (results not shown).                                                             shown an approximately 24–40% increase in risk of ovarian cancer
      The associations of combined ever powder use and ovarian can-                (2,8) for powder users, we did not find evidence of this association
  cer did not statistically differ by tubal ligation status (results not           in our large, prospective analysis.
  shown). When stratified by age group at baseline, hazard estimates                  The meta-analysis of 20 case-control studies by Langseth and
  also did not statistically differ (Pinteraction = .37); HRadj for younger than   colleagues found a 35% increase in the odds of epithelial ovarian

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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 5 of 227 PageID:
                                  60350
 Table 2. Age and multivariable-adjusted hazard ratios of ovarian cancer by area of perineal powder application (n = 61 576): Women’s
 Health Initiative Observational Study, 1993–2012

                                                                                    Age-adjusted HR                                 Multivariable HR*
 Variable                         No. of cases            Person-years                   (95% CI)                 Ptrend †               (95% CI)                 Ptrend †
 Powder use on genitals
   Never                        247                        457 855                  1.0 (referent)                .63               1.0 (referent)                .67
   Ever‡                        181                        304 867                  1.13 (0.93 to 1.37)                             1.12 (0.92 to 1.36)
   Less than 9 years            112                        173 118                  1.24 (0.99 to 1.55)                             1.23 (0.98 to 1.54)
   10 or more years              68                        129 647                  0.98 (0.75 to 1.29)                             0.98 (0.75 to 1.29)
 Powder use on sanitary napkins
   Never                        336                        590 351                  1.0 (referent)                .70               1.0 (referent)                .69
   Ever‡                         93                        172 712                  0.96 (0.76 to 1.21)                             0.95 (0.76 to 1.20)
   Less than 9 years             62                        114 305                  0.98 (0.75 to 1.28)                             0.96 (0.73 to 1.26)
   10 or more years              30                         56 174                  0.93 (0.64 to 1.35)                             0.95 (0.65 to 1.37)
 Powder use on diaphragm
   Never                        373                        661 239                  1.0 (referent)                .78               1.0 (referent)                .67
   Ever‡                         52                         97 714                  0.94 (0.70 to 1.25)                             0.92 (0.68 to 1.23)
   Less than 9 years             35                         67 468                  0.93 (0.66 to 1.32)                             0.91 (0.64 to 1.30)
   10 or more years              17                         29 202                  0.99 (0.61 to 1.60)                             0.95 (0.58 to 1.56)




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 Combined ever powder use§
   Never                        197                        361 583                  1.0 (referent)                .67               1.0 (referent)                .77
   Ever‡                        232                        404 983                  1.07 (0.89 to 1.30)                             1.06 (0.87 to 1.28)
   Less than 9 years            135                        228 931                  1.12 (0.90 to 1.39)                             1.09 (0.88 to 1.36)
   10 or more years              97                        173 307                  1.03 (0.81 to 1.31)                             1.02 (0.80 to 1.30)

 * Adjusted for: Age (continuous), race (white, nonwhite, missing), oral contraceptive duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), hormone
   replacement therapy duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), family history (yes, no, missing), age (y) at last birth (never, <20, 20 to <30,
   30+, missing), body mass index in kg/m2 (<25.0, 25.0 to <30.0, 30.0+, missing), smoking (never, past, current, missing), tubal ligation (yes, no, missing), and parity
   (0, 1 to 2, 3 to 4, 5+, children, missing).
 † Hazard ratios (HRs) and 95% confidence intervals (CIs) were estimated in cox proportional hazard regression models; Ptrend was estimated by modeling categories
   as continuous. All statistical tests were two-sided.
 ‡ Person-years may not add up; duration information was missing for some.
 § Combined ever powder use is the longest duration of use among the applications to genitals, sanitary napkins, and diaphragms.


 Table 3. Age and multivariable-adjusted hazard ratios for ovarian cancer by combined categories of powder use (n = 61 576): Women’s
 Health Initiative Observational Study, 1993–2012

                                                                                                                     Age-adjusted HR*                Multivariable HR*
 Variable                                                           No. of cases            Person-years                     (95% CI)                      (95% CI)
 Powder Type Used
   No powder                                                             193                    355 523              1.0 (referent)                  1.0 (referent)
   Only genital powder                                                    96                    158 130              1.14 (0.90 to 1.46)             1.13 (0.88 to 1.45)
   Only diaphragm powder                                                  19                     42 367              0.82 (0.51 to 1.32)             0.80 (0.50 to 1.29)
   Only sanitary napkin powder                                            28                     50 051              1.04 (0.70 to 1.54)             1.01 (0.68 to 1.50)
   Genital and sanitary napkin powder                                     55                     96 173              1.09 (0.80 to 1.47)             1.08 (0.80 to 1.46)
   Genital and diaphragm powder                                           24                     29 858              1.49 (0.98 to 2.28)             1.45 (0.95 to 2.23)
   Diaphragm and sanitary napkin powder                                    4                      6858               1.06 (0.40 to 2.86)             1.02 (0.38 to 2.74)
   Genital, diaphragm, and sanitary napkin powder                          5                     18 331              0.51 (0.21 to 1.24)             0.50 (0.21 to 1.22)

 * Hazard ratios (HRs) and 95% confidence intervals (CIs) were estimated in cox proportional hazard regression models. All statistical tests were two-sided.
   Multivariable HR adjusted for: age (continuous), race (white, nonwhite, missing), oral contraceptive duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing),
   hormone replacement therapy duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), family history (yes, no, missing), age (y) at last birth (never, <20, 20
   to <30, 30+, missing), body mass index in kg/m2 (<25.0, 25.0 to <30.0, 30.0+, missing), smoking (never, past, current, missing), tubal ligation (yes, no, missing),
   and parity (0, 1 to 2, 3 to 4, 5+, children missing).


 cancer among ever perineal powder users compared to never-users                       of perineal powder use, though they were able to capture both fre-
 (2), and the pooled analysis of eight case-control studies by Terry and               quency and duration (8), whereas we only had duration. Terry and
 colleagues found a 24% increase in the same group (8). Langseth and                   colleagues found elevated risks for invasive serous, borderline serous,
 colleagues did not assess dose-response or risk among subtypes of                     endometrioid, and clear cell subtypes of ovarian cancer (8), which
 ovarian cancer (2). Terry and colleagues assessed lifetime applications               we did not observe. One potential reason that case-control studies
 of perineal powder and found no statistically significant trend with                  have found slight increases in risk is the potential for an overestima-
 increasing lifetime applications (8). This corroborates our results                   tion of the true association due to recall bias, because the partici-
 that there was no statistically significant risk with increasing duration             pants are aware of their ovarian cancer status when reporting powder



 4 of 6   Article   |   JNCI                                                                                      Vol. 106, Issue 9 | dju208 | September 10, 2014
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 6 of 227 PageID:
                                  60351
  Table 4. Age and multivariable-adjusted hazard ratios for combined ever powder use by subtype of ovarian cancer (n = 61 576): Women’s
  Health Initiative Observational Study, 1993–2012

                                                                                                             Age-adjusted HR*                             Multivariable HR*
  Variable                        No. of cases                         Person-years                                (95% CI)                                     (95% CI)
  Serous†
    Never                               87                                355 523                            1.0 (referent)                               1.0 (referent)
    Ever                               117                                404 983                            1.18 (0.89 to 1.56)                          1.16 (0.88 to 1.53)
  Serous Invasive
    Never                               80                                355 523                            1.0 (referent)                               1.0 (referent)
    Ever                               105                                404 983                            1.16 (0.87 to 1.55)                          1.13 (0.84 to 1.51)
  Mucinous
    Never                                12                               355 523                            1.0 (referent)                               1.0 (referent)
    Ever                                 13                               404 983                            0.98 (0.44 to 2.14)                          1.03 (0.47 to 2.27)
  Endometrioid
    Never                               13                                355 523                            1.0 (referent)                               1.0 (referent)
    Ever                                20                                404 983                            1.39 (0.69 to 2.79)                          1.29 (0.64 to 2.61)
  Other
    Never                               47                                355 523                            1.0 (referent)                               1.0 (referent)
    Ever                                54                                404 983                            1.04 (0.71 to 1.54)                          1.04 (0.70 to 1.54)




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  * Hazard ratios (HRs) and 95% confidence intervals (CIs) were estimated in cox proportional hazard regression models. All statistical tests were two-sided. Multivariable
    HR adjusted for: age (continuous), race (white, nonwhite, missing), oral contraceptive duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), hormone
    replacement therapy duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), family history (yes, no, missing), age (y) at last birth (never, <20, 20 to <30, 30+,
    missing), body mass index in kg/m2 (<25.0, 25.0 to <30.0, 30.0+, missing), smoking (never, past, current, missing), tubal ligation (yes, no, missing), and parity (0, 1 to 2,
    3 to 4, 5+, children missing).
  † Includes borderline cancers.


  exposure. The prospective nature of our study would eliminate the                        eliminates recall bias, it does not eliminate potential for nondif-
  potential for recall bias. Additionally, the case-control studies tended                 ferential misclassification of the exposure. Women still needed to
  to have a younger population than our study, which included both                         recall past perineal powder use and duration and thus may have
  premenopausal and postmenopausal ovarian cancers (2,8), whereas                          trouble recollecting specifics regarding the use of perineal powder,
  the WHI cohort consisted only of postmenopausal ovarian cancers.                         leading to a bias toward the null. Information regarding powder
  Ovarian cancer that occurs prior to menopause may have a different                       use was not collected after baseline, and there is potential for never
  etiology than ovarian cancer occurring afterwards.                                       users to begin using powder; however, this is unlikely because the
      We found similar results to that of the NHS, the only other                          women are postmenopausal, reducing need to use perineal powder
  prospective cohort, which had a similar sample size and number                           on diaphragms or sanitary napkins. We also had no specific data
  of ovarian cancer cases to our study. Ever use of perineal powder                        regarding the frequency of powder use in our sample. Frequency of
  did not appear to be associated with ovarian cancer in the NHS (9),                      use, as well as duration may influence ovarian cancer risk. We may
  similar to our findings. The results of Gertig and colleagues were                       have been comparing long-term infrequent users with short-term
  also null for use on the genitals and for use on sanitary napkins (9).                   frequent users. If we had frequency of use in addition to the dura-
  Additionally, neither our study nor the NHS found associations with                      tion, we could have looked at intensity of use, which may be more
  serous ovarian cancer, endometrioid, or mucinous ovarian cancers,                        accurate, and shown a dose response relationship. However, Terry
  although subgroup sample size may have reduced statistical power to                      and colleagues did not find a dose response relationship either
  test these associations. In contrast to our results, the study by Gertig                 when taking into account frequency and duration (8).
  and colleagues found a 40% increase in invasive serous ovarian can-                          When restricted to women without tubal ligation status, the
  cer among ever powder users compared with never powder users (9).                        estimates for the association between combined ever perineal pow-
      Strengths of our study included large sample size with a substan-                    der use and ovarian cancer were not increased. While some studies
  tial number of ovarian cancer cases, a prospective cohort design,                        have found stronger associations between powder use and ovarian
  good case ascertainment, and detailed information on most ovarian                        cancer in women that have not undergone a tubal ligation (4), the
  cancer risk factors. We also had information on duration of powder                       results from our study did not support this previous finding. The
  use, qualifiers not available in several earlier studies, including the                  pooled analysis (8) and the NHS cohort (9) also did not find evi-
  previous cohort study (2,8,9).                                                           dence of stronger associations in women without tubal ligations.
      One potential limitation of our analyses includes a lack of infor-                       While we had information on duration of use, it is unknown
  mation regarding oophorectomy after baseline, which would result                         during which years the perineal powder was used. Talc powder
  in the inclusion of some women not at risk for ovarian cancer in                         had potential for asbestos contamination (13) until 1976, when the
  the analytical cohort. However, the impact was likely to be minor,                       Cosmetic, Toiletry, and Fragrance Association required all cosmetic
  as a previous study in the WHI-OS had reported the number of                             talc products to be free of asbestos (14). Therefore, those using
  persons with incident bilateral oophorectomies to be less than 250                       powder prior to 1976 may have been potentially exposed to asbes-
  (out of more than 90 000 participants) during nearly eight years of                      tos, a known carcinogen. The pooled analysis and meta-analysis
  follow-up (12). While the prospective nature of the study design                         also included case-control studies not within the United States


  jnci.oxfordjournals.org                                                                                                                           JNCI | Article 5 of 6
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 7 of 227 PageID:
                                  60352
 (2,8), which potentially have different regulations regarding per-                       characteristics of participants and reliability of baseline measures. Ann
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 include exposure to contaminated perineal powder (2). However,
                                                                                          conservation with hysterectomy: cardiovascular disease, hip fracture, and
 risk estimates in more recent studies are similar to earlier studies                     cancer in the Women’s Health Initiative Observational Study. Archives of
 (2), reducing the likelihood that confounding by asbestos is driv-                       Internal Medicine. 2011;171(8):760–768.
 ing the findings. Additionally, assuming older women in the cohort                   13. Rohl AN, Langer AM, Selikoff IJ, et al. Consumer talcums and pow-
 could have been exposed longer to perineal powder with potential                         ders: mineral and chemical characterization. J Toxicol Environ Health.
                                                                                          1976;2(2):255–284.
 contamination compared with younger women, we did not see sta-
                                                                                      14. Cosmetic Ingredient Review. Safety Assessment of Talc as Used in
 tistically significant differences in risk when stratified by age group,                 Cosmetics [updated April 12, 2013]. Available at: http://www.cir-safety.
 further suggesting asbestos contamination is not a likely explanation.                   org/sites/default/files/talc032013rep.pdf. Accessed September 5, 2013.
     The WHI-OS queried general perineal powder use rather
 than talc powder use, and we had no specific information regard-                    Funding
 ing the content of talc in products used, which the previous                        The WHI programs is funded by the National Heart, Lung, and Blood
                                                                                     Institute, National Institutes of Health, US Department of Health and Human
 literature reviewed by IARC suggested to be the possible car-
                                                                                     Services through contracts HHSN268201100046C, HHSN268201100001C,
 cinogen of concern (2). However, the NHS cohort and most                            HHSN268201100002C, HHSN268201100003C, HHSN268201100004C.
 studies included within the pooled analyses asked about general
 perineal powder use as well (2,8,9). In summary, perineal powder                    Notes
 use did not appear to be associated with ovarian cancer risk in




                                                                                                                                                                      Downloaded from http://jnci.oxfordjournals.org/ by Tram Nguyen on October 13, 2014
                                                                                       WHI Investigators:
 this large sample of postmenopausal women, even with use for                          Program Office: (National Heart, Lung, and Blood Institute, Bethesda, MD)
 long durations.                                                                     Jacques Rossouw, Shari Ludlam, Dale Burwen, Joan McGowan, Leslie Ford, and
                                                                                     Nancy Geller.
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 6 of 6   Article   |   JNCI                                                                                  Vol. 106, Issue 9 | dju208 | September 10, 2014
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 8 of 227 PageID:
                                  60353




                         Exhibit 2
ase 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 9 of 227 PageID
        7                        60354        ofOccupational
                                      Section of Occupational Medicine 295



                                                             Meeting January 14
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                                                             President's Address
                           Disease:
      The Environment and Disease:                           observed association to a verdict of causation?
      Association or Causation?                              Upon what basis should we proceed to do so
                                                                                                     so??
      by Sir Austin Bradford Hill CBE DSC FRCP(hOn) FRS
                                      DSC FRcp(hon)             I have no wish, nor the skill, to embark upon a
                           ofMedical
      (Professor Emeritus of Medical Statistics,             philosophical discussion of the meaning of
                  ofLondon)
       University of London)                                 'causation'. The 'cause' of illness may be imme-
                                                             diate and direct, it may be remote and indirect
                                                             underlying the observed association.
                                                                                         association. But with
      Amongst the objects of this newly-founded Section      the aims of occupational, and almostalnost synony-
      of Occupational Medicine are firstly 'to provide a     mously preventive, medicine in mind the decisive
      means, not readily afforded elsewhere, whereby         question is whether the frequency of the un-
      physicians and surgeons with a special knowledge       desirable event B will be influenced by a change
      of the relationship between sickness and injury        in the environmental feature A. How such a
      and conditions of work may discuss their prob-         change exerts that influence may call for a great
      lems, not only with each other, but also with          deal of research. However, before deducing
      colleagues in other fields, by holding joint meet-     'causation' and taking action we shall not
                                          Society'; and,
      ings with other Sections of the Society';              invariably have to sit around awaiting the
      secondly, 'to make available information about
      secondly,                                              results of that research. The whole chain may
      the physical, chemical and psychological hazards       have to be unravelled or a few links may suffice.
      of occupation, and in particular about those that                            circumstances.
                                                             It will depend upon circumstances.
      are rare or not easily recognized'.
                                                                Disregarding then any such problem in
        At this first meeting of the Section and before,                                situation. Our observa-
                                                             semantics we have this situation.
      with however laudable intentions, we set about         tions reveal an association between two variables,
      instructing our colleagues in other fields, it will    perfectly clear-cut and beyond what we would
      be proper to consider a problem fundamental to         care to attribute to the play of chance. What
      our own. How in the first place do we detect           aspects of that association should we especially
      these relationships between sickness, injury and       consider before deciding that the most likely
      conditions of work? How do we determine what           interpretation of it is causation?
      are physical, chemical and psychological hazards
      of occupation, and in particular those that are            Strength. First upon my list I would put the
                                                             (1) Strength.
      rare and not easily recognized?                                         association. To take a very old
                                                             strength of the association.
                                                             example, by comparing the occupations of
           There are, of course, instances in which we       patients with scrotal cancer with the occupations
        can reasonably answer these questions from the       of patients presenting with other diseases,
        general body of medical knowledge. A particular,     Percival Pott could reach a correct conclusion
        and perhaps extreme, physical environment can-       because of the enormous increase of scrotal
        not fail to be harmful; a particular chemical is     cancer in the chimney sweeps. 'Even as late as the
        known to be toxic to man and therefore suspect       second decade of the twentieth century', writes
        on the factory floor. Sometimes, alternatively,      Richard Doll (1964), 'the mortality of chimney
        we may be able to consider what might a par-         sweeps from scrotal cancer was some 200 times
       -ticular
        ticular environment do to man, and then see          that of workers who were not specially exposed
        whether such consequences are indeed to be           to tar or mineral oils and in the eighteenth
        found. But more often than not we have no such
        found.                                               century the relative difference is likely to have
        guidance, no such means of proceeding; more          been much greater.'
        often than not we are dependent upon our
        observation and enumeration of defined events          To take a more modern and more general
                                   antecedents. In other
        for which we then seek antecedents.                  example upon which I have now reflected for
        words we see that the event B is associated with     over fifteen years, prospective inquiries into
        the environmental feature A, that, to take a         smoking have shown that the death rate from
        specific example, some form of respiratory illness   cancer of the lung in cigarette smokers is nine to
        is associated with a dust in the environment. In     ten times the rate in non-smokers and the rate in
      - what circumstances can we pass from this             heavy cigarette smokers is twenty to thirty times
ase 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 10 of 227 PageI
                        ofthe
        296 Proceedings of                           60355
                           the Royal Society of Medicine              8

         great. On the other hand the death rate from
      as great.                                               the grounds that the observed association
      coronary thrombosis in smokers is no more than          appears to be slight. There are many occasions in
      twice, possibly less, the death rate in non-            medicine when this is in truth so. Relatively few
      smokers. Though there is good evidence to               persons harbouring the meningococcus fall sick
      support causation it is surely much easier in this      of meningococcal meningitis. Relatively few
      case to think of some features of life that may go      persons occupationally exposed to rat's urine
      hand-in-hand with smoking -— features that might        contract Weil's disease.
      conceivably be the real underlying cause or, at
      the least, an important contributor,
                               contributor, whether it be         Consistency: Next on my list of features to be
                                                              (2) Consistency:
      lack of exercise, nature of diet or other factors.      specially considered I would place the consistency
      But to explain the pronounced excess in cancer of                       association. Has it been repeatedly
                                                              of the observed association.
      the lung in any other environmental terms               observed by different persons, in different places,
      requires some feature of life so intimately linked      circumstances and times?
      with cigarette smoking and with the amount of
                       such a feature should be easily
      smoking that -such                                        This requirement may be of special importance
      detectable. If we cannot detect it or reasonably
      detectable.                                             for those rare hazards singled out in the Section's
      infer a specific one, then in such circumstances I                 reference. With many alert minds at
                                                              terms of reference.
      think we are reasonably entitled to reject the          work in industry today many an environmental
      vague contention of the armchair critic 'you can't      association may be thrown up. Some of them on
                                     feature'.
      prove it, there may be such a feature'.                 the customary tests of statistical significance will
                                                              appear to be unlikely to be due to chance. Never-
         Certainly in this situation I would reject the       theless whether chance is the explanation or
      argument sometimes advanced that what matters           whether a true hazard has been revealed may
      is the absolute difference between the death rates      sometimes be answered only by a repetition of
      of our various groups and not the ratio of one to       the circumstances and the observations.
      other. That depends upon what we want to know.
      other.                                        know.
      If we want to know how many extra deaths from              Returning to my more general example, the
      cancer of the lung will take place through smok-        Advisory Committee to the Surgeon-General of
      ing (i.e. presuming causation), then obviously we       the United States Public Health Service found
      must use the absolute differences between the           the association of smoking with cancer of the
      death rates -               1,000 per year in non-
                       0 -07 per 1,000
                    — 0.07                                    lung in 29 retrospective and 7 prospective
      smoking doctors, 0.57 0'57 in those smoking 1-141-14    inquiries (US Department of Health, Education
                          1 39 for 15-24
      cigarettes daily, 1.39        15-24 cigarettes daily                1964). The lesson here is that broadly
                                                              & Welfare 1964).
           2-27 for 25 or more daily. But it does not
      and 227                                                 the same answer has been reached in quite a wide
      follow here, or in more specifically occupational       variety of situations and techniques. In other
      problems, that this best measure of the effect upon     words we can justifiably infer that the association
      mortality is also the best measure in relation to       is not due to some constant error or fallacy that
      atiology. In this respect the ratios of 8, 20 and 32
      etiology.                                               permeates every inquiry. And we have indeed to
      to 11 are far more informative.
                             informative. It does not, of     be on our guard against that.
      course, follow that the differences revealed by
      ratios are of any practical importance.
                                      importance. Maybe          Take, for instance, an example given by Heady
      they are, maybe they are not; but that is another       (1958). Patients admitted to hospital for opera-
      point altogether.
             altogether.                                      tion for peptic ulcer are questioned about recent
                                                              domestic anxieties or crises that may have pre-
        We may recall John Snow's classic analysis of         cipitated the acute illness. As controls, patients
      the opening weeks of the cholera epidemic of 1854       admitted for operation for a simple hernia are
             1855). The death rate that he recorded in
      (Snow 1855).                                            similarly quizzed. But, as Heady points out, the
      the customers supplied with the grossly polluted        two groups may not be in pari materia. If your
      water of the Southwark and Vauxhall Company             wife ran off with the lodger last week you still
                                                     10,000
      was in truth quite low —- 71 deaths in each 10,000      have to take your perforated ulcer to hospital
      houses. What stands out vividly is the fact that        without delay. But with a hernia you might
                        14 times the figure of 5 deaths per
      the small rate is 14                                    prefer to stay at home for a while -— to mourn (or
      10,000 houses supplied with the sewage-free
      10,000                                                  celebrate) the event. No number of exact repeti-
      water of the rival Lambeth Company.                     tions would remove or necessarily reveal that
                                                              fallacy.
         In thus putting emphasis upon the strength of
       an association we must, nevertheless, look at the        We have, therefore, the somewhat paradoxical
       obverse of the coin. We must not be too ready to       position that the different results of a different
       dismiss a cause-and-effect hypothesis merely on        inquiry certainly cannot be held to refute the
ase 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 11 of 227 PageI
        9                        60356        oj Occupational Medicine
                                      Section of                       297

                evidence; yet the same results from pre-
       original evidence;                                             Specificity: One reason, needless to say, is the
                                                                  (3) Specificity:
       cisely the same form of inquiry will not invariably        specificity of the association, the third character-
       greatly strengthen the original evidence. I would          istic which invariably we must consider. If, as
       myself put a good deal of weight upon similar              here, the association is limited to specific workers
       results reached in quite different ways, e.g..
                                                 e.g. pros-       and to particular sites and types of disease and
       pectively and retrospectively.                             there is no association between the work and
                                                                  other modes of dying, then clearly that is a strong
          Once again looking at the obverse of the coin           argument in favour of causation.
       there will be occasions when repetition is absent
       or impossible and yet we should not hesitate to               We must not, however, over-emphasize the
              conclusions. The experience of the nickel
       draw conclusions.                                                               characteristic. Even in my
                                                                  importance of the characteristic.
       refiners of South Wales is an outstanding                  present example there is a cause and effect rela-
       example. I quote from the Alfred Watson                    tionship with two different sites of cancer -- the
       Memorial Lecture that I gave in 1962 to the                lung and the nose. Milk as a carrier of infection
                    Actuaries:
       Institute of Actuaries:                                    and, in that sense, the cause of disease can pro-
                                                                  duce such a disparate galaxy as scarlet fever,
       `The population at risk, workers and pensioners,
       'The                                                       diphtheria, tuberculosis, undulant fever, sore
                                                                  diphtheria,
                              thousand. During the ten years
       numbered about one thousand.                               throat, dysentery and typhoid fever. Before the
       1929 to 1938, sixteen of them had died from cancer of      discovery of the underlying factor, the bacterial
       the lung, eleven of them had died from cancer of the       origin of disease, harm would have been done by
               sinuses. At the age specific death rates of
       nasal sinuses.                                             pushing too firmly the need for specificity as a
       England and Wales at that time, one might have
       anticipated one death from cancer of the lung (to          necessary feature before convicting the dairy.
       compare with the 16), and a fraction of a death from
       cancer of the nose (to compare with the 11). 11). In all     Coming to modern times the prospective
       other bodily sites cancer had appeared on the death        investigations of smoking and cancer of the lung
                                                                  investigations
                   11 times and one would have expected it to
       certificate 11                                                        cr_iticized for not showing specificity --
                                                                  have been criticized
               10-11 times. There had been 67 deaths from all
       do so 10-11                                                in other words the death rate of smokers is
       other causes of mortality and over the ten years'          higher than the death rate of non-smokers from
       period 72 would have been expected at the national         many causes of death (though in fact the results
              rates. Finally division of the population at risk
       death rates.
                                                                                   1964, do not show that). But here
                                                                  of Doll & Hill, 1964,
       in relation to their jobs showed that the excess of
       cancer of the lung and nose had fallen wholly upon         surely one must return to my first characteristic,
       the workers employed in the chemical processes.            the strength of the association. If other causes of
                                                                                     10, 20 or even 50
                                                                  death are raised 10,                 50%% in smokers
          'More recently my colleague, Dr Richard Doll, has
          `More                                                   whereas cancer of the lung is raised 900-1,000%
                                                                                                            900-1,000 %
       brought this story a stage further. In the nine years      we have specificity -- a specificity in the magnitude
       1948 to 1956 there had been, he found, 48 deaths from      of the association.
       cancer of the lung and 13 13 deaths from cancer of the
       nose. He assessed the numbers expected at normal             We must also keep in mind that diseases may
                                           10 and 0.1.
       rates of mortality as, respectively 10     0 1.            have more than one cause. It has always been
          'In 1923, long before any special hazard had been       possible to acquire a cancer of the scrotum
       recognized, certain changes in the refinery took           without sweeping chimneys or taking to mule-
       place. No case of cancer of the nose has been observed                 Lancashire. One-to-one relationships
                                                                  spinning in Lancashire.
       in any man who first entered the works after that          are not frequent. Indeed I believe that multi-
       year, and in these men there has been no excess of         causation is generally more likely than single
                      lung. In other words, the excess in both
       cancer of the lung.                                        causation though possibly if we knew all the
       sites is uniquely a feature in men who entered the         answers we might get back to a single factor.
       refinery in, roughly, the first 23 years of the present
       century.
       century.
                                                                     In short, if specificity exists we may be able to
          'No causal agent of these neoplasms has been            draw conclusions without hesitation; if it is not
       identified. Until recently no animal experimentation
       identified.                                                apparent, we are not thereby necessarily left
       had given any clue or any support to this wholly           sitting irresolutely on the fence.
                   evidence. Yet I wonder if any of us would
       statistical evidence.
       hesitate to accept it as proof of a grave industrial            Temporality: My fourth characteristic is the
                                                                  (4) Temporality:
       hazard?' (Hill 1962).
                        1962).                                    temporal relationship of the association ---which
                                                                                                               which
                                                                  is the cart and which the horse? This is a question
         In relation to my present discussion I know of           which might be particularly relevant with diseases
                    investigation. We have (or certainly
       no parallel investigation.                                 of slow development. Does a particular diet lead
       had) to make up our minds on a unique event;               to disease or do the early stages of the disease
       and there is no difficulty in doing so.                    lead to those peculiar dietetic habits? Does a
                                                                               0
                                                                               9
ase 3:16-md-02738-MAS-RLS              Document
        298 Proceedings of the Royal Society          9886-3 Filed 05/29/19 Page 12 of 227 PageI
                                             of Medicine                                            10
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        particular occupation or occupational environ-     In short, the association we observe may be
         ment promote infection by the tubercle bacillus              one new to science or medicine and we must not
         or are the men and women who select that kind                dismiss it too light-heartedly as just too odd. As
         of work more liable to contract tuberculosis                 Sherlock Holmes advised Dr Watson, 'when you
         whatever the environment -— or, indeed, have they            have eliminated the impossible, whatever remains,
         already contracted it? This temporal problem                 however improbable, must be the truth.'
         may not arise often but it certainly needs to be
         remembered, particularly with selective factors                  Coherence: On the other hand the cause-and-
                                                                     (7) Coherence:
         at work in industry.                                        effect interpretation of our data should not
                                                                     seriously conflict with the generally known facts
         (5) Biological gradient:
                        gradient: Fifthly, if the association        of the natural history and biology of the disease
         is one which can reveal a biological gradient, or           -— in the expression of the Advisory Committee
         dose-response curve, then we should look most               to the Surgeon-General it should have coherence.
         carefully for such evidence. For instance, the
         fact that the death rate from cancer of the lung               Thus in the discussion of lung cancer the
         rises linearly with the number of cigarettes                Committee finds its association with cigarette
         smoked daily, adds a very great deal to the                 smoking coherent with the temporal rise that has
         simpler evidence that cigarette smokers have a              taken place in the two variables over the last
         higher death rate than non-smokers. That com-               generation and with the sex difference in
         parison would be weakened, though not neces-                mortality -— features that might well apply in an
         sarily destroyed, if it depended upon, say, a much                         problem. The known urban/rural
                                                                     occupational problem.
         heavier death rate in light smokers and a lower             ratio of lung cancer mortality does not detract
         rate in heavier smokers. We should then need to             from coherence, nor the restriction of the effect
         envisage some much more complex relationship                to the lung.
         to satisfy the cause-and-effect hypothesis. The
         clear dose-response curve admits of a simple                   Personally, I regard as greatly contributing to
         explanation and obviously puts the case in a                coherence the histopathological evidence from
         clearer light.                                               the bronchial epithelium of smokers and the
                                                                     isolation from cigarette smoke of factors car-
            The same would clearly be true of an alleged             cinogenic for the skin of laboratory animals.
         dust hazard in industry. The dustier the environ-           Nevertheless, while such laboratory evidence can
         ment the greater the incidence of disease we                enormously strengthen the hypothesis and,
         would expect to see. Often the difficulty is to             indeed, may determine the actual causative agent,
         secure some satisfactory quantitative measure of            the lack of such evidence cannot nullify the
         the environment which will permit us to explore             epidemiological observations in man. Arsenic
         this dose-response.
               dose-response. But we should invariably               can undoubtedly cause cancer of the skin in man
         seek it.                                                    but it has never been possible to demonstrate
                                                                     such an effect on any other animal. In a wider
         (6) Plausibility: It will be helpful if the causation       field John Snow's epidemiological observations on
         we suspect is biologically plausible. But this is a         the conveyance of cholera by the water from the
         feature I am convinced we cannot demand. What               Broad Street pump would have been put almost
         is biologically plausible depends upon the bio-             beyond dispute if Robert Koch had been then
         logical knowledge of the day.                               around to isolate the vibrio from the baby's
                                                                     nappies, the well itself and the gentleman in
          To quote again from my Alfred Watson                       delicate health from Brighton. Yet the fact that
                                1962), there was
         Memorial Lecture (Hill 1962),                               Koch's work was to be awaited another thirty
                                                                     years did not really weaken the epidemiological
        '. . . no biological knowledge to support (or to refute)     case though it made it more difficult to establish
                                    18th century of the excess of
        Pott's observation in the 18th                                                                 — both just and
                                                                     against the criticisms of the day -
        cancer in chimney sweeps. It was lack of biological          unjust.
                            19th that led a prize essayist writing
        knowledge in the 19th
        on the value and the fallacy of statistics to conclude,           Experiment: Occasionally it is possible to
                                                                     (8) Experiment:
                          "absurd" associations, that "it could
        amongst other "absurd"                                       appeal to experimental, or semi-experimental,
                     ridiculous for the stranger who passed the
        be no more ridiculous                                        evidence. For example, because of an observed
        night in the steerage of an emigrant ship to ascribe         association some preventive action is taken. Does
        the typhus, which he there contracted, to the vermin
                                                           vermin
        with which bodies of the sick might be infected". And        it in fact prevent? The dust in the workshop is
        coming to nearer times, in the 20th century there was        reduced, lubricating oils are changed, persons
        no biological knowledge to support the evidence              stop smoking cigarettes. Is the frequency of the
        against rubella.'                                            associated events affected? Here the strongest
ase 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 13 of 227 PageI
         11
         11                      60358Section of
                                              ofOccupational
                                                 Occupational Medicine 299

       support for the causation hypothesis may be               All this has rightly passed into the limbo of
       revealed.                                              forgotten things.                              this:
                                                                         things. What interests me today is this:
                                                              My results were set out for men and women
       (9) Analogy: In some circumstances it would be         separately and for half a dozen age groups in 36
       fair to judge by analogy. With the effects of          tables. So there were plenty of sums. Yet I cannot
       thalidomide and rubella before us we would             find that anywhere I thought it necessary to use a
       surely be ready to accept slighter but similar                 significance. The evidence was so clear-cut,
                                                              test of significance.
       evidence with another drug or another viral            the differences between the groups were mainly so
                  pregnancy.
       disease in pregnancy.                                  large, the contrast between respiratory and non-
                                                              respiratory causes of illness so specific, that no
           Here then are nine different viewpoints from all   formal tests could really contribute anything of
        of which we should study association before we        value to the argument. So why use them?
             causation. What I do not believe -— and this
        cry causation.
        has been suggested -— is that we can usefully lay       Would we think or act that way today?   today ? I
        down some hard-and-fast rules of evidence that        rather doubt it. Between the two world wars there
                   obeved before we accept cause arc'
        must be obeyed                                 ard    was a strong case for emphasizing to the clinician
        effect. None of my nine viewpoints can bring          and other research workers the importance of not
        indisputable evidence for or against the cause-       overlooking the effects of the play of chance upon
        and-effect hypothesis and none can be required        their data. Perhaps too often generalities were
        as a sine qua non. What they can do, with greater     based upon two men and a laboratory dog while
        or less strength, is to help us to make up our        the treatment of choice was deduced from a
        minds on the fundamental question -— is there any     difference between two bedfuls of patients and
        other way of explaining the set of facts before us,   might easily have no true meaning. It was there-
        is there any other answer equally, or more, likely    fore a useful corrective for statisticians to stress,
        than cause and effect?                                and to teach the need for, tests of significance
                                                              merely to serve as guides to caution before draw-
                                                                     conclusion, before inflating the particular
                                                              ing a conclusion,
              ofSignificance
        Tests of Significance                                 to the general.
        No formal tests of significance can answer those
        questions. Such tests can, and should, remind us
        questions.                                               I wonder whether the pendulum has not swung
        of the effects that the play of chance can create,    too far -— not only with the attentive pupils but
        and they will instruct us in the likely magnitude     even with the statisticians themselves. To decline
                   effects. Beyond that they contribute
        of those effects.                                     to draw conclusions without standard errors can
        nothing to the 'proof'
                        'proof' of our hypothesis.
                                       hypothesis.            surely be just as silly? Fortunately I believe we
                                                              have not yet gone so far as our friends in the
           Nearly forty years ago, amongst the studies of     USA where, I am told, some editors of journals
        occupational health that I made for the Industrial    will return an article because tests of significance
        Health Research Board of the Medical Research         have not been applied. Yet there are innumerable
        Council was one that concerned the workers in         situations in which they are totally unnecessary -  —
        the cotton-spinning mills of Lancashire (Hill         because the difference is grotesquely obvious,
        1930). The question that I had to answer, by the
        1930).                                                because it is negligible, or because, whether it be
        use of the National Health Insurance records of       formally significant or not, it is too small to be of
        that time, was this: Do the workers in the card-      any practical importance. What is worse the
        room of the spinning mill, who tend the machines      glitter of the t table diverts attention from the
        that clean the raw cotton, have a sickness experi-    inadequacies of the fare. Only a tithe, and an
        ence in any way different from that of other          unknown tithe, of the factory personnel volunteer
        operatives in the same mills who are relatively       for some procedure or interview, 20 % of patients
        unexposed to the dust and fibre that were             treated in some particular way are lost to sight,
        features of the cardroom? The answer was an           30 % of a randomly-drawn sample are never con-
        unqualified 'Yes'.
                     'Yes'. From age 30 to age 60 the         tacted. The sample may, indeed, be akin to that
        cardroom workers suffered over three times as         of the man who, according to Swift, 'had a mind
        much from respiratory causes of illness whereas       to sell his house and carried a piece of brick in his
              non-respiratory causes their experience was
        from non-respiratory                                  pocket, which he showed as a pattern to en-
        not different from that of the other workers.                    purchasers'. The writer, the editor and
                                                              courage purchasers'.
        This pronounced difference with the respiratory                                               formulae are
                                                              the reader are unmoved. The magic formula;
        causes was derived not from abnormally long           there.
        periods of sickness but rather from an excessive
        number of repeated absences from work of the                        exaggerate. Yet too often I suspect
                                                                Of course I exaggerate.
        cardroom workers.                                     we waste a deal of time, we grasp the shadow and
ase 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 14 of 227 PageI
        300 Proceedings of the Royal Society of      60359
                                             ofMedicine
                                                Medicine             12
                                                                     12

      lose the substance, we weaken our capacity to          to a non-carcinogenic oil in a limited environment
      interpret data and to take reasonable decisions        and without too much injustice if we are wrong.
      whatever the value of P. And far too often we          But we should need very strong evidence before
      deduce `no'no difference' from `no  'no significant    we made people burn a fuel in their homes that
      difference'. Like fire, the x2
      difference'.                X2 test is an excellent    they do not like or stop smoking the
                                                                                                thecigarettes
                                                                                                    cigarettes and
      servant and a bad master.                              eating the fats and sugar that they do like. In
                                                             asking for very strong evidence I would, however,
      The Case for Action                                    repeat emphatically that this does not imply
      Finally, in passing from association to causation      crossing every 't', and swords with every critic,
      I believe in 'real life' we shall have to consider     before we act.
      what flows from that decision.
                                 decision. On scientific        All scientific work is incomplete -- whether it be
      grounds we should do no such thing. The evi-           observational or experimental. All scientific work
      dence is there to be judged on its merits and the      is liable to be upset or modified by advancing
      judgment (in that sense) should be utterly             knowledge. That does not confer upon us a free-
                                                             knowledge.
      independent of what hangs upon it -- or who            dom to ignore the knowledge we already have, or
      hangs because of it. But in another and more           to postponethe action that it appears to demand at
      practical sense we may surely ask what is involved     a given time.
               decision. In occupational medicine our
      in our decision.                                          Who knows, asked Robert Browning, but the
      object is usually -to      action. If this be opera-
                         to take action.                                        tonight?? True, but on available
                                                             world may end tonight
      tive cause and that be deleterious effect, then we     evidence most of us make ready to commute on
      shall wish to intervene to abolish or reduce           the 8.30 next day.
      death or disease.
         While that is a commendable ambition it
      almost inevitably leads us to introduce differen-
      tial standards before we convict. Thus on              REFERENCES
                                                             REFERENCES
      relatively slight evidence we might decide to          Doll R (1964) In: In: Medical Surveys and Clinical Trials. Ed. L J
                                                             Witts. 2nd ed. London; p 333
      restrict the use of a drug for early-morning
                                      early-moMing sick-     Doll R & Hill A B (1964) Brit.               1399, 1460
                                                                                         Brit. med. J. i, 1399,
      ness in pregnant women. If we are wrong in                                  Med. World,
                                                             Heady JJ A (1958) Med.     World, Lond. 89, 305
                                                             Hill A B
      deducing causation from association no great           (1930) Sickness amongst Operatives in Lancashire Spinning Mills.
                                                                                                                            Mills.
      harm will be done. The good lady and the               Industrial Health Research Board Report No. 59. HMSO, London
                                                             (1962) J.  Inst. Actu.
                                                                     J. Inst.           178
                                                                              Actu. 88, 178
      pharmaceutical industry will doubtless survive.        Snow J J (1855) On the Mode of Communication of Cholera.Cholera. 2nd
         On fair evidence we might take action on what       ed. London (Reprinted 1936,1936, New York)
      appears to be an occupational hazard, e.g. we          US Department of Health, Education & Welfare (1964) Smoking
                                                                  Health. Public Health Service Publication No. 1103. Washing-
                                                             and Health.
      might change from a probably carcinogenic
                                          carcinogenic oil   ton
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 15 of 227 PageID:
                                  60360




                         Exhibit 3
                Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 16 of 227 PageID:
                                                  60361




                             REVIEW

                             The evolution of evidence
                             hierarchies: what can Bradford
                             Hill’s ‘guidelines for causation’
                             contribute?
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         DECLARATIONS             ‘A main cause of philosophical disease – a one{sided      before concluding causation. We investigated and
                                  diet: one nourishes one’s thinking with only one          revised the Bradford Hill ‘guidelines for caus-
     Competing interests
                                  kind of example.’ Ludwig Wittgenstein                     ation’, in order to refine our intuitions about
          None declared
                                                                                            whether to believe that intervention is effective.
                 Funding                                                                    Our intention is not to debunk previous attempts
                             Introduction: when non{RCT                                     to grade evidence, but rather to contribute to their
                    None
                             evidence is sufficient to conclude                             natural evolution and development.
        Ethical approval
                             that the intervention caused the
          Not applicable
                             outcome
               Guarantor                                                                    Revising Bradford Hill’s guidelines
                             High quality randomized controlled trials (RCTs)
                       JH
                             (concealed allocation, relevant groups blinded                 We believe that Bradford Hill’s guidelines form a
         Contributorship     and sufficiently powered, etc.) will usually pro-              useful tool as they stand. Nevertheless, they can be
        This paper was a     vide sufficient evidence to establish that a particu-          modified in ways that make them easier to use. For
       truly collaborative   lar treatment caused an outcome. Yet sufficiently              instance, some of the guidelines, such as ‘specifi-
      effort that resulted   well{conducted RCTs are rare.1 Trials can be                   city’ can safely be omitted while others, such as
          from a series of   under{powered,2 or unsuccessfully blinded,3,4 and              ‘experiment’ and ‘strength’ can be combined; still
      meetings attended
                             often suffer from many undetected biases. The re-              others, such as ‘biological plausibility’ can benefit
                             sults of most RCTs are therefore often insufficient            from a more detailed analysis. Moreover, the
     by all three authors.
                             to establish causation. At the same time, RCTs are             guidelines have an inherent structure that is
        JH produced the
                             often not required to establish causation.5 Treat-             unclear in the original exposition. We propose that
     initial draft and was
                             ments including the Heimlich manoeuvre, cardiac                the guidelines be organized into the following
     in charge of revising   defibrillation and parachutes to prevent death6                three categories:
      subsequent drafts.     have never been tested in RCTs, yet their effective-
                                                                                            (1) Direct evidence from studies (randomized or
     PG provided insights    ness is surely strongly supported by evidence.
                                                                                                non{randomized) that a probabilistic
      about the Mother’s        Evidence{grading systems that place random-
                                                                                                association between intervention and
       Kiss example, and     ized trials at the top of a hierarchy7–13 will deliver
                                                                                                outcome is causal and not spurious;
                was also     misleading conclusions in cases where RCTs are in-
                                                                                            (2) Mechanistic evidence for the alleged causal
          instrumental in    sufficient or unnecessary. According to these hierar-
                                                                                                process that connects the intervention and the
     conceptualizing the     chies, trails of homeopathy – often generating
                                                                                                outcome;
                             positive results and generally of higher quality than
       last diagram. JKA                                                                    (3) Parallel evidence that supports the causal
                             RCTs of conventional treatments14 – will be consid-
     was instrumental for                                                                       hypothesis suggested in a study, with related
                             ered to provide strong evidence, whereas the evi-
        the adverse drug                                                                        studies that have similar results.
                             dence base for the Heimlich manoeuvre to unblock
        reaction example
                             airways and parachutes to prevent death will be                   A previous attempt to impose a structure on the
      and also in coming     judged as less strongly supported by evidence.                 guidelines15 may have oversimplified, claiming,
        up with ideas for       Sir Austin Bradford Hill, in a widely{cited ‘pre{           for example, that ‘analogy’ (our ‘similarity’) is a
             revising the    EBM’ system for appraising evidence, suggested                 ‘mechanistic’ consideration (which, as shall
         ‘dose{response’     that several relevant factors must be considered               become clear below, is a category error).




186 J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020
               Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 17 of 227 PageID:
                                                 60362




           The evolution of evidence hierarchies: what can Bradford Hill’s ‘guidelines for causation’ contribute?




   guideline. He was        We use the term ‘guidelines’ over the more com-      ation between two factors is causal rather than
 also responsible for   mon ‘criteria’16–21 because Bradford Hill did not        spurious.
   the suggestion to    regard any of the guidelines as necessary or suf-
   combine and omit     ficient for establishing causation11: ‘. none of
                        these viewpoints can bring indisptuable evidence
                                                                                 Size of effect not attributable to plausible
         some of the
                        for or against a cause{and{effect hypothesis and
                                                                                 confounding
          guidelines
                        equally none can be required as a sine qua non’.22 To    Plausible confounders are factors which are not
Acknowledgements        cite his example, ‘It will be helpful if the causation   directly related to the experimental intervention,
  We are grateful to    we suspect is biologically plausible, though this is a   are unequally distributed between treatment and
Nancy Cartwright for    feature we cannot demand. What is biologically           control groups, and are likely to determine the
    providing useful    plausible depends on the biological knowledge of         outcome. For instance, we might observe that
      insights during   the day.’22 Bradford Hill gave similar warnings          depressed people who exercise recover more
 conversations with
                        about all the other guidelines (except, as we shall      quickly. Is the association between exercise and
                        see, ‘temporality’). Rather than ‘criteria’, they are    more expedient recovery from depressive symp-
        the authors.
                        best viewed as factors to be considered when             toms causal? We cannot answer this question with-
    Members of the
                        assessing whether there is evidence for                  out ruling out potential confounders. Those who
    GRADE working
                        causation, or ‘guidelines’ for short.                    take regular exercise might also (on average) get
   group, especially
                            Aware of detailed descriptions of the original       more sun, eat healthier foods or they might simply
   Roman Jaeschke       guidelines,15,23,24 we shall limit ourselves to          believe more strongly that their depression will go
and Joseph Watine,      describing our re{structured and revised version         away. These other factors, rather than exercise,
     provided useful    (Table 1). We shall then apply the Revised               might cause their speedier recovery.
   feedback. Murray     Bradford Hill Guidelines to real examples of                Different ailments and studies are at risk from
     Enking read an     likely causation despite lack of support from            different confounders, so the judgement of
    earlier draft and   RCTs.                                                    whether plausible confounders have been ruled
      suggested the                                                              out will depend on careful examination of each
example of folic acid                                                            case. For ailments that are responsive to expecta-
                        Direct evidence
   to prevent neural
                                                                                 tions (such as depression and pain) the confound-
                        The first three of the revised guidelines help assess    ing effects of expectations will have to be ruled
        tube defects
                        whether ‘direct’ evidence of a probabilistic associ-     out, which can be achieved by blinding the
                                                                                 patients and caregivers. When the assessment of
  Table 1                                                                        outcomes is prone to influence from observer bias
  Bradford Hill’s original guidelines and proposed revisions                     (such as blood pressure), potential confounding
                                                                                 by variable measurements has to be ruled out,
  Type of               Revised, structured guidelines      Hill’s original      perhaps by standardizing the measurement pro-
  evidence                                                  guidelines           cedure and by blinding the investigators in
                                                                                 charge of collecting the data and evaluating the
  Direct                Size of effect not attributable to  Experiment           outcomes.
                        plausible confounding                                       Yet sometimes the strength of the association
                        Appropriate temporal and/or         Strength
                                                                                 (the size of the effect) will be greater than the
                        spatial proximity (cause precedes
                                                                                 combined effect of plausible confounders. In these
                        effect and effect occurs after a
                        plausible interval; cause occurs at                      cases, although plausible confounders have not
                        the same site as the intervention)                       been ruled by the design of the study, the large
                        Dose{responsiveness and             Temporality          observed effect has swamped the combined effects
                        reversibility                                            of any plausible confounders. For example, the
  Mechanistic           Evidence for a mechanism of         Biological           observed effects of general anaesthesia are un-
                        action (biological, chemical,       gradient             likely to be accountable by selection bias, placebo
                        mechanical)                         Biological           effects or reporting bias. Thus, the failure to test
                                                            plausibility         the effects of general anaesthetics in double{blind,
  Parallel              Coherence                           Coherence
                                                                                 placebo controlled trials should not count against
                        Replicability                       Consistency
                                                                                 our beliefs that they cause reversible loss of
                        Similarity                          Analogy
                                                                                 consciousness.




                                                                                 J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020 187
              Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 18 of 227 PageID:
                                                60363




     Journal of the Royal Society of Medicine




                             Since one should compare the strength of as-          effects of any residual bias. For example, although
                         sociation (size of effect) with the potential degree      most systematic reviews of high quality RCTs of
                         of bias, we have combined these into a single com-        SSRIs suggest that these drugs enjoy a statistically
                         parative guideline to emphasize this intrinsic com-       significant benefit over ‘placebo’,28,29 the absolute
                         parison: is plausible confounding less than the size of   benefit is modest – a recent study suggests it is 6%
                         effect?                                                   (2–9%).30 Yet one often overlooked source of con-
                             A note of caution about strong relative effects       founding in these studies is the identifiable side{
                         (but small absolute effects) must be issued.              effects of the drug. If patients identify the drugs
                         Although ‘weak’ causes may be as real as ‘strong’         because of the side{effects (and independently of
                         causes, it takes fewer (or ‘weaker’) confounders to       their effects on depression), then their expectations
                         account for a small absolute effect than for a large      regarding recovery might be higher than if they
                         absolute effect. We therefore must be more careful        knew they were taking a ‘mere’ placebo. To rule
                         when inferring from a strong relative (but small          out the possible confounding effect of expecta-
                         absolute) effect that an association is causal. At the    tions, ‘active placebos’, which imitate the side{
                         same time, in many cases strong relative effects can      effects of SSRIs need to be employed. A systematic
                         provide strong support for the causal hypothesis.         review of antidepressants versus ‘active’ placebos
                         For instance, although the increased risk for lung        found that the drug less placebo difference was
                         cancer in smokers Bradford Hill cited was ex-             substantially reduced.31 Besides confounding ex-
                         tremely low (0.07 per 1000 for non{smokers, 0.57          pectations, systematic reviews of SSRIs (like most
                         for smokers), the death rate for lung cancer in           systematic reviews) are likely to be confounded to
                         cigarette smokers was over 9 times the rate for           some degree by publication bias,32,33 funding
                         non{smokers and thus provided good evidence for           source bias34 and data mining in the original
                         causation.22                                              studies.35 A careful calculation of the combined
                             Our omission of the ‘experiment’ guideline            effects of these plausible confounders must be
                         should not be interpreted as a sign that any obser-       made before claiming that the systematic reviews
                         vational study will do. Observational studies must        of SSRIs support the claim that the drugs cause the
                         demonstrate larger effects than randomized trials         reduction in depressive symptoms. Such calcula-
                         since they are at risk from selection bias (because       tions have not (to our knowledge) been made, so
                         the allocation to treatment groups is neither ran-        this guideline, unlike current hierarchies, does not
                         domized nor concealed) and performance bias               necessarily support the existence of (non{placebo)
                         (because the participants and caregivers are not          effects of SSRIs.
                         blinded). Whether the effect size in a particular
                         observational study is sufficiently large to rule out
                                                                                   Appropriate temporal and spatial proximity
                         the combined effects of selection and performance
                                                                                   (encompassing and extending Bradford
                         bias will vary from case to case. If investigators
                                                                                   Hill’s ‘Temporality’)
                         conducting an observational study have been vigi-
                         lant in attempts to reduce selection bias (through        ‘Does a particular diet lead to disease or do the
                         careful selection of the control groups and post hoc      early stages of the disease lead to particular
                         adjustments), and the outcome is objective, the           dietetic habits?’22 The temporal part of this guide-
                         observational study might not have to demon-              line is necessary: causes precede their effects and is
                         strate a dramatic effect in order to support              therefore a true criterion. However, we should also
                         causation.25–27 In most other cases, however, the         ask: is the time interval between cause and effect
                         effect in an observational study will have to be          consistent with the supposed mechanism? In
                         dramatic in order to be confident that plausible          general, the shorter the temporal and spatial inter-
                         confounders have been ruled out.5                         val, the less room for confounders (especially
                             In fact, our guideline can be more stringent than     spontaneous remission) to interfere. It is equally
                         current EBM standards of evidence. According to           important, for the time interval between admin-
                         hierarchies of evidence, RCTs with a low risk of          istration of the treatment and cure to agree with the
                         bias often provide sufficient evidence to support         supposed mechanism of the treatment.
                         causation. We require that, in addition to being at           In some cases the spatial proximity between the
                         low risk, the effect size outweighs the combined          site of administration and the outcome (see the oral




188 J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 19 of 227 PageID:
                                    60364




The evolution of evidence hierarchies: what can Bradford Hill’s ‘guidelines for causation’ contribute?




        ulceration example below) may support causality         pothesis, two warnings are in order. Firstly, there is
        – for example, thrombophlebitis at the site of injec-   a difference between merely positing a mechanism
        tion of a cytotoxic drug. Again, the outcome need       (one can find a theory to explain almost anything)
        not be close to where the intervention was admin-       and providing sound evidence that there is a
        istered in order for the relationship to be causal,     causal chain linking the intervention and the out-
        but spatial proximity generally leaves less room        come. Secondly, appeal to mechanistic evidence
        for confounders to interfere.                           has often justified the widespread use of treat-
                                                                ments that turned out to be harmful.40–46 Likewise,
                                                                the absence of a plausible mechanism has often
        Dose responsiveness (Bradford Hill’s
                                                                been used as a justification to ignore useful thera-
        ‘Biological gradient’)
                                                                pies such as antisepsis47 and peptic ulceration.48
        Does the outcome change when the intensity of the       With this in mind, although we believe that mecha-
        intervention is altered (at least if the purported      nistic evidence cannot be ignored, we acknowl-
        mechanism predicts such a relationship)? While          edge that mechanistic evidence should always
        the presence of a dose{response relationship does       play a subsidiary confirmatory role vis-à-vis direct
        not always support causality (this guideline will       evidence.
        not be applicable for ‘all or none’ causes), its
        absence when expected would lead us to doubt cau-
        sality. Strongest ‘dose{response’ evidence comes
        when the process is reversible. For example, the
                                                                Plausible mechanism
        risk of lung cancer is increased in smokers but is      Is there evidence supporting the causal chain link-
        also reduced by a half in those who stop smoking        ing the intervention and the outcome? For
        at the age of 50 years and almost completely            example, trials testing the effect of ACE inhibitors
        abolished in those who stop at the age of 30.36         on reduction in stroke mortality might include evi-
                                                                dence that ACE inhibitors reduce blood pressure,
                                                                that reduced blood pressure reduces the risk of
        Mechanistic evidence
                                                                stroke, and that the reduced incidence of stroke
        Direct evidence does not always tell us how the         reduces mortality. Of course, each ‘step’ in the
        intervention caused the outcome and this makes          causal process is a new ‘black box’. For example,
        the result difficult to generalize.37 What happens in   the link between ACE inhibitors and blood press-
        between the intervention and the outcome is,            ure can be further decomposed into a series of
        as far as this category is concerned, a ‘black box’     steps, until (in a reductionist model) we bottom
        (Figure 1). For example, Doll and Hill’s famous         out at the molecular level. Bradford Hill, no doubt
        study of the relation between the number of ciga-       as an oversight, implied that plausibility was lim-
        rettes smoked and the incidence of lung cancer38        ited to ‘biological plausibility’. Mechanisms of ac-
        did not refer in any way to what happens between        tion can also be mechanical (as in the Mother’s Kiss
        inhalation of cigarette smoke and the development       example below) or chemical (as in the oral ulcera-
        of tumours in the lung. This brings us to the second    tion example below).
        category of guidelines.                                     We can envisage three ‘levels’ of evidential
            Mechanisms play several roles. First, we tend to    support from mechanistic evidence. Firstly, the
        feel more confident about a treatment if the mech-      direct study can also include studies of the causal
        anism can be explained. Moreover, understanding         links between the intervention and the outcome
        the mechanism guides our generalization of a            (Figure 1, top half). A second level of mechanistic
        tightly controlled study to a wider population.         evidence is when the purported mechanism of ac-
        Also, evidence about mechanisms plays a major           tion has been demonstrated in other, independent
        role in generating hypotheses that should be tested     studies (Figure 1, bottom half). For example, separ-
        by ‘direct’ tests. However, these roles of mechan-      ate studies could establish a probable link between
        ism must be clearly distinguished from its distinct     ACE inhibition and lower blood pressure. Obvi-
        potential role in confirming hypotheses.                ously, having evidence for a part of the mechanism
            Although we believe that mechanistic evidence       is not as strong as evidence for all the links in the
        can provide evidential support for a causal hy-         causal chain.




                                                                J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020 189
              Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 20 of 227 PageID:
                                                60365




     Journal of the Royal Society of Medicine




                                                                               ing whether an association is causal it is obviously
       Figure 1
                                                                               necessary to consider all the relevant studies – this
       Direct evidence of probabilistic dependence of outcome on
       intervention + evidence for the causal process*                         is the powerful idea underlying the importance of
                                                                               systematic reviews.



                                                                               Replicability (Bradford Hill’s ‘Consistency’)
                                                                               A study can be replicated, which means that the
                                                                               same intervention is tested on a similar popu-
                                                                               lation, using the same outcome measure. In order
                                                                               to count as a replication, all the elements of the
                                                                               study must be kept constant as far as possible.
                                                                               Replicability is a central tenet of scientific method:
                                                                               if the experiment can be repeated and provides
                                                                               the same results, the chances that the original
                                                                               results arose due to confounding is reduced. If an
                                                                               experiment is not replicable, either something is
                                                                               wrong with the attempt to replicate it or the initial
                                                                               experiment must be questioned.

       *Although Figure 1 illustrates the simple case in which the stages
       of the mechanism are linear, the relationship could be much more
                                                                               Similarity (of the study to other studies)
       complex and include forks, cycles39 and interactions
                                                                               No two studies are absolutely identical, so simi-
                                                                               larities form a spectrum (Figure 2). Broadly speak-
                            The second level of mechanistic evidence is        ing, there are several axes along which studies can
                         closest to Bradford Hill’s ‘Coherence’, and we have   differ. Firstly, the intervention can be different. If
                         kept this guideline separate.                         one NSAID reduced pain, we might have legiti-
                                                                               mately increased confidence that a new, similar
                                                                               drug would also reduce pain (although due cau-
                         Coherence
                                                                               tion would be warranted about potential adverse
                         Does the causal hypothesis cohere with what is        effects of the new drug and the benefit to harm
                         currently known, or is it contradicted by current     balance). Other studies might use the same inter-
                         knowledge? This is best explained by what hap-        vention and change the circumstances in which the
                         pens when the evidence does not cohere. For           intervention is administered. For example, we
                         example, the causal process by which a homeo-         could test the intervention in a different (older or
                         pathic remedy is purportedly effective (other than    younger) population, conduct animal or in vitro
                         by ‘placebo’ effects) is not currently explicable     experiments. We could also change the (geographi-
                         by mainstream science. Given the numerous             cal or socioeconomic) setting, or even the study
                         examples where treatments that seemed to cohere       type. Then, studies could use the same interven-
                         with current science that turned out to be            tion but measure the outcome in different ways.
                         harmful,40–46 and where treatments that seemed        If all the parallel studies gave similar results,
                         not to cohere with current science that turned out    then the causal hypothesis will be more strongly
                         to be helpful,47,48 this guideline must be applied    supported; if they don’t, then we will have
                         with care.                                            grounds to suspect either some of the parallel
                                                                               studies or the causal hypothesis itself. Of course,
                                                                               each piece of parallel evidence must be indepen-
                         Parallel evidence
                                                                               dently evaluated for validity (whether it satisfies
                         There are rarely cases where there is only a single   the requirements inherent in our revised guide-
                         piece of evidence for a causal claim. When assess-    lines).




190 J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020
         Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 21 of 227 PageID:
                                           60366




      The evolution of evidence hierarchies: what can Bradford Hill’s ‘guidelines for causation’ contribute?




                                                                         trials. After describing the examples, we shall
Figure 2
                                                                         evaluate whether the Revised Bradford Hill guide-
Types of similarities (the axis of ‘similarity of circumstances’ is
omitted for simplicity)                                                  lines deliver a more reasonable verdict.


                                                                         The Mother’s Kiss
                                                                         Glasziou et al.5 cite the following example:
                                                                           A child presented with a plastic bead lodged high in
                                                                           one nostril. The doctor asked for forceps, but the
                                                                           nurse suggested trying the mother’s kiss tech-
                                                                           nique – occluding the unblocked nostril while the
                                                                           mother blows into the child’s mouth. The bead was
                                                                           thus easily dislodged and retrieved.5
                                                                            Most would agree that a single case (or at most a
                                                                         series of a few cases) would suffice to support
                                                                         claims that the mother’s kiss caused the bead to
                                                                         dislodge.


                                                                         Oral ulceration due to topical aspirin
                                                                         Aronson and Hauben49 have described several cat-
                 Omitted guidelines
                                                                         egories of adverse events related to drug admin-
                 Besides experiment, which was absorbed in our           istration that seem to require little more than
                 first revised guideline, we also omitted specificity.   anecdotal evidence to provide sufficiently strong
                 Diseases usually have multiple causes and mul-          evidence that the events are caused by adverse
                 tiple effects, while most interventions also have       drug reactions. One of the categories is ‘specific
                 multiple effects. In fact, Bradford Hill did not sup-   anatomical location or pattern of injury’, in
                 port this guideline with adequate examples, and in      which:
                 his description of multiple regression he admits
                                                                           . the location or pattern of injury is sufficiently
                 that most diseases have multiple causes and that
                                                                           specific to attribute the effect to the drug without
                 most causes have multiple effects.22 For example,
                                                                           the need for implicit judgment or formal investi-
                 the fact that smoking increases the risk of lung
                                                                           gation. The mechanism of injury can be related to
                 cancer in no way repudiates evidence that smok-
                                                                           physicochemical or pharmacological properties of
                 ing causes other diseases. Similarly, the fact that
                                                                           the drug. Examples include extravasation reactions
                 Prozac might have a positive effect on depression
                                                                           to cytostatic drugs and oral ulceration due to
                 does not reduce the force of the claim that it also
                                                                           topical aspirin.49
                 cures premature ejaculation.
                                                                            Here, anecdotal observations provide strong
                                                                         evidence that a particular drug caused an adverse
                 Tests of whether the Revised                            event.
                 Bradford Hill guidelines deliver                           The Revised Bradford Hill guidelines deliver
                 the verdict of strong evidence for                      clear verdicts about the effectiveness of the
                 causation, even if RCTs have not                        Mother’s Kiss and oral ulceration due to topical
                                                                         aspirin (Table 2). Admittedly the examples we
                 been conducted
                                                                         chose are uncontroversial, but that is precisely why
                 A strict application of the EBM evidence hierarchy      we chose them. Since nobody denies that these
                 would deliver the verdict that the following treat-     interventions caused their effects, while current
                 ments are supported by relatively poor evidence         hierarchies would deliver a poor ‘grade’ to their
                 since they have not been tested in randomized           evidence base, it suggests that the Revised




                                                                         J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020 191
              Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 22 of 227 PageID:
                                                60367




     Journal of the Royal Society of Medicine




                           Table 2
                           Applying the Revised Bradford Hill guidelines

                                                                        Mother’s kiss                    Oral ulceration

                           Direct          1. Size of effect not        Yes (dramatic effect;            Yes (dramatic effect;
                                           attributable to plausible    confounders highly unlikely)     confounders highly unlikely)
                                           confounding
                                           2. Appropriate temporal      Yes (cure immediately            Yes (the effect is in
                                           and/or spatial proximity     follows the intervention and     immediate proximity to the
                                                                        is spatially associated)         intervention)
                                           3. Dose{responsiveness and   Not tested and not relevant      Not tested
                                           reversibility                (might have been tested by       (dose{responsiveness not
                                                                        varying levels of expiratory     tested; but subsequent
                                                                        force)                           healing suggested
                                                                                                         reversibility)
                           Mechanistic     4. Plausible mechanism of    Yes                              Yes (acidic compound)
                                           action
                                           5. Coherence                 Yes (nothing contradicts the    Yes (nothing contradicts the
                                                                        causal hypothesis)              causal hypothesis)
                           Parallel        6. Replicability             Yes                             Not tested
                                           7. Similarity                Not relevant                    Yes (aspirin causes gastric
                                                                                                        erosions)
                           Total                                        5 ‘yes’ (1, 2, 4, 5, 6) 2 ‘not  5 ‘yes’ (1, 2, 4, 5, 7) 2 ‘not
                                                                        relevant’ or ‘not tested’ (3,7) relevant’ or ‘not tested’ (3, 6)
                           VERDICT                                      5 out of 7 guidelines satisfied 5 out of 7 guidelines
                                                                                                        satisfied


                         guidelines can be useful tools for the future           Conclusions: suggesting ways to
                         development and evolution of standards of medi-         revise current hierarchies of
                         cal evidence.                                           evidence
                                                                                 The original Bradford Hill Guidelines can be sim-
       Figure 3                                                                  plified (some of the guidelines can be omitted
       How different types of evidence support the causal hypothesis
                                                                                 while others can be combined or modified) and
                                                                                 organized into three categories: direct, mechanistic
                                                                                 and parallel evidence. In their revised form they
                                                                                 suggest two ways that can inform revisions to
                                                                                 current hierarchies of evidence. Firstly, it is more
                                                                                 important for ‘direct’ evidence to demonstrate that
                                                                                 the effect size is greater than the combined influ-
                                                                                 ence of plausible confounders, than it is for the
                                                                                 study to be experimental. This view is compatible
                                                                                 with the spirit of EBM hierarchies: the motivation
                                                                                 for placing RCTs at the pinnacle of evidence
                                                                                 hierarchies is that they generally rule out more
                                                                                 confounders than other study types. If an observa-
                                                                                 tional study reveals an effect large enough to
                                                                                 swamp the effects of any additional confounding
                                                                                 then other study designs must be regarded as on a
                                                                                 par with RCTs. Likewise, RCTs must demonstrate
                                                                                 effect sizes sufficiently large to rule out the com-
                                                                                 bined effect of any inevitable bias. Secondly,




192 J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 23 of 227 PageID:
                                    60368




The evolution of evidence hierarchies: what can Bradford Hill’s ‘guidelines for causation’ contribute?




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                                                                             J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020 193
              Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 24 of 227 PageID:
                                                60369




     Journal of the Royal Society of Medicine




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194 J R Soc Med 2009: 102: 186–194. DOI 10.1258/jrsm.2009.090020
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 25 of 227 PageID:
                                  60370




                         Exhibit 4
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 26 of 227 PageID:
                                  60371

                     Arch I. "Chip"      Carson, M.D., Ph.D.

                                                                       Page 1
                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NEW JERSEY

             ------------------------ )
             IN RE JOHNSON & JOHNSON )
             TALCUM POWDER PRODUCTS   )
             MARKETING, SALES         )         MDL NO.
             PRACTICES, AND PRODUCTS )          16-2738 (FLW) (LHG)
             LIABILITY LITIGATION     )
                                      )
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             THIS DOCUMENT RELATES TO )
             ALL CASES                )
                                      )
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                                     __ __ __
                           Saturday, January 19, 2019
                                   __ __ __

                      Videotaped Deposition of ARCH I. "CHIP"
              CARSON, M.D., Ph.D., held at the Marriott
              Houston Medical Center, 6580 Fannin Street,
              Houston, Texas, commencing at 9:02 a.m., on
              the above date, before Michael E. Miller,
              Fellow of the Academy of Professional
              Reporters, Certified Court Reporter,
              Registered Diplomate Reporter, Certified
              Realtime Reporter and Notary Public.
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 27 of 227 PageID:
                                  60372

                                   Arch I. "Chip"         Carson, M.D., Ph.D.
                                                      Page 2                                                         Page 4
        1   A P P E A R A N C E S:                              1                 INDEX
        2     BEASLEY ALLEN, PC                                 2
              BY: P. LEIGH O'DELL, ESQUIRE
        3        leigh.odell@beasleyallen.com                       APPEARANCES                                2
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              Committee                                         6
        7                                                               BY MR. ZELLERS                         9
        8     BURNS CHAREST LLP                                 7
              BY: AMANDA KLEVORN, ESQUIRE
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              Counsel for Plaintiffs
       12                                                           CERTIFICATE                           364
       13     TUCKER ELLIS LLP                                 11
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                                                                    ACKNOWLEDGMENT OF DEPONENT                       367
              Los Angeles, California 90071                    13
       16     (213) 430-3400                                        LAWYER'S NOTES                             368
              Counsel for Johnson & Johnson                    14
       17     Defendants                                       15
       18
       19     DRINKER BIDDLE & REATH, LLP
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              Defendants                                       22
       23                                                      23
       24                                                      24

                                                      Page 3                                                         Page 5
       1    A P P E A R A N C E S:                              1             DEPOSITION EXHIBITS
       2      DYKEMA GOSSETT PLLC                                        ARCH I. "CHIP" CARSON, M.D., Ph.D.
              BY: JANE E. BOCKUS, ESQUIRE                       2             January 19, 2019
       3         jbockus@dykema.com                             3   NUMBER            DESCRIPTION      PAGE
              112 East Pecan Street                             4   Exhibit 1 Notice of Deposition   10
       4      Suite 1800                                        5   Exhibit 2 11/16/18 Carson Expert   15
              San Antonio, Texas 78205                                      Report
       5      (210) 554-5500                                    6
              Counsel for Imerys Talc America                       Exhibit 3 Carson Curriculum Vitae          21
       6                                                        7
       7      COUGHLIN DUFFY LLP                                    Exhibit 4 Listing of Literature      21
              BY: JONATHAN F. DONATH, ESQUIRE                   8           Reviewed
       8         jdonath@coughlinduffy.com                      9   Exhibit 5 2019 Longo et al           26
              350 Mount Kemble Avenue                                       Publication
       9      Morristown, New Jersey 07962                     10
              (973) 267-0058
                                                                    Exhibit 6 2019 Fletcher et al        26
      10      Counsel for Imerys Talc America
      11
                                                               11           Publication
      12      TUCKER ELLIS LLP
                                                               12   Exhibit 7 Undated Taher et al         26
              BY: CAROLINE M. TINSLEY, ESQUIRE                              Publication
      13          caroline.tinsley@tuckerellis.com             13
              100 South Fourth Street, Suite 600                    Exhibit 8 1952 Graham et al         29
      14      St. Louis, MO 63102                              14           Publication
              (216) 696-3675                                   15   Exhibit 9 12/18 Health Canada Draft    30
      15      Counsel for PTI Royston LLC and PTI                           Screening Assessment
              Union LLC                                        16
      16                                                            Exhibit 10 1/1/14 FDA Letter to           31
      17      SEYFARTH SHAW, LLP                               17           Epstein
              BY: RENEE B. APPEL, ESQUIRE                      18   Exhibit 11 1991 Blount et al         32
      18         rappel@seyfarth.com                                        Publication
              975 F Street, N.W.                               19
      19      Washington, D.C. 20004-1454                           Exhibit 12 1974 Parmley et al         32
              (202) 463-2400                                   20           Publication
      20      Counsel for Personal Care Products               21   Exhibit 13 USB Drive Containing            36
      21                                                                    Materials Reviewed
      22    VIDEOGRAPHER:                                      22
      23       DOUG OVERSTREET,                                     Exhibit 14 8/1/00 Health Canada           98
               Golkow Litigation Services                      23           Decision-Making Framework
      24                                                       24

                                                                                               2 (Pages 2 to 5)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 28 of 227 PageID:
                                  60373

                                Arch I. "Chip"                   Carson, M.D., Ph.D.
                                                             Page 6                                          Page 8
       1          DEPOSITION EXHIBITS                                  1             PROCEEDINGS
       2
           Exhibit 15 Handwritten List of            124               2          (January 19, 2019 at 9:02 a.m.)
       3           Materials Reviewed by                               3          THE VIDEOGRAPHER: We are now
                   Dr. Carson
       4                                                               4      on the record. My name is Doug
           Exhibit 16 1979 Chappell et al        130                   5      Overstreet. I'm the videographer for
       5           Publication
       6   Exhibit 17 2011 Reid et al Publication 159
                                                                       6      Golkow Litigation Services. Today is
       7   Exhibit 18 2011 Camargo et al          163                  7      January 19th, 2019. The time is
                   Publication                                         8      9:02 a.m.
       8
           Exhibit 19 2013 Terry et al              192                9          This video deposition is being
       9           Publication                                        10      held in Houston, Texas in the matter
      10   Exhibit 20 2016 Cramer et al              195
                   Publication                                        11      of Talcum Powder Litigation MDL
      11                                                              12      No. 2738.
           Exhibit 21 IARC Classification Groups 225
      12           Document                                           13          The deponent is Dr. Chip
      13   Exhibit 22 2017 Berge et al        243                     14      Carson.
                   Publication
      14                                                              15          Will counsel please identify
           Exhibit 23 2007 Langseth et al            247              16      themselves for the record.
      15           Publication
      16   Exhibit 24 2016 Schildkraut et al         271
                                                                      17          MS. O'DELL: Leigh O'Dell,
                   Publication                                        18      Beasley Allen, for the plaintiffs.
      17                                                              19          DR. THOMPSON: Margaret
           Exhibit 25 Excerpt from IARC               289
      18           Monograph 93                                       20      Thompson, Beasley Allen, for the
      19                                                              21      plaintiffs.
      20
      21                                                              22          MS. KLEVORN: Amanda Klevorn,
      22                                                              23      Burns Charest, for the plaintiffs.
      23
      24                                                              24          MR. ZELLERS: Michael Zellers
                                                             Page 7                                          Page 9
       1                 REFERENCED EXHIBITS                           1       for the Johnson & Johnson defendants.
       2                                                               2             MS. McBETH: Katherine McBeth,
           NUMBER                                     PAGE             3       Drinker Biddle & Reath, for the
       3
           Exhibit    ......................        148                4       Johnson & Johnson defendants as well.
       4   Hopkins-28                                                  5             MS. BOCKUS: Jane Bockus for
       5   Exhibit    ......................        148                6       Imerys.
           Pier-47                                                     7             MR. DONATH: Jonathan Donath
       6                                                               8       from Coughlin Duffy for Imerys.
           Exhibit         ......................   28                 9             MS. APPEL: Renée Appel from
       7   P-346
       8                                                              10       Seyfarth Shaw for Personal Care
       9                 --o0o--                                      11       Products.
      10                                                              12             MS. TINSLEY: Caroline Tinsley,
      11                                                              13       Tucker Ellis, for PTI Union, LLC and
      12                                                              14       PTI Royston, LLC.
      13
      14
                                                                      15             THE VIDEOGRAPHER: The court
      15                                                              16       reporter today is Mr. Mike Miller, and
      16                                                              17       he will now swear in the witness.
      17                                                              18      ARCH I. "CHIP" CARSON, M.D., Ph.D.,
      18                                                              19           having been duly sworn,
      19                                                              20           testified as follows:
      20
      21
                                                                      21               EXAMINATION
      22                                                              22   BY MR. ZELLERS:
      23                                                              23       Q. Can you state your name,
      24                                                              24   please.
                                                                                           3 (Pages 6 to 9)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 29 of 227 PageID:
                                  60374

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 10                                             Page 12
       1       A. Arch Carson.                              1   BY MR. ZELLERS:
       2       Q. You are a physician; is that              2       Q. As best we can, let me finish
       3   right?                                           3   my question before you start to give your
       4       A. I am.                                     4   answer. I'll do the same and allow you to
       5       Q. A medical toxicologist?                   5   finish your answer before I ask you another
       6       A. Yes.                                      6   question so our court reporter can take down
       7       Q. We are here today to take your            7   what each of us say.
       8   deposition in the talc MDL litigation            8            Can you do that?
       9   proceedings; is that right?                      9       A. Yes.
      10       A. As far as I know, yes.                   10       Q. In response to the notice of
      11       Q. You are an expert witness for            11   deposition, which we've marked as Exhibit 1,
      12   the plaintiffs in that litigation; is that      12   have you brought with you certain documents
      13   right?                                          13   here today?
      14       A. Yes.                                     14       A. I have a collection of
      15       Q. Did you receive a notice of              15   documents that in part respond to these
      16   deposition, which we'll mark as Exhibit 1, to   16   requests, yes.
      17   appear here today?                              17       Q. Do you have any documents in
      18            (Carson Deposition Exhibit 1           18   your possession that are responsive to the
      19       marked.)                                    19   notice of deposition, Exhibit 1, that you
      20       A. Yes, I received a copy of this           20   have not brought here today?
      21   document.                                       21       A. I would have to go through
      22            MS. O'DELL: And, Michael, just         22   these things one by one, but --
      23       for the record, we just reassert all        23       Q. You didn't do that before we
      24       our previously served objections to         24   came here today?
                                               Page 11                                             Page 13
       1       the notice.                                  1       A. I did, but the plaintiffs'
       2            MR. ZELLERS: Thank you.                 2   attorneys --
       3   BY MR. ZELLERS:                                  3             MS. O'DELL: Let me just stop
       4       Q. You have given deposition                 4       you, Dr. Carson, just because
       5   testimony in the past; is that right?            5       discussing what we've discussed is not
       6       A. I have.                                   6       within the purview of this deposition.
       7       Q. On how many occasions?                    7       That's privileged. Let me just say --
       8       A. Probably 30, 35.                          8             THE WITNESS: All right.
       9       Q. You are familiar with the                 9             MS. O'DELL: -- Dr. Carson, in
      10   procedures we're going to follow today?         10       response to the notice, has brought
      11       A. More or less, I think.                   11       with him copies of the cited materials
      12       Q. If at any time I ask you a               12       in his report, and that's in the
      13   question and you don't understand it, tell me   13       binder that is to his left.
      14   you don't understand it and I'll repeat it or   14             He's brought with him copies of
      15   rephrase it to try to make it clear to you.     15       certain documents that were listed on
      16            Can you do that?                       16       his materials considered list. He
      17       A. Yes.                                     17       doesn't have a physical copy of
      18       Q. If you answer a question that I          18       everything on his materials considered
      19   ask or that any of the counsel ask, we're       19       list.
      20   going to assume that you understood it; is      20             I brought today a thumb drive
      21   that fair?                                      21       that has a copy of all the items on
      22            MS. O'DELL: Object to form.            22       his materials considered list. If you
      23       A. That's fair.                             23       would like access to that, it's
      24            ///                                    24       available to you.
                                                                             4 (Pages 10 to 13)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 30 of 227 PageID:
                                  60375

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                               Page 14                                              Page 16
       1            And then in addition, he has            1        Q. I'll ask you about the
       2       brought some additional materials that       2   attachments in a moment.
       3       he has reviewed since the service of         3             Does this report,
       4       his report.                                  4   Deposition Exhibit 2, contain all of the
       5            The only other item, as I               5   opinions that you intend to offer at any
       6       recall, on the notice of deposition          6   trial or hearing of this matter?
       7       request for documents that has not           7        A. In general, it contains all of
       8       been brought to the deposition is            8   my opinions. I expect to expand on those
       9       copies of invoices and Dr. Carson has        9   opinions possibly in this deposition or in
      10       not sent us an invoice. That's why we       10   the future.
      11       don't have a copy.                          11        Q. Today's my opportunity to ask
      12            So to try to short-circuit             12   you what your opinions are in this matter.
      13       this, just to make sure since we made       13             As of today, are the opinions
      14       decisions about what's produced and         14   that you expressed to us set forth at any
      15       what's not, I'll just say all that for      15   trial or hearing in this matter, are they
      16       the record. And if you'd like that,         16   contained in your report, Exhibit 2?
      17       you're welcome to it.                       17        A. I have seen information that
      18   BY MR. ZELLERS:                                 18   has become available recently that I did not
      19       Q. Dr. Carson, you heard                    19   have at that time this report was finalized,
      20   Ms. O'Dell describe what you brought here       20   and I have modified my opinions very slightly
      21   today. Is all of that accurate?                 21   as a result of that information.
      22       A. It is.                                   22        Q. How have you modified your
      23       Q. Are you aware of there being             23   opinions?
      24   any documents or materials that are             24        A. My opinions have essentially
                                               Page 15                                              Page 17
       1   responsive to the deposition notice that you     1   been strengthened as they relate to the
       2   have not brought with you here today?            2   causation question between perineal talcum
       3       A. No.                                       3   powder use and the occurrence of ovarian
       4       Q. I'm trying to understand what             4   cancers.
       5   counsel for plaintiffs, Ms. O'Dell, has said,    5       Q. Other than you believing that
       6   so let me ask you some questions.                6   your opinions are strengthened with respect
       7            You have brought with you today         7   to the association between perineal talcum
       8   in a binder some of the cited materials in       8   powder use and ovarian cancer, have your
       9   your report; is that right?                      9   opinions changed at all since you prepared
      10       A. Yes. This is intended to be a            10   your report, Exhibit 2?
      11   complete set of the cited references, with      11       A. No.
      12   one exception.                                  12       Q. Are there any new or additional
      13       Q. When you say cited                       13   opinions as of today that you expect to
      14   references --                                   14   testify to at trial or any hearing of this
      15       A. From my report.                          15   matter other than your report, Exhibit 2, and
      16       Q. Your expert report, we will              16   as you have qualified that report by stating
      17   mark as Exhibit 2.                              17   that your opinions on association are
      18            (Carson Deposition Exhibit 2           18   stronger today?
      19       marked.)                                    19       A. No.
      20   BY MR. ZELLERS:                                 20            MS. O'DELL: Object to the
      21       Q. Is Deposition Exhibit 2 your             21       form.
      22   report in this matter?                          22   BY MR. ZELLERS:
      23       A. It is. It also has                       23       Q. Okay. Your report has a list
      24   attachments.                                    24   of references that begin on page 11.
                                                                             5 (Pages 14 to 17)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 31 of 227 PageID:
                                  60376

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 18                                              Page 20
       1             Do you see that?                       1            I produced a report that I
       2        A. Yes.                                     2   thought was responsive to the question that
       3        Q. What are the references? What            3   was given to me by the plaintiffs' attorneys,
       4   do they relate to? And by that, I mean --        4   and within that report I felt it necessary to
       5   I'm just trying to understand what this list     5   cite specific key references that contributed
       6   is.                                              6   to items in that report.
       7        A. This is a list of references             7   BY MR. ZELLERS:
       8   from which I gleaned information that were       8        Q. And those are --
       9   important to my forming opinions regarding       9            MS. O'DELL: Excuse me, sir.
      10   the question that was given to me, and they     10        Are you finished, Dr. Carson?
      11   contribute to pieces of the report in various   11            THE WITNESS: Yes.
      12   ways.                                           12            MS. O'DELL: Okay. Sorry.
      13             They don't represent a complete       13   BY MR. ZELLERS:
      14   review that I made in preparing my report,      14        Q. Those are the items that you've
      15   but all are important in some way in terms of   15   listed under References; is that right?
      16   coming to my conclusions.                       16        A. Yes.
      17        Q. Are the references that you             17        Q. Literature are other materials
      18   list in your report from page 11 up and         18   that you have reviewed but didn't rise to the
      19   through page 16, are those the materials that   19   level of you citing them as a reference for
      20   you are relying on in terms of your opinions    20   your report, correct?
      21   that you're expressing in your report?          21        A. That is correct, but they do
      22             MS. O'DELL: Objection to form.        22   contribute information that I utilize in
      23        A. Yes.                                    23   terms of the whole to formulate my opinions.
      24             ///                                   24        Q. Let me mark several of the
                                               Page 19                                              Page 21
       1   BY MR. ZELLERS:                                  1   attachments to your report as separate
       2        Q. What, then, is the difference            2   exhibits.
       3   between the references to your report and        3            (Carson Deposition Exhibit 3
       4   Exhibit B, which has a caption, Literature?      4        marked.)
       5        A. The Exhibit B represents a               5   BY MR. ZELLERS:
       6   larger set of documents, including scientific    6        Q. Exhibit 3 is your curriculum
       7   literature, technical reports, and so forth      7   vitae that was attached to your report; is
       8   that I reviewed in preparation of my report      8   that right?
       9   and the formation of my opinions; but they       9        A. Yes.
      10   did not contain information that I felt         10            (Carson Deposition Exhibit 4
      11   necessary to cite in my report.                 11        marked.)
      12        Q. The literature that you cite to         12   BY MR. ZELLERS:
      13   as Appendix B of your report are materials      13        Q. Exhibit 4 is a copy of your
      14   that you reviewed but are not the materials     14   literature list that we just discussed that
      15   that you're specifically relying on. The        15   is in your report; is that right?
      16   materials that you're specifically relying on   16        A. Yes.
      17   are set forth in your references list; is       17            MS. O'DELL: Thank you.
      18   that right?                                     18   BY MR. ZELLERS:
      19             MS. O'DELL: Excuse me. Object         19        Q. The one difference with
      20        to the form, misstates his testimony.      20   Exhibit 4, your literature list that's
      21        A. My opinions are based on my             21   attached to your report as Appendix B is not
      22   total review of the literature as well as my    22   numbered. I've gone ahead and numbered the
      23   training, my professional experience and many   23   pages on Exhibit 4, your literature list, in
      24   other factors.                                  24   case we want to refer to a specific page.
                                                                             6 (Pages 18 to 21)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 32 of 227 PageID:
                                  60377

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                              Page 22                                               Page 24
       1            Today, when I refer to                  1   binder of materials; is that right?
       2   products, talc products, baby powder or          2        A. Yes.
       3   Shower to Shower, I'm referring to the baby      3        Q. The binder of materials, did
       4   powder product manufactured by Johnson &         4   you prepare that, or was it prepared for you?
       5   Johnson Consumer Products Inc. and the Shower    5        A. Well, I uploaded documents to a
       6   to Shower product formerly manufactured by       6   share file, and the plaintiffs' attorneys
       7   Johnson & Johnson Consumer Products Inc.         7   were kind enough to print those for me and
       8            Do you understand that?                 8   assemble them in the binder.
       9        A. Yes.                                     9        Q. In addition, you have brought
      10        Q. Is your report, Exhibit 2,              10   with you a stack of eight or so additional
      11   accurate?                                       11   references that you have on the table in
      12        A. I believe so.                           12   front of you; is that right?
      13        Q. Do you believe it's complete?           13        A. Yes.
      14        A. In terms of its focus, yes.             14        Q. Are those materials that were
      15        Q. What do you mean in terms of            15   cited either as references in your report or
      16   its focus?                                      16   in the literature section of your report?
      17        A. It covers specific aspects of a         17        A. I think they're all included in
      18   larger question, and regarding those specific   18   one or the other of those lists.
      19   aspects, I believe it is complete.              19        Q. Your testimony under oath is
      20        Q. It covers the aspects of the            20   that all of the additional materials you
      21   question that you intend to offer opinions      21   brought here today are referred to either in
      22   on, correct?                                    22   your reference list, which is -- begins at
      23        A. That is correct.                        23   page 11 of your report, or your literature
      24        Q. What is the question that was           24   list, which we've marked as Exhibit 4 and is
                                              Page 23                                               Page 25
       1   given to you by counsel for plaintiffs in        1   Exhibit B to your report; is that right?
       2   this litigation?                                 2            MS. O'DELL: Objection to the
       3        A. The question is do the -- does           3        form.
       4   the habitual use of talcum powder products       4            Go ahead.
       5   cause ovarian cancer.                            5        A. There are a couple of new
       6        Q. Were you given any other                 6   articles here that were not available at the
       7   questions to answer or opine on in this          7   time that I submitted my report, and I
       8   litigation?                                      8   believe the literature list was also created.
       9        A. Not specifically.                        9   BY MR. ZELLERS:
      10        Q. What do you understand habitual         10        Q. Were those new materials
      11   use of talcum powder to refer to?               11   provided to you by plaintiffs' counsel or are
      12        A. It means routine use, periodic          12   those materials that you did some type of
      13   use.                                            13   literature search and found?
      14        Q. Over any period of time?                14        A. One of them was provided to me
      15        A. Over an extended period of              15   by plaintiffs' counsel, but I was aware that
      16   time.                                           16   it was coming. And -- actually, two of them
      17        Q. What is an extended period of           17   were provided by plaintiffs' counsel.
      18   time?                                           18        Q. All right. The two additional
      19        A. Months or years.                        19   documents that were provided to you by
      20        Q. Any other definition that you           20   plaintiffs' counsel, can you show those to
      21   have of habitual use?                           21   me?
      22        A. No.                                     22        A. Okay. One is the Longo report.
      23        Q. Today, in response to the               23        Q. We will mark as
      24   notice of deposition, you did bring the         24   Deposition Exhibit 5 the Longo report dated
                                                                             7 (Pages 22 to 25)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 33 of 227 PageID:
                                  60378

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 26                                              Page 28
       1   January 15th of 2009 [sic].                      1   Ph.D.; is that right?
       2             (Carson Deposition Exhibit 5           2       A. Yes.
       3       marked.)                                     3       Q. What additional articles have
       4       A. The other is the recent                   4   you brought here with you today separate and
       5   Fletcher, et al article.                         5   apart from your binder of materials?
       6             (Carson Deposition Exhibit 6           6       A. There's a copy of the IARC
       7       marked.)                                     7   monographs preamble.
       8   BY MR. ZELLERS:                                  8       Q. For what purpose did you bring
       9       Q. The Fletcher article dated                9   that article?
      10   January 3rd of 2019 we'll mark as Exhibit 6.    10       A. This discusses the general
      11   This is an article from Reproductive            11   process that IARC uses in approaching a
      12   Sciences; is that right?                        12   putative carcinogenic material.
      13       A. Yes. And I actually have a               13       Q. That has previously been marked
      14   third.                                          14   as Plaintiff Exhibit P-346 in another
      15       Q. All right. You have a third              15   proceeding; is that right?
      16   article that was provided to you by             16       A. I don't know.
      17   plaintiffs' counsel?                            17       Q. Well, the document we're
      18       A. Yes.                                     18   looking at has that exhibit sticker on it; is
      19             (Carson Deposition Exhibit 7          19   that right?
      20       marked.)                                    20       A. It does.
      21   BY MR. ZELLERS:                                 21       Q. What else have you brought here
      22       Q. Let's mark that as                       22   with you today?
      23   Deposition Exhibit 7. Can you tell us what      23       A. This is an article from
      24   article that is?                                24   The Lancet from 1952 titled Value of Modified
                                               Page 27                                              Page 29
       1        A. This is a meta-analysis.                 1   Starch as a Substitute for Talc, and the
       2   It's -- the title is Systematic Review and       2   first author is J.D.P. Graham.
       3   Meta-Analysis of the Association Between         3        Q. Why did you bring that article?
       4   Perineal Use of Talc and Risk of Ovarian         4        A. This is an older article that
       5   Cancer. The lead author is Mohamed Taher.        5   discusses the suitability of substituting
       6        Q. The Taher paper we have marked           6   cornstarch materials for talc due to
       7   as Exhibit 7; is that right?                     7   perceived issues with talc.
       8        A. Yes.                                     8        Q. Is this an article that you had
       9        Q. This is something that you were          9   cited previously, either in your references
      10   provided by plaintiffs' counsel; is that        10   or your list of literature?
      11   right?                                          11        A. I did not cite it in my report.
      12        A. Yes.                                    12   I don't know -- I don't recall if it's in the
      13        Q. Exhibit 6, Reproductive                 13   literature list or not.
      14   Sciences, are you familiar with that journal?   14            (Carson Deposition Exhibit 8
      15        A. I'm aware that it exists.               15        marked.)
      16        Q. Do you review that journal on a         16   BY MR. ZELLERS:
      17   regular basis as a part of your clinical and    17        Q. Why did you decide to bring
      18   research activities?                            18   that with you here today?
      19        A. No, I don't.                            19        A. It is in the literature list.
      20        Q. Is Reproductive Sciences a              20            I ran across it last night, and
      21   peer-reviewed journal?                          21   I thought I might need to refer to it during
      22        A. I believe it is.                        22   the deposition.
      23        Q. The Exhibit 6 has as a                  23        Q. What other documents or
      24   corresponding author, Dr. Saed, S-A-E-D, a      24   materials have you brought other than your
                                                                             8 (Pages 26 to 29)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 34 of 227 PageID:
                                  60379

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                              Page 30                                              Page 32
       1   binder of materials?                             1   talcum powder and ovarian cancer, is
       2       A. I have here a copy of the                 2   something that you undertook when you were
       3   recent Canadian position on the safety of        3   retained by plaintiffs' counsel and asked to
       4   talcum powder and its relationship to ovarian    4   address the question they gave to you?
       5   cancer.                                          5       A. Yes, it is.
       6       Q. When did you review that                  6       Q. We will mark the article by
       7   document?                                        7   Blount as Exhibit 11.
       8       A. A couple weeks ago, I think.              8             (Carson Deposition Exhibit 11
       9       Q. Is that a document that you               9       marked.)
      10   were provided by plaintiffs' counsel?           10   BY MR. ZELLERS:
      11       A. It was.                                  11       Q. And you have one more; is that
      12       Q. Can I see the document, please?          12   right?
      13   We'll mark the draft screening assessment       13       A. Yes, one more, which is -- this
      14   from Health Canada dated December 18th of       14   is an article from the American Journal of
      15   2018 as Exhibit 9.                              15   Obstetrics and Gynecology from 1974 titled
      16            (Carson Deposition Exhibit 9           16   The Ovarian Mesothelioma. It's authored by
      17       marked.)                                    17   Parmley and Woodruff.
      18   BY MR. ZELLERS:                                 18       Q. We'll mark that as Exhibit 12.
      19       Q. Any other documents?                     19             (Carson Deposition Exhibit 12
      20       A. I have a copy of the letter              20       marked.)
      21   from the FDA from April 1st, 2014 responding    21   BY MR. ZELLERS:
      22   to positions -- petitions for labeling.         22       Q. Exhibit 12, is this an article
      23       Q. This is a letter that has a              23   that was cited previously by you in either
      24   stamp on it on the first page, April 1st,       24   your references or your literature list?
                                              Page 31                                              Page 33
       1   2014, from -- or strike that -- to               1      A.      Yes.
       2   Dr. Epstein from the FDA; is that right?         2      Q.      For what -- strike that.
       3       A. Yes.                                      3             Is this a document that you
       4       Q. Let's mark that as Exhibit 10.            4   chose to bring today or were you provided it
       5             (Carson Deposition Exhibit 10          5   by plaintiffs' counsel?
       6       marked.)                                     6        A. This is another one I ran
       7   BY MR. ZELLERS:                                  7   across last night and decided to bring along
       8       Q. What else?                                8   to the depo.
       9       A. I have an article authored by             9        Q. Same questions with respect to
      10   A.M. Blount which is titled Amphibole Content   10   the Blount article, Exhibit 11: Is this an
      11   of Cosmetic and Pharmaceutical Talcs that was   11   article you cite in your references or
      12   published in Environmental Health               12   literature?
      13   Perspectives in 1991.                           13        A. In the literature, yes.
      14       Q. Is that a journal that you               14        Q. For what purpose have you
      15   review on a regular basis as part of either     15   brought this with you today?
      16   your clinical practice or your research         16        A. I thought I might want to refer
      17   activities?                                     17   to it in response to questions here.
      18       A. That one I do look at pretty             18        Q. Exhibit 10, the letter from the
      19   much.                                           19   FDA to Dr. Epstein, April of 2014, for what
      20       Q. Is this an article you were              20   purpose have you brought that here with you
      21   aware of back in 1991?                          21   today?
      22       A. No. At least I don't recall.             22        A. I thought I might want to refer
      23       Q. Is it fair that your review of           23   to it in response to questioning.
      24   this literature, the literature relating to     24        Q. The documents that you have
                                                                             9 (Pages 30 to 33)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 35 of 227 PageID:
                                  60380

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 34                                             Page 36
       1   brought here with you today are documents        1   wouldn't be able to tell you for sure. I'm
       2   that you wanted to have available to try to      2   sure I ran across these in my own literature
       3   respond to the questions that I may ask you?     3   search.
       4        A. Yes.                                     4        Q. Deposition Exhibit 13, we will
       5        Q. These documents you all                  5   mark the thumb drive that plaintiffs' counsel
       6   believe -- strike that.                          6   has brought here today.
       7            The documents that you've               7            (Carson Deposition Exhibit 13
       8   identified and you've brought with you --        8        marked.)
       9   have brought with you today, you believe         9   BY MR. ZELLERS:
      10   those are supportive of the opinions that you   10        Q. Do you, Dr. Carson, have an
      11   are rendering in this matter; is that right?    11   understanding of what's on the thumb drive
      12        A. Yes.                                    12   we've marked as Exhibit 13?
      13        Q. The documents on your                   13        A. My understanding is this is
      14   literature list, what we have marked as         14   copies of the documents on the literature
      15   Exhibit 4, are those documents that were        15   list.
      16   provided to you by plaintiffs' counsel?         16        Q. When were you first retained by
      17        A. Some were.                              17   anyone regarding the talc/ovarian cancer
      18        Q. The documents on this list that         18   litigation?
      19   were not provided by plaintiffs' counsel, did   19        A. In October of 2018.
      20   you find those through a literature search?     20        Q. Who contacted you?
      21        A. Yes.                                    21        A. I was contacted by an attorney
      22        Q. Are you able to distinguish for         22   named Russ Abney.
      23   us which documents on your literature list,     23        Q. Who is Mr. Abney, if you know?
      24   Exhibit 4, came from plaintiffs' counsel and    24        A. Mr. Abney is a lawyer who used
                                               Page 35                                             Page 37
       1   which items on the literature list you came      1   to work in the Houston area and with whom I
       2   up with?                                         2   had some dealings years ago; and since that
       3        A. To some extent.                          3   time he has become involved in this talc
       4        Q. So if we went through item by            4   litigation in some way, was aware of me as a
       5   item, you believe you could distinguish          5   potential expert witness, and contacted me
       6   between what was provided to you by              6   regarding my interest and availability.
       7   plaintiffs and what you found on your own?       7        Q. What matters have you worked on
       8        A. For some, but not all of them.           8   with Mr. Abney in the past?
       9        Q. Have you reviewed all of the             9        A. I think it would have been back
      10   materials that are listed on your literature    10   in the 1990s, and I frankly don't recall what
      11   list?                                           11   cases we worked on, but there were one or
      12        A. I have reviewed all of them,            12   maybe two cases.
      13   yes.                                            13        Q. When in October of 2018 were
      14        Q. Have you reviewed all of the            14   you contacted by Mr. Abney?
      15   materials that are on your reference list?      15            MS. O'DELL: Object to the
      16        A. Yes.                                    16        form.
      17        Q. The materials on your reference         17        A. I believe it was either the
      18   list, is it the same that some were provided    18   14th or 15th of October.
      19   to you by plaintiffs' counsel and some you      19   BY MR. ZELLERS:
      20   found on your own?                              20        Q. How do you remember with that
      21        A. I think there may be one or two         21   precision?
      22   references that I didn't have before I saw      22        A. I have an e-mail that relates
      23   them in the share file that may have been       23   to a phone call which was our initial
      24   provided by plaintiffs' counsel, but I          24   contact.
                                                                           10 (Pages 34 to 37)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 36 of 227 PageID:
                                  60381

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                              Page 38                                              Page 40
       1       Q. Mr. Abney at some point asked             1   doing a review? What does that mean?
       2   you to address the question that you told us     2       A. Well, I felt that I was hired
       3   before: Does the habitual use of talcum          3   as a witness at that point and that's when I
       4   powder cause ovarian cancer?                     4   would begin my billable hours on this case.
       5            Is that right?                          5       Q. When was that? Sometime in
       6            MS. O'DELL: Object to the               6   later October of -- late October of 2018?
       7       form.                                        7       A. It was within a few days after
       8       A. Well, he talked to me generally           8   our first meeting, still in October.
       9   about the case that was proceeding, and I        9       Q. What did you do to answer the
      10   discussed with him what my understanding of     10   question? What was your methodology?
      11   those things was and what the kind of           11       A. Well, initially I decided to do
      12   opinions I would be able to render would be.    12   a general literature search on the question
      13   And he suggested that he set up a meeting       13   to see what research had been performed, what
      14   between me and members of plaintiffs'           14   reports had been written, what the quality of
      15   counsel.                                        15   that research was.
      16   BY MR. ZELLERS:                                 16       Q. When did you start that?
      17       Q. When Mr. Abney called you                17       A. Immediately. I was curious.
      18   middle of October of 2018, talcum powder and    18             I began to assemble the
      19   any relationship or association that it may     19   available literature and review it on a
      20   have to ovarian cancer had not been a focus     20   piecemeal basis through the subsequent time
      21   of your research or study; is that right?       21   period; the next couple of weeks I reviewed a
      22       A. That's right.                            22   lot of it.
      23       Q. It had not been a part of your           23       Q. What did you search for when
      24   clinical practice, right?                       24   you did this general literature search?
                                              Page 39                                              Page 41
       1       A. That's correct.                           1        A. I searched under various search
       2       Q. When did you meet with the                2   terms, including "talc," including "ovarian
       3   larger group of plaintiffs' counsel?             3   cancer," the relationship between the two.
       4       A. I believe we had a telephone              4   As I became more familiar with the
       5   meeting on the 16th of October. I'm not          5   literature, I expanded that search into other
       6   sure. I have to --                               6   topics.
       7       Q. That's -- right now I just want           7            As I became -- I was already
       8   estimates.                                       8   aware of issues related to the inclusion of
       9       A. Okay.                                     9   asbestos in talc deposits, and so I expanded
      10       Q. And so I don't -- as long as             10   my search into that part of the literature
      11   you're reasonably comfortable that it was in    11   that relates to asbestos in talc or asbestos
      12   that time frame.                                12   in ovarian cancer.
      13       A. It was mid October.                      13            As I felt my opinions would
      14       Q. That's fine.                             14   need to extend into cancer and carcinogenesis
      15            When were you asked the                15   in general, I did some search into ovarian
      16   question that the plaintiffs' lawyers wanted    16   cancer specifically and general
      17   you to try to answer in this litigation?        17   carcinogenesis to see what the current state
      18       A. Well, after the meeting we               18   of the art was regarding that in the
      19   parted ways and then made contact again a few   19   literature.
      20   days later, and I was told that they were       20            I looked at some issues of
      21   interested in me going ahead and doing a        21   mining practices.
      22   review and starting to establish opinions.      22            I looked at the Johnson &
      23       Q. What do you mean by they                 23   Johnson website. There's a webpage regarding
      24   authorized you or were comfortable with you     24   talc and ovarian cancer that I looked at.
                                                                           11 (Pages 38 to 41)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 37 of 227 PageID:
                                  60382

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 42                                             Page 44
       1            I looked through old notes and          1   review of draft versions of my report and
       2   lecture files that I had for information that    2   comments, in particular --
       3   I've used or accessed previously in my           3        Q. Don't tell me about the
       4   professional capacity for information that       4   comments.
       5   was pertinent.                                   5        A. Okay.
       6            Just a very dendritic kind of           6        Q. I don't want to know what the
       7   extensive search.                                7   lawyers may have told you.
       8        Q. You reviewed these materials             8            Did the comments come from the
       9   that you have told us about and then did you     9   lawyers for plaintiffs or did they come from
      10   prepare your report?                            10   other people?
      11        A. At that point I -- well, the            11        A. They came from the lawyers.
      12   literature review took several stages.          12   They also came from a few of my colleagues.
      13   Typically when you perform a review like        13        Q. Did you share your report with
      14   this, you end up with a -- I do a very          14   some of your colleagues?
      15   general sort of approach to a review, so I      15        A. I let a few people read it and
      16   get much more than will be pertinent to my      16   I talked to them about it.
      17   review eventually.                              17        Q. Are the opinions your opinions?
      18            I find that a valuable approach        18        A. Yes, they are.
      19   because it allows me to find things I           19        Q. Have you told me, you know,
      20   wouldn't otherwise find or look for or know     20   generally what you have done to formulate
      21   to look for.                                    21   your opinions in this matter?
      22            And then I'm able to cull              22        A. Yes, I think so.
      23   through that information and discard pieces     23        Q. You did all of this over a
      24   of the search materials that are not relevant   24   30-day period; is that right?
                                               Page 43                                             Page 45
       1   or interesting to me and then refine my          1       A. Yes.
       2   search and redo it, extending it into            2       Q. All right. You have no
       3   different areas that have now become             3   invoices, correct?
       4   pertinent in my opinion, until I satisfy         4       A. That's correct.
       5   myself that I have pretty much covered the       5       Q. Is it typical that you'll work
       6   waterfront so to speak in terms of a             6   on a matter for some number of months and not
       7   literature review.                               7   generate any invoices?
       8        Q. You did your literature review.          8       A. Yes.
       9   You reviewed the Johnson & Johnson website       9       Q. You are billing your time at
      10   and the other materials that you have told us   10   what rate?
      11   about.                                          11       A. $450 per hour.
      12            Did you then formulate your            12       Q. Can you estimate for us the
      13   opinions and set them down in your report       13   number of hours that you have spent doing
      14   which we marked as Exhibit 2?                   14   your literature review, formulating your
      15        A. I did. I began writing as I             15   opinions, and writing your report?
      16   reviewed the literature and continued to take   16       A. There's still some tallying I
      17   notes which, through a continuous editing       17   need to do from my calendar, but it's between
      18   process, eventually became my report.           18   150 and 180 hours.
      19        Q. Did you prepare your report?            19       Q. Does that include your meetings
      20        A. I did.                                  20   and communications with plaintiffs' counsel?
      21        Q. Did anyone assist you in the            21       A. Yes, that's up until today.
      22   preparation of your report?                     22       Q. Other than meeting with
      23        A. No one assisted me in the               23   Mr. Abney or talking with Mr. Abney -- did
      24   preparation of my report. I did receive         24   you ever meet with Mr. Abney face-to-face?
                                                                           12 (Pages 42 to 45)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 38 of 227 PageID:
                                  60383

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 46                                              Page 48
       1        A. No.                                      1        A. I have not had any discussions
       2        Q. What other plaintiff lawyers             2   with Dr. Dydek. We may have met previously,
       3   have you met with or talked with as part of      3   but I don't recall.
       4   your formulating your opinions and doing your    4        Q. Any previous meeting with
       5   literature review?                               5   Dr. Dydek, did it relate to this litigation?
       6        A. We've had a number of                    6        A. No.
       7   conference calls where there were several of     7        Q. Did it relate to expert witness
       8   these attorneys' colleagues on the line, but     8   work that you were doing?
       9   in terms of in-person meetings, those have       9        A. No.
      10   been with Ms. O'Dell and Ms. Thompson,          10        Q. Do you know what the
      11   Dr. Thompson.                                   11   relationship is, if any, between Dr. Thompson
      12        Q. How many meetings have you had          12   and Dr. Dydek?
      13   with Ms. O'Dell?                                13        A. I don't know of any
      14        A. Three.                                  14   relationship outside of his work as an expert
      15        Q. How many meetings have you had          15   witness in related litigation.
      16   with Dr. Thompson?                              16        Q. Dr. Crowley, do you know
      17        A. Three.                                  17   Michael Crowley?
      18        Q. Did you know Dr. Thompson               18        A. I know of Dr. Crowley.
      19   before you were retained in this matter?        19        Q. Did you know of Dr. Crowley
      20        A. I did not.                              20   before you were retained in the talcum powder
      21        Q. Any other plaintiff lawyers in          21   litigation?
      22   this litigation that you are aware of --        22        A. No.
      23   strike that.                                    23        Q. Have you ever met with
      24             Any other plaintiff lawyers in        24   Dr. Crowley?
                                               Page 47                                              Page 49
       1   this matter that you've had communications       1       A. I have not.
       2   with other than what you have told us?           2       Q. Ever talked with Dr. Crowley?
       3       A. No.                                       3       A. I have not.
       4       Q. Do you have any social                    4       Q. You reviewed his report as part
       5   relationship with any of the plaintiffs'         5   of your review in this matter; is that right?
       6   counsel?                                         6       A. That's correct.
       7       A. No.                                       7       Q. Do you know who any of the
       8       Q. Your relationship with                    8   other experts are in this litigation for
       9   Dr. Thompson is just the three meetings that     9   plaintiffs?
      10   you have been involved in with her?             10       A. Well, I know there are a number
      11       A. Well, we've exchanged e-mail             11   of people who have generated reports that I
      12   communications, but other than that, no.        12   have also reviewed.
      13       Q. Have you met with or talked              13       Q. What reports have you reviewed
      14   with any other expert witness for plaintiffs?   14   from plaintiffs' other experts?
      15       A. No, I have not.                          15       A. Well, I've reviewed several
      16       Q. Do you know who Thomas Dydek             16   reports from Dr. Longo, who's done work on
      17   is?                                             17   the presence of asbestos in talc products and
      18       A. Yes.                                     18   related things. I think he's the only other
      19       Q. Who is Thomas Dydek?                     19   expert that I'm aware of at this point.
      20       A. He is a toxicologist.                    20       Q. Well, you're aware of
      21       Q. Where does he practice?                  21   Dr. Crowley?
      22       A. I don't recall.                          22       A. Well, Dr. Crowley, Dr. Longo,
      23       Q. Have you had any discussions             23   and Dr. Dydek that you mentioned before.
      24   with Dr. Dydek?                                 24       Q. Have you reviewed any reports
                                                                           13 (Pages 46 to 49)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 39 of 227 PageID:
                                  60384

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                              Page 50                                               Page 52
       1   or transcripts from Dr. Dydek?                   1   that you're aware of?
       2       A. Yes, I reviewed an expert                 2        A. No.
       3   report that he provided before I got involved    3        Q. Are you aware of any of the
       4   in this case.                                    4   experts for defendants in the talcum powder
       5       Q. Did you review that report                5   litigation?
       6   before you prepared your report?                 6        A. No.
       7       A. Yes.                                      7        Q. Have you reviewed any reports
       8       Q. Did you review Dr. Crowley's              8   from any of the experts in the talcum powder
       9   report before you prepared your report?          9   litigation?
      10       A. Yes.                                     10        A. I have not.
      11       Q. And you reviewed Dr. Longo's             11        Q. Have you reviewed any of the
      12   report before you prepared your report; is      12   transcripts of defense experts in the talcum
      13   that right?                                     13   powder litigation?
      14       A. I've reviewed one report.                14        A. I've reviewed some deposition
      15   There was another one that became available     15   transcripts of various witnesses.
      16   after.                                          16        Q. Those witnesses are all listed
      17       Q. The second report is what you            17   in either your references or your literature;
      18   brought here with you today and we marked as    18   is that right?
      19   Exhibit 5; is that right?                       19        A. Yes.
      20       A. Yes.                                     20        Q. Did you review the entire
      21       Q. Any other plaintiff experts              21   transcripts of the witnesses that you've
      22   that you're aware of?                           22   identified?
      23       A. Not that I can think of, no.             23        A. I think for the most part I
      24       Q. Any other reports from                   24   would say yes.
                                              Page 51                                               Page 53
       1   plaintiffs' experts that you have reviewed?      1       Q. Did you review the exhibits to
       2        A. Well, there's a -- there is an           2   those depositions?
       3   article that's been submitted for publication    3       A. Yes. If they were provided to
       4   which I consider a piece of the scientific       4   me, I did, yes.
       5   literature. You mentioned Dr. Saed earlier,      5       Q. Did you believe that it was
       6   and I know that he has a relationship with       6   your job to do an independent assessment as
       7   this case as well.                               7   to whether or not the habitual use of talcum
       8        Q. What is his relationship with            8   powder causes or can cause ovarian cancer?
       9   this case, Dr. Saed?                             9            MS. O'DELL: Object to the
      10        A. He's provided some work at the          10       form.
      11   request of the attorneys here.                  11       A. Could you repeat the question,
      12        Q. Have you reviewed that work?            12   please.
      13        A. That's the subject of several           13   BY MR. ZELLERS:
      14   articles he's published previously, he and      14       Q. Sure.
      15   his colleagues, as well as the additional one   15            Plaintiffs asked you to --
      16   that I brought today.                           16   strike that.
      17        Q. Other than the articles that            17            Plaintiffs' counsel asked you
      18   you have listed on your reference and           18   to answer that question; is that right?
      19   literature list and the Saed article that you   19       A. Yes.
      20   brought with you today, are you aware of any    20       Q. You understood that they were
      21   other work that Dr. Saed has done in this       21   looking to develop an association or a causal
      22   matter?                                         22   relationship between the habitual use of
      23        A. No.                                     23   talcum powder and ovarian cancer, correct?
      24        Q. Any other plaintiff experts             24       A. Yes.
                                                                           14 (Pages 50 to 53)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 40 of 227 PageID:
                                  60385

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                              Page 54                                               Page 56
       1            MS. O'DELL: Object to the               1        A. Probably 5%.
       2       form.                                        2        Q. What percent of your income
       3            Excuse me, I'm sorry,                   3   comes from the work that you do as a
       4       gentlemen. Give me just one second to        4   consultant?
       5       object if I need to.                         5        A. Of course it varies quite a bit
       6            THE WITNESS: Sure.                      6   from moment to moment, but it would be less
       7            MS. O'DELL: Thank you.                  7   than 10%.
       8   BY MR. ZELLERS:                                  8        Q. Have you ever testified at
       9       Q. Did you consider the literature           9   trial?
      10   and the sources that refuted that association   10        A. Yes.
      11   or causal relationship?                         11        Q. On how many occasions?
      12       A. I tried to consider all the              12        A. Probably ten.
      13   available literature.                           13        Q. The 30 to 35 depositions that
      14       Q. When you wrote your report               14   you've given previously, those have been in
      15   setting forth your opinions, did you set        15   the context of you providing litigation
      16   forth the sources that refuted the              16   consulting services; is that right?
      17   propositions you were making?                   17        A. In terms of expert testimony,
      18       A. I cited several sources that on          18   yes.
      19   the surface might seem to refute my opinions.   19        Q. The trial appearances that
      20       Q. And you believe that is                  20   you've made, are those also in your capacity
      21   contained in your report which we marked as     21   as an expert witness?
      22   Exhibit 2; is that right?                       22        A. Yes.
      23       A. Yes.                                     23        Q. Have you been involved in other
      24       Q. Have you been involved in any            24   litigations?
                                              Page 55                                               Page 57
       1   other talcum powder litigation other than        1       A. Yes.
       2   this talc MDL matter that Mr. Abney talked to    2       Q. What other litigations have you
       3   you about?                                       3   been involved in as an expert?
       4        A. No, I haven't.                           4       A. Well, I've been asked to
       5        Q. In the 30 to 35 occasions that           5   provide opinions and testify in a number of
       6   you've testified in the past, have any of        6   cases, most of which involved personal injury
       7   those been on issues relating to talcum          7   in the occupational setting or environmental
       8   powder and any association between talcum        8   exposures.
       9   powder and ovarian cancer?                       9       Q. Has the majority of your expert
      10        A. No.                                     10   work in the occupational setting and for
      11        Q. You are not an expert in                11   environmental exposures been on behalf of
      12   asbestos, correct?                              12   plaintiffs?
      13             MS. O'DELL: Object to the             13       A. No, it's been split about
      14        form.                                      14   50/50, plaintiff and defense.
      15        A. I'm an occupational medicine            15       Q. Have you ever been retained in
      16   physician, and I have a significant amount of   16   a case involving cosmetic products?
      17   awareness and training regarding asbestos as    17       A. No.
      18   it relates to occupational exposures and        18       Q. Your curriculum vitae that we
      19   general environmental exposures, but I don't    19   marked as Exhibit 3, is it correct and up to
      20   consider myself an asbestos expert.             20   date?
      21   BY MR. ZELLERS:                                 21       A. It was up to date at the time
      22        Q. What percentage of your time do         22   of submission of my report in the end of
      23   you spend working as a consultant? And I'm      23   2018.
      24   talking about your professional time.           24       Q. What additions need to be made
                                                                           15 (Pages 54 to 57)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 41 of 227 PageID:
                                  60386

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                              Page 58                                               Page 60
       1   or corrections need to be made to your CV,       1   is that right?
       2   Exhibit 3, to bring it up to date?               2        A. Yes.
       3       A. Well, I've terminated a                   3        Q. What percentage of your time is
       4   relationship with the University of Texas        4   spent in the clinical practice of medicine?
       5   Medical Branch in Galveston where I was          5        A. Currently I see patients
       6   their -- the medical director of their           6   one-half day a week and work as a supervisor
       7   Employee Health Services Clinic. I continue      7   of the occupational medicine residents for
       8   to be -- serve as an assistant clinical          8   additional time during the week, so clinical
       9   professor of preventive medicine and family      9   activities would be about probably 12 hours a
      10   medicine at that institution.                   10   week.
      11             I have terminated my                  11        Q. Do you see or treat women for
      12   relationship with the Enbridge Corporation as   12   gynecologic cancer?
      13   their medical director.                         13        A. I do not.
      14             The Spectra Energy entry, which       14        Q. You have never worked for a
      15   is about the seventh on the list of             15   company that manufactures cosmetic products,
      16   professional activities, is also terminated     16   correct?
      17   as that was a company that was merged and       17        A. That's correct.
      18   became Enbridge.                                18        Q. You're not a gynecologist or an
      19       Q. Any other corrections or                 19   oncologist, correct?
      20   updates to your curriculum vitae that we've     20        A. That's correct.
      21   marked as Exhibit 3?                            21        Q. You're not a cancer biologist?
      22       A. No.                                      22             MS. O'DELL: Object to the
      23       Q. Why are you no longer serving            23        form.
      24   as medical director, Employee Health Services   24        A. That's correct.
                                              Page 59                                               Page 61
       1   with the University of Texas?                    1   BY MR. ZELLERS:
       2            MS. O'DELL: Objection to form.          2       Q. You are not a geologist,
       3       A. That was a contract that I had            3   mineralogist or microscopist?
       4   through the University of Texas Houston          4       A. That's correct.
       5   College of Nursing that provided those           5       Q. You're not an epidemiologist?
       6   services to UTMB, and UTMB decided to make a     6       A. Well, I may be considered an
       7   change and go with another contractor.           7   epidemiologist simply by my appointment as an
       8   BY MR. ZELLERS:                                  8   associate professor in the Department of
       9       Q. Why are you no longer serving             9   Epidemiology at the School of Public Health
      10   as medical director for Spectra Energy          10   here in Houston.
      11   Corporation and Enbridge Corporation?           11       Q. Do you have any professional
      12       A. Well, Spectra Energy no longer           12   education in the field -- well, strike that.
      13   exists; it became Enbridge Corporation. And     13            Have you ever published or
      14   in October of 2018, I determined that I did     14   conducted a meta-analysis?
      15   not -- I no longer had sufficient time to       15       A. I have conducted meta-analyses.
      16   provide that service.                           16   I've not published them.
      17       Q. Your undergraduate degree was            17       Q. You did not do any type of
      18   in biologic sciences with a concentration in    18   fellowship in epidemiology, correct?
      19   engineering; is that right?                     19       A. That's correct.
      20       A. Yes.                                     20       Q. You're not board certified in
      21       Q. You received a Ph.D. in                  21   epidemiology; is that right?
      22   toxicology; is that right?                      22       A. I don't believe there is a
      23       A. Yes.                                     23   board certification in epidemiology.
      24       Q. And then later an M.D. degree;           24       Q. You're not a biostatistician or
                                                                            16 (Pages 58 to 61)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 42 of 227 PageID:
                                  60387

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 62                                             Page 64
       1   a pulmonologist?                                 1       A. I think I had opinions about
       2        A. That's correct.                          2   talcum powder and its constituents, but if
       3        Q. You're not a material                    3   you could be more specific, I might be able
       4   scientist?                                       4   to give you a more specific answer.
       5        A. That's correct.                          5   BY MR. ZELLERS:
       6        Q. Nor are you a pathologist?               6       Q. Did you ever, before getting
       7        A. Correct.                                 7   involved in this litigation in October of
       8        Q. You've never been involved in            8   2018, do research -- strike that.
       9   any pathological exam or research relating to    9            You've never published on
      10   ovarian cancer; is that right?                  10   talcum powder, correct?
      11            MS. O'DELL: Object to the              11       A. That's correct.
      12        form.                                      12       Q. You have never published on the
      13        A. I'm not sure exactly what you           13   constituent components of talcum powder,
      14   mean by your question.                          14   correct?
      15   BY MR. ZELLERS:                                 15       A. That may not be the case. I've
      16        Q. Sure. Let me withdraw that.             16   done work in some other minerals which have
      17            You've never been involved in          17   resulted in publications, for example,
      18   terms of the research relating to ovarian       18   vermiculite, which have touched on the issues
      19   cancer, correct?                                19   of asbestos, association with talc,
      20        A. Not specifically, no.                   20   association with other minerals, but never
      21        Q. You've never authored any               21   specifically regarding talc.
      22   literature or publications relating to talcum   22       Q. Are those publications on your
      23   powder?                                         23   CV?
      24        A. No.                                     24       A. They are.
                                               Page 63                                             Page 65
       1        Q. Or relating to ovarian cancer,           1       Q. That we marked as Exhibit 3?
       2   correct?                                         2       A. Yes.
       3        A. No.                                      3       Q. Okay. Have you ever
       4        Q. Okay. What journals -- well,             4   communicated with the FDA regarding talcum
       5   strike that.                                     5   powder?
       6            You have never published on             6       A. I've not.
       7   fragrance chemicals; is that right?              7       Q. Have you ever communicated with
       8            MS. O'DELL: Object to the               8   Health Canada regarding talcum powder?
       9        form.                                       9       A. No.
      10        A. That's correct.                         10       Q. When did you first start
      11   BY MR. ZELLERS:                                 11   preparing your report which we've marked as
      12        Q. Never done any research on              12   Exhibit 2?
      13   fragrance chemicals, correct?                   13       A. Well, I began a literature
      14        A. I've done some work with                14   review immediately after talking to
      15   fragrance chemicals and health effects that     15   Mr. Abney.
      16   are associated with them, but I have not -- I   16       Q. My question, I guess, is: When
      17   would not classify that as research or          17   did you start writing your report?
      18   publication.                                    18       A. Well, technically I started
      19        Q. You had no opinions regarding           19   writing my report after I was retained by
      20   talcum powder or any of its constituent         20   plaintiffs' counsel.
      21   components before getting involved in this      21       Q. Late October, early
      22   litigation; is that right?                      22   November 2018?
      23            MS. O'DELL: Object to the              23            MS. O'DELL: Object to the
      24        form.                                      24       form, misstates his prior testimony.
                                                                           17 (Pages 62 to 65)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 43 of 227 PageID:
                                  60388

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 66                                              Page 68
       1        A. In October of 2018.                      1   and bolts of what goes on legally in this
       2   BY MR. ZELLERS:                                  2   case. I know there are multiple lawsuits,
       3        Q. Have you reviewed any of the             3   and I'm not sure which ones those -- these
       4   deposition transcripts of any of the experts     4   are pertinent to.
       5   that have been deposed in this litigation?       5   BY MR. ZELLERS:
       6        A. Yes.                                     6        Q. My question is a little
       7        Q. What deposition transcripts of           7   different and I hope pretty simple: In
       8   experts have you reviewed?                       8   addition to the depositions, transcripts and
       9        A. Oh, of experts? No, I have not           9   reports that you have listed on pages 27 and
      10   reviewed -- well, I've reviewed -- I've         10   28 of Exhibit 4, your literature list, are
      11   reviewed expert depositions, but I don't know   11   there any additional depositions or
      12   what case they were deposed in, but it          12   transcripts that you've reviewed?
      13   relates to talcum powder and ovarian cancer     13        A. Pardon me for a moment while I
      14   issue.                                          14   review this.
      15        Q. What expert depositions have            15            (Document review.)
      16   you reviewed?                                   16        A. No, I'm not aware that there
      17        A. They're all cited in the                17   are.
      18   literature exhibit.                             18   BY MR. ZELLERS:
      19        Q. All of the deposition                   19        Q. Your testimony earlier was that
      20   transcripts that you've reviewed are cited in   20   you have reviewed each of those depositions
      21   Exhibit 4?                                      21   in their entirety; is that right?
      22        A. I think any of the transcripts          22        A. Yes.
      23   that I review are -- reviewed are probably      23        Q. You have also reviewed the
      24   included in here.                               24   exhibits to those depositions; is that right?
                                               Page 67                                              Page 69
       1        Q. Are you aware of reviewing any           1       A. If they were made available to
       2   transcripts that you did not include in your     2   me, I've looked at all those exhibits as
       3   literature statement?                            3   well.
       4        A. I'm not aware, but I can't tell          4       Q. On page 27 of Exhibit 4, who is
       5   you as I'm sitting here right now whether all    5   Annie Yessaian?
       6   of those are included in this literature         6       A. On page 24?
       7   statement or not.                                7       Q. Strike that. I'm sorry. On
       8        Q. You -- looking at page --                8   page 27 of Exhibit 4 --
       9             MS. O'DELL: I'm sorry. Go              9       A. I see.
      10        ahead.                                     10       Q. -- at the bottom, who is Annie
      11   BY MR. ZELLERS:                                 11   Yessaian?
      12        Q. Are there any that you believe          12       A. I don't recall.
      13   you have reviewed that are not included in      13       Q. You reviewed her entire
      14   the literature statement?                       14   transcript and you don't recall who she is?
      15        A. Well, let me just see here.             15       A. I don't.
      16             There are --                          16       Q. Well, go to the next page. Who
      17             MS. O'DELL: I think they're at        17   is Pat Downey?
      18        the end, Dr. Carson.                       18       A. I believe Pat Downey is an
      19             THE WITNESS: At the very end.         19   operative of the Imerys company.
      20        A. Beginning on page 27 is a list          20       Q. Do you know what Mr. Downey's
      21   of the depositions, transcripts and reports     21   position is?
      22   that I've reviewed, which include some of the   22       A. It's a supervisory position
      23   expert witnesses, but again, I would have to    23   regarding -- regarding quality of the talc
      24   say I'm -- I'm sort of unaware of the nuts      24   product.
                                                                           18 (Pages 66 to 69)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 44 of 227 PageID:
                                  60389

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                              Page 70                                              Page 72
       1        Q. Who is John Hopkins?                     1   BY MR. ZELLERS:
       2        A. John Hopkins is an official, I           2       Q. Once you looked at these
       3   believe, of -- I'm not sure -- of Johnson &      3   documents, the Imerys documents and the
       4   Johnson, I believe, who has some oversight of    4   documents produced by the Johnson & Johnson
       5   talc quality as well.                            5   companies, did you ask plaintiffs' counsel
       6        Q. Susan Nicholson, who is she?             6   for any additional documents?
       7        A. I don't recall.                          7       A. I did not. My understanding is
       8        Q. Who is Julie Pier?                       8   that most of these are reports, testing
       9        A. Julie Pier is another scientist          9   reports, and most of them are positive
      10   who works for Imerys, who is responsible for    10   results regarding the presence of asbestos or
      11   testing and quality.                            11   fibers in the product. And I know that there
      12        Q. In your clinical and academic           12   were many others that may not have shown
      13   practice, do you typically rely upon            13   positive results that I did not look at.
      14   depositions of company witnesses or experts?    14       Q. Did you ask the plaintiff
      15            MS. O'DELL: Object to the              15   attorneys to show you or provide you with the
      16        form.                                      16   testing documentation that showed an absence
      17        A. If there's pertinent                    17   of asbestos or asbestos fibers in the talcum
      18   information in there that leads me to other     18   powder?
      19   areas or helps me formulate my opinions, then   19       A. Regarding the test results that
      20   yes.                                            20   are equivalent to these that were negative,
      21   BY MR. ZELLERS:                                 21   no, I did not request those.
      22        Q. In the papers and publications          22       Q. Did you review documents
      23   that you have identified in your curriculum     23   relating to any fragrance chemicals that are
      24   vitae, Exhibit 3, do you ever recall citing     24   contained in or that you believe are
                                              Page 71                                              Page 73
       1   to company witness deposition testimony?         1   contained in the talcum powder?
       2       A. I don't typically cite                    2       A. Yes. I did review some lists
       3   deposition testimonies in published papers.      3   and, of course, Dr. Crowley's report.
       4       Q. You cite to various company               4       Q. Do you have any idea or
       5   documents. This is on pages 29 to 30 of          5   understanding as to the amount or amounts of
       6   Exhibit 4, your list of literature; is that      6   the fragrance chemicals that are contained in
       7   right?                                           7   the talcum powder in either the Johnson &
       8       A. Yes.                                      8   Johnson Consumer company talcum powder that's
       9       Q. Did you rely on these documents           9   involved in this litigation?
      10   in formulating your opinions?                   10            MS. O'DELL: Object to the
      11       A. Yes.                                     11       form.
      12       Q. Were these documents selected            12            MR. ZELLERS: Let me withdraw
      13   for you by plaintiffs' counsel?                 13       that.
      14       A. Yes, they were.                          14   BY MR. ZELLERS:
      15       Q. Are you able to identify what            15       Q. Do you know or have any
      16   each of the documents are?                      16   understanding as to the amounts of fragrance
      17            MS. O'DELL: Based on the Bates         17   chemicals that are in the talcum powder?
      18       number?                                     18       A. I do not have the specific
      19            MR. ZELLERS: Based on the              19   formulation or quantities of those substances
      20       Bates numbers.                              20   that contributed to the products.
      21       A. No, I am not. I would have to            21       Q. Do --
      22   look at each individual document to refresh     22            MS. O'DELL: Excuse me.
      23   my memory as to what it contains.               23            MR. ZELLERS: Ms. O'Dell,
      24            ///                                    24       please, I'm going to let the doctor
                                                                           19 (Pages 70 to 73)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 45 of 227 PageID:
                                  60390

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 74                                              Page 76
       1      finish.                                       1   understanding of business practices and these
       2            MS. O'DELL: In that instance,           2   types of industries, I've reviewed an
       3      I don't know that he was, and so if he        3   extremely small percentage of those.
       4      was, my apologies.                            4        Q. Is it your practice in your
       5            MR. ZELLERS: It's okay.                 5   academic work or your clinical research work
       6            MS. O'DELL: I've been on my             6   to rely on internal company documents?
       7      best behavior today, as you know,             7        A. Yes, it is.
       8      so -- but I don't want the witness to         8        Q. Do you rely on internal company
       9      feel as if they're being cut off, and         9   documents when you publish papers?
      10      because Dr. Carson is a very polite          10        A. In some cases.
      11      gentlemen, he would let you interrupt        11        Q. Can you tell me in what cases
      12      him.                                         12   or instances you have relied on internal
      13            MR. ZELLERS: Of course.                13   company documents in your publications?
      14            MS. O'DELL: And I don't think          14        A. Well, for example, I did -- I
      15      that's fair.                                 15   was involved in some research work in
      16            So, Dr. Carson, if you're              16   conjunction with NIOSH at the O.M. Scott
      17      finished, great. If you're not, you          17   Company at Marysville, Ohio, where we did
      18      may continue.                                18   a -- we performed a research in the company
      19      A. Well, I was going to say that             19   and relied on some internal documents in
      20   my opinion is that there are very small         20   terms of gauging concentrations, industrial
      21   quantities of those substances that             21   hygiene records and so forth, in order to
      22   contribute to the fragrance component.          22   draw conclusions that were pertinent to those
      23   BY MR. ZELLERS:                                 23   publications.
      24      Q. Do you know how those                     24        Q. Was that data or were those
                                               Page 75                                              Page 77
       1   quantities of fragrance chemicals may have       1   internal communications that you relied on?
       2   changed over the years?                          2        A. They were both.
       3        A. My understanding is they have            3        Q. What is the publication on your
       4   not changed dramatically, but there have been    4   CV where you relied on those materials?
       5   certain substitutions over time.                 5        A. Well, let me see here. I think
       6        Q. Do you agree that to the extent          6   the first author -- looking back here -- the
       7   that you have reviewed internal documents,       7   first author would be Jim Lockey.
       8   either of Imerys or from Johnson & Johnson       8        Q. Looking at page 6?
       9   companies, that you have only reviewed the       9        A. It's on page 6, and the --
      10   documents that were hand-selected by the        10   there are two publications there. One is
      11   plaintiff lawyers for you to review?            11   Pulmonary Changes After Exposure to
      12            MS. O'DELL: Object to the              12   Vermiculite Contaminated With Fibrous
      13        form.                                      13   Tremolite that appeared in the American
      14        A. I agree that the only documents         14   Review of Respiratory Disease in 1984.
      15   that I've reviewed regarding the internal       15             There's another publication
      16   products of Johnson & Johnson or Imerys are     16   which is a book chapter called Pulmonary
      17   the ones that were provided by the              17   Hazards From Vermiculite that appeared in a
      18   plaintiffs' attorneys.                          18   book titled Health Issues Related to Metal
      19   BY MR. ZELLERS:                                 19   and Nonmetallic Mining.
      20        Q. Do you know what percentage of          20        Q. Do you agree that when you have
      21   the documents that have been produced in this   21   been provided only a small subset of the
      22   litigation by the Johnson & Johnson companies   22   documents of a company relating to a
      23   and by Imerys you have reviewed?                23   particular product, that those documents can
      24        A. Well, based on my general               24   potentially be misleading?
                                                                           20 (Pages 74 to 77)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 46 of 227 PageID:
                                  60391

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                               Page 78                                              Page 80
       1             MS. O'DELL: Object to the              1   department?
       2        form.                                       2       A. She's in my department, yes.
       3        A. I don't agree that that's the            3       Q. You understand she's a
       4   case because I am capable of understanding       4   lawyer -- strike that.
       5   that it's a subset of available information,     5            You understand she's an expert
       6   and I can make a reliable determination on       6   for the plaintiffs in this litigation?
       7   the pertinence of that material regardless.      7       A. I didn't know that.
       8   BY MR. ZELLERS:                                  8       Q. Dr. Ness never told you that
       9        Q. Without looking at any other             9   she was an expert witness for plaintiffs in
      10   documents or any documents that may put the     10   this matter?
      11   documents you were provided in context?         11       A. No, we didn't discuss this
      12             MS. O'DELL: Object to the             12   case. We only discussed the issue.
      13        form.                                      13       Q. Any other colleagues that you
      14        A. It depends on the specific              14   discussed your report and opinions with?
      15   case, but I would say in most cases, yes.       15            MS. O'DELL: Object to the
      16   BY MR. ZELLERS:                                 16       form.
      17        Q. In this case, it was not                17       A. I think I shared some of my
      18   necessary for you to look at any documents      18   thinking with the occupational medicine
      19   other than those specific documents the         19   residents as a group and asked them to
      20   plaintiffs provided to you; is that your        20   consider certain issues in the case.
      21   testimony?                                      21   BY MR. ZELLERS:
      22             MS. O'DELL: Object to the             22       Q. Did they contribute to your
      23        form.                                      23   review and analysis and opinions?
      24        A. Regarding the contribution to           24       A. We had an interesting
                                               Page 79                                              Page 81
       1   my opinions, I would say, yes, it was not        1   discussion, but I don't think that changed my
       2   necessary.                                       2   opinions in any way.
       3   BY MR. ZELLERS:                                  3       Q. The opinions that you're
       4        Q. Did you do any independent               4   expressing in this case are your opinions; is
       5   investigation to reach your opinions, other      5   that right?
       6   than the literature search and review of         6       A. That's correct.
       7   websites that you told us about earlier?         7       Q. Your opinions you set forth in
       8        A. Other than just general                  8   your report beginning on page 7; is that
       9   discussion with colleagues, no.                  9   right?
      10        Q. Did any of the colleagues that          10       A. Let me refer to my report, if
      11   you spoke with provide you with any             11   you don't mind.
      12   substantive support for your opinions?          12            MS. O'DELL: Object to the
      13        A. Not that I can recall. It was           13       form.
      14   mostly just helpful feedback.                   14       A. I would say -- I would say in
      15        Q. The colleagues that you spoke           15   answer to that question that, yes, my
      16   with were who?                                  16   opinions do begin on page 7 of the report.
      17        A. Various colleagues in my                17   BY MR. ZELLERS:
      18   department or in the School of Public Health.   18       Q. Your first opinion set forth on
      19        Q. Who?                                    19   page 7 is that talcum powder is immunogenic
      20        A. Well, Dr. George Delclos, who           20   and carcinogenic; is that right?
      21   is a pulmonologist; Dr. Brett Perkison, who     21       A. Yes.
      22   is an occupational medicine physician;          22            MS. O'DELL: Excuse me.
      23   Roberta Ness, who is an epidemiologist.         23   BY MR. ZELLERS:
      24        Q. Roberta Ness is in your                 24       Q. Your second opinion is that
                                                                           21 (Pages 78 to 81)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 47 of 227 PageID:
                                  60392

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 82                                              Page 84
       1   perineal use of talcum powder results in         1            MS. O'DELL: Object to the
       2   direct exposure to the ovaries either via        2       form.
       3   inhalation or migration through the female       3       A. It's an anatomical fact. The
       4   reproductive tract, correct?                     4   physiology of the reproductive system does
       5       A. I would not phrase the opinion            5   not provide the ovaries with the kind of
       6   in that way, but in general, that is my          6   clearance system that, for example, the lungs
       7   opinion, yes.                                    7   would have for inhaled exposures.
       8       Q. How would you phrase your                 8   BY MR. ZELLERS:
       9   second opinion?                                  9       Q. The words "no intrinsic
      10       A. I think my second opinion                10   elimination system," are those your words or
      11   relates mostly to the direct exposure to the    11   are those words that you've seen reported in
      12   reproductive tract that perineal use of         12   another study or another paper?
      13   talcum powder produces.                         13       A. I think that's a fairly generic
      14       Q. Are you opining as to                    14   description, that those are my words.
      15   inhalation as an exposure of talcum powder to   15       Q. Your fourth opinion is that you
      16   women's ovaries?                                16   believe that the epidemiological studies on
      17            MS. O'DELL: Object to the              17   talcum powder and ovarian cancer show about a
      18       form.                                       18   30% increased risk; is that right?
      19       A. Only as a secondary route of             19       A. Correct.
      20   exposure.                                       20            MS. O'DELL: Object to the
      21   BY MR. ZELLERS:                                 21       form.
      22       Q. Is it part of your opinions or           22   BY MR. ZELLERS:
      23   do you defer to other experts on inhalation?    23       Q. As you told us at the outset,
      24       A. I would include that as my               24   those are all still your opinions, although
                                               Page 83                                              Page 85
       1   opinion.                                         1   you do believe even stronger that there is a
       2       Q. So you're testifying here today           2   causal association between talcum powder and
       3   that the perineal use of talcum powder           3   ovarian cancer; is that right?
       4   results in direct exposure to the ovaries        4        A. That's correct.
       5   through migration through the female             5        Q. Have you published on your
       6   reproductive tract and that inhalation also      6   theory that baby powder causes ovarian
       7   results in exposure of talcum powder to the      7   cancer?
       8   ovaries; is that right?                          8        A. No.
       9       A. That is correct, but my basic             9        Q. Do you have plans to do that?
      10   opinion is that perineal use of talcum powder   10        A. Not presently.
      11   exposes the entire reproductive tract,          11        Q. Have you conducted any tests or
      12   including the pelvic cavity. So it's a bit      12   experiments to confirm your theory that talc
      13   more extensive than your phrasing.              13   migrates to the ovaries?
      14       Q. Your third opinion is very               14            MS. O'DELL: Object to the
      15   similar to your first opinion, except that      15        form.
      16   here you add that it's your opinion that the    16        A. These are conclusions that I
      17   ovaries are particularly susceptible to the     17   have drawn based on published literature. I
      18   carcinogenicity of talcum powder because they   18   wouldn't characterize them as a theory. I
      19   have, in your words, "no intrinsic              19   think they're pretty much established fact.
      20   elimination system"; is that right?             20   BY MR. ZELLERS:
      21       A. That's correct.                          21        Q. I'm going to ask you about all
      22       Q. Is that something you came up            22   these opinions, and so we'll go through the
      23   with on your own, no intrinsic elimination      23   literature and determine -- or at least I'll
      24   system?                                         24   ask you questions about why you think that
                                                                           22 (Pages 82 to 85)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 48 of 227 PageID:
                                  60393

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 86                                             Page 88
       1   some of these matters are established fact.      1   you aware of any article that identifies
       2            My question is: Did you do any          2   inflammation in a woman's reproductive tract
       3   tests or experiments as part of your review      3   resulting from external genital talc
       4   and analysis in this matter?                     4   application?
       5       A. I did not.                                5            MS. O'DELL: Object to the
       6       Q. Did you do any tests or                   6       form.
       7   experiments relating to your opinion that        7       A. I would say that the studies
       8   talc causes cancer via inflammation?             8   which have looked at that have relied on the
       9       A. I did not.                                9   result of internal application to show
      10       Q. Can you identify any article             10   migration. There have been studies that have
      11   that identifies inflammation anywhere in a      11   shown inflammation as the result of talc, and
      12   woman's reproductive tract that results from    12   in my opinion, external application is the
      13   external genital talc application?              13   same as internal application in the
      14            MS. O'DELL: Object to the              14   reproductive tract.
      15       form.                                       15   BY MR. ZELLERS:
      16       A. I think there are a number of            16       Q. I don't mean to be
      17   published articles that allude to that          17   argumentative, and I don't want to be, but
      18   relationship and draw a fairly strong           18   can you name me an article that identifies
      19   conclusion that it exists.                      19   inflammation in a woman's reproductive tract
      20            MS. O'DELL: Mike, excuse me,           20   resulting from external genital talc
      21       and I'm sorry to interrupt. We've           21   application?
      22       been going over an hour and a half.         22            MS. O'DELL: Objection, asked
      23       Are you at a point where we can take        23       and answered.
      24       just a short break for...                   24       A. I can't specifically.
                                               Page 87                                             Page 89
       1            MR. ZELLERS: Sure, we can.              1            MR. ZELLERS: Let's take a
       2       Let me just ask these couple of              2       break.
       3       questions, and then we'll take a             3            THE VIDEOGRAPHER: We're off
       4       break.                                       4       the record, 10:37, end of Tape 1.
       5            MS. O'DELL: Sure.                       5            (Recess taken, 10:37 a.m. to
       6   BY MR. ZELLERS:                                  6       10:55 a.m.)
       7       Q. So please identify for me any             7            THE VIDEOGRAPHER: We're on the
       8   articles that you have reviewed that identify    8       record at 10:55, beginning of Tape 2.
       9   inflammation anywhere in a woman's               9   BY MR. ZELLERS:
      10   reproductive tract resulting from external      10       Q. Dr. Carson, two of the things
      11   genital talc application.                       11   that you have reviewed since authoring your
      12            MS. O'DELL: Objection to form.         12   report in November of 2018 that you believe
      13       A. I think -- I think the research          13   support your conclusions in this matter and
      14   evidence that includes the epidemiology         14   your opinions in this matter are the draft
      15   piece, which is limited to external             15   screening assessment from Health Canada,
      16   application of talcum powder, has significant   16   which we marked as Exhibit 9, and the Taher
      17   enough correspondence with the biological       17   paper, which has been marked as Exhibit 7; is
      18   experimentation literature that it allows us    18   that right?
      19   to draw those conclusions.                      19       A. Yes.
      20   BY MR. ZELLERS:                                 20       Q. Have you looked into what other
      21       Q. I understand you've drawn some           21   public health authorities, other than
      22   conclusions here, and I'm going to ask you      22   Health Canada, have had to say about talc and
      23   about these conclusions.                        23   ovarian cancer?
      24            But what my question is: Are           24       A. Yes, I have.
                                                                           23 (Pages 86 to 89)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 49 of 227 PageID:
                                  60394

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 90                                              Page 92
       1       Q.    Did you -- strike that.                1            MR. ZELLERS: I'm asking the
       2            Are you familiar with the               2       doctor a question.
       3   Center for Disease Control in the United         3            MS. O'DELL: Okay.
       4   States?                                          4            MR. ZELLERS: So --
       5       A. Yes.                                      5            MS. O'DELL: That's specific
       6       Q. Did you review the CDC and its            6       language, and if you have specific
       7   position on any relationship between talcum      7       language that you're reading from the
       8   powder and ovarian cancer?                       8       report or you've taken from the
       9       A. That may have been part of my             9       report, I would just ask that you show
      10   review, but I don't specifically recall now     10       the doctor.
      11   what the CDC has on that issue.                 11            MR. ZELLERS: Ms. O'Dell, I
      12       Q. CDC does not list talc or                12       have my question. I'm asking my
      13   talcum powder as a risk factor for ovarian      13       question. The doctor can either
      14   cancer, correct?                                14       answer my question or not answer my
      15       A. It's quite possible.                     15       question. I'm not reading from a
      16       Q. Mayo Clinic and a number of              16       document. I'm reading from my notes.
      17   medical centers do not list talc as a risk      17            MS. O'DELL: I object to the
      18   factor for ovarian cancer, correct?             18       form of the question. I think it's
      19       A. That may be true.                        19       unfair.
      20       Q. Did you consider, or are you             20            MR. ZELLERS: Can you answer
      21   familiar with the National Cancer Institute?    21       that question, Doctor?
      22       A. I am.                                    22       A. I would agree that that
      23       Q. National Cancer Institute is a           23   restates the general opinion of the NCI as
      24   leading health authority in the United          24   published, but in order to verify the
                                               Page 91                                              Page 93
       1   States; is that right?                           1   specific wording, I would need to look at the
       2        A. Yes.                                     2   document.
       3        Q. Particularly in the area of              3   BY MR. ZELLERS:
       4   cancer and materials that may or may not be      4       Q. Why would you rely on
       5   carcinogenic; is that right?                     5   Health Canada but not these other public
       6        A. Well, the National Cancer                6   health organizations, including Center for
       7   Institute is responsible for guiding national    7   Disease Control and the National Cancer
       8   research policies as it relates to cancers,      8   Institute?
       9   and that's one of their considerations is        9       A. Well, there are a number of
      10   substances that may be related to cancer.       10   reasons. There are lots of public health
      11        Q. When you reviewed what the              11   organizations. Many of them have different
      12   National Cancer Institute has determined with   12   interests and different approaches in the way
      13   respect to talcum powder and whether or not     13   that they address problems. For example,
      14   it is a risk factor for ovarian cancer, what    14   discussing the National Cancer Institute, its
      15   did you find?                                   15   primary focus is on research and treatments
      16        A. The most recent publication             16   regarding cancers, not necessarily causes,
      17   that I viewed discounts the relationship.       17   but it is a funder of basic research in the
      18        Q. In fact, the National Cancer            18   United States.
      19   Institute has concluded that the weight of      19             Health Canada is an
      20   the evidence does not support an association    20   organization whose charge is to -- is to
      21   between perineal talc exposure and increased    21   synthesize public health-related positions
      22   risk of ovarian cancer; is that right?          22   based on evidence and disseminate those to
      23              MS. O'DELL: Are you reading a        23   public -- the public through various
      24        quote from the document?                   24   healthcare organizations or agencies. And
                                                                           24 (Pages 90 to 93)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 50 of 227 PageID:
                                  60395

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 94                                              Page 96
       1   for that reason, I think it's important to       1   very beginning of the public comment period,
       2   look at the different focus.                     2   correct?
       3             Also, the Health Canada report         3       A. Yes.
       4   is a more contemporaneous report, which has      4       Q. You agree that Health Canada
       5   been based on more recent science than has       5   can take up to two years to either take
       6   been considered either by the NCI or some of     6   action or no action at all; is that right?
       7   the other public health organizations.           7       A. I don't know that to be the
       8        Q. The NCI's most recent update to          8   case, but it very well could be.
       9   its publication was January of 2019; is that     9       Q. How did you come to learn of
      10   right?                                          10   the Health Canada risk assessment?
      11             MS. O'DELL: Object to the             11       A. I believe the attorneys let me
      12        form.                                      12   know about it.
      13        A. It's current in terms of its            13       Q. The attorneys for plaintiffs in
      14   publication. I don't know that it's January     14   this matter that retained you?
      15   of '19; it may be. But it's still not based     15       A. Yes.
      16   on the most recently available literature.      16       Q. Were you involved in the Health
      17   BY MR. ZELLERS:                                 17   Canada risk assessment prior to its
      18        Q. But Health Canada is; is that           18   publication?
      19   right?                                          19       A. No.
      20        A. Health Canada is based on more          20       Q. Have you submitted any comments
      21   recent literature than the NCI position.        21   to Health Canada?
      22        Q. Health Canada and its                   22       A. Not yet.
      23   assessment is based upon the meta-analysis by   23       Q. Do you intend to submit
      24   Taher that we've marked as Exhibit 7; is that   24   comments to Health Canada?
                                               Page 95                                              Page 97
       1   right?                                           1       A. I might.
       2       A.     It is.                                2       Q. What comments do you intend to
       3             MS. O'DELL: Object to the              3   submit to Health Canada?
       4       form.                                        4       A. I haven't formulated them yet.
       5   BY MR. ZELLERS:                                  5       Q. Outside of litigation, do you
       6       Q. You have reviewed that paper              6   generally rely on draft assessments by
       7   and you believe it supports and strengthens      7   regulatory agencies?
       8   your opinions in this case; is that right?       8            MS. O'DELL: Object to the
       9       A. Yes.                                      9       form.
      10       Q. Does the National Cancer                 10       A. Yes.
      11   Institute review the peer-reviewed literature   11   BY MR. ZELLERS:
      12   as it relates to risk factors for ovarian       12       Q. Are you familiar with the
      13   cancer?                                         13   precautionary principle?
      14       A. They have a number of                    14       A. I am.
      15   committees that are set up for that purpose,    15       Q. What is the precautionary
      16   and it is -- it's a committee approach which    16   principle?
      17   is handled by a committee chairperson. The      17       A. The precautionary principle
      18   National Cancer Institute itself has some       18   states that changes should take place in the
      19   oversight of that process, but they defer to    19   face of a potential hazard until that hazard
      20   the committee chairs.                           20   is proved not to exist. It's a general
      21       Q. You understand that the Health           21   precept that's used in the EU, for example,
      22   Canada assessment is a draft; is that right?    22   and very different from the one that operates
      23       A. Yes.                                     23   in this country.
      24       Q. You understand that it's at the          24       Q. The principle in this country
                                                                           25 (Pages 94 to 97)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 51 of 227 PageID:
                                  60396

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                               Page 98                                             Page 100
       1   is that there needs to be scientific evidence    1            Did I read that correctly?
       2   in order to take action; is that right?          2        A. You did.
       3             MS. O'DELL: Object to the              3        Q. Is that your understanding of
       4        form.                                       4   what a precautionary approach is?
       5        A. Yes, that's correct.                     5        A. Yes. In general, the
       6   BY MR. ZELLERS:                                  6   precautionary principle can be restated that
       7        Q. The precautionary principle              7   an ounce of prevention is worth a pound of
       8   says even before there's full or complete        8   cure.
       9   scientific demonstration of cause and effect,    9        Q. Health Canada does not require
      10   it is appropriate to take a precautionary       10   a finding of causation such as required in
      11   approach; is that right?                        11   litigation matters in this country, the
      12        A. That's right.                           12   United States; is that right?
      13        Q. The Health Canada follows --            13        A. In order to adopt a document
      14   strike that.                                    14   that has a significant effect on general
      15             Health Canada follows and has         15   public health practices, no, it does not.
      16   adopted a precautionary approach; is that       16        Q. The Taher paper, that's another
      17   right?                                          17   paper that you have reviewed since you
      18        A. Yes.                                    18   published your report; is that right?
      19        Q. Please review                           19        A. Which paper? I'm sorry.
      20   Deposition Exhibit 14.                          20        Q. This is what we've marked as
      21             (Carson Deposition Exhibit 14         21   Exhibit 7. You brought it with you here
      22        marked.)                                   22   today?
      23   BY MR. ZELLERS:                                 23        A. Okay. Yes.
      24        Q. Deposition Exhibit 14 is the            24        Q. You've read the Taher 2018
                                               Page 99                                             Page 101
       1   Health Canada Decision-Making Framework for      1   manuscript; is that right?
       2   Identifying, Assessing and Managing Health       2        A. Yes.
       3   Risk.                                            3        Q. Where did you obtain that
       4            Do you see that?                        4   manuscript from?
       5       A. Yes.                                      5        A. This was obtained directly from
       6       Q. If you go to page 5 of                    6   one of the coauthors on this study to the
       7   Exhibit 14 --                                    7   plaintiffs' attorneys, who passed it along to
       8            MS. O'DELL: Feel free to                8   me.
       9       take -- review the document if you're        9        Q. So one of the coauthors on this
      10       not familiar with it, Dr. Carson.           10   study gave it to the plaintiffs' counsel, who
      11   BY MR. ZELLERS:                                 11   then gave it to you; is that right?
      12       Q. One of the underlying                    12        A. That's correct.
      13   principles in the Health Canada                 13        Q. Who was the author of this
      14   decision-making framework is use a              14   publication, Exhibit 7, that provided the
      15   precautionary approach; is that right?          15   paper to plaintiffs' counsel, if you know?
      16       A. That's right.                            16        A. I don't recall.
      17       Q. If we go to page 8, Health               17        Q. But one of these authors; is
      18   Canada defines the use of a precautionary       18   that right?
      19   approach, and looking at the second sentence:   19        A. It would -- yes.
      20   A precautionary approach to decision-making     20        Q. Why did you not include this
      21   emphasizes the need to take timely and          21   paper on either your reliance list or your
      22   appropriate preventative action, even in the    22   literature list?
      23   absence of a full scientific demonstration of   23        A. I didn't have it at the time
      24   cause and effect.                               24   that those were formulated.
                                                                          26 (Pages 98 to 101)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 52 of 227 PageID:
                                  60397

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 102                                             Page 104
       1       Q. Did you have access to the                1       A. Yes, I have.
       2   appendices and supplemental tables that are      2       Q. Do you know any of the authors
       3   referred to in the Taher 2018 publication        3   of this paper, Exhibit 7?
       4   which we've marked as Exhibit 7?                 4       A. No, I don't.
       5       A. The ones that are not in                  5       Q. Do you know the source of
       6   this -- in this document or --                   6   funding for this paper?
       7       Q. Yes.                                      7       A. I -- I think the sources of
       8       A. Those -- I have not thoroughly            8   funding are mentioned in here.
       9   examined those, but I do have access to them.    9       Q. Other than what's mentioned in
      10       Q. How do you have access to those          10   the paper, Exhibit 7, do you have any
      11   appendices and supplemental tables?             11   knowledge as to the sources of funding?
      12       A. They were also provided to me            12       A. There's a combination of
      13   by plaintiffs' counsel.                         13   sources. In part, this work is funded
      14       Q. Has the Taher publication,               14   through the plaintiffs' attorneys.
      15   which we've marked as Exhibit 7, been peer      15       Q. Have you communicated with any
      16   reviewed?                                       16   of the authors of this paper?
      17       A. It's in the process. This is a           17       A. No.
      18   manuscript that's just been accepted for        18       Q. Do you know the credentials of
      19   publication, so it has gone through peer        19   any of the authors of this paper?
      20   review.                                         20       A. I haven't investigated that.
      21       Q. It has gone through peer                 21       Q. In your epidemiological work
      22   review --                                       22   outside of litigation, do you rely on
      23       A. That's my understanding.                 23   articles that are funded at least in part by
      24       Q. -- and Exhibit 7 is the article          24   plaintiffs' counsel in litigation?
                                             Page 103                                             Page 105
       1   that you believe will be published; is that      1       A. If the articles represent good
       2   right?                                           2   science, I don't really pay much attention or
       3       A. This is a -- this is a working            3   worry about the funding source.
       4   manuscript which has gone through at least       4       Q. Do you know what conflicts of
       5   part of the peer-review process. There may       5   interest any of the authors have?
       6   be minor edits that occur to this, but this      6       A. I don't know specifically. I
       7   is substantially the final article.              7   can't recall if they're outlined in here.
       8       Q. How do you know that?                     8   But the -- those are also evaluated based on
       9       A. That's the general process of             9   the peer-review process.
      10   submitting publications to peer-reviewed        10       Q. Do you know whether some of the
      11   article -- journals.                            11   authors are serving as consultants to
      12       Q. How do you know -- I'm sorry,            12   plaintiffs' counsel in this litigation?
      13   did you finish?                                 13       A. I know that -- no, I don't know
      14       A. I'm finished.                            14   that. Excuse me, I gave an incorrect answer.
      15       Q. How did you know the status of           15       Q. Sure. Correct it, please.
      16   the peer-review process with respect to         16       A. I mentioned that part of the
      17   Exhibit 7?                                      17   funding for this research came from
      18       A. Because it's been accepted for           18   plaintiffs' counsel, and I'm not -- I don't
      19   publication.                                    19   know that that's the case. I was thinking of
      20       Q. How do you know that?                    20   another research report when I said that.
      21       A. That, I was told by the                  21       Q. Do you know whether or not, at
      22   plaintiffs' attorneys.                          22   least in part, funding for this paper, the
      23       Q. And you've accepted that; is             23   Taher paper, came from plaintiffs' counsel?
      24   that right?                                     24       A. No, I don't.
                                                                        27 (Pages 102 to 105)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 53 of 227 PageID:
                                  60398

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 106                                              Page 108
       1       Q. Taher, this paper, Exhibit 7,             1   factors is consistency; is that right?
       2   concludes that asbestos contamination does       2        A. Yes.
       3   not explain ovarian cancer, correct?             3        Q. You, in fact, are opining in
       4       A. It does come to that general              4   this case that there is consistency among the
       5   conclusion.                                      5   talcum powder ovarian cancer studies and
       6       Q. That's a different conclusion             6   publications; is that right?
       7   than you have formulated in this matter; is      7        A. Yes.
       8   that right?                                      8        Q. The authors of the Taher paper
       9       A. No, it's not.                             9   disagree with that conclusion; is that right?
      10       Q. You agree that asbestos                  10            MS. O'DELL: Object to the
      11   contamination does not explain ovarian          11        form.
      12   cancer; is that right?                          12        A. I don't think they disagree
      13       A. It doesn't completely explain            13   with that.
      14   ovarian cancer.                                 14   BY MR. ZELLERS:
      15       Q. Does it explain ovarian cancer?          15        Q. Turn to page 25, Table 2. This
      16            MS. O'DELL: Objection, asked           16   is, again, something that you have reviewed
      17       and answered.                               17   in preparation for your deposition; is that
      18       A. I -- I don't believe it                  18   right?
      19   completely explains ovarian cancer, no.         19        A. Well, I didn't review it in
      20   BY MR. ZELLERS:                                 20   preparation for the deposition, but I've
      21       Q. Turn to page 41 of Exhibit 7.            21   reviewed it recently.
      22   Look at the last three lines of the paper.      22        Q. At the request of plaintiffs'
      23   The authors of the Taher publication state:     23   counsel, correct?
      24   The similarity of findings between studies      24        A. Yes.
                                             Page 107                                              Page 109
       1   published prior to and after this point          1       Q. Table 2 is a summary of
       2   suggest asbestos contamination does not          2   evidence for each of the Hill criteria of
       3   explain the positive association between         3   causation as applied to perineal application
       4   perineal use of talc powder and the risk of      4   of talc and ovarian cancer.
       5   ovarian cancer.                                  5             Do you see that?
       6            Did I correctly state their             6       A. Yes.
       7   conclusion?                                      7       Q. Under Consistency, they state
       8       A. Well, there was a final clause            8   that 15 out of 30 studies reported positive
       9   of the sentence, but yes, you correctly read     9   and significant associations; is that right?
      10   that.                                           10       A. Yes.
      11       Q. The Taher authors also                   11       Q. 15 out of 30, that's 50%,
      12   discussed the lack of consistency among the     12   right?
      13   various talcum powder studies; is that right?   13       A. Yes.
      14            MS. O'DELL: Object to the              14       Q. 50% is no better than a coin
      15       form.                                       15   toss; is that right?
      16       A. I'm sorry, could you repeat              16             MS. O'DELL: Object to the
      17   that question?                                  17       form.
      18   BY MR. ZELLERS:                                 18       A. Well, I would have to also
      19       Q. Sure.                                    19   mention that the majority of those 30 studies
      20            You looked at the Bradford Hill        20   found positive associations. These are the
      21   factors in formulating your opinion; is that    21   ones that showed positive associations that
      22   right?                                          22   rose to the level of statistical
      23       A. Yes.                                     23   significance.
      24       Q. One of the Bradford Hill                 24             ///
                                                                        28 (Pages 106 to 109)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 54 of 227 PageID:
                                  60399

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 110                                             Page 112
       1   BY MR. ZELLERS:                                  1   studies that have shown a biological gradient
       2        Q. If an association is not                 2   at -- especially in relation to some of the
       3   statistically significant, then it can be due    3   subtypes of ovarian cancer.
       4   to chance; is that right?                        4   BY MR. ZELLERS:
       5        A. But if it's due to chance over           5        Q. And I'm going to ask you about
       6   and over and over again, and you keep getting    6   those questions, but right now I'm just
       7   a positive association, that argues very         7   asking you about the Taher paper.
       8   strongly against the chance as being the only    8        A. Well, I'm trying to just
       9   factor.                                          9   completely answer your question.
      10        Q. Can you answer my question: A           10        Q. I'm asking you about the Taher
      11   lack of a statistically significant             11   paper. You understand?
      12   association is consistent with or can be        12        A. Yes. This is all from the
      13   consistent with no risk, correct?               13   Taher paper that I read you.
      14             MS. O'DELL: Objection to form,        14        Q. Section 3.3.1 talks about
      15        asked and answered.                        15   evidence from human studies. That's on
      16        A. If you're referring to an               16   page 20; is that right?
      17   individual study, that might be the case;       17        A. Yes.
      18   however, when considering the Bradford Hill     18        Q. This section talks about
      19   criterion of consistency, you look at the       19   whether or not there is a consistent
      20   overall body of the literature and what it      20   dose-response found in those studies; is that
      21   tells you.                                      21   right?
      22             There's an obvious statistical        22            MS. O'DELL: What sentence are
      23   trend toward positive connection between        23        you pointing to?
      24   talcum powder perineal application and the      24            MR. ZELLERS: I'm asking the
                                             Page 111                                             Page 113
       1   occurrence of ovarian cancer, and the more       1       doctor questions based upon his review
       2   evidence that mounts, the more strongly that     2       of the paper, Ms. O'Dell.
       3   association is proven.                           3            MS. O'DELL: Okay. Feel free
       4   BY MR. ZELLERS:                                  4       to review it, Doctor, if you need to.
       5       Q. Would you say that 15 out of 30           5            THE WITNESS: I'm just taking a
       6   means there are consistent results across        6       look at this section.
       7   studies?                                         7   BY MR. ZELLERS:
       8       A. I think I've just explained to            8       Q. And if it helps you, look on
       9   you how I believe there are consistent           9   page 21, lines 174 through 177.
      10   results across studies.                         10            (Document review.)
      11       Q. The authors of the Taher paper           11   BY MR. ZELLERS:
      12   also conclude that they do not find a           12       Q. I only want to ask you about
      13   consistent dose-response in the papers that     13   two sentences. Are you ready for me to ask
      14   look at perineal application of talc and        14   you my question?
      15   ovarian cancer; is that right?                  15       A. Just one moment, please.
      16            MS. O'DELL: Object to the              16       Q. Sure.
      17       form.                                       17            (Document review.)
      18       A. Well, what they actually say is          18            THE WITNESS: All right, I'm
      19   that about half of the epidemiological          19       ready for your question.
      20   studies assess only one level of talc           20   BY MR. ZELLERS:
      21   exposure, ever versus never. So it's not        21       Q. The Taher paper states that
      22   possible from those studies to establish a      22   many of the studies only reported on the
      23   biological gradient.                            23   ovarian cancer risk assessing one exposure
      24            However, there are a number of         24   category and that exposure response analyses
                                                                        29 (Pages 110 to 113)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 55 of 227 PageID:
                                  60400

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 114                                             Page 116
       1   were not done in all studies; is that right?     1   inflammation in the tissues in which it
       2        A. Yes.                                     2   sequesters; is that right?
       3        Q. When conducted, findings from            3        A. Yes.
       4   trend analyses were not consistent; is that      4        Q. Assuming for the moment that
       5   correct?                                         5   talc can reach the ovaries, is it your
       6             MS. O'DELL: Object to the              6   opinion that talc produces chronic
       7        form.                                       7   inflammation in the ovaries and that this
       8        A. Yes.                                     8   somehow leads to ovarian cancer?
       9   BY MR. ZELLERS:                                  9        A. It is my opinion that talc
      10        Q. All right. With respect -- I'm          10   produces chronic inflammation in the
      11   done with that paper.                           11   epithelial tissues of the ovaries and
      12             You discuss your opinion              12   surrounding epithelial tissues and leads to
      13   number 1 on page 7 of your report; is that      13   both carcinogenesis initiation and promotion.
      14   right?                                          14        Q. There are no reports in the
      15        A. Yes.                                    15   literature of externally applied talc leading
      16        Q. You first state on page 7 that          16   to inflammation, granulomas, fibrosis or
      17   you believe talcum powder is immunogenic and    17   adhesions anywhere along a woman's
      18   produces chronic inflammation in the tissues;   18   reproductive tract, correct?
      19   is that right?                                  19            MS. O'DELL: Object to the
      20        A. Yes.                                    20        form, asked and answered.
      21        Q. You state that other components         21        A. Well, that's similar to the
      22   in talcum powder, including mineral fibers,     22   question that you asked earlier, and although
      23   asbestos, fibrous talc, carcinogenic metals     23   I'm not aware of experimental reports that
      24   and other chemicals intensify the               24   specifically jive with that condition,
                                             Page 115                                             Page 117
       1   inflammatory response and stimulate cell         1   certainly there are a lot of theoretical
       2   growth and proliferation; is that right?         2   reports that have been published.
       3       A. Yes.                                      3            For example, Dr. Ness' article
       4       Q. Other than asbestos, what                 4   from '99 lays out the theory of inflammation
       5   mineral fibers in talc intensify the             5   and relates that to talc exposure from
       6   inflammatory response?                           6   perineal application.
       7       A. Well, the endogenous fibrous              7   BY MR. ZELLERS:
       8   talc fibers also intensify the response.         8       Q. This is your colleague,
       9       Q. Other than asbestos and fibrous           9   Dr. Ness; is that right?
      10   talc fibers, what mineral fibers in talc do     10       A. Ness, and Coussens, when she
      11   you believe intensify the inflammatory          11   was at Pittsburgh.
      12   response?                                       12       Q. Dr. Ness, you showed her your
      13       A. I'm not really able to answer            13   report and asked for her comments; is that
      14   that question because I don't have a specific   14   right?
      15   opinion about it. I'm not a geologist.          15       A. I didn't show her the report.
      16       Q. Are the other chemicals that             16       Q. Well, you talked to her about
      17   you refer to in this section fragrance          17   and showed her your conclusions and your
      18   chemicals?                                      18   opinions; is that right?
      19       A. Yes.                                     19       A. No, I talked to her about the
      20       Q. Any others?                              20   paper.
      21       A. None that are intentionally              21       Q. Her paper?
      22   added.                                          22       A. Yes.
      23       Q. You claim, again on page 7,              23       Q. Did you share with her that you
      24   that talcum powder produces chronic             24   were going to be an expert for the plaintiffs
                                                                        30 (Pages 114 to 117)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 56 of 227 PageID:
                                  60401

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 118                                             Page 120
       1   in this litigation?                              1   talc relating to that, and to my knowledge,
       2       A. No, I didn't.                             2   there are no experimental reports or case
       3       Q. Did she wonder or ask why it              3   reports that can document that at the current
       4   was that you were researching or looking into    4   time.
       5   this issue?                                      5        Q. Granulomas, fibrosis and
       6       A. She -- I think she may have,              6   adhesions do not cause ovarian cancer,
       7   yeah.                                            7   correct?
       8       Q. And what did you tell her?                8            MS. O'DELL: Object to the
       9       A. I told her I had been recently            9        form.
      10   asked to look into it.                          10        A. The inflammatory process that
      11       Q. Did you tell her that you'd              11   is intimately connected with granuloma
      12   been asked to look into it by counsel for       12   formation may well be the same process that
      13   plaintiffs in the talc litigation?              13   results in mutation and promotion of ovarian
      14       A. No, I didn't.                            14   cancer. So I -- I could not agree completely
      15       Q. And that never came up; is that          15   with your statement.
      16   right?                                          16   BY MR. ZELLERS:
      17       A. It didn't.                               17        Q. Is there a good scientific
      18       Q. And she never talked to you or           18   basis today to opine that granulomas,
      19   told you about her experience and her work as   19   fibrosis or adhesions cause ovarian cancer?
      20   counsel -- strike that, as an expert for        20            MS. O'DELL: Object to the
      21   plaintiffs; is that your testimony?             21        form.
      22       A. Yes. It was a very brief                 22        A. No, I don't think they cause
      23   conversation.                                   23   ovarian cancer.
      24       Q. If up to 50% of all U.S. women           24            ///
                                             Page 119                                             Page 121
       1   have used genital talc, shouldn't there be       1   BY MR. ZELLERS:
       2   studies which have shown inflammation,           2        Q. Would you agree that not all
       3   granulomas, fibrosis or adhesions in a           3   inflammatory conditions lead to cancer?
       4   woman's reproductive tract?                      4        A. Yes.
       5            MS. O'DELL: Object to the               5        Q. It's true that all of us
       6       form.                                        6   experience inflammatory reactions of one sort
       7       A. Well, there are studies that              7   or another, including chronic conditions,
       8   show those things.                               8   that do not lead to cancer, correct?
       9   BY MR. ZELLERS:                                  9        A. That's correct. Although there
      10       Q. Please, tell me the published            10   is a strong relationship between inflammatory
      11   studies that demonstrate inflammation,          11   processes and the occurrence of cancers, and
      12   granulomas, fibrosis or adhesions in a          12   some of those inflammatory diseases that
      13   woman's reproductive tract from externally      13   you're referring to also have associations
      14   applied talc?                                   14   with increased rates of cancers.
      15       A. Well, you're adding a new                15            MR. ZELLERS: Move to strike as
      16   condition now.                                  16        nonresponsive.
      17       Q. I'm sorry if I didn't add that           17   BY MR. ZELLERS:
      18   before.                                         18        Q. Rheumatoid arthritis is an
      19       A. There are multiple studies that          19   inflammatory condition; is that right?
      20   show inflammation and other inflammatory        20        A. Yes, it is.
      21   reactions in connection with the occurrence     21        Q. Does it increase the risk of
      22   of ovarian cancer.                              22   ovarian cancer?
      23            The piece that you're now              23        A. I think I -- it does -- it's
      24   asking for is the external application of       24   not associated with ovarian cancer, but I
                                                                        31 (Pages 118 to 121)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 57 of 227 PageID:
                                  60402

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 122                                             Page 124
       1   think it may be associated with other            1       A. This is a list that I've put
       2   cancers.                                         2   together of some of the studies I've
       3       Q. Does -- strike that.                      3   considered and how they relate to things I
       4            Is psoriasis an inflammatory            4   might testify to today.
       5   condition?                                       5       Q. Why did you not tell me about
       6       A. Generally, it is.                         6   your list that you brought with you today
       7       Q. Is it associated with an                  7   before now?
       8   increased risk of ovarian cancer?                8       A. Well, I'm telling you about it
       9       A. Not that I'm aware.                       9   now.
      10       Q. In your report you state that            10       Q. My question is why did you not,
      11   inflammation is a normal body process that      11   when I asked you what you brought to the
      12   leads to the thwarting of infection and rapid   12   deposition today, not take the list out and
      13   healing; is that right?                         13   show us the list?
      14       A. That's correct.                          14       A. I didn't think of it.
      15       Q. If your inflammation theory is           15       Q. Okay. We'll mark your list as
      16   correct, why doesn't inflammation generally,    16   Deposition Exhibit 15.
      17   such as in pelvic inflammatory disease, cause   17            (Carson Deposition Exhibit 15
      18   ovarian cancer?                                 18       marked.)
      19       A. It may do so.                            19   BY MR. ZELLERS:
      20       Q. You are opining under oath here          20       Q. These are a number of notes,
      21   that pelvic inflammatory disease causes         21   four pages of notes. Are these all your
      22   ovarian cancer?                                 22   notes?
      23       A. I think there are experts who            23       A. Yes.
      24   have concluded that.                            24       Q. First page has got a section of
                                             Page 123                                             Page 125
       1       Q. What study are you relying on             1   articles on asbestos and ovarian cancer; is
       2   for that opinion or statement?                   2   that right?
       3       A. That's not part of the opinions           3       A. Yes.
       4   that I've been asked to consider in this --      4       Q. It also has inflammation and
       5   in this case.                                    5   cancer and a number of studies; is that
       6       Q. As you sit here, can you cite             6   right?
       7   me a publication or a study that finds that      7       A. Yes.
       8   pelvic inflammatory disease causes ovarian       8       Q. Second page has got cohort,
       9   cancer?                                          9   where you've listed out the four cohort
      10             MS. O'DELL: Object to the             10   studies; is that right?
      11       form.                                       11       A. Yes.
      12       A. Well, I have -- I have a list            12       Q. Beneath that are the
      13   of studies that relate inflammation to          13   meta-analyses where you've listed those out
      14   ovarian cancer and other cancers.               14   and made some notes on those, correct?
      15   BY MR. ZELLERS:                                 15       A. Yes.
      16       Q. Can you name me a study or a             16       Q. The back page of the second
      17   publication?                                    17   page has got a listing of a number of the
      18       A. Okay. I think I have my list             18   case-control studies, correct?
      19   here.                                           19       A. Yes. Those are duplicated on
      20       Q. You brought other materials              20   another page.
      21   with you?                                       21       Q. The third page has got a
      22       A. I brought this list.                     22   section on migration and studies that you're
      23       Q. All right. Well, what list are           23   looking at for that proposition, correct?
      24   you pulling out of your pocket?                 24       A. Correct.
                                                                        32 (Pages 122 to 125)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 58 of 227 PageID:
                                  60403

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 126                                             Page 128
       1       Q. Underneath that, ovarian cancer           1   authors conclude that pelvic inflammatory
       2   risk; is that right?                             2   disease causes ovarian cancer? Do you
       3       A. Yes.                                      3   believe each of the authors in the studies
       4       Q. Underneath that, talc and other           4   that you've identified, that their studies
       5   cancer; is that right?                           5   stand for that proposition?
       6       A. Yes.                                      6             MS. O'DELL: Object to form,
       7       Q. And then on the last page,                7       asked and answered.
       8   page 4, is a listing of the case-control         8       A. I think all of the studies that
       9   studies with the odds ratios and confidence      9   I've identified for this question do allude
      10   intervals; is that right?                       10   to that, yes.
      11       A. For the most part, yes.                  11   BY MR. ZELLERS:
      12       Q. All right. So looking now at             12       Q. That pelvic inflammatory
      13   your list of studies that you have prepared,    13   disease causes ovarian cancer, correct?
      14   which study demonstrates or supports the        14       A. That it is a -- it's a factor,
      15   proposition that pelvic inflammatory disease    15   yes.
      16   causes ovarian cancer?                          16       Q. It's a cause. That's what they
      17       A. Looking through here, I don't            17   state in those papers, right?
      18   have that item specifically in my notes, but    18             MS. O'DELL: Object to the
      19   I'm just using my notes to refresh my memory    19       form.
      20   about the individual research report. I         20   BY MR. ZELLERS:
      21   think the Coussens and Werb paper from 2010     21       Q. That's your testimony?
      22   talks about general mechanisms of               22             MS. O'DELL: Excuse me,
      23   inflammation in relation to the occurrence of   23       misstates his testimony. Object to
      24   ovarian cancer.                                 24       the form.
                                             Page 127                                             Page 129
       1            And there's the Ness and                1       A. I would say it's a factor and
       2   Cottreau paper from '99.                         2   leave it at that.
       3            Okada has discussed it in the           3   BY MR. ZELLERS:
       4   2007 paper. And there's a paper from 2001        4       Q. All right. Are you familiar
       5   which is Balkwill and Mantovani which            5   with pleurodesis?
       6   discusses the relationship between talc and      6       A. I am.
       7   ovarian cancer and also discusses the            7       Q. Does a pleurodesis cause
       8   relationship to other sources of                 8   cancer?
       9   inflammation.                                    9       A. It is not known to, although it
      10       Q. Each of those papers that                10   might.
      11   you've identified you believe state that        11       Q. Are you familiar with the
      12   pelvic inflammatory disease is a cause of       12   study, 1979, A survey of the long-term
      13   ovarian cancer, correct?                        13   effects of talc and kaolin pleurodesis?
      14            MS. O'DELL: Object to the              14       A. Can tell me who the author of
      15       form.                                       15   that was?
      16       A. Well, I don't think they state           16       Q. Sure. The author is -- this is
      17   that in so many words, but if you read the      17   from the Research Committee of the British
      18   paper and you understand that -- what pelvic    18   Thoracic Association. The members of the
      19   inflammatory disease is and its relationship    19   subcommittee were Chappell, Johnson, Charles,
      20   to inflammatory processes in general, yes,      20   Wagner, Seal, Berry and Nicholson.
      21   that's what they're saying.                     21            Are you familiar with that
      22   BY MR. ZELLERS:                                 22   paper?
      23       Q. Doctor, my question to you was:          23       A. I'm not familiar with the
      24   Are you aware of any papers in which the        24   paper. I may have looked at it in the past.
                                                                        33 (Pages 126 to 129)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 59 of 227 PageID:
                                  60404

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 130                                             Page 132
       1       Q. We'll take a look at it. We'll            1       form.
       2   mark it as Deposition Exhibit 16.                2       A. I think that was the hypothesis
       3           (Carson Deposition Exhibit 16            3   of those research reports.
       4       marked.)                                     4   BY MR. ZELLERS:
       5       A. Thank you.                                5       Q. And, in fact, the NSAID studies
       6           MS. O'DELL: Thank you.                   6   do not find a consistent causal reduction in
       7   BY MR. ZELLERS:                                  7   the risk of ovarian cancer; is that right?
       8       Q. This was a study that looked at           8       A. I think that's correct.
       9   the association between pleurodesis and lung     9       Q. In your report you also state
      10   cancer; is that right?                          10   that studies show that use of cornstarch
      11       A. Yes.                                     11   instead of talcum powder reduces the risk of
      12       Q. It's a study that you cite on            12   ovarian cancer; is that right?
      13   page 1 of your literature list; is that         13       A. Yes.
      14   right?                                          14       Q. If inflammation causes cancer,
      15       A. Okay. Yes.                               15   why would cornstarch be a superior
      16       Q. So you've read it; is that               16   alternative to talc?
      17   right?                                          17       A. The reason is that cornstarch,
      18       A. I have.                                  18   being a biological product, is much -- it
      19       Q. You've considered it; is that            19   does have a rapid clearance from the body,
      20   right?                                          20   even when sequestered, in comparison with a
      21       A. Yes.                                     21   mineral substance like talc.
      22       Q. They looked at 210 patients              22       Q. Well, in fact, cornstarch
      23   that underwent a pleurodesis with talc or       23   causes or increases the risk of inflammation,
      24   kaolin 14 to 40 years before; is that right?    24   granulomas, fibrosis and adhesions, correct?
                                             Page 131                                             Page 133
       1       A. That's correct.                           1         A. It may, yes.
       2       Q. And they found that there was             2         Q. Just like you claim talcum
       3   no increased incidence of lung cancer and no     3   powder increases the risk of inflammation,
       4   cases of mesothelioma; is that right?            4   granulomas, fibrosis and adhesions; is that
       5       A. That's correct.                           5   right?
       6       Q. Why don't -- well, strike that.           6             MS. O'DELL: Object to the
       7            You're aware of the studies             7         form.
       8   that have looked at antiinflammatory drugs       8         A. I think you are -- you're
       9   and aspirin use with respect to whether or       9   parsing terms here. That list of things were
      10   not they're associated with -- let me           10   your words. I was agreeing with the
      11   withdraw that.                                  11   relationship between talc and inflammation in
      12            Are you familiar with the NSAID        12   ovarian epithelial tissue and the production
      13   and aspirin use studies relating to the         13   or granulomas. I did not discuss the
      14   incidence of ovarian cancer in chronic users?   14   relationship between talc and adhesions or
      15       A. I'm familiar with some of                15   fibrosis. There was one other thing on your
      16   those, yes.                                     16   list.
      17       Q. If your theory is correct that           17   BY MR. ZELLERS:
      18   inflammation causes ovarian cancer, then you    18         Q. Well, in fact, the FDA has
      19   would expect that the studies of NSAIDs and     19   banned the use of cornstarch as a powder for
      20   aspirin use, antiinflammatory drugs that        20   lubricating surgical gloves; is that right?
      21   reduce inflammation, would consistently         21         A. It has, but that's not the
      22   reduce the incidence of ovarian cancer,         22   reason.
      23   correct?                                        23         Q. Well, the reason that they
      24            MS. O'DELL: Object to the              24   banned the use of cornstarch is because it
                                                                        34 (Pages 130 to 133)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 60 of 227 PageID:
                                  60405

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 134                                             Page 136
       1   presented an unreasonable and substantial        1        Q. Why do you have to have a
       2   risk of illness or injury and that that risk     2   special definition of "oxidative stress"?
       3   cannot be corrected or eliminated by             3   I'm asking simply: Is there a publication or
       4   labeling, correct?                               4   a study which documents that oxidative stress
       5       A. I don't know the specific                 5   is involved in the development of ovarian
       6   language. It looks like you're reading from      6   cancer?
       7   a Federal Register document.                     7            MS. O'DELL: Object to the
       8             The main reason that cornstarch        8        form.
       9   has been banned as a lubricant in gloves is      9        A. Sure.
      10   because of the potential for transmission of    10   BY MR. ZELLERS:
      11   primarily respiratory problems through          11        Q. And what paper are you going to
      12   inhalation, mostly by co-workers, not by        12   point me to?
      13   patients.                                       13        A. Well, I'll point you to the
      14       Q. You do agree that cornstarch             14   Ness paper to begin with, because it was one
      15   has been banned by the FDA for use in           15   of the earlier papers that related oxidative
      16   surgical gloves; is that right?                 16   stress from talc to the occurrence of ovarian
      17       A. All powdered gloves have been            17   cancer. But the relationship between
      18   essentially banned from hospitals and           18   inflammation, which essentially is the source
      19   operating rooms now.                            19   of the oxidative stress, and cancer goes all
      20       Q. You also talk about                      20   the way back into the 19th Century in terms
      21   inflammation and oxidative stress; is that      21   of its proposal as a rationale.
      22   right?                                          22        Q. Is oxidative stress a variation
      23       A. Yes.                                     23   of inflammation as you're using that term
      24       Q. Does the presence of oxidative           24   relating to a potential cause of ovarian
                                             Page 135                                             Page 137
       1   stress in a tissue indicate that cancer will     1   cancer?
       2   develop in that tissue?                          2       A. It's a component of
       3       A. No.                                       3   inflammation.
       4       Q. If exposure to a substance                4       Q. As a toxicologist, how would
       5   causes oxidative stress in certain tissue,       5   you define fibrous talc?
       6   does that mean exposure of all other tissues     6       A. Fibrous talc is a form of talc
       7   to that substance will cause oxidative stress    7   that is conformed into elongated structures
       8   in those tissues?                                8   that have an aspect ratio of length greater
       9       A. Not necessarily.                          9   than width that is different from the
      10       Q. Does the body have protective            10   majority of talc which is the platy form.
      11   mechanisms that can limit tissue damage from    11       Q. Do you consider yourself to be
      12   oxidative stress?                               12   an expert on fibrous talc?
      13       A. Yes.                                     13       A. No, I don't.
      14       Q. Do all substances that cause             14       Q. Do you consider yourself to be
      15   oxidative stress also cause cancer?             15   an expert on oxidative stress?
      16       A. I'm not sure the answer to that          16       A. I have dealt a lot with issues
      17   question is known.                              17   of oxidative stress and health effects
      18       Q. Are there any studies or                 18   resulting from it.
      19   publications that indicate that oxidative       19       Q. Do you consider yourself to be
      20   stress is involved in the development of        20   an expert in oxidative stress?
      21   ovarian cancer?                                 21            MS. O'DELL: Objection, asked
      22       A. If I can define the term                 22       and answered.
      23   "oxidative stress," I could give you an         23       A. I'm not a specific expert in
      24   answer to that, that question.                  24   oxidative stress, but I can -- I can opine
                                                                        35 (Pages 134 to 137)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 61 of 227 PageID:
                                  60406

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 138                                             Page 140
       1   regarding my professional understanding and      1   reports, the epidemiology first, is looking
       2   training.                                        2   at the relationship between perineal use of
       3   BY MR. ZELLERS:                                  3   dusting powders, talcum powders and ovarian
       4       Q. You've never been involved in             4   cancer.
       5   terms of any research or publication on the      5             Although there have been
       6   subject of oxidative stress and any              6   efforts in some of those studies to
       7   association with ovarian cancer, correct?        7   characterize the proportion or the
       8       A. Not in terms of ovarian cancer,           8   ingredients that would be either asbestos or
       9   no.                                              9   fibers, that's not done in all cases, and
      10       Q. You have not been involved in            10   it's not ruled out in any cases.
      11   any research or publication relating to the     11             The -- also, the research
      12   subject of inflammation and its association     12   studies that have been performed, the
      13   with ovarian cancer, correct?                   13   testing, for example, of the products
      14       A. No. All right. Yes, correct.             14   themselves are replete with reports of
      15       Q. Yes, it is correct? Okay.                15   components of these powders that are fibrous
      16            You claim that the presence of         16   in nature.
      17   asbestos and fibrous talc further intensifies   17             MR. ZELLERS: Move to strike as
      18   the carcinogenic effect of talc; is that        18        nonresponsive.
      19   right?                                          19   BY MR. ZELLERS:
      20       A. Yes.                                     20        Q. Do you believe that all talcum
      21       Q. Is that statement different              21   powder products that are on the market
      22   from the statement directly above where you     22   contain asbestos?
      23   allege that asbestos and mineral fibers         23             MS. O'DELL: Object to the
      24   intensify the inflammatory response and         24        form.
                                             Page 139                                             Page 141
       1   stimulate the cell growth and proliferation?     1       A. I don't know.
       2       A. It's not different, no.                   2   BY MR. ZELLERS:
       3       Q. Are your opinions dependent on            3       Q. Does it matter to your opinion
       4   talc containing carcinogenic asbestos and/or     4   as to whether or not the talcum powder
       5   fibrous talc?                                    5   products, and particularly the talcum powder
       6       A. No.                                       6   products involved in this case, contain
       7       Q. Do you believe that talcum                7   asbestos?
       8   powder without asbestos causes ovarian           8       A. I wouldn't have a way to be
       9   cancer?                                          9   able to answer that yes or no.
      10       A. I believe talcum powder causes           10       Q. Do you -- strike that.
      11   ovarian cancer. I have not seen any research    11            Have you reached a conclusion
      12   done on talcum powder that has been shown not   12   as to whether or not the talcum powder
      13   to contain asbestos.                            13   products involved in this case contain
      14       Q. Your assumption that you have            14   fibrous talc?
      15   made in formulating your opinions here is       15       A. I think that most of them do.
      16   that talcum powder contains asbestos; is that   16       Q. Does all of the talcum powder
      17   right?                                          17   contain fibrous talc or just some of it?
      18       A. No.                                      18       A. Certainly a lot of it does.
      19       Q. What assumption have you made            19       Q. The basis for your conclusion
      20   as to whether or not talcum powder contains     20   that the talcum powder at issue in this case
      21   either asbestos or fibrous talc?                21   contains fibrous talc is the testing reports
      22            MS. O'DELL: Object to the              22   that plaintiffs' attorneys gave you?
      23       form.                                       23            MS. O'DELL: Object to the
      24       A. Looking at the research                  24       form.
                                                                       36 (Pages 138 to 141)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 62 of 227 PageID:
                                  60407

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                              Page 142                                            Page 144
       1        A. Yes. Also Longo's publications           1            MS. O'DELL: Object to the
       2   and reports.                                     2        form.
       3   BY MR. ZELLERS:                                  3        A. That wasn't my charge. I defer
       4        Q. You have reviewed the Longo              4   to the other experts in this case.
       5   reports; is that right?                          5   BY MR. ZELLERS:
       6        A. Yes.                                     6        Q. Do you have an opinion on what
       7        Q. Have you ever met with him?              7   type of asbestos you believe is in the talcum
       8        A. No.                                      8   powder products at issue in this case?
       9        Q. Do you know his qualifications?          9        A. Well, there have been various
      10        A. I looked at his qualifications          10   types shown, but I think for the most part
      11   at one point, but I don't recall exactly what   11   it's tremolite and anthophyllite.
      12   it is at this stage.                            12        Q. Are you familiar with
      13        Q. Ever hear of him before this            13   crocidolite?
      14   lawsuit, your getting involved in the talc      14        A. Yes.
      15   litigation back in October of 2018?             15        Q. Is crocidolite found in talcum
      16        A. No.                                     16   powder or baby powder?
      17        Q. Have you reviewed any of                17        A. It's not commonly found in it.
      18   Longo's testing where he did not find           18        Q. You believe that the
      19   asbestos?                                       19   asbestos -- types of asbestos that may be in
      20        A. I -- the only thing I've                20   the talcum powder at issue in this case is
      21   reviewed are what's present in those reports    21   tremolite and acidolite [sic]?
      22   that I cited.                                   22            MS. O'DELL: Objection.
      23        Q. Were you provided by counsel            23        A. Anthophyllite. There are
      24   for plaintiffs with any testing reports from    24   others found, but you asked for most common.
                                              Page 143                                            Page 145
       1   Longo where he did not find asbestos?            1   BY MR. ZELLERS:
       2       A. There are some of those listed            2       Q. Most common you believe are
       3   in his reports.                                  3   tremolite and anthophyllite?
       4       Q. Have you reviewed the FDA's               4       A. Anthophyllite.
       5   testing of talcum powder products?               5       Q. Anthophyllite. Those two; is
       6       A. The FDA didn't really do much             6   that right?
       7   testing of talcum powder products.               7       A. Yes.
       8       Q. Have you reviewed the FDA's               8       Q. What types of asbestos are
       9   testing of talcum powder products?               9   associated with ovarian cancer?
      10            MS. O'DELL: Objection, vague.          10       A. Well, I'll go back to my list
      11       A. The only FDA testing that I              11   again. Crocidolite is associated with
      12   looked at was the -- I have it referenced in    12   ovarian cancer in the Acheson report from
      13   my list, but the FDA, based on a                13   1982, which was from female gas mask
      14   recommendation, requested samples from          14   manufacturers in England who made gas masks
      15   various companies, I think nine different       15   during the period of the Second World War,
      16   sources of talc. They received four and         16   and crocidolite is associated with that with
      17   tested those. And based on their test method    17   a fairly high relative risk of 2.96.
      18   determined that there was not a -- not          18   Chrysotile asbestos had also a positive
      19   evidence of a significant hazard.               19   relative risk of 1.74.
      20   BY MR. ZELLERS:                                 20            There was a study of factory
      21       Q. Have you made any effort to              21   workers and pipe laggers in east London,
      22   quantify the amount of any alleged              22   which is the Berry report from 2000, that
      23   contaminant in the Johnson & Johnson Consumer   23   showed a relative risk of 2.53, and those
      24   talcum powder?                                  24   workers were exposed to primarily asbestos
                                                                        37 (Pages 142 to 145)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 63 of 227 PageID:
                                  60408

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 146                                             Page 148
       1   cement products and plasters, so the --          1            But based on my current
       2        Q. What type of asbestos, if you            2   understanding, I don't believe they've ever
       3   know?                                            3   been totally successful in doing so.
       4        A. That would have been primarily           4            So in answer to your question,
       5   amphibole asbestos types, which would include    5   which I think was, was there ever a point in
       6   crocidolite and tremolite and anthophyllite,     6   time where you believe the talcum powder
       7   amosite is in that category.                     7   products involved in this case were not
       8             Bertolotti in 2008 published a         8   contaminated with asbestos, no.
       9   report -- actually, there were several           9   BY MR. ZELLERS:
      10   reports that resulted from the Eternit          10      Q. You cite in your report,
      11   factory studies in Casale Monferrato in         11   page 5, to two exhibits to the depositions of
      12   Italy, which was a plant that manufactured      12   John Hopkins and Julie Pier in support of
      13   cement sheet and corrugated tubing, and there   13   your opinion that talcum powder products
      14   were a number of studies that showed elevated   14   contain asbestos; is that right?
      15   relative risks in persons exposed to asbestos   15      A. That's correct.
      16   in that work, and that would also have been     16      Q. Looking at page 5, footnote 1,
      17   amphibole asbestos types.                       17   you cite to Exhibit Hopkins-28 in the Hopkins
      18        Q. The studies that you've recited         18   deposition and Exhibit Pier-47 in the Pier
      19   for us, those are all occupational studies;     19   deposition; is that right?
      20   is that right?                                  20      A. That's correct.
      21        A. Yes. I've got a lot more.               21      Q. Are you aware that those
      22        Q. Well, and it's on your list,            22   exhibits were created by plaintiffs' counsel?
      23   which we marked as Exhibit 15; is that right?   23            MS. O'DELL: Objection to form.
      24        A. That's correct.                         24      A. I didn't -- I -- I don't know
                                             Page 147                                             Page 149
       1       Q. All right. Those studies did              1   that and doesn't matter to me.
       2   not involve the perineal application of          2   BY MR. ZELLERS:
       3   talcum powder products; is that right?           3         Q. Do you know where the data in
       4           MS. O'DELL: Object to the                4   those exhibits come from?
       5       form.                                        5         A. Well, they come from the two
       6       A. It was not a factor in the                6   persons who are testifying who have produced
       7   study.                                           7   them from their -- mostly from their business
       8   BY MR. ZELLERS:                                  8   records.
       9       Q. Crocidolite and chrysotile                9         Q. Okay. So you believe that
      10   asbestos has generally not been found in        10   Exhibit Hopkins-28 to the Hopkins deposition
      11   talcum powder products, correct?                11   and Exhibit Pier-47 to the Pier deposition
      12       A. In general, that's the case.             12   come from the business records of the
      13       Q. Was there ever a point in time           13   Johnson & Johnson Company and Imerys?
      14   where you believe that the talcum powder        14         A. From the most part, there was
      15   products involved in this case were not         15   a -- there was a table that was constructed
      16   contaminated with asbestos?                     16   during the deposition which was sort of a
      17           MS. O'DELL: Objection to form,          17   piece of summary information. I don't know
      18       vague as to time.                           18   if it's an exhibit to the deposition or if
      19       A. My understanding is that Imerys          19   it's something separate from that, but it
      20   and their predecessors and Johnson & Johnson    20   would not have been from business records,
      21   made significant efforts to reduce components   21   but occurred at the deposition itself.
      22   of asbestos in their talc products over a       22              MS. O'DELL: Excuse me,
      23   number of years and made step-wise progress     23         Dr. Carson, would you like to see a
      24   in doing that.                                  24         copy of exhibit -- of the Hopkins
                                                                        38 (Pages 146 to 149)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 64 of 227 PageID:
                                  60409

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 150                                             Page 152
       1       Exhibit Hopkins-28 and Pier                  1   exhibits you're looking at,
       2       Exhibit Pier-47 in answering these           2   Exhibit Hopkins-28 and Exhibit Pier-47, were
       3       questions?                                   3   included in talcum powder product sold by J&J
       4            THE WITNESS: If that's easy to          4   Consumer Products?
       5       do, yes.                                     5            MS. O'DELL: Objection to the
       6            MS. O'DELL: It's very easy to           6       form, asked and answered.
       7       do. This is a copy of                        7       A. No, I don't.
       8       Exhibit Hopkins-28 of the Hopkins            8   BY MR. ZELLERS:
       9       deposition and Exhibit Pier-47 of the        9       Q. Have you confirmed -- strike
      10       Pier deposition.                            10   that.
      11            THE WITNESS: Okay.                     11            What amount of asbestos
      12   BY MR. ZELLERS:                                 12   exposure is associated with ovarian cancer?
      13       Q. Dr. Carson?                              13       A. Any.
      14       A. Yes, sir.                                14       Q. Your testimony under oath is
      15       Q. Did you make any effort to               15   that any asbestos exposure is associated with
      16   investigate the alternative explanations for    16   ovarian cancer?
      17   the data that's contained in those two          17       A. Any asbestos exposure and any
      18   exhibits, Exhibit Hopkins-28 and                18   perineal application of talcum powder is
      19   Exhibit Pier-47?                                19   associated with an increased risk for ovarian
      20       A. Alternative explanations, I'm            20   cancer.
      21   not sure what you mean by that.                 21       Q. The amount of asbestos
      22       Q. If the Johnson & Johnson                 22   contained -- or allegedly contained within
      23   company -- companies' scientists and Imerys'    23   the baby powder is of no consequence,
      24   scientists opined that those tests don't        24   correct?
                                             Page 151                                             Page 153
       1   actually show asbestos, you have no expertise    1            MS. O'DELL: Object to the
       2   to dispute that, do you?                         2       form.
       3            MS. O'DELL: Object to the               3       A. No, it is of consequence, and a
       4       form.                                        4   larger dose would be a greater hazard. But
       5       A. No, I don't have any personal             5   that doesn't mean that a low dose is not a
       6   expertise to dispute that.                       6   hazard.
       7   BY MR. ZELLERS:                                  7   BY MR. ZELLERS:
       8       Q. Do you know whether or not any            8       Q. My question is: Do you know
       9   of the talc product that is identified on        9   the amount of alleged asbestos exposure
      10   Exhibit Hopkins-28 and Exhibit Pier-47 was      10   that's associated with ovarian cancer?
      11   actually used in the talcum powder products     11       A. No.
      12   that were sold by the Johnson & Johnson         12       Q. Do you know the type of ovarian
      13   Consumer Products company?                      13   cancer that asbestos is associated with?
      14            MS. O'DELL: Objection to form.         14            MS. O'DELL: Object to the
      15       A. I -- it's my understanding that          15       form.
      16   some of these results, at least -- in           16       A. It's associated mostly with the
      17   particular from the Pier deposition, that       17   collection of epithelial ovarian cancers --
      18   some of these results were from testing that    18   BY MR. ZELLERS:
      19   was done on material that had already been      19       Q. What --
      20   shipped and probably incorporated into          20       A. -- primarily serous.
      21   products.                                       21       Q. Does the type of ovarian cancer
      22   BY MR. ZELLERS:                                 22   vary based upon the type of asbestos?
      23       Q. Do you know whether or not any           23       A. Not that I'm aware of.
      24   of the talc that is referred to on the two      24       Q. You believe that all types of
                                                                        39 (Pages 150 to 153)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 65 of 227 PageID:
                                  60410

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 154                                             Page 156
       1   asbestos can produce all types of ovarian        1       A. That's background information
       2   cancer; is that correct?                         2   and my personal knowledge.
       3            MS. O'DELL: Object to the               3       Q. You are not going to give an
       4       form.                                        4   opinion on mines, mining or milling in this
       5       A. I suspect that some forms of              5   case; is that right?
       6   asbestos are much more carcinogenic than         6       A. Depends on the questions.
       7   others, and that would be true for the           7       Q. Well, as you sit here today, do
       8   ovaries as well as other structures in the       8   you intend to give opinions on talc mining,
       9   body.                                            9   mines or milling?
      10   BY MR. ZELLERS:                                 10       A. It wasn't my intention, but if
      11       Q. Are you able to distinguish for          11   asked a question that I think I'm qualified
      12   us what types of asbestos cause or are          12   to answer, I'll try to do it.
      13   associated with what types of ovarian cancer?   13       Q. Are you an expert on talc
      14       A. I don't think I'm able to make           14   mining and milling?
      15   those distinctions, but the studies I just      15       A. I'm an expert on industrial
      16   read to you regarding the relationship          16   processes in general, and if -- I have some
      17   between asbestos and ovarian cancer and the     17   personal understanding of talc mining and
      18   others on my list do indicate that there are,   18   milling.
      19   for example, in the Acheson study, there        19       Q. Have you been personally
      20   were -- there was a positive relationship       20   involved in talc mining and milling?
      21   between both crocidolite and chrysotile         21       A. I haven't been involved in it;
      22   exposure, and the crocidolite had a greater     22   I've observed it.
      23   effect on ovarian cancer than the chrysotile,   23       Q. Do you consider yourself to be
      24   but did not have -- they were both positive.    24   an expert in talc mining and milling?
                                             Page 155                                             Page 157
       1         Q. What type of ovarian cancer?            1            MS. O'DELL: Objection, asked
       2         A. That, I don't know at the               2       and answered.
       3   moment. I could look in the paper and see if     3       A. No, I don't.
       4   it's listed.                                     4   BY MR. ZELLERS:
       5         Q. There are a number of different         5       Q. You have no independent basis
       6   types of ovarian cancer; is that right?          6   to say that cosmetic talc contains asbestos,
       7         A. That's correct.                         7   correct?
       8         Q. You are not familiar with J&J           8            MS. O'DELL: Object to the
       9   Consumer Products' procedures for milling or     9       form.
      10   mining; is that right?                          10       A. What do you mean by independent
      11              MS. O'DELL: Object to the            11   basis?
      12         form.                                     12   BY MR. ZELLERS:
      13         A. I'm familiar with some of their        13       Q. You have not done any testing
      14   procedures, yes.                                14   of talcum powder to determine whether it
      15   BY MR. ZELLERS:                                 15   contains asbestos or not; is that right?
      16         Q. Are you familiar with their            16       A. No. All of my understanding is
      17   testing of source mines?                        17   based on other sources.
      18         A. To some extent.                        18       Q. And those other sources would
      19              MS. O'DELL: Object to the            19   be, in part, the testing that was done by
      20         form.                                     20   Longo; is that right?
      21   BY MR. ZELLERS:                                 21       A. Yes, as well as the testing
      22         Q. Is it set forth in your report,        22   that's reported in the -- in the literature
      23   or is that just background information that     23   section as the Imerys test results and
      24   you looked at?                                  24   quality control materials.
                                                                       40 (Pages 154 to 157)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 66 of 227 PageID:
                                  60411

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 158                                            Page 160
       1       Q. You're looking now back at the           1   BY MR. ZELLERS:
       2   Pier Exhibit Pier-47 and the Hopkins            2       Q. The Reid paper that I've handed
       3   Exhibit Hopkins-28; is that right?              3   you, what we've marked as Exhibit 17, looks
       4       A. I was actually referring to the          4   at the issue: Does exposure to asbestos
       5   Imerys documents that are referenced toward     5   cause ovarian cancer.
       6   the end of the literature exhibit to my         6            Is that right?
       7   report, but certainly the Exhibit Pier-47       7       A. Yes.
       8   would be included there.                        8       Q. They talk about in terms of
       9       Q. You have no independent basis            9   limitations on the first page, right-hand
      10   to say that cosmetic talcum powder contains    10   column, they say: Studies that have examined
      11   fibrous talc, correct?                         11   this issue have been limited for two major
      12            MS. O'DELL: Object to the             12   reasons.
      13       form.                                      13            Is that right?
      14       A. I have no independent basis,            14       A. Yes.
      15   no.                                            15       Q. Number one, small number of
      16   BY MR. ZELLERS:                                16   cases, much fewer women than men have been
      17       Q. You're familiar with the                17   exposed to asbestos, particularly in more
      18   limitations of the research on a potential     18   heavily exposed occupational settings where
      19   link between asbestos and ovarian cancer; is   19   relative risks are higher; is that right?
      20   that right?                                    20       A. Yes.
      21            MS. O'DELL: Object to the             21       Q. How many of these studies --
      22       form.                                      22   well, strike that.
      23       A. I'm familiar with some research         23            Would you agree that the
      24   limitations in that question, yes.             24   studies in this area have been primarily
                                             Page 159                                            Page 161
       1   BY MR. ZELLERS:                                 1   related to occupational exposure?
       2        Q. You agree that research on the          2       A. Primarily, yes.
       3   potential relationship between asbestos and     3       Q. How many total women have been
       4   ovarian cancer has only considered a small      4   studied?
       5   number of cases; is that right?                 5            MS. O'DELL: Object to the
       6            MS. O'DELL: Object to the              6       form. In this study, in this paper,
       7        form.                                      7       or are you talking about in general?
       8        A. Well, it's considered thousands         8            MR. ZELLERS: In general.
       9   of cases. Certainly in terms of the number      9       A. I don't know the answer to
      10   of women who have experienced ovarian cancer   10   that.
      11   it's small, but it's significant, and that's   11   BY MR. ZELLERS:
      12   where we get research from that answers        12       Q. How many women have been
      13   important questions.                           13   studied in nonoccupational studies?
      14   BY MR. ZELLERS:                                14       A. Well, very few in comparison to
      15        Q. Are you familiar with the Reid         15   the occupational studies.
      16   paper, 2011?                                   16       Q. Are you aware of the
      17        A. Yes, but it's been a while             17   difficulties that have existed over time in
      18   since I've looked at it.                       18   distinguishing between peritoneal
      19        Q. Well, I'll hand you a copy.            19   mesothelioma and ovarian cancer?
      20   We'll mark it as Exhibit 17.                   20       A. Yes.
      21            (Carson Deposition Exhibit 17         21       Q. What are those difficulties?
      22        marked.)                                  22       A. There is a potential
      23            MS. O'DELL: Thank you.                23   misclassification of one as the other because
      24            ///                                   24   they have very common habits. They look very
                                                                       41 (Pages 158 to 161)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 67 of 227 PageID:
                                  60412

                         Arch I. "Chip"                   Carson, M.D., Ph.D.
                                             Page 162                                              Page 164
       1   similar under light microscopy, and they're       1       take a minute to refresh yourself on
       2   often difficult to distinguish, even by a         2       the page --
       3   pathologist, unless special tests are used.       3             MR. ZELLERS: I'm looking under
       4             Often these cases occur in              4       Discussion.
       5   places where they don't have the access to        5             MS. O'DELL: -- please feel
       6   special test equipment that can definitively      6       free to do that.
       7   distinguish, and so they are classified and       7             Excuse me, sir, I was talking.
       8   we move on.                                       8       If you need to review the paper,
       9       Q. Another limitation of any                  9       Dr. Carson, please feel free to do
      10   studies in this area relate to the inability     10       that.
      11   to account for nonoccupational risk factors      11             MR. ZELLERS: This doctor has
      12   for ovarian cancer other than age; is that       12       given 35 depositions. He is perfectly
      13   right?                                           13       capable of handling himself. He does
      14             MS. O'DELL: Object to the              14       not need your advice as we go along.
      15       form.                                        15             MS. O'DELL: Nor do I, Michael.
      16       A. Are you reading also from this            16       So I'm going to deal with this witness
      17   paper or --                                      17       in the way I choose, which is
      18   BY MR. ZELLERS:                                  18       perfectly appropriate. If Dr. Carson
      19       Q. I was looking now at the                  19       needs to review the paper, he's going
      20   Camargo paper. Are you familiar with the         20       to review the paper. You may ask him
      21   Camargo paper?                                   21       questions, he'll be happy to respond.
      22       A. If you have a copy of that, I'd           22             MR. ZELLERS: Your job is not
      23   like to look at it, if I'm going to answer       23       to coach the witness; your job is to
      24   questions about it.                              24       make objections as to form or
                                             Page 163                                              Page 165
       1       Q. All right. This is a paper in              1       foundation, not to make speaking
       2   2011. We'll mark it as Exhibit 18.                2       objections and coaching of the
       3            (Carson Deposition Exhibit 18            3       witness.
       4       marked.)                                      4            MS. O'DELL: If you have a
       5   BY MR. ZELLERS:                                   5       question, I'm sure Dr. Carson would be
       6       Q. Here the authors also looked at            6       happy to address it.
       7   the issue of occupational exposure to             7            MR. ZELLERS: I've asked him
       8   asbestos and ovarian cancer; is that right?       8       the question.
       9       A. Yes.                                       9            MS. O'DELL: Would you mind
      10       Q. If you turn to page 216 -- I'm            10       repeating the question, please?
      11   sorry, 1216, second-to-last paragraph before     11            MR. ZELLERS: Sure.
      12   the conclusion: A further limitation of our      12            THE WITNESS: I don't remember
      13   analysis was its inability to account for        13       the question.
      14   nonoccupational risk factors for ovarian         14            MR. ZELLERS: Okay. I'll be
      15   cancer other than age.                           15       happy to repeat it.
      16            Is that identified by the               16   BY MR. ZELLERS:
      17   authors as a limitation?                         17       Q. Dr. Carson, you've looked at
      18       A. Yes, it is.                               18   this Camargo paper; is that right?
      19       Q. Under -- if you go a page back,           19       A. Yes.
      20   1215, under Discussion, in the second            20       Q. In their discussion, they talk
      21   paragraph, the authors talk about other          21   about other research, including research done
      22   studies that have been done in this area,        22   by Edelman; is that right?
      23   including Edelman; is that right?                23       A. Are you at the top of the
      24            MS. O'DELL: If you need to              24   middle column on --
                                                                         42 (Pages 162 to 165)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 68 of 227 PageID:
                                  60413

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 166                                            Page 168
       1       Q. I'm looking under Discussion.             1   BY MR. ZELLERS:
       2       A. Yes.                                      2       Q. -- if your theory is correct?
       3       Q. The first -- well, the second             3            MS. O'DELL: Object to the
       4   paragraph.                                       4       form.
       5       A. Second paragraph, yes.                    5       A. There may have been higher
       6       Q. The magnitude of the pooled               6   rates of ovarian cancers, but you have to
       7   estimate is similar to that reported by          7   also understand that the latency period for
       8   Edelman; is that right?                          8   ovarian cancer is pretty long. It's greater
       9       A. Correct. Correct.                         9   than 20 years, often as long as 40 years.
      10       Q. Then they state: They                    10   And so we're still dealing with cancers that
      11   concluded, however, that despite the positive   11   may have started back in the '70s.
      12   and significant association, there was          12   BY MR. ZELLERS:
      13   insufficient information to infer that          13       Q. Would you agree that exposure
      14   ovarian cancers were caused by occupational     14   to asbestos through a perineal cosmetic talc
      15   exposure to asbestos because of concerns        15   use is different from the heavy occupational
      16   about tumor misclassification, inappropriate    16   exposure that has primarily been researched?
      17   comparison populations and the failure to       17            MS. O'DELL: Objection to form.
      18   take into account for known risk factors.       18       A. Yes. I agree with that.
      19            Did I read that --                     19   BY MR. ZELLERS:
      20       A. You read that correctly.                 20       Q. Are you an expert and
      21       Q. All right. Are women who use             21   knowledgeable about cleavage fragments?
      22   talc perineally at greater risk of              22       A. I'm not.
      23   mesothelioma?                                   23       Q. If I went through a series of
      24       A. I can't say that they are, but           24   questions and asked you to differentiate
                                             Page 167                                            Page 169
       1   they may be.                                     1   between cleavage fragments and asbestos
       2       Q. Wouldn't you expect to find               2   fibers, you would defer that to other
       3   higher rates of other cancers in women using     3   experts?
       4   talc like mesothelioma if they are being         4        A. I would.
       5   exposed to substantial amounts of asbestos?      5        Q. You also claim that the
       6       A. Well, we may -- we may be                 6   presence of carcinogenic metals, including
       7   seeing some mesotheliomas that are               7   chromium, cobalt and nickel in talc, adds to
       8   misclassified as ovarian cancers, or we may      8   its carcinogenicity; is that right?
       9   be seeing mesotheliomas and not relating talc    9        A. That is right.
      10   application as a pertinent contributor to       10        Q. Do you have an opinion or
      11   that case.                                      11   knowledge as to the amounts of chromium,
      12       Q. You told us earlier that you             12   cobalt and nickel, if any, in talc?
      13   thought that there may have been more           13        A. Those metal elements are
      14   asbestos in talcum powders in the 1970s; is     14   included as -- usually as impurities or in
      15   that right?                                     15   very small quantities in some deposits and
      16            MS. O'DELL: Objection to form.         16   are present in small amounts.
      17       A. I think I said there have been           17        Q. Do you have any idea how much
      18   step-wise improvements, and I -- but I agree    18   of these metals, if any, reaches a woman's
      19   with that statement.                            19   ovaries each time they use talc?
      20   BY MR. ZELLERS:                                 20        A. I can't tell you how much, but
      21       Q. Shouldn't we have seen higher            21   I can tell you that some does, and it is --
      22   rates of ovarian cancer in the earlier          22   it remains in the talc until long after it
      23   studies --                                      23   reaches the ovaries.
      24            MS. O'DELL: Object --                  24        Q. Chromium, cobalt and nickel are
                                                                       43 (Pages 166 to 169)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 69 of 227 PageID:
                                  60414

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 170                                             Page 172
       1   natural elements; is that right?                 1   to chromium, cobalt or nickel or any other
       2        A. Yes.                                     2   heavy metal; is that right?
       3        Q. They are naturally in our                3       A. That is correct.
       4   bodies; is that right?                           4       Q. That answer to that question
       5        A. That's correct.                          5   would be true if I asked you about the
       6        Q. They are present in food,                6   different fragrance chemicals, correct?
       7   drinking water, bottled water, vitamins; is      7            MS. O'DELL: Object to the
       8   that right?                                      8       form.
       9        A. To some extent.                          9       A. Also true.
      10        Q. Do you have any evidence that           10   BY MR. ZELLERS:
      11   the blood or tissue levels of any trace heavy   11       Q. You did a risk assessment in
      12   metals are higher in genital talc users         12   this matter; is that right?
      13   compared to nonusers?                           13       A. Yes.
      14             MS. O'DELL: Object to the             14       Q. Do you agree that a complete
      15        form.                                      15   and proper risk assessment involves four
      16        A. I do not.                               16   elements?
      17   BY MR. ZELLERS:                                 17            MS. O'DELL: Object to the
      18        Q. As we discussed when we talked          18       form.
      19   about asbestos, you cannot evaluate the         19       A. Not necessarily.
      20   potential effects of exposure to a substance    20   BY MR. ZELLERS:
      21   without factoring in the amount of exposure;    21       Q. Well, you have to identify a
      22   is that right?                                  22   potential hazard; is that right?
      23             MS. O'DELL: Object to the             23       A. Yes.
      24        form.                                      24       Q. You've got to do some type of
                                             Page 171                                             Page 173
       1       A. It's useful to factor in the              1   dose-response assessment; is that right?
       2   amount if the amount is known. If the amount     2       A. Not necessarily.
       3   is not known, it's not necessarily required      3       Q. You --
       4   to draw conclusions.                             4            MS. O'DELL: Excuse me. If you
       5   BY MR. ZELLERS:                                  5       finished -- if you need to,
       6       Q. In this case, you do not know             6       Dr. Carson, if you're not finished.
       7   the amount, be it chromium, cobalt and/or        7       If you're finished, fine. Sorry.
       8   nickel; is that right?                           8       A. A qualitative risk assessment
       9            MS. O'DELL: Objection to the            9   does not necessarily require a dose-response
      10       form.                                       10   in order to reach valid conclusions.
      11            Excuse me. Dr. Carson, as you          11   BY MR. ZELLERS:
      12       know, is not being offered as a             12       Q. It is not necessary to do a
      13       case-specific expert, so that question      13   dose-response assessment as part of a risk
      14       sounds like a specific patient, and so      14   assessment. Is that your testimony under
      15       I would -- that's my objection.             15   oath?
      16       A. I do not know the amount, but            16       A. It's not always necessary.
      17   my opinion is that any within the               17       Q. Was it necessary in this case?
      18   microenvironment of the inflammatory process    18       A. Well, I think there is an
      19   that is occurring due to talc sequestration     19   aspect of dose-response that was performed in
      20   is contributing to the carcinogenic             20   the risk assessment process here.
      21   potential.                                      21       Q. What dose-response assessment
      22   BY MR. ZELLERS:                                 22   did you make with respect to chromium, cobalt
      23       Q. But you don't know for any               23   and nickel and any other heavy metal?
      24   individual plaintiff their level of exposure    24       A. There's no information
                                                                        44 (Pages 170 to 173)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 70 of 227 PageID:
                                  60415

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 174                                             Page 176
       1   available to do a dose-response estimate for     1   and the metals were there as the baseline
       2   those metals.                                    2   component of the talc formation that they
       3       Q. What information did you rely             3   came from.
       4   or use, if any, to make a dose-response          4   BY MR. ZELLERS:
       5   assessment with respect to any fragrance         5       Q. You do not know the amounts of
       6   chemicals?                                       6   either the heavy metals or the fragrance
       7            MS. O'DELL: Objection, form.            7   chemicals in the talcum powder at issue in
       8       A. There is no information                   8   this case, correct?
       9   available to do a dose-response estimate for     9       A. That's -- that's correct, I
      10   the fragrances.                                 10   don't.
      11   BY MR. ZELLERS:                                 11       Q. You do not know -- well, strike
      12       Q. Did you do any type of exposure          12   that. I'll withdraw that.
      13   assessment in this case?                        13             You brought with you an IARC
      14            MS. O'DELL: Object to the              14   monograph; is that right?
      15       form, vague.                                15       A. I have a couple of them.
      16       A. I'm not sure exactly what                16       Q. All right.
      17   you're -- what you're asking by exposure        17             MS. O'DELL: Are we going to --
      18   assessment.                                     18       are you going to move to --
      19   BY MR. ZELLERS:                                 19             MR. ZELLERS: We can take a
      20       Q. Well, an exposure assessment is          20       break if you'd like.
      21   also part of a risk assessment; is that         21             MS. O'DELL: Yeah, it's been
      22   right?                                          22       about an hour and a half.
      23       A. In this risk assessment, I               23             MR. ZELLERS: Sure.
      24   considered studies that are reported in the     24             THE VIDEOGRAPHER: We're off
                                             Page 175                                             Page 177
       1   scientific and medical literature which have     1       the record 12:32, end of Tape 2.
       2   reported the assessment of exposure in these     2            (Recess taken, 12:32 p.m. to
       3   cases in various forms, and I considered         3       1:38 p.m.)
       4   those exposure assessments as being valid as     4            THE VIDEOGRAPHER: We're on the
       5   reported and considered them as a whole.         5       record, 1:38, beginning of Tape 3.
       6       Q. Did you look at any exposure              6   BY MR. ZELLERS:
       7   assessment specific to the alleged heavy         7       Q. Dr. Carson, when we left, we
       8   metals contained in talcum powder?               8   were talking about the trace metals and
       9            MS. O'DELL: Object to the               9   fragrance chemicals in talcum powder,
      10       form.                                       10   correct?
      11       A. No, I did not.                           11       A. Yes.
      12   BY MR. ZELLERS:                                 12       Q. You do not know how much of
      13       Q. Did you look at any exposure             13   these trace metals or fragrance chemicals
      14   assessment with respect to any fragrance        14   reach the ovaries, correct?
      15   chemicals contained within talcum powder?       15       A. I don't know specifically how
      16            MS. O'DELL: Object to the              16   much reaches it, but if I know it's a
      17       form.                                       17   component of the talc, and if I know the talc
      18       A. With respect to the fragrance            18   reaches it, then I know some of the metals
      19   chemicals and the heavy metals, the only        19   and the fragrances reach it.
      20   exposure assessment that I was able to do was   20       Q. You don't know the component or
      21   verify that these things were present in        21   the amount of either the trace metals or the
      22   materials.                                      22   fragrance chemicals in the baby powder,
      23            The fragrances are always              23   correct?
      24   present in whatever form they were added in,    24       A. That's correct.
                                                                        45 (Pages 174 to 177)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 71 of 227 PageID:
                                  60416

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 178                                             Page 180
       1        Q. You do not know the exposure of          1   BY MR. ZELLERS:
       2   any of the women who are plaintiffs in this      2        Q. What -- would you agree that,
       3   litigation to the talcum powder, correct?        3   in general, metals can differ in their
       4             MS. O'DELL: Individual women?          4   toxicity and potential carcinogenicity based
       5             MR. ZELLERS: Yes, individual           5   on their form?
       6        women.                                      6        A. Yes.
       7        A. I don't, no.                             7        Q. Do you know the forms of
       8   BY MR. ZELLERS:                                  8   chromium, nickel and cobalt detected in
       9        Q. You brought with you an IARC             9   cosmetic talc?
      10   monograph, and I think you've got several       10        A. There's -- metal ions are
      11   monographs that are on your literature list;    11   usually incorporated in the mineral lattice,
      12   is that right?                                  12   and so they are part of the magnesium
      13        A. That's correct.                         13   silicate crystal.
      14        Q. Generally, IARC classifies              14        Q. I'm not sure if that answers my
      15   chemicals and agents from Group 1,              15   question, and if it does, I don't understand,
      16   carcinogenic to humans, down to Group 4,        16   so let me ask again.
      17   probably not carcinogenic to humans; is that    17            Do you know the forms, and by
      18   right?                                          18   that I mean valence state, of chromium or
      19        A. That's correct.                         19   nickel or cobalt that have been detected in
      20        Q. Does the classification of a            20   cosmetic talc?
      21   substance as a known probable or possible       21        A. Oh, the valence state?
      22   carcinogen by IARC, and IARC is International   22        Q. Yes, sir.
      23   Agency for Research on Cancer, or by the        23        A. I don't know specifically, but
      24   National Toxicology Program or the U.S.         24   that's dependent on the surrounding structure
                                             Page 179                                             Page 181
       1   Environmental Protection Agency, mean that       1   that the metals are contained in, and metals
       2   the substance can cause all types of cancers     2   can assume a different valence state
       3   in humans by any exposure route?                 3   depending on the redox environment.
       4           MS. O'DELL: Object to the                4        Q. You are not, at least in this
       5       form.                                        5   litigation today, expressing any opinion as
       6       A. No.                                       6   to the valence state of chromium that may be
       7   BY MR. ZELLERS:                                  7   found in cosmetic talc, correct?
       8       Q. There are different cancers               8            MS. O'DELL: Object to the
       9   that may be associated with different            9        form.
      10   chemicals or agents; is that right?             10        A. No, I'm not.
      11       A. And different routes of                  11   BY MR. ZELLERS:
      12   exposure.                                       12        Q. Your second opinion is that the
      13       Q. You can have an agent that is a          13   perineal use of talcum powder results in
      14   carcinogen or a probable or possible            14   direct exposure to the ovaries either via
      15   carcinogen for one type of cancer, but not      15   inhalation or migration through the female
      16   for another type of cancer, correct?            16   reproductive tract; is that right?
      17       A. That's correct.                          17        A. Well, it's primarily through
      18       Q. You can have an agent or a               18   the female reproductive tract. The
      19   chemical that's a carcinogen for one route of   19   inhalation exposure would be a secondary
      20   exposure for a chemical or agent but is not     20   route.
      21   carcinogenic for a different route of           21        Q. Let me ask you a couple of
      22   exposure, correct?                              22   questions about inhalation exposure.
      23           MS. O'DELL: Objection to form.          23            You do not cite any studies in
      24       A. Yes.                                     24   the body of your report evidencing that
                                                                        46 (Pages 178 to 181)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 72 of 227 PageID:
                                  60417

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 182                                             Page 184
       1   talcum powder can reach the ovaries through      1        A. The -- I'm sorry. The Heller
       2   inhalation, correct?                             2   study was talc, which I didn't cite here.
       3            MS. O'DELL: Object to the               3   Halme was a retrograde menstruation study via
       4       form.                                        4   the fallopian tubes, and Sjösten was starch
       5       A. That is correct, although                 5   particles.
       6   there -- yes, that's correct.                    6        Q. The only study -- and this is
       7   BY MR. ZELLERS:                                  7   not one that you cited, but you've now
       8       Q. You have never performed any              8   referred to that involved talc, was Heller;
       9   study yourself pertaining to whether inhaled     9   is that right?
      10   talc can migrate to the ovaries; is that        10        A. Well, it looked at -- it didn't
      11   right?                                          11   look at transport inasmuch as it looked at
      12       A. I have not, although it has              12   the presence of talc particles in the ovaries
      13   been used as an explanation of how talc         13   and found them with or without the history of
      14   particles might have reached the ovaries in     14   talc powder use.
      15   persons who did not have another form of        15        Q. Heller looked at 24 patients;
      16   exposure.                                       16   is that right?
      17       Q. If inhalation is the exposure            17        A. I don't know, but that sounds
      18   path for talc, shouldn't the lungs bear more    18   about right.
      19   of a burden?                                    19        Q. Half of them had a history of
      20       A. Yes.                                     20   using talc products, half did not?
      21       Q. Why, then, isn't there an                21             MS. O'DELL: Object to form.
      22   epidemic of mesothelioma in women who use       22        A. That's correct.
      23   talcum powder?                                  23   BY MR. ZELLERS:
      24       A. Because the primary route is             24        Q. Heller found talc in the
                                             Page 183                                             Page 185
       1   perineal via the reproductive tract.             1   tissues of all 24 patients; is that right?
       2       Q. You discuss that on page 7 of             2       A. That is correct.
       3   your report; is that right?                      3       Q. I believe we covered this
       4       A. Yes.                                      4   before, but just to confirm: There are no
       5       Q. You cite a number of studies              5   published articles that you're aware of that
       6   for the proposition that talc can be             6   show granulomas, fibrosis or adhesions
       7   transported from the perineum to the upper       7   anywhere in the reproductive tract of a woman
       8   reproductive tract and body cavity; is that      8   as a result of external genital talc
       9   right?                                           9   application, correct?
      10       A. That's correct.                          10            MS. O'DELL: Object to the
      11       Q. None of the articles that you            11       form.
      12   cite actually looked at whether talc can        12       A. I believe that's the case,
      13   migrate from perineal application through the   13   although there have been granulomas found in
      14   fallopian tubes to the ovaries, did they?       14   some cases of cancer where they reported
      15       A. Let me just refresh my memory            15   having used talc.
      16   for a moment here. Egli was carbon black.       16   BY MR. ZELLERS:
      17   Venter was radioactive technetium labeled       17       Q. Of the cases or the studies you
      18   albumin. Let me see. Blumenkrantz -- I have     18   cited here, Egli, that involved just three
      19   my notes here.                                  19   women, correct?
      20            Yeah, I can't remember what the        20       A. That was just -- that was an
      21   substance was in Blumenkrantz. Sjösten,         21   experimental study of the transport of carbon
      22   starch -- yeah, Blumenkrantz was retrograde     22   particles.
      23   menstruation. Halme was talc.                   23       Q. The women were in a lithotomy
      24       Q. Which study was talc?                    24   position; is that right?
                                                                        47 (Pages 182 to 185)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 73 of 227 PageID:
                                  60418

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 186                                             Page 188
       1       A. That's correct.                           1   of all these studies -- that they were using
       2       Q. And that means that they had              2   various particles that could be detected at
       3   their legs up in the air, correct?               3   the other end, and so this was an attempt to
       4       A. Correct.                                  4   do an experimental study which would cause no
       5       Q. Those conditions -- well,                 5   harm that would give them an answer regarding
       6   strike that.                                     6   transport through the reproductive tract.
       7            They were injected with                 7       Q. In this study, particles were
       8   oxytocin; is that right?                         8   introduced into the reproductive tract, not
       9       A. It is.                                    9   externally; is that right?
      10       Q. That was to aid in the                   10            MS. O'DELL: Object to the
      11   transport of the particles, correct?            11       form.
      12            MS. O'DELL: Object to the              12       A. That is correct.
      13       form.                                       13   BY MR. ZELLERS:
      14       A. I believe that was the author's          14       Q. Women were given Pitocin to
      15   theory.                                         15   stimulate uterine contractions; is that
      16   BY MR. ZELLERS:                                 16   right?
      17       Q. Those are different                      17       A. That's the same as oxytocin.
      18   circumstances or conditions from a woman who    18       Q. And that's a yes, correct?
      19   would apply a talc to her genital area          19       A. Yes.
      20   standing up, correct?                           20       Q. Again, as with the Egli study,
      21       A. Well, they are, but I'm not              21   the women were inverted in the Trendelenburg
      22   sure that that position is really pertinent     22   position with their head down, legs up when
      23   to the migration of particles through the       23   the particles were administered; is that
      24   reproductive tract.                             24   right?
                                             Page 187                                             Page 189
       1        Q. Is it your pos- -- is it your            1       A. I believe so.
       2   testimony that if a woman is in a lithotomy      2       Q. Is it possible that the
       3   position with their legs up into the air,        3   radionuclides can leach from the particles?
       4   that that is comparable with respect to the      4       A. I don't know the answer to
       5   migration of talc to a woman who's standing      5   that, but it was radioactive technetium that
       6   up and using it in her perineal region?          6   was bound to albumin.
       7        A. It may be.                               7       Q. The Sjösten study that you
       8        Q. Are you an expert on that?               8   cite, that did not use -- involve the
       9        A. I'm not.                                 9   perineal use of talc, but an exam with a
      10        Q. The authors in Egli, they               10   force to the cervix; is that right?
      11   stated it was possible that the study           11       A. Excuse me. An exam with what?
      12   observed false positives due to sample          12       Q. So it involved an exam with
      13   contamination because they failed to use        13   force to the cervix?
      14   liquid or filter blanks as negative controls,   14            MS. O'DELL: Object to the
      15   correct?                                        15       form.
      16        A. I don't recall that, but that           16       A. Well, this was -- this was done
      17   may be the case.                                17   as an experimental study on women who were
      18        Q. You refer to a study by Venter.         18   scheduled to get hysterectomies and they did
      19   That involved a radioactive particulate         19   it on some women one day prior to the
      20   matter, correct?                                20   hysterectomy and another group of women four
      21        A. Yes.                                    21   days prior to the hysterectomy, and they used
      22        Q. Did not involve talc particles,         22   gloves that were powdered with starch and
      23   correct?                                        23   gloves that were not powdered with starch.
      24        A. The point of the study was --           24            And so they had what's called a
                                                                        48 (Pages 186 to 189)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 74 of 227 PageID:
                                  60419

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 190                                             Page 192
       1   Latin square design, and they were able at       1       Q. In fact, in Terry -- well, and
       2   the point of the hysterectomy of taking          2   let me mark it for you so you've got it in
       3   samples of the fallopian tubes and washing       3   front of you.
       4   them to determine whether or not particles       4            THE WITNESS: Okay. I'm going
       5   were found in the tubes.                         5       to move this binder for the time
       6   BY MR. ZELLERS:                                  6       being, if you don't mind.
       7       Q. What they actually found was              7            MR. ZELLERS: Oh, yes, I'll
       8   that, whether the women were examined with       8       hand you the articles that I refer to,
       9   gloves with the starch particles or not, they    9       but if you need it, just pull it out.
      10   found starch particles in both, both groups,    10            THE WITNESS: Thank you.
      11   correct?                                        11            (Carson Deposition Exhibit 19
      12       A. It is true.                              12       marked.)
      13       Q. Tubal ligation, you refer to             13   BY MR. ZELLERS:
      14   tubal ligation and use that or purport to say   14       Q. Deposition Exhibit 19 is the
      15   that that supports your migration theory,       15   2013 Terry meta-analysis that you referred to
      16   correct?                                        16   in your report; is that right?
      17       A. It does.                                 17       A. Yes.
      18       Q. Your testimony is that for               18       Q. That's a pooled analysis of
      19   patients who have had a tubal ligation, that    19   eight studies; is that right?
      20   they are at a lesser risk of the talc -- let    20       A. Yes.
      21   me withdraw that.                               21       Q. Okay. This pooled analysis of
      22            Explain to us very briefly why         22   eight studies relating to genital powder use
      23   you believe that tubal ligation supports your   23   and the risk of ovarian cancer shows no
      24   migration theory.                               24   variation in the risk in talc users based on
                                             Page 191                                             Page 193
       1       A. If the pathway of exposure of             1   whether they had a tubal ligation or
       2   the ovaries that results in ovarian cancer is    2   hysterectomy; is that right?
       3   via the reproductive tract, then tubal           3       A. I think that's the conclusion
       4   ligation, which closes off the fallopian         4   of the authors here, but it's not the
       5   tubes, would interrupt that pathway and          5   conclusion of the individual authors of the
       6   result in reduced exposure; therefore, you       6   studies who did the original investigations.
       7   would expect a reduced incidence of cancer in    7       Q. Well, it is the conclusion of
       8   those women.                                     8   the authors based upon their meta-analysis of
       9       Q. In fact, though, that is not              9   eight studies; is that right?
      10   what has been reported or at least that has     10            MS. O'DELL: Object to the
      11   not been consistently reported in the           11       form.
      12   studies; is that right?                         12       A. Let me just check that.
      13       A. Well, it actually has been a             13            (Document review.)
      14   positive factor in a number of the              14       A. Yes.
      15   epidemiologic studies that have looked at the   15   BY MR. ZELLERS:
      16   ovarian cancer incidence and have been able     16       Q. If you look at pages 819,
      17   to include tubal ligation as a historical       17   carried over to 820, I'm reading: Our
      18   factor in their analysis.                       18   finding of slightly attenuated associations
      19       Q. Did you look at the Terry 2013           19   following exclusion of women with powder
      20   meta-analysis?                                  20   exposure after tubal ligation or hysterectomy
      21       A. Yes.                                     21   are not supportive of this hypothesis, but
      22       Q. You cite that in support of              22   risk estimates in this subgroup analysis may
      23   your positions in this case; is that right?     23   have randomly differed from those including
      24       A. I did.                                   24   all women because of the reduction in sample
                                                                        49 (Pages 190 to 193)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 75 of 227 PageID:
                                  60420

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 194                                             Page 196
       1   size.                                            1            THE WITNESS: Thank you.
       2            Is that right?                          2            MS. O'DELL: Thank you.
       3       A. Yes.                                      3   BY MR. ZELLERS:
       4       Q. Essentially, looking at these             4       Q. This is also a study,
       5   eight studies in this meta-analysis, Terry       5   Exhibit 20, Cramer 2016, that you cite as
       6   did not find that exposure to genital powder     6   supportive of your opinions in this case,
       7   applications that occurred before tubal          7   correct?
       8   ligation or hysterectomy made any substantive    8       A. Correct.
       9   difference in the results; is that right?        9       Q. Cramer actually looked at
      10       A. Yes, but the point is that the           10   whether or not there was any greater
      11   authors didn't find that it did not make a      11   association of talc use and ovarian cancer
      12   difference either. They -- they ended up        12   and whether or not women who had a tubal
      13   with a study with reduced numbers that they     13   ligation or hysterectomy had a reduced
      14   couldn't make determinations about.             14   incidence of the disease; is that correct?
      15       Q. If, though, the migration                15       A. Yes.
      16   theory is correct, you would expect that        16       Q. Turn to page 337, and then it
      17   there would be a reduction in the incidence     17   carries over to 339. They're talking --
      18   of ovarian cancer for women who have had a      18   they, being the authors -- of their results,
      19   tubal ligation or hysterectomy; is that         19   and I'm reading just at the very bottom of
      20   right?                                          20   337, carried over to 339: By test for
      21            MS. O'DELL: Object to the              21   interaction, column 3, the association was
      22       form.                                       22   significantly greater for women who were
      23       A. Yes, that is correct.                    23   African-American, had no personal history of
      24            ///                                    24   breast cancer, had a tubal ligation or
                                             Page 195                                             Page 197
       1   BY MR. ZELLERS:                                  1   hysterectomy.
       2        Q. And that was not found in the            2            Is that right?
       3   Terry meta-analysis that you cite; is that       3            MS. O'DELL: Object to the
       4   right?                                           4       form.
       5            MS. O'DELL: Object to the               5       A. Beginning on page 337?
       6        form.                                       6   BY MR. ZELLERS:
       7        A. That is correct, but it was              7       Q. Yes.
       8   found in the baseline studies that were, in      8       A. I'm sorry, if you could --
       9   part, included in this meta-analysis.            9       Q. Sure. At the very end of 337.
      10   BY MR. ZELLERS:                                 10       A. Okay.
      11        Q. Are you -- you also cite the            11       Q. So they're looking at --
      12   Cramer study, 2016; is that right?              12       A. Oh, by tests for interaction.
      13        A. Yes.                                    13       Q. Yes.
      14        Q. I've got a few questions for            14       A. Yeah.
      15   you on the Cramer study, but let me just ask,   15       Q. So if your migration theory is
      16   since we're at this part right now.             16   correct, you would expect there to be a lower
      17            Do you have the Cramer study?          17   incidence of ovarian cancer in women who have
      18   I'll hand it to you.                            18   had a tubal ligation or hysterectomy,
      19        A. If you have a copy, I'd                 19   correct?
      20   appreciate it.                                  20            MS. O'DELL: Object to the
      21            MR. ZELLERS: Sure. We'll mark          21       form.
      22        the Cramer study as Exhibit 20.            22       A. That is correct.
      23            (Carson Deposition Exhibit 20          23   BY MR. ZELLERS:
      24        marked.)                                   24       Q. All right. Cramer finds by
                                                                        50 (Pages 194 to 197)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 76 of 227 PageID:
                                  60421

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 198                                              Page 200
       1   test for interaction the association was         1   to talcum powder?
       2   significantly greater for women who -- and       2            MS. O'DELL: Object to the
       3   then I'm skipping African-American, but I'm      3       form.
       4   coming down to -- have a tubal ligation or       4       A. It doesn't -- it doesn't
       5   hysterectomy.                                    5   eliminate exposure, but it does remove
       6             Is that correct?                       6   residual exposure, as does sweating, other
       7       A. Yes.                                      7   body secretions and so forth.
       8       Q. All right. If talcum powder               8   BY MR. ZELLERS:
       9   migrates from the perineal region to the         9       Q. Are you aware of any studies
      10   ovaries, shouldn't exposure to -- exposure to   10   that show inflammation or oxidative stress as
      11   talc be far greater in concentration in the     11   a result of genital talc use in the rectal,
      12   rectal, vulvar, vaginal, cervical and uterine   12   vulvar, vaginal, cervical and uterine
      13   tissues which are closer to the area of         13   tissues?
      14   initial exposure?                               14       A. No, I'm not.
      15             MS. O'DELL: Objection to form.        15       Q. Under your theory or belief
      16       A. Well, the acute exposure would           16   that talcum powder travels from the perineal
      17   be greater.                                     17   region to the ovaries through the woman's
      18   BY MR. ZELLERS:                                 18   reproductive tract, talcum powder must travel
      19       Q. You would expect because the             19   past the labia, through the vagina, through
      20   acute exposure is greater, that there should    20   the cervix, and then to the uterus; is that
      21   be inflammation caused in these organs and      21   right?
      22   areas, correct?                                 22       A. That's correct.
      23       A. No. The inflammation and                 23       Q. And then the powder travels
      24   oxidative stress is an ongoing process that     24   through the uterus and into the fallopian
                                             Page 199                                              Page 201
       1   has to develop over time, and it occurs on a     1   tubes to reach the ovaries; is that right?
       2   chronic basis in areas where foreign bodies      2       A. Yes.
       3   locate and reside. And talc and talcum           3       Q. On what studies are you relying
       4   powder are examples of foreign bodies that       4   to say that talcum powder affects the body
       5   have the right characteristics to cause          5   differently when it's applied to the perineal
       6   chemotaxis in reactive oxygen species and        6   region and travels to the cervix compared to
       7   oxidative status.                                7   when it is applied directly to the cervix?
       8       Q. Well, in fact, there would be             8       A. I don't think --
       9   chronic exposure, so if we're dealing with,      9            MS. O'DELL: Object to the
      10   as you described in the very beginning, which   10       form.
      11   you were asked, to look at the habitual use     11       A. -- there is much of a
      12   of talcum powder, that would create exposure    12   difference.
      13   on a chronic basis to the rectal area and       13   BY MR. ZELLERS:
      14   tissues, vulvar, vaginal, cervical and          14       Q. You would expect there to be a
      15   uterine tissues; is that right?                 15   comparable similar result whether talcum
      16            MS. O'DELL: Object to the              16   powder is applied directly to the cervix
      17       form.                                       17   through the use of dusting of a diaphragm as
      18       A. I suspect if one doesn't bathe,          18   there is to the use of talcum powder in the
      19   that would be more of an issue, but most        19   genital areas; is that right?
      20   people bathe regularly as well.                 20       A. That is correct. I think the
      21   BY MR. ZELLERS:                                 21   two differ probably in terms of quantity very
      22       Q. And bathing regularly                    22   significantly. But other than that, they
      23   eliminates any exposure in the rectal,          23   would be the same.
      24   vulvar, vaginal, cervical and uterine tissues   24       Q. When applied to the perineal
                                                                        51 (Pages 198 to 201)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 77 of 227 PageID:
                                  60422

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                              Page 202                                             Page 204
       1   region, talcum powder would also be in close     1   about to reconsider that?
       2   contact with a woman's urethra; is that          2       A. Because the chatter is that
       3   right?                                           3   this is something that's on their radar
       4       A. Yes.                                      4   screen currently.
       5       Q. Substances, and in your view,             5       Q. What chatter are you aware of?
       6   talcum powder, are capable of traveling up       6   And what is chatter?
       7   the urethra; is that right?                      7       A. It's discussion among -- within
       8             MS. O'DELL: Object to the              8   the scientific and healthcare community of
       9       form.                                        9   things that are on the drawing board for
      10       A. The urethra has a sphincter              10   IARC.
      11   which prevents transport beyond that point.     11       Q. Do you know whether or not
      12   BY MR. ZELLERS:                                 12   IARC -- well, strike that.
      13       Q. Women get urinary tract                  13             IARC has not changed its
      14   infections when bacteria travels up the         14   position that the migration theory and
      15   urethra; is that right?                         15   evidence for the migration theory is weak; is
      16       A. That's correct.                          16   that right?
      17       Q. Studies, though, do not show an          17             MS. O'DELL: Object to the
      18   increase in bladder cancer with talcum powder   18       form.
      19   use; is that right?                             19       A. They have not changed their
      20       A. I don't believe that talcum              20   position that was published in the 2010
      21   powder transports in any appreciable amount     21   monograph.
      22   up the urethra into the bladder.                22   BY MR. ZELLERS:
      23       Q. Studies do not show an increase          23       Q. All right. You have heard
      24   in rectal cancer with talcum powder use, do     24   chatter that they may look at it again; is
                                              Page 203                                             Page 205
       1   they?                                            1   that right?
       2        A. No.                                      2       A. Yes.
       3        Q. Are you aware that that IARC --          3       Q. Other than this chatter, you're
       4   and you're familiar with IARC, right?            4   unaware of any other -- well, strike that.
       5        A. Yes.                                     5            You're unaware of any change in
       6        Q. Are you aware that IARC rejects          6   IARC's position with respect to migration,
       7   this migration theory and calls the evidence     7   correct?
       8   weak?                                            8       A. Well, an example of what I'm
       9            MS. O'DELL: Object to the               9   talking about is the Health Canada report,
      10        form.                                      10   which has contradicted what is found in the
      11        A. The IARC has made that                  11   IARC monograph and is more current and
      12   statement in their -- I think the 2006 review   12   considers information that will probably go
      13   that resulted in their recent monograph, but    13   into the next IARC review.
      14   I think they're about to reconsider that.       14            MR. ZELLERS: Move to strike as
      15   BY MR. ZELLERS:                                 15       nonresponsive.
      16        Q. Well, they also have stated             16   BY MR. ZELLERS:
      17   that in 2010; is that right?                    17       Q. Does IARC review and rely on
      18        A. Well, that's the --                     18   draft assessments in formulating their
      19            MS. O'DELL: Object to the              19   positions?
      20        form.                                      20       A. IARC relies on primary studies.
      21        A. That's the monograph from the           21       Q. Not draft assessments, correct?
      22   2006 review.                                    22       A. Well, the draft assessment that
      23   BY MR. ZELLERS:                                 23   I guess you're referring to, the Health
      24        Q. Why do you believe that they're         24   Canada draft assessment, is derived from
                                                                        52 (Pages 202 to 205)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 78 of 227 PageID:
                                  60423

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 206                                             Page 208
       1   primary studies, the same ones that will be      1   is that right?
       2   considered by IARC.                              2        A. That is correct.
       3       Q. All right. As of today, IARC's            3        Q. You are not one of those
       4   published position is that evidence of a         4   physicians, correct?
       5   migration theory of talcum powder migrating      5        A. I don't claim to be a
       6   to the ovaries is weak, correct?                 6   specialist in gynecology.
       7       A. Yes.                                      7        Q. Your third opinion is that the
       8       Q. Have you conducted any tests or           8   ovaries lack an intrinsic elimination system;
       9   experiments with respect to your theory or       9   is that right?
      10   position that talc migrates to the ovaries      10        A. That's correct.
      11   through the reproductive tract?                 11        Q. Is "intrinsic elimination
      12       A. No, I haven't.                           12   system" a recognized term of art that's used
      13       Q. How much talc actually reaches           13   by gynecologists?
      14   the ovaries in your opinion?                    14        A. I don't think so. It was just
      15       A. I can't answer that question             15   the term I used to describe the situation.
      16   because the dose has not been quantified.       16        Q. Is "intrinsic elimination
      17       Q. Does it only reach the ovaries           17   system" a term of art used by oncologists?
      18   during certain times?                           18        A. The same answer.
      19       A. I don't believe so. I think              19        Q. Have you seen published studies
      20   there are many circumstances whereby that       20   that use that term?
      21   migration pathway is functional, and in my      21        A. I don't know. I suspect I
      22   belief, the pathway from the perineum to the    22   could have. It's apparently a small number
      23   cervix is pretty much an open channel, and      23   of ways to describe that in a few words.
      24   then it continues to be open pretty much all    24        Q. You do not cite to any studies
                                             Page 207                                             Page 209
       1   the way into the pelvic cavity.                  1   in the body of your report to support your
       2       Q. You are not a specialist in               2   theory that the ovaries do not have an
       3   women's health issues, correct?                  3   intrinsic elimination system, correct?
       4            MS. O'DELL: Object to the               4        A. That's correct.
       5       form.                                        5        Q. You have not conducted any
       6       A. Well, I'm a doctor. I've                  6   tests to show that exposure to the ovaries to
       7   examined a lot of women.                         7   particulate matter, if any, is longer than
       8   BY MR. ZELLERS:                                  8   exposure to other parts of the female
       9       Q. Are you --                                9   anatomy; is that right?
      10            MS. O'DELL: Excuse me. Are             10             MS. O'DELL: Object to the
      11       you finished, sir?                          11        form.
      12            THE WITNESS: Yes, I'm                  12        A. I have not conducted any such
      13       finished.                                   13   tests.
      14            MS. O'DELL: Okay.                      14   BY MR. ZELLERS:
      15   BY MR. ZELLERS:                                 15        Q. Is the cervix more or less
      16       Q. Are you an expert in the                 16   sensitive to the impact of foreign particles
      17   women's reproductive tract?                     17   than the ovaries?
      18       A. I've taken it apart and put it           18             MS. O'DELL: Object to the
      19   back together again in medical school, and in   19        form.
      20   other settings I've done OB/GYN rotations.      20        A. I think that the important
      21   I've participated in pelvic surgeries. I        21   point is the residence time that exists, and
      22   understand the anatomy.                         22   the cervix is not presented with things for
      23       Q. There are physicians who are             23   an extended time like the ovaries are in
      24   specialists in the female reproductive tract;   24   relation to things like talc. But it is
                                                                        53 (Pages 206 to 209)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 79 of 227 PageID:
                                  60424

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 210                                              Page 212
       1   sensitive.                                       1      A.      Yes.
       2   BY MR. ZELLERS:                                  2             MS. O'DELL: Object to the
       3       Q. All right. Your fourth                    3        form.
       4   theory -- or strike that.                        4   BY MR. ZELLERS:
       5            Your fourth opinion is that the         5        Q. Are you familiar with the term
       6   epidemiological studies show a positive          6   "person-years" as it relates to
       7   relationship between regular perineal            7   epidemiological study?
       8   application of talcum powder and ovarian         8        A. Yes, I am.
       9   cancer; is that right?                           9        Q. What is -- strike that.
      10       A. That's correct.                          10             How are person-years
      11       Q. The studies that you reference           11   calculated?
      12   in this opinion are referred to on pages 6      12        A. They are calculated by -- in
      13   and 7 of your report; is that right?            13   relation to an exposure or to an existing
      14            MS. O'DELL: Object to the              14   treatment, they're calculated by multiplying
      15       form.                                       15   the duration of the treatment or exposure in
      16       A. Most of them, yes.                       16   years by the number of people being studied.
      17   BY MR. ZELLERS:                                 17   And that -- the result is person-years.
      18       Q. You conclude that when                   18        Q. Can you explain the difference
      19   confounding and bias are exhaustively           19   between high-grade serous and low-grade
      20   considered -- and do you believe you've done    20   serous cancer?
      21   that here?                                      21        A. High-grade serous cancer has
      22       A. I am restating what authors of           22   a -- is less differentiated and has a greater
      23   the primary studies have done. I'm              23   propensity for metastasis and invasion.
      24   evaluating the consistency of the evidence,     24        Q. Are you aware that the
                                             Page 211                                              Page 213
       1   not the basic evidence itself.                   1   epidemiological literature shows that these
       2       Q. The apparent cause and effect             2   are very different cancers?
       3   relationship between perineal talcum powder      3        A. They behave quite differently,
       4   use and ovarian cancer amounts to about a 30%    4   yes.
       5   increased risk of ovarian cancer in talcum       5        Q. Do you know what publication
       6   powder users.                                    6   bias is?
       7            Is that your opinion in this            7        A. Yes.
       8   case?                                            8        Q. What is publication bias?
       9       A. It is.                                    9        A. Publication bias is the
      10       Q. And that is your opinion from            10   tendency to -- to spin a certain argument
      11   reviewing the epidemiologic studies that you    11   in -- in order to influence acceptance of
      12   cite in your report?                            12   publications.
      13       A. Yes.                                     13        Q. Is that a recognized issue in
      14       Q. When epidemiologists refer to            14   the field of epidemiology, at least as you've
      15   the statistical power of a study, what are      15   observed?
      16   they referring to?                              16        A. It's a -- it's not necessarily
      17       A. Statistical power refers to the          17   recognized in the field of epidemiology. It
      18   ability of a study design, if carried out, to   18   exists in all scientific endeavors.
      19   detect a signal in the data of a particular     19        Q. Is it something that you and
      20   magnitude.                                      20   other physicians and experts and scientists
      21       Q. In plain English, statistical            21   need to be aware of?
      22   power is the likelihood that a study will       22        A. Yes. I think we're all exposed
      23   detect an effect when there is an effect to     23   to the effects of that and warned about it as
      24   be detected; is that fair?                      24   we go through our careers.
                                                                        54 (Pages 210 to 213)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 80 of 227 PageID:
                                  60425

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                              Page 214                                             Page 216
       1       Q. When I asked you early on what            1   been published as well. And I felt that was
       2   your methodology was, you looked at the          2   sufficient to be able to produce this report
       3   published literature, you looked at some         3   that addressed the question I was asked.
       4   websites I think that you told us about          4       Q. As you told us earlier, you
       5   earlier, and then you performed a risk           5   have never published a meta-analysis on any
       6   assessment and considered whether perineal       6   topic; is that right?
       7   use of talc products poses a safety risk to      7       A. That's correct.
       8   consumers; is that right?                        8       Q. You cite to some of the
       9             MS. O'DELL: Object to the              9   available studies on talcum powder use in
      10       form.                                       10   ovarian cancer, but not to all of the
      11       A. Well, that's a gross                     11   studies, correct?
      12   oversimplification of the risk assessment       12            MS. O'DELL: Object to the
      13   process that I performed.                       13       form.
      14             The review of the literature,         14       A. That's true.
      15   which was based on the question that I was      15   BY MR. ZELLERS:
      16   asked to address, was a fairly exhaustive one   16       Q. What was your reasoning for
      17   which incorporated a search for every           17   focusing on certain studies and excluding
      18   pertinent publication that was available and    18   other studies?
      19   included multiple languages.                    19       A. The studies that I referenced
      20             It then was -- proceeded into a       20   were those that had specific aspects that
      21   distillation of the facts that were -- that     21   directly influenced my report or my
      22   were claimed based on those individual          22   conclusions or that I felt were illustrative
      23   studies and investigations, and a comparison    23   of comments I was making in the report, and
      24   of those, one with another, eventually          24   that's why they were referenced.
                                              Page 215                                             Page 217
       1   considering them all as a whole to arrive at     1            All of the studies may not have
       2   conclusions that addressed the question.         2   risen to that -- the level of requiring being
       3   BY MR. ZELLERS:                                  3   referenced, but pretty much all the studies
       4       Q. That was your methodology; is             4   are included in the literature that I
       5   that right?                                      5   reviewed.
       6       A. That is the methodology, yes.             6       Q. You cite in the report the
       7       Q. Did you consider the Bradford             7   studies that were favorable or supportive of
       8   Hill criteria or factors in reaching your        8   your opinions, correct?
       9   conclusions and opinions in this matter?         9       A. Well, I cited a number of
      10       A. That's part of the methodology           10   studies, not all of which were favorable to
      11   which is outlined in my report.                 11   my overall opinions, at least not on the
      12       Q. In analyzing the Bradford Hill           12   surface.
      13   criteria, did you conduct a meta-analysis of    13       Q. Did you cite all of the studies
      14   the available data to reach a conclusion        14   that you believe in one way or another
      15   about the relative risk?                        15   support your opinions in this case?
      16       A. No, I did not.                           16       A. I don't think so.
      17       Q. Why didn't you conduct a                 17       Q. You believe there are
      18   meta-analysis for this case?                    18   additional studies that support your opinions
      19       A. I did not have the time to do a          19   that you did not cite?
      20   meta-analysis in this case, first of all.       20       A. They're in the literature list.
      21   Secondly, there have been a number of other     21       Q. Did you cite the opinions that
      22   meta-analyses performed, and I had those        22   refuted -- strike that.
      23   results available to me in addition to          23            Did you cite the studies that
      24   various reviews of the literature that have     24   refuted your opinions in this matter?
                                                                        55 (Pages 214 to 217)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 81 of 227 PageID:
                                  60426

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                              Page 218                                            Page 220
       1        A. I cited some studies that had            1   more detail to be able to answer that
       2   opinions that -- or that had conclusions that    2   specifically.
       3   did not necessarily agree with mine, but I       3        Q. Well, essentially, based upon
       4   don't think they refuted my conclusions.         4   its analysis as of 2014, the FDA concluded
       5        Q. Do you believe the standard for          5   that causation had not been established as
       6   proving causation in the scientific              6   between genital talcum powder use and ovarian
       7   literature is the same one that applies in       7   cancer or an increased risk of ovarian
       8   this litigation?                                 8   cancer, correct?
       9             MS. O'DELL: Object to the              9        A. Well, it said that an updated
      10        form.                                      10   review failed to identify any new compelling
      11        A. I don't know that.                      11   literature data or new scientific evidence.
      12   BY MR. ZELLERS:                                 12   I don't think they indicate here that they
      13        Q. A document you brought here             13   actually did a standard review of that
      14   today was an FDA letter?                        14   literature.
      15        A. Yeah, I think you marked it.            15        Q. Well, take a look, if you will,
      16        Q. I did mark it. Why don't you            16   at page 4. The FDA sets forth its
      17   see if you could find it so I can ask you a     17   epidemiology and etiology findings; is that
      18   couple of questions about it.                   18   right?
      19        A. There it is. That one?                  19        A. Yes.
      20        Q. Yes. Exhibit 10 is an FDA               20        Q. The FDA has a number of very
      21   letter dated April 1st of 2014 to a             21   capable physicians, scientists,
      22   Dr. Epstein; is that right?                     22   toxicologists, pharmacologists and medical
      23        A. Yes.                                    23   professionals; is that right?
      24        Q. That is a document that you             24            MS. O'DELL: Object to the
                                              Page 219                                            Page 221
       1   reviewed and considered as part of your          1        form.
       2   analysis of this case; is that right?            2        A. I don't know if they're still
       3       A. Yes.                                      3   working, but they have good people on staff.
       4       Q. Do you believe that that                  4   BY MR. ZELLERS:
       5   exhibit, Exhibit 10, is supportive of your       5        Q. And just so, a year or two or
       6   opinions in this matter?                         6   three, if this transcript is ever reviewed,
       7       A. I don't think it's very                   7   we are in the midst of a shutdown of at least
       8   supportive. It's -- it's in response to a        8   portions of the government; is that right?
       9   proposal from a citizens voluntary agency to     9        A. That's correct.
      10   provide more stringent labeling on talcum       10        Q. And that is what your comment
      11   powder products, and the agency rejected        11   was directed to, correct?
      12   the -- that petition.                           12        A. That is correct.
      13       Q. The FDA is the regulatory body           13        Q. On page 4 the FDA states:
      14   in the United States that oversees food, drug   14   After consideration of the scientific
      15   and cosmetics; is that right?                   15   literature submitted in support of both
      16            MS. O'DELL: Object to the              16   citizens' petitions, FDA found.
      17       form.                                       17             And then, number 2, that
      18       A. Yes.                                     18   several of the studies acknowledge biases in
      19   BY MR. ZELLERS:                                 19   the study design and no single study has
      20       Q. This letter -- strike that.              20   considered all the factors that potentially
      21            In this letter the FDA goes            21   contribute to ovarian cancer, including
      22   through and analyzes some of the Bradford       22   selection bias and/or uncontrolled
      23   Hill factors; is that right?                    23   confounding that result in spurious positive
      24       A. I'd have to look at this in              24   associations between talc use and ovarian
                                                                        56 (Pages 218 to 221)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 82 of 227 PageID:
                                  60427

                         Arch I. "Chip"                  Carson, M.D., Ph.D.
                                             Page 222                                              Page 224
       1   cancer risk.                                     1       form.
       2            Did I read that correctly?              2       A. That is correct.
       3       A. You did read it correctly.                3   BY MR. ZELLERS:
       4       Q. Does that appear to be at least           4       Q. You are a paid expert for the
       5   one of the conclusions of the FDA after          5   plaintiffs in this litigation; is that right?
       6   considering the scientific literature as of      6       A. That is correct.
       7   early 2014?                                      7       Q. To your knowledge, the FDA is
       8            MS. O'DELL: Object to the               8   not paid -- well, let me withdraw that.
       9       form.                                        9       A. I wouldn't go out on a limb
      10       A. Yes, that is listed as an FDI            10   there.
      11   finding -- FDA finding.                         11       Q. Number 4, Conclusion 4, a
      12   BY MR. ZELLERS:                                 12   cogent biological mechanism by which talc
      13       Q. The FDA noted that a                     13   might lead to ovarian cancer is lacking.
      14   dose-response -- strike that.                   14   Exposure to talc does not account for all
      15            The FDA noted that                     15   cases of ovarian cancer and there was no
      16   dose-response evidence is lacking; is that      16   scientific consensus on the proportion of
      17   right?                                          17   ovarian cancer cases that may be caused by
      18       A. A dose-response --                       18   talc exposure.
      19       Q. Two things. The FDA notes that           19            Was that a conclusion of the
      20   there's a lack of consistency in the study      20   FDA based upon its review of the
      21   results, correct?                               21   epidemiologic literature?
      22            MS. O'DELL: Where are you              22            MS. O'DELL: Object to the
      23       reading? I'm sorry.                         23       form.
      24            MR. ZELLERS: I'm looking at            24       A. Yes, it was, and it's one that
                                             Page 223                                              Page 225
       1       Conclusion 3.                                1   I also disagree with.
       2            THE WITNESS: Point 3.                   2   BY MR. ZELLERS:
       3       A. They found that the                       3        Q. IARC also considered the
       4   case-control studies did not demonstrate a       4   Bradford Hill considerations; is that right?
       5   consistent positive association across           5        A. Yes, it did.
       6   studies; although some studies have found        6        Q. IARC rejected classification of
       7   small positive associations between talc and     7   talc as a carcinogenic, instead assigning it
       8   ovarian cancer, but lower confidence limits      8   to the classification of possibly
       9   are often close to 1, and dose-response          9   carcinogenic to humans; is that correct?
      10   evidence is lacking.                            10        A. That's correct.
      11   BY MR. ZELLERS:                                 11        Q. We've already discussed the
      12       Q. That was FDA's conclusion                12   IARC categories briefly, but let's mark a
      13   number 3 based upon its review of the           13   document from the IARC website as to the
      14   scientific literature; is that right?           14   classifications, Exhibit 21.
      15            MS. O'DELL: Object to the              15            (Carson Deposition Exhibit 21
      16       form.                                       16        marked.)
      17       A. It's correct. It's not a valid           17   BY MR. ZELLERS:
      18   interpretation of the statistical results,      18        Q. Tell me if you recognize that.
      19   but that was one of their findings.             19        A. Yes.
      20   BY MR. ZELLERS:                                 20        Q. Exhibit 21 is from the IARC
      21       Q. Well, that was their finding.            21   website, and it goes through the
      22   You disagree at least in part with their        22   classifications of different agents that have
      23   finding; is that right?                         23   been made by the International Agency for
      24            MS. O'DELL: Object to the              24   Research on Cancer; is that right?
                                                                        57 (Pages 222 to 225)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 83 of 227 PageID:
                                  60428

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 226                                             Page 228
       1       A. Yes, that's correct.                      1             MS. O'DELL: Object to the
       2       Q. It has studied and included 120           2        form.
       3   agents in the Group 1 category, which is         3        A. I think limited evidence also
       4   carcinogenic to humans, correct?                 4   refers to just the number of studies that
       5       A. That's correct.                           5   have been performed as well as the quality of
       6       Q. That's the only category in               6   the studies.
       7   which IARC finds sufficient evidence in          7   BY MR. ZELLERS:
       8   humans, correct?                                 8        Q. Well, based upon the evidence
       9            MS. O'DELL: Object to the               9   that is available, the studies that are
      10       form.                                       10   available, a 2B designation by IARC means
      11       A. That's the category that                 11   that IARC cannot rule out chance, bias or
      12   represents substances for which there is        12   confounding with reasonable confidence,
      13   sufficient and irrefutable evidence of human    13   correct?
      14   carcinogenesis.                                 14             MS. O'DELL: Objection, asked
      15   BY MR. ZELLERS:                                 15        and answered.
      16       Q. It lists 82 agents in Group 2A           16        A. Not always the case.
      17   as being probably carcinogenic to humans; is    17   BY MR. ZELLERS:
      18   that right?                                     18        Q. That's part of the definition,
      19       A. That's correct.                          19   isn't it?
      20       Q. IARC is certainly willing to             20        A. I don't believe it applies to
      21   declare agents as either a known or probable    21   every agent or every evaluation.
      22   carcinogen; is that right?                      22        Q. Well, I'll not take the time to
      23       A. That's correct.                          23   go through the IARC definitions; if we at the
      24       Q. There is only one agent in               24   end of the day have extra time, we'll go back
                                             Page 227                                             Page 229
       1   Group 4, probably not carcinogenic to humans,    1   and we'll take a look.
       2   correct?                                         2            What else is in the Class 2B,
       3       A. Yes. I thought that number had            3   possibly carcinogenic. Ginkgo biloba, is
       4   gone up recently, but the date here is           4   that something you're aware of that's in that
       5   November 2018, so some may have been moved       5   category?
       6   back into Group 3.                               6            MS. O'DELL: Object to the
       7       Q. So out of the over 1,000 agents           7       form.
       8   that IARC has reviewed, it's only placed one     8       A. That's a biological material.
       9   agent in the Group 4 category, probably not      9   BY MR. ZELLERS:
      10   carcinogenic; is that right?                    10       Q. Pickled vegetables?
      11       A. That's correct.                          11       A. That may be in Group 2B.
      12       Q. There is no Group 5, not                 12       Q. Occupational carpentry and
      13   carcinogenic; is that right?                    13   joinery?
      14       A. That's correct.                          14            MS. O'DELL: Objection to form.
      15       Q. With genital talc, IARC                  15       A. That's wood dust exposure.
      16   Group 2B designation -- well, strike that.      16   BY MR. ZELLERS:
      17            Genital talc is listed as an           17       Q. Also 2B; is that right?
      18   IARC Group 2B designated substance; is that     18       A. Wood dust itself is Group 1.
      19   right?                                          19   The occupation is Group 2B.
      20       A. That's correct.                          20       Q. Let me ask you about some
      21       Q. That's based on limited                  21   individual Bradford Hill criteria. On
      22   evidence in humans, which means that IARC       22   page 10 of your report, you state that you
      23   cannot rule out chance, bias or confounding     23   gave the most weight to strength of
      24   with reasonable confidence, correct?            24   association, consistency and biologic
                                                                        58 (Pages 226 to 229)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 84 of 227 PageID:
                                  60429

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 230                                             Page 232
       1   plausibility; is that right?                     1   been failed attempts, but they have been
       2        A. That's correct.                          2   attempts to estimate the quantity of powder
       3        Q. How much weight did you give to          3   that you start with and the amount that
       4   the other six factors?                           4   results in the application to the perineum by
       5        A. Sufficient.                              5   using models and actually doing some
       6        Q. Why did you put less weight on           6   measurements and recording activities.
       7   those?                                           7   BY MR. ZELLERS:
       8        A. Because the strength of                  8       Q. You did not do any modeling or
       9   association, the consistency of the evidence     9   any assessment of the quantity of baby powder
      10   and the biological plausibility of perineal     10   that was involved with daily use; is that
      11   talc, talcum powder application as              11   right?
      12   responsible for the occurrence of ovarian       12       A. No, I relied on those others.
      13   cancer was compelling.                          13       Q. When you say 30% increased
      14        Q. FDA focused on dose, correct?           14   risk, that's a 1.3 odds ratio; is that right?
      15        A. Yes.                                    15       A. That's correct.
      16        Q. You did not; is that right?             16       Q. And that comes largely from the
      17        A. That's right.                           17   case-control studies, correct?
      18        Q. The first Bradford Hill factor          18            MS. O'DELL: Object to the
      19   that you focused on was strength of             19       form.
      20   association.                                    20       A. Yes, but it's also consistent
      21             What association does the             21   with some of the information from the cohort
      22   literature report between talc use and          22   studies.
      23   ovarian cancer?                                 23   BY MR. ZELLERS:
      24        A. Overall, evaluating the                 24       Q. Epidemiologists consider a 1.3
                                             Page 231                                             Page 233
       1   universe of research, epidemiologic research     1   odds ratio in a case-control study to be a
       2   that's been done on this, it shows an average    2   weak or modest association; is that right?
       3   30% increase in ovarian cancer risk for those    3            MS. O'DELL: Object to the
       4   who regularly apply talcum powder to the         4       form.
       5   perineum.                                        5       A. That's correct.
       6       Q. Regular application of talcum             6   BY MR. ZELLERS:
       7   powder means what?                               7       Q. Where here we're talking only
       8       A. It -- I believe that it means             8   about statistical associations, not
       9   daily or thereabouts.                            9   causation, correct?
      10       Q. In what form of application?             10            MS. O'DELL: Object to the
      11       A. Talcum powder.                           11       form.
      12       Q. In what amount?                          12       A. Well, association eventually
      13       A. Whatever is necessary or                 13   becomes causation when the -- when the
      14   desired by the user.                            14   evidence mounts to a point where it becomes
      15       Q. Does that vary from woman to             15   recognized by all of the players that this is
      16   woman?                                          16   what's going on.
      17       A. It does.                                 17            A 30% increase may be
      18       Q. Did you make any attempt to              18   classified by epidemiologists as weak or
      19   assess what regular use of talcum powder was?   19   modest, but if you look at the number of
      20            MS. O'DELL: Object to the              20   women in this country who die each year from
      21       form.                                       21   this fatal disease, that represents about
      22       A. There have been a couple of              22   3,000 lives that could potentially be saved
      23   attempts to try to quantify what -- what that   23   through prevention.
      24   means. I think for the most part they've        24       Q. There is not a --
                                                                        59 (Pages 230 to 233)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 85 of 227 PageID:
                                  60430

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                              Page 234                                            Page 236
       1             MS. BOCKUS: Excuse me, I need          1   epidemiologists are concerned, correct?
       2        to object as nonresponsive.                 2            MS. O'DELL: Object to --
       3             MR. ZELLERS: Yes, join.                3       object to the form.
       4   BY MR. ZELLERS:                                  4       A. It's an increased risk that
       5        Q. There is not a consensus at              5   translates into human lives, so it depends on
       6   this time with respect to any causation          6   your point of view.
       7   relating to genital talc and ovarian cancer,     7            MS. BOCKUS: Object to form --
       8   is there?                                        8       I mean, sorry, nonresponsive, move to
       9             MS. O'DELL: Objection to the           9       strike.
      10        form.                                      10            MR. ZELLERS: Join.
      11        A. I believe that that consensus           11            MS. O'DELL: Oppose.
      12   is building.                                    12            DR. THOMPSON: Agreed.
      13   BY MR. ZELLERS:                                 13   BY MR. ZELLERS:
      14        Q. FDA -- that's not FDA's                 14       Q. The 1.3 relative risk that you
      15   position, correct?                              15   believe generally applies, that would relate
      16             MS. O'DELL: Object to the             16   to epithelial cancers; is that right?
      17        form.                                      17       A. Yes.
      18        A. Not at the moment.                      18       Q. That's what you're limiting
      19   BY MR. ZELLERS:                                 19   your opinions to in this case, correct?
      20        Q. That's not the position of the          20            MS. O'DELL: Object to the
      21   National Cancer Institute; is that right?       21       form.
      22        A. That's correct.                         22       A. Well, these opinions relate to
      23        Q. That's not the position of the          23   several of the cancers that have shown
      24   CDC; is that correct?                           24   increases in these background epidemiologic
                                              Page 235                                            Page 237
       1       A. That's correct.                           1   studies, which include the epithelial ovarian
       2       Q. IARC does not refer to any                2   cancers, including the serous; the borderline
       3   association between perineal talc use and        3   cancers are also showing increases in some of
       4   ovarian cancer as a strong association, does     4   the studies. So it's the group of those
       5   it?                                              5   cancers, yes.
       6            MS. O'DELL: Object to the               6   BY MR. ZELLERS:
       7       form.                                        7       Q. The cohort studies, prospective
       8       A. It calls it a Group 2B                    8   cohort studies, have not shown an association
       9   carcinogen, which is fairly significant.         9   between talc and ovarian cancer, correct?
      10   BY MR. ZELLERS:                                 10             MS. O'DELL: Object to the
      11       Q. Well, we discussed a few                 11       form.
      12   minutes ago that if an agent is a Group 2B      12       A. They have in some subtypes.
      13   carcinogen, that is based on limited evidence   13   BY MR. ZELLERS:
      14   in humans; is that right?                       14       Q. There was an initial
      15       A. That's correct.                          15   description with respect to the first Nurses'
      16       Q. All right. Your opinions on              16   study that was not supported in the update of
      17   strength of association, do they apply          17   that study; is that correct?
      18   equally to all forms of ovarian cancer?         18       A. The Nurses' Health Study?
      19       A. No, they don't. These apply to           19       Q. Yes.
      20   the epithelial ovarian cancer spectrum.         20       A. Yes, that's correct.
      21       Q. Your opinions in terms of there          21       Q. Let's look at a different
      22   being a -- well, let me withdraw that.          22   criteria, consistency. The literature does
      23            We've agreed that 1.3 is not a         23   not show a consistent association between
      24   strong association, at least insofar as         24   talc use and ovarian cancer, correct?
                                                                        60 (Pages 234 to 237)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 86 of 227 PageID:
                                  60431

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 238                                             Page 240
       1            MS. O'DELL: Object to the               1   ill patients in the community to healthy
       2       form.                                        2   people in the community, correct?
       3       A. I believe that, in fact,                  3        A. In some cases that might be
       4   research shows -- does show a consistent         4   correct, but I'm not sure that's any -- in
       5   pattern.                                         5   any sort of world an advantage.
       6   BY MR. ZELLERS:                                  6        Q. Well, shouldn't there be
       7       Q. The cohort studies do not show            7   consistency if the Bradford Hill criteria is
       8   an association between talc use and ovarian      8   to be -- well, strike that.
       9   cancer as we just discussed, correct?            9             In applying the Bradford Hill
      10       A. The basic cohort studies that            10   criteria of consistency, there should be
      11   look at all of the subjects and all of the      11   consistency across different types of
      12   cancers together typically do not rise to the   12   studies, cohort studies, hospital-based
      13   level of significance.                          13   case-control studies, and population-based
      14       Q. The hospital-based case-control          14   case-control studies, correct?
      15   studies collectively do not show an             15             MS. O'DELL: Object to the
      16   association between talc use and ovarian        16        form.
      17   cancer, correct?                                17        A. That's correct.
      18       A. I sort of discount the                   18   BY MR. ZELLERS:
      19   distinction between the hospital-based          19        Q. Isn't the absence of an
      20   studies and the community-based studies. I'm    20   association in the cohort studies especially
      21   not sure whether there are valid reasons to     21   significant in that the study design for the
      22   consider those differently.                     22   cohort studies reduces the likelihood of
      23       Q. We've discussed earlier that             23   recall bias?
      24   you are not an epidemiologist; is that right?   24        A. There are many forms of bias
                                             Page 239                                             Page 241
       1            MS. O'DELL: Object to the               1   that study designers need to consider in the
       2       form, misstates his testimony.               2   process of designing a study, and there are
       3       A. I don't think I necessarily               3   even more types of bias that are discovered
       4   agreed to that characterization because I        4   after a study has begun.
       5   deal a lot with epidemiologic work. I'm a        5             You can fault case-control
       6   faculty member in the Department of              6   studies for being particularly sensitive to
       7   Epidemiology at the University of Texas          7   recall bias, but many of these authors who
       8   School of Public Health, and some may            8   perform these studies indicated that they
       9   consider me an epidemiologist.                   9   were well aware of that bias potential and
      10   BY MR. ZELLERS:                                 10   took measures to avoid it.
      11       Q. Do you consider yourself an              11             The same thing can be said
      12   expert in epidemiology?                         12   about cohort studies. They suffer from other
      13       A. No.                                      13   forms of bias, misclassification in
      14       Q. Do you agree -- well, do you             14   particular. They may also suffer from the
      15   agree that hospital-based case-control          15   fact that they are extremely expensive, have
      16   studies are less susceptible to selection       16   long duration, and require very large numbers
      17   bias than population-based case-control         17   of subjects in order to carry them out and
      18   studies?                                        18   are frequently underpowered and unable to
      19       A. It depends on the methodology            19   arrive at the conclusions that they seek for
      20   that's used to recruit the study subjects.      20   that reason.
      21       Q. With hospital-based                      21             MR. ZELLERS: Move to strike as
      22   case-controlled studies, you're more likely     22       nonresponsive.
      23   to be comparing hospitalized patients to        23   BY MR. ZELLERS:
      24   hospitalized patients rather than comparing     24       Q. Is it possible that recall bias
                                                                        61 (Pages 238 to 241)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 87 of 227 PageID:
                                  60432

                         Arch I. "Chip"                 Carson, M.D., Ph.D.
                                            Page 242                                             Page 244
       1   explains the difference between the cohort      1   paragraph. Reading from the second full
       2   studies and the retrospective case-control      2   paragraph, the authors discuss the fact that
       3   studies?                                        3   the association between genital talc use and
       4            MS. O'DELL: Object to form,            4   risk of ovarian cancer is present in
       5       asked and answered.                         5   case-control but not in cohort studies, can
       6       A. I don't believe that that is             6   be attributed to bias in the former type of
       7   the case.                                       7   studies; is that right?
       8   BY MR. ZELLERS:                                 8            MS. O'DELL: Object to the
       9       Q. Is it possible?                          9       form.
      10            MS. O'DELL: Objection.                10       A. That's what it says.
      11       A. Theoretically it would be               11   BY MR. ZELLERS:
      12   possible.                                      12       Q. Then continuing down:
      13   BY MR. ZELLERS:                                13   Information bias from retrospective
      14       Q. Are you familiar with the               14   self-report of talc use is a possible
      15   Berge -- Berge 2017 study?                     15   explanation for the association detected in
      16       A. Yes.                                    16   case-control studies.
      17       Q. Is that a study that you cite           17            Is that right?
      18   and reviewed and rely on?                      18       A. That's what it says.
      19       A. It was a meta-analysis.                 19       Q. What was your methodology for
      20       Q. Is that a meta-analysis that            20   discounting the effect of recall bias in the
      21   you cite, review and have relied upon?         21   population-based case-control studies?
      22       A. Yes.                                    22       A. The fact that several authors
      23       Q. Take a look, if you will, at            23   discussed the possibility of recall bias and
      24   Exhibit 22.                                    24   incorporated methodology for avoiding recall
                                            Page 243                                             Page 245
       1            (Carson Deposition Exhibit 22          1   bias, for example, placing parallel questions
       2       marked.)                                    2   that should be affected in the same way, and
       3            THE WITNESS: Thank you.                3   still showed a positive result for talc and
       4            MS. O'DELL: Thank you.                 4   ovarian cancer is one reason.
       5   BY MR. ZELLERS:                                 5            The other has to do with
       6       Q. You're familiar with this                6   consistency of the results, and although
       7   meta-analysis; is that right?                   7   you've stated that from these various
       8       A. Yes.                                     8   documents, including this quotation, that the
       9       Q. The authors conclude that                9   case-control studies showed positive
      10   information bias from retrospective            10   associations but the cohort studies did not,
      11   self-report of talc use is a possible          11   I would -- I would refute that by saying that
      12   explanation for the association detected in    12   all of the -- the vast majority of all of the
      13   case-control studies; is that right?           13   studies show a positive odds ratio or
      14            MS. O'DELL: I'm sorry, are you        14   relative risk, even if they don't rise to the
      15       reading from a certain page?               15   level of significance.
      16            MR. ZELLERS: I am.                    16            If these results were obtained
      17            MS. O'DELL: Can you direct it         17   simply by chance, you would expect an equal
      18       to us, please?                             18   number of positive results and negative
      19            THE WITNESS: Could you tell us        19   results, but we don't have that here. We
      20       where that is?                             20   have practically all positive results with
      21            MR. ZELLERS: Sure.                    21   three or four outliers.
      22   BY MR. ZELLERS:                                22            And so --
      23       Q. Take a look if you will on              23        Q. We looked at the Taher paper
      24   page 6, the right-hand column, third           24   early on in this deposition where Taher
                                                                       62 (Pages 242 to 245)
                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 88 of 227 PageID:
                                  60433

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 246                                             Page 248
       1   concluded that 15 out of the 30 case-control     1   page.
       2   studies reported a statistically significant     2            MS. O'DELL: Object to the
       3   association between genital talc use and         3       form.
       4   ovarian cancer, correct?                         4   BY MR. ZELLERS:
       5       A. That's correct, but you're                5       Q. Is that the conclusion of the
       6   not -- you're not talking about the other 15.    6   authors?
       7       Q. The hospital-based case-control           7       A. What I'm reading here is on
       8   studies collectively do not show a               8   balance, the epidemiological evidence
       9   statistically significant association between    9   suggests that the use of cosmetic talc in the
      10   talc use and ovarian cancer, correct?           10   perineal area may be associated with ovarian
      11            MS. O'DELL: Object to the              11   cancer risk. The mechanism of
      12       form.                                       12   carcinogenicity may be related to
      13       A. I don't know that that is the            13   inflammation.
      14   case.                                           14       Q. Take a look at the paragraph on
      15   BY MR. ZELLERS:                                 15   the right-hand side under Proposal to
      16       Q. You don't know that it's not             16   Research Community. I'm looking at the
      17   the case; you'd have to go back and relook at   17   second page of the Langseth article.
      18   the studies, fair?                              18            Are you there?
      19       A. I'd have to look through here,           19       A. Yes, I am.
      20   which I'm happy to do if you want me to, but    20       Q. The authors state: The current
      21   I don't believe that that's the case.           21   body of experimental and epidemiological
      22       Q. In fact, the author, you cite            22   evidence is insufficient to establish a
      23   the Langseth paper, a 2008 paper, as            23   causal association between perineal use of
      24   supportive of your position; is that right?     24   talc and ovarian cancer risk.
                                             Page 247                                             Page 249
       1       A. Yes.                                      1             Is that right?
       2       Q. I'll mark that                            2             MS. O'DELL: Object to the
       3   Deposition Exhibit 23.                           3        form.
       4       A. I think it was 2004, was it               4        A. That's what it says.
       5   not?                                             5   BY MR. ZELLERS:
       6       Q. Well, I'm going to hand it to             6        Q. Experimental research is needed
       7   you and we can look at it together.              7   to better characterize deposition, retention
       8            (Carson Deposition Exhibit 23           8   and clearance of talc to evaluate the ovarian
       9       marked.)                                     9   carcinogenicity of talc.
      10       A. Okay.                                    10             Is that what the authors state?
      11   BY MR. ZELLERS:                                 11        A. Well, that's what it says, but
      12       Q. You're familiar with the                 12   it says much more. In fact, the editors of
      13   Langseth paper; is that right?                  13   the journal, in the section on the next page
      14       A. Yes.                                     14   that is titled What This Study Adds, say:
      15            (Comments off the stenographic         15   Epidemiological evidence suggests that the
      16       record.)                                    16   use of cosmetic talc in the perineal area may
      17   BY MR. ZELLERS:                                 17   be associated with ovarian cancer risk. The
      18       Q. Langseth and the authors                 18   IARC has classified this use of talc as
      19   concluded that the current body of              19   possibly carcinogenic to human beings,
      20   experimental and epidemiological evidence is    20   Group 2B. The mechanism of carcinogenicity
      21   insufficient to establish a causal              21   may be related to inflammation. This paper
      22   association between perineal use of talc and    22   focused on the high degree of consistency in
      23   ovarian cancer risk; is that right?             23   the studies accomplished so far and what
      24            And I'm looking at the second          24   should be the focus in future studies.
                                                                        63 (Pages 246 to 249)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 89 of 227 PageID:
                                  60434

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 250                                             Page 252
       1            So I --                                 1   doesn't happen.
       2       Q. And then the conclusion is what           2       Q. Is it your testimony that the
       3   I read, that: The current body of                3   cohort studies relating to genital talc use
       4   experimental and epidemiological evidence is     4   and ovarian cancer are spinning the roulette
       5   insufficient to establish a causal               5   wheel?
       6   association between perineal use of talc and     6            MS. O'DELL: Object to the
       7   ovarian cancer risk.                             7       form.
       8            Correct?                                8       A. In terms of the power of the
       9            MS. O'DELL: Object to the               9   studies to detect a meaningful difference
      10       form.                                       10   among the subjects, yes.
      11       A. That is what it says, but this           11   BY MR. ZELLERS:
      12   was accepted in 2007, which was now 12 years    12       Q. That's your testimony as an
      13   ago.                                            13   expert in this case; is that right?
      14   BY MR. ZELLERS:                                 14       A. It is my testimony that cohort
      15       Q. Let me ask you about the cohort          15   studies, including these, are chronic -- or
      16   studies. They involved a much greater number    16   quite often underpowered simply because of
      17   of women than the case-controlled studies; is   17   the expense associated with performing these
      18   that right?                                     18   studies.
      19            MS. O'DELL: Object to the              19       Q. What analysis did you do to
      20       form.                                       20   conclude that the cohort studies in this
      21       A. Well, they did not involve more          21   area, the four cohort studies, are
      22   cases, but they involved more women because     22   underpowered?
      23   in order to do a cohort study, you have to      23       A. Like I just mentioned to you, I
      24   start with a huge group of people and wait      24   read the studies and looked at their
                                             Page 251                                             Page 253
       1   for them to develop cancers, and then count      1   conclusions, and their conclusions were not
       2   those cancers.                                   2   that the effect didn't exist, but they
       3   BY MR. ZELLERS:                                  3   couldn't detect it.
       4       Q. What was your methodology for             4             MR. ZELLERS: Let's go off the
       5   weighing the power of the cohort studies         5        record because we need to change our
       6   versus the case-control studies?                 6        tape.
       7       A. The cohort studies, it wasn't             7             THE VIDEOGRAPHER: We're off
       8   apparent in every research report exactly how    8        the record at 3:06, end of Tape 3.
       9   they had done their sample size calculations     9             (Recess taken, 3:06 p.m. to
      10   and power determinations, but in many cases     10        3:19 p.m.)
      11   the lack of arriving at conclusions was         11             THE VIDEOGRAPHER: We're on the
      12   simply due to an inability to detect an         12        record at 3:19, beginning of Tape 4.
      13   effect in the cohort studies, not that they     13   BY MR. ZELLERS:
      14   detected that there was not an effect. And      14        Q. Dr. Carson, you are not a
      15   that's unfortunately a disadvantage of an       15   statistician, correct?
      16   underpowered study.                             16        A. That's correct.
      17       Q. Is it your testimony that the            17        Q. You are not a biostatistician;
      18   cohort studies are underpowered?                18   is that right?
      19       A. I think by and large most                19        A. That's right.
      20   cohort studies are underpowered and --          20        Q. Do you agree that some of the
      21   because power calculations are based on         21   case-control studies have shown statistically
      22   chance. Investigators are sort of spinning      22   significant findings and others have not?
      23   the roulette wheel and hoping that the number   23        A. I do agree that.
      24   that they want comes up. In some cases that     24        Q. If a study does not show a
                                                                        64 (Pages 250 to 253)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 90 of 227 PageID:
                                  60435

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 254                                             Page 256
       1   statistically significant association, it        1   front of you?
       2   could mean that no risk exists, as we've         2        A. I do.
       3   discussed; is that right?                        3              I would also add that the
       4        A. That's correct.                          4   Penninkilampi meta-analysis also found a
       5        Q. What methodology did you use to          5   dose-response.
       6   weigh the lack of statistical significance       6        Q. Do you mention Penninkilampi at
       7   across studies?                                  7   all in your report?
       8             MS. O'DELL: Object to the              8        A. It's cited.
       9        form.                                       9        Q. In the body of your report?
      10        A. Across all of the case-control          10        A. I think it's in there
      11   studies?                                        11   somewhere.
      12   BY MR. ZELLERS:                                 12        Q. You believe it is; is that
      13        Q. Yes.                                    13   right?
      14        A. I simply treated them as                14        A. I do.
      15   isolated research designs that were done on     15        Q. Well, I'll ask you a couple of
      16   different populations in different places       16   questions about it then.
      17   with different considerations. They were not    17              Before I do, let's talk a
      18   necessarily comparable, like apples to apples   18   little bit more about your report. So go to
      19   or oranges to oranges; they were very           19   page 7. You state at the very top of that
      20   different studies in most cases, and so I       20   page that it has been difficult to estimate
      21   felt it was important to allow their findings   21   dose in order to evaluate the dose-response
      22   to stand on their own.                          22   relationship for ovarian cancer; is that
      23        Q. I want to talk to you about             23   right?
      24   dose-response. That's another of the            24        A. That's correct.
                                             Page 255                                             Page 257
       1   Bradford Hill criteria; is that right?           1       Q. You state that it also has been
       2       A. That's correct.                           2   difficult to exactly estimate the quantity of
       3       Q. Which studies show a                      3   talcum powder administration during personal
       4   dose-response, talc exposure and ovarian         4   hygiene activities; is that right?
       5   cancer?                                          5       A. That's correct.
       6       A. Let me see here. I'm looking              6       Q. Let's look at a couple of the
       7   at my notes. The Harlow study from 1992          7   studies that you believe do, in fact, show a
       8   showed a dose-response, and the Cramer 2016      8   dose-response. The Penninkilampi, that's a
       9   study showed a dose trend with strong odds       9   meta-analysis, 2018; is that right?
      10   ratios for premenopausal women and hormone      10       A. That's correct.
      11   therapy-treated women with greater than         11       Q. That study does not consider or
      12   24 years of exposure.                           12   include the Gertic 2010 cohort study; is that
      13            The Schildkraut study, also a          13   right?
      14   case-controlled study of 2016, showed a         14       A. I -- I'd have to look at the
      15   dose-response.                                  15   table, but yes, that one may be left out.
      16       Q. There are a number of studies            16       Q. Well, that's a significant
      17   that did not show a dose-response; is that      17   study to leave out of an analysis, isn't it?
      18   right?                                          18            MS. O'DELL: Object to the
      19       A. It's correct. They did not               19       form.
      20   necessarily show there was not a                20            THE WITNESS: I'm getting
      21   dose-response. They just, as I was              21       there.
      22   mentioning before, were unable to detect a      22            (Document review.)
      23   dose-response.                                  23            THE WITNESS: Apologies, I have
      24       Q. Do you have your report in               24       binder block here.
                                                                        65 (Pages 254 to 257)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 91 of 227 PageID:
                                  60436

                          Arch I. "Chip"                   Carson, M.D., Ph.D.
                                              Page 258                                              Page 260
       1            MS. O'DELL: You need help?                1       Q. This is my highlighted copy, so
       2            THE WITNESS: Okay.                        2   I'm sure it wasn't yours.
       3   BY MR. ZELLERS:                                    3       A. I'm sorry.
       4       Q. And I misspoke. I meant to                  4       Q. That's all right. We'll --
       5   refer to Gates, the updated Nurses' study.         5   take your time.
       6   So Gates 2010.                                     6       A. Here we are.
       7       A. Yes, it appears that Gates is               7       Q. Got it, Exhibit 20?
       8   not included in the -- in the spectrum of          8       A. I think so.
       9   studies considering; the Gertic study does         9       Q. Do you have the Cramer study in
      10   appear.                                           10   front of you?
      11       Q. Gates 2010 is an important                 11       A. I do.
      12   cohort study in this area, would you agree?       12       Q. It's a retrospective
      13            MS. O'DELL: Object to the                13   case-control study published in 2016; is that
      14       form.                                         14   right?
      15       A. It's important, but I think it             15       A. That's correct.
      16   may be considered one of the ones that            16       Q. If we look at the table of
      17   suffered from power issues. It wasn't able        17   results on page 337, Table 1.
      18   to determine a relative risk in the               18            Do you see that?
      19   population that it assessed.                      19       A. Yes.
      20   BY MR. ZELLERS:                                   20       Q. This table shows the risk of
      21       Q. There are a number of the                  21   ovarian cancer for women who use talc, talcum
      22   case-control studies that did not determine a     22   powder, daily; is that right?
      23   relative risk, at least of statistical            23            MS. O'DELL: Object to the
      24   significance, correct?                            24       form.
                                              Page 259                                              Page 261
       1        A. Well, they determined odds                 1        A. It does.
       2   ratios, which is the equivalent of relative        2   BY MR. ZELLERS:
       3   risk for a case-control study.                     3        Q. And it's four different periods
       4        Q. And in a number of those                   4   of time; one year, one to five years, five to
       5   case-control studies, at least 15 out of the       5   20 years and more than 20 years; is that
       6   30 relative risk was not -- or strike that --      6   right?
       7   statistical significance was not achieved in       7        A. That's correct.
       8   the study; is that right?                          8        Q. There was only statistical
       9             MS. O'DELL: Object to the                9   significance found for the time period of one
      10        form.                                        10   to five years of use and more than 20 years
      11        A. That's correct.                           11   of use; is that right?
      12   BY MR. ZELLERS:                                   12        A. For the first group, the -- for
      13        Q. Let's look at the Cramer paper.           13   those who reported months year of use --
      14   We've talked about this earlier.                  14   months per year of use.
      15        A. Which one, the 2016?                      15        Q. Well, for the first group,
      16        Q. Exhibit 20, yes, 2016.                    16   which was equivalent to one year of daily
      17        A. Okay.                                     17   use, there was no statistical significance;
      18        Q. This is another study that you            18   is that right?
      19   cite as being supportive of your                  19             MS. O'DELL: Object to the
      20   dose-response opinion; is that right?             20        form.
      21        A. Yes.                                      21        A. That -- well, the -- there was
      22        Q. Tell me when you have it.                 22   a positive odds ratio with a nonsignificant
      23        A. I think you may have picked up            23   95% confidence interval.
      24   my copy or the copy that I was looking at.        24             ///
                                                                          66 (Pages 258 to 261)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 92 of 227 PageID:
                                  60437

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 262                                             Page 264
       1   BY MR. ZELLERS:                                  1   dirty, and it doesn't always work out quite
       2        Q. Meaning that if you look at              2   that cleanly.
       3   this study, that it is certainly possible        3   BY MR. ZELLERS:
       4   that because there is not statistical            4       Q. All right. Do you -- well, let
       5   significance, there could be a finding of no     5   me withdraw that.
       6   risk, correct, no increased risk?                6            Confounding. You considered
       7        A. That's a possibility.                    7   and talk about confounding as another one of
       8        Q. Then if we go to the next                8   the Bradford Hill criteria; is that right?
       9   period, we do show a dose-response for talcum    9            MS. O'DELL: Object to the
      10   powder use in the year -- years one to five;    10       form.
      11   is that right?                                  11       A. Confounding, by that you mean
      12        A. Well, one to five years of              12   specificity?
      13   daily use, yes.                                 13   BY MR. ZELLERS:
      14        Q. But then when we look at five           14       Q. Well, I thought your -- I
      15   to 20 years of daily use, there is not a        15   thought you said in your methodology that you
      16   statistically significant association; is       16   applied the Bradford Hill criteria.
      17   that right?                                     17       A. That's correct.
      18        A. That's correct.                         18       Q. Is confound -- strike that.
      19        Q. But then when we go to greater          19            Is confounding an issue in
      20   than 20 years, we do find a statistical         20   interpreting epidemiologic studies?
      21   association; is that right?                     21       A. Yes.
      22        A. That's correct.                         22       Q. Do you agree that there is
      23        Q. If, in fact, there was a true           23   confounding in these studies?
      24   dose-response relationship, you would expect    24       A. I'm sure there's confounding in
                                             Page 263                                             Page 265
       1   to see that dose-response relationship in        1   these studies.
       2   each of these groups; is that right?             2       Q. You're familiar with that term,
       3            MS. O'DELL: Object to the               3   right?
       4       form.                                        4       A. Yes.
       5       A. It's more like we see in the              5       Q. That's where the presence of
       6   group directly below that, where you start       6   another association confuses the relationship
       7   out with an odds ratio which is not              7   between the exposure and the disease being
       8   significant but positive, and then reach a       8   studied; is that right?
       9   significant odds ratio at one to five years      9       A. That's correct.
      10   of daily use and a higher amount of             10       Q. For example, if you're studying
      11   significance with five to 20 years of daily     11   the association between coffee and pancreatic
      12   use, and still a significant odds ratio,        12   cancer, you need to be mindful of whether
      13   which is about the same level, at greater       13   cigarette smoking is more common in coffee
      14   than 20 years of daily use.                     14   drinkers than the rest of the population,
      15   BY MR. ZELLERS:                                 15   fair?
      16       Q. Is that a yes to my question,            16       A. Yes.
      17   that if you do have a true dose-response        17       Q. Coffee -- or strike that.
      18   relationship, you would expect to see that      18            Cigarette smoking could be a
      19   dose-response continue throughout each of the   19   confounder in that situation?
      20   periods?                                        20       A. Possible.
      21            MS. O'DELL: Object to the              21       Q. Because if more coffee drinkers
      22       form.                                       22   are smokers than non-coffee drinkers, an
      23       A. Well, it would be nice if you            23   association between coffee drinking and
      24   did that, but epidemiologic data is very        24   pancreatic cancer might be due to the
                                                                        67 (Pages 262 to 265)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 93 of 227 PageID:
                                  60438

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 266                                             Page 268
       1   smoking, not the coffee drinking; fair?          1   not controlled for in any of the talc/ovarian
       2       A. That would be a good                      2   cancer studies, were they?
       3   description of confounding.                      3        A. Not that I'm aware of.
       4       Q. Confounding can distort results           4        Q. Are you aware that studies that
       5   in epidemiological studies; is that right?       5   show a relationship between talc and ovarian
       6       A. It can.                                   6   cancer did not account for confounders?
       7       Q. Do you agree that residual                7        A. I think it's possible that many
       8   confounding is possible in every                 8   of those studies did not account for all
       9   observational study?                             9   potential confounders, but they made attempts
      10       A. Yes, I think there's some form           10   to.
      11   of confounding that's present in every          11        Q. For example, Terry 2013, we
      12   observational study.                            12   talked about that earlier; is that right?
      13       Q. It's possible that unmeasured            13        A. Yes.
      14   confounders may be present in every             14        Q. Terry 2013, that meta-analysis
      15   observational study; is that right?             15   did not adjust for hormone replacement
      16       A. That's correct. Not just                 16   therapy usage, correct?
      17   unmeasured confounders, but unrecognized        17        A. Yes.
      18   confounders.                                    18        Q. If hormone replacement therapy
      19       Q. It's impossible to say that all          19   is a risk factor for ovarian cancer, then the
      20   known and unknown confounding factors have      20   Terry 2013 meta-analysis did not account for
      21   been controlled for in any given study; is      21   that potential confounding factor, correct?
      22   that right?                                     22             MS. O'DELL: Object to the
      23       A. I also agree with that.                  23        form.
      24       Q. Many new factors possibly                24        A. Correct.
                                             Page 267                                             Page 269
       1   involved in ovarian cancer risk are just         1   BY MR. ZELLERS:
       2   being published in the literature, correct?      2       Q. You cannot say whether the odds
       3           MS. O'DELL: Object to the                3   ratio of the Terry 2013 study would have been
       4       form.                                        4   lower if the authors had adjusted for hormone
       5       A. I believe that is true.                   5   replacement therapy usage, correct?
       6   BY MR. ZELLERS:                                  6       A. I cannot say that. Yes.
       7       Q. For example, history of                   7       Q. Recall bias. You're familiar
       8   chlamydia infection, have you read about that    8   with recall bias?
       9   possibly being involved in ovarian cancer        9       A. I am.
      10   risk?                                           10       Q. That is also a concern in every
      11       A. I haven't read that                      11   retrospective study, correct?
      12   specifically. I was thinking more about the     12       A. Yes.
      13   new information regarding genetic               13       Q. Recall bias can distort a
      14   susceptibilities.                               14   scientific evaluation of whether an exposure
      15       Q. Also, weight gain during                 15   is actually related to a disease; is that
      16   adolescence, is that another relatively new     16   right?
      17   possible ovarian cancer risk factor?            17       A. Yes, it can.
      18           MS. O'DELL: Object to the               18       Q. For example, recall bias could
      19       form.                                       19   distort results if women with ovarian cancer
      20       A. It is, but obesity has been              20   were more likely to remember their exposure
      21   recognized as a cofactor for many years.        21   to talc than women without ovarian cancer; is
      22   BY MR. ZELLERS:                                 22   that right?
      23       Q. History of chlamydia infection,          23             MS. O'DELL: Object to the
      24   weight gain during adolescence, those were      24       form.
                                                                        68 (Pages 266 to 269)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 94 of 227 PageID:
                                  60439

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 270                                             Page 272
       1       A. That's correct.                           1   publicity from lawsuits might influence the
       2   BY MR. ZELLERS:                                  2   participants' recall of prior body powder
       3       Q. The effects of recall bias can            3   use; is that right?
       4   be very real; is that right?                     4        A. This was a recent study, so
       5            MS. O'DELL: Object to the               5   that was more likely.
       6       form.                                        6        Q. If you look on page 2,
       7       A. I'm not sure what you mean by             7   right-hand side, last paragraph that starts
       8   very real.                                       8   "Covariates include."
       9   BY MR. ZELLERS:                                  9             Do you see that?
      10       Q. Well, let's look at one of the           10        A. Yes.
      11   studies that you cite. You cited the            11        Q. And I'm reading about
      12   Schildkraut study in your report and you        12   two-thirds of the way down: Two class action
      13   referred to it a bit earlier as supporting      13   lawsuits were filed in 2014 concerning
      14   dose-response; is that right?                   14   possible carcinogenic effects of body powder
      15       A. Yes.                                     15   which may have influenced recall of use;
      16       Q. That's a study by Schildkraut            16   therefore, year of interview 2014 or later,
      17   and others titled Association Between Body      17   yes/no, was concluded as a covariate in the
      18   Powder Use and Ovarian Cancer, the              18   logistic regression models.
      19   African-American Cancer Epidemiologic -- or     19             Is that correct?
      20   Epidemiology Study.                             20        A. That's correct.
      21            Is that right?                         21        Q. So go to page 4, Table 2. This
      22       A. Yes.                                     22   is the adjusted odds ratio for the
      23       Q. I've got it here for you.                23   associations between mode, frequency and
      24       A. Okay.                                    24   duration of body powder use in ovarian
                                             Page 271                                             Page 273
       1            (Carson Deposition Exhibit 24           1   cancer; is that right?
       2        marked.)                                    2       A. Yes.
       3   BY MR. ZELLERS:                                  3       Q. The second column shows the
       4        Q. Deposition Exhibit 24 is the             4   number of cases, and that would be women with
       5   Schildkraut study, 2016, correct?                5   ovarian cancer; is that right?
       6            (Pause.)                                6       A. That's correct.
       7   BY MR. ZELLERS:                                  7       Q. The third column shows the
       8        Q. Did you say correct?                     8   controls; that's the women who do not have
       9        A. I think I did. I'm sorry.                9   ovarian cancer, correct?
      10        Q. That's all right. I may have            10       A. Yes.
      11   missed it.                                      11       Q. Looking at this data before
      12            Exhibit 24 is the Schildkraut          12   2014, before the lawsuits, the percentage of
      13   2016 study; is that right?                      13   controls, meaning women without ovarian
      14        A. Yes.                                    14   cancer, said they used talc on their genitals
      15        Q. This is one of the studies that         15   was 34%; is that right?
      16   you cite to and that you relied on in forming   16            So those are women who were
      17   your opinions; is that right?                   17   interviewed before 2014.
      18        A. Yes.                                    18       A. Yes. Any genital use controls,
      19        Q. The study looked at, among              19   34%.
      20   other things, what impact, if any, lawsuit      20       Q. And the controls, again, are
      21   filings in 2014 had on whether women recalled   21   women without ovarian cancer.
      22   using talc in the past, correct?                22       A. That's correct.
      23        A. I believe so.                           23       Q. The percentage of cases,
      24        Q. The authors thought that the            24   meaning women with ovarian cancer, that were
                                                                        69 (Pages 270 to 273)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 95 of 227 PageID:
                                  60440

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 274                                             Page 276
       1   interviewed before 2014 that said they used      1   BY MR. ZELLERS:
       2   talc on their genitals was 36.5%; is that        2       Q. In this study, lawsuit filings
       3   right?                                           3   appears to have affected how many women with
       4       A. That's correct.                           4   ovarian cancer remembered using talc on their
       5       Q. So roughly the same reporting             5   genitals but basically had no effect on the
       6   of genital talc use between women with and       6   memory of women without ovarian cancer; is
       7   without ovarian cancer occurred for those        7   that right?
       8   women interviewed before the lawsuits were       8             MS. O'DELL: Object to the
       9   filed; is that right?                            9       form.
      10       A. That's correct.                          10       A. You can't say that this is --
      11       Q. Then look at what happened               11   this demonstrates recall bias. It could.
      12   after the lawsuits were filed in 2014. For      12   BY MR. ZELLERS:
      13   women interviewed after 2014, the percent of    13       Q. These findings could be an
      14   women without ovarian cancer that said they     14   example of the potential effect of recall
      15   used talc on their genitals was 34.4%; is       15   bias; is that right?
      16   that right?                                     16             MS. O'DELL: Object to the
      17       A. That's correct.                          17       form.
      18       Q. So based on this data, the               18       A. That is correct.
      19   lawsuits had essentially no effect on how       19   BY MR. ZELLERS:
      20   many of the women without ovarian cancer, the   20       Q. So pre-2014 there was an odds
      21   controls, remembered or recalled using baby     21   ratio of 1.19 with the confidence interval
      22   powder; is that right?                          22   ranging from .87 to -- strike that --
      23       A. Well, the percentage is the              23   from .87 to 1.63, so there is not statistical
      24   same in both cases.                             24   significance pre-2014; is that right?
                                             Page 275                                             Page 277
       1       Q. It went from 34% to 34.4%; is             1       A. Probably not.
       2   that right?                                      2       Q. If the study had been
       3       A. That's correct.                           3   terminated as of 2014, prior to the lawsuits
       4       Q. For women with ovarian cancer,            4   being filed, then the results of the study
       5   before the lawsuits were filed, 36.5% of them    5   would have been that genital talc use was not
       6   said they recalled using baby powder; is that    6   statistically significantly associated with
       7   right?                                           7   an increased risk of ovarian cancer; is that
       8       A. That's right.                             8   right?
       9       Q. But after the lawsuits were               9             MS. O'DELL: Object to the
      10   filed, the percent of women with ovarian        10       form.
      11   cancer who said they used baby powder went up   11       A. Yes.
      12   to 51.5%; is that right?                        12   BY MR. ZELLERS:
      13       A. That is also correct.                    13       Q. Did you make an attempt to
      14       Q. Is that a significant increase           14   account for this potential recall bias in
      15   from 36.5%?                                     15   weighing the Schildkraut study?
      16       A. I don't know, but it seems like          16       A. The authors did that for me by
      17   it might be.                                    17   including the period of the interview as a
      18       Q. So after the lawsuits were               18   cofactor in the logistic regression models.
      19   filed, the percent of women with ovarian        19   It accounts for this difference that you see
      20   cancer who said they used baby powder jumped    20   on the table.
      21   significantly; is that right?                   21       Q. You do agree there was no
      22            MS. O'DELL: Object to the              22   statistically significant finding of an odds
      23       form.                                       23   ratio prior to 2014, the data collected
      24       A. Well, that's -- that is true.            24   through that time; is that right?
                                                                        70 (Pages 274 to 277)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 96 of 227 PageID:
                                  60441

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 278                                             Page 280
       1       A. In the -- in the data collected           1   factors -- or latency periods for a number of
       2   on those -- let me see here. In the data         2   different types of cancers and tumors based
       3   collected on those 351 cases and                 3   on the incidence data and what is known about
       4   corresponding controls, there was not a          4   the natural progression of those tumors over
       5   significant odds ratio.                          5   time.
       6       Q. I want to go back and ask you a           6            I can't recall at the moment
       7   few questions about some of the things I had     7   exactly where I determined the latency period
       8   talked to you before about.                      8   for ovarian cancer to be between 20 and
       9            In terms of this chatter about          9   40 years.
      10   IARC, who has told you this?                    10            We do have a paper that's
      11       A. There are a number of                    11   referenced here that discusses the
      12   environmental websites and -- that also         12   determination of latency periods and includes
      13   operate on social media that discuss this       13   ovarian cancer as one of the tumors that it
      14   kind of thing.                                  14   determines a latency period for, and it uses
      15       Q. So there's social media                  15   a mathematical formula with various factors
      16   websites that have talked about at least the    16   plugged into it to calculate that.
      17   possibility of IARC revisiting the issue?       17            In that particular article, the
      18       A. Yes, among many other things.            18   latency factor -- period was very long. I
      19       Q. I asked you earlier about                19   think it was 44 years on the average.
      20   cornstarch, and you believe that cornstarch     20       Q. You do not have personal
      21   is rapidly cleared from the body, including     21   expertise in terms of the latency period for
      22   the ovaries; is that right?                     22   ovarian cancer, correct?
      23            MS. O'DELL: Object to the              23       A. I have -- I've calculated
      24       form.                                       24   latency periods as an exercise when I was in
                                             Page 279                                             Page 281
       1       A. Yes.                                      1   graduate school, but that's not something I
       2   BY MR. ZELLERS:                                  2   normally do. I usually defer to the -- those
       3       Q. What is the mechanism by which            3   who have published latency periods for that
       4   you believe that cornstarch is rapidly           4   information.
       5   cleared from the body, including the ovaries?    5        Q. You are recalling that at least
       6       A. It's primarily composed of                6   in some of the study or studies that you've
       7   carbohydrate with a small amount of              7   reviewed that the latency period for ovarian
       8   structural material, probably cellulose, and     8   cancer is 20 to 40 years, correct?
       9   those materials are broken down in body          9        A. Yes.
      10   fluids fairly rapidly and dissolved and         10        Q. Are you able to tell us which
      11   become part of the general milieu of the        11   study or studies you're relying on for that
      12   body.                                           12   information?
      13       Q. Does cornstarch create                   13        A. I'd have to go through my list
      14   inflammation in the body?                       14   to find it. Do you mind if I take a moment
      15       A. Yes.                                     15   to do that?
      16       Q. You testified that the latency           16        Q. Define "a moment."
      17   period for ovarian cancer is between 20 and     17        A. Well, however long it takes me
      18   40 years; is that right?                        18   to find it in that list, but --
      19       A. Roughly, yes.                            19        Q. Let me see if I can shortcut
      20       Q. What is the basis for you                20   it.
      21   saying that?                                    21            Do you believe that the latency
      22       A. There are a number of factors            22   period for ovarian cancer is something you've
      23   that influence that, but there are              23   written out in one of your handwritten notes?
      24   organizations that have determined latency      24        A. I don't believe so.
                                                                        71 (Pages 278 to 281)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 97 of 227 PageID:
                                  60442

                           Arch I. "Chip"              Carson, M.D., Ph.D.
                                               Page 282                                           Page 284
       1         Q.    It would be -- where would it        1             MS. BOCKUS: If you want to
       2   be?                                              2        pass me your microphone, I think I can
       3             MS. O'DELL: If you need a              3        stay here. I'm not going to pass him
       4       moment to review either your report or       4        that many exhibits.
       5       your materials list, you know --             5             MR. ZELLERS: I'm happy to help
       6             THE WITNESS: I don't believe           6        you.
       7       that particular piece of information         7             MS. BOCKUS: Thank you.
       8       is in my report, but it's -- I think I       8               EXAMINATION
       9       could come up with it fairly quickly         9   BY MS. BOCKUS:
      10       if I --                                     10        Q. Dr. Carson, my name is Jane
      11   BY MR. ZELLERS:                                 11   Bockus. I'm not certain I actually
      12       Q. All right. Go ahead. Find for            12   introduced myself to you this morning, but I
      13   us the study or studies you're relying on for   13   represent Imerys in this litigation.
      14   the latency period of ovarian cancer.           14             Do you understand that?
      15       A. Okay. If I'm lucky, I may hit            15        A. I do.
      16   on it here.                                     16        Q. Before Mr. Abney contacted you
      17             (Document review.)                    17   about preparing a report that would explain
      18       A. It's the Diana Nadler and Igor           18   the relationship between regular perineal use
      19   Zurbenko paper Estimating Cancer Latency        19   of talc based on personal hygiene products
      20   Times Using the Weibull Model.                  20   and subsequent development of ovarian cancer,
      21   BY MR. ZELLERS:                                 21   is that anything that you had researched
      22       Q. You're looking at Exhibit 4,             22   before that date?
      23   your literature list; is that right?            23             MS. O'DELL: Object to the
      24       A. Yes.                                     24        form.
                                               Page 283                                           Page 285
       1        Q. What page of Exhibit 4 are you           1       A. I don't think Mr. Abney --
       2   looking at?                                      2   well, he may have been that detailed in our
       3        A. Page 17 in the Ns.                       3   discussion. But in response to your
       4        Q. Are you finished?                        4   question, that's not a specific question I
       5        A. There may be others in the               5   had researched in the past, although I had
       6   list, but you asked me to cite one. You want     6   researched related kinds of issues.
       7   me to continue looking?                          7   BY MS. BOCKUS:
       8        Q. No, I -- that is sufficient for          8       Q. So would it be fair to say that
       9   my purposes. Thank you.                          9   the opinions contained in your report are all
      10             Dr. Carson, there have been           10   opinions that you have come to as a result of
      11   some studies where talc particles had been      11   doing the research at the request of
      12   observed or reported in the ovaries of women    12   Mr. Abney and others in the plaintiffs'
      13   who have had perineal talc use; is that         13   lawyer group?
      14   right?                                          14           MS. O'DELL: Object to the
      15        A. Yes.                                    15       form.
      16        Q. Heller was one of the studies           16       A. Yes.
      17   that we talked about, correct?                  17   BY MS. BOCKUS:
      18        A. Correct.                                18       Q. Okay. And I'm going to
      19        Q. In those studies, there has not         19   apologize right now. I'll be jumping around
      20   been inflammation noted; is that right?         20   because most of my outline has already been
      21        A. No, there -- that's not been an         21   covered, so let me just get you to look at
      22   important finding.                              22   your report, if I could, and I'm going to ask
      23             MR. ZELLERS: I have no further        23   you some questions about it.
      24        questions for you.                         24           Turn to page 4, and
                                                                        72 (Pages 282 to 285)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 98 of 227 PageID:
                                  60443

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 286                                             Page 288
       1   paragraph (b), the first sentence reads:         1        A. No.
       2   Numerous studies have examined the               2        Q. And then going on, you talk
       3   cancer-causing characteristics of talc.          3   about the fact that there in that same
       4            Do you see that?                        4   paragraph, if you go down, you talk about
       5       A. Yes.                                      5   IARC and the fact that IARC concluded that
       6       Q. And you identified Wilde as               6   talcum powder use by women for feminine
       7   your source for that statement, correct?         7   hygiene is a possible human carcinogen;
       8       A. That is correct.                          8   that's not a classification of talc as a
       9       Q. Isn't it correct that the Wild            9   carcinogen, correct?
      10   study actually exonerated talc as having        10            MS. O'DELL: Object to the
      11   cancer-causing characteristics?                 11        form.
      12       A. That was a conclusion of the             12        A. It is within the spectrum of
      13   author, but the reason it's cited there is      13   carcinogens.
      14   because that's an example of the                14   BY MS. BOCKUS:
      15   investigation of the relationship.              15        Q. It's possible.
      16       Q. Okay. But in that study,                 16        A. That's correct.
      17   they -- he concluded that talc alone did not    17        Q. And then you say that --
      18   cause cancer, correct?                          18   meaning that there is insufficient evidence
      19       A. As I recall, that was the                19   of carcinogenesis in humans, but strong
      20   general conclusion, yes.                        20   evidence in other mammalian species.
      21       Q. Okay. Then in the next couple            21            Can you tell me where in IARC
      22   of sentences, you say that talc has caused      22   it says that there is strong evidence that
      23   cancer when implanted in various tissues and    23   talc causes ovarian cancer in other mammalian
      24   under the skin in laboratory animals. It        24   species?
                                             Page 287                                             Page 289
       1   causes inflammation and fibrotic reaction,       1        A. I think the issue is not
       2   including the chemotaxis of inflammatory         2   specifically ovarian cancer; the issue is
       3   immune cells and accelerated growth and          3   cancer. And that's the point of view of
       4   division of cells in the involved tissue.        4   IARC, and that's what's alluded to here.
       5             And you cite Okada 2007 for            5        Q. So this is the one exhibit I'm
       6   that proposition; is that correct?               6   going to hand you, if I can get that one
       7        A. That's correct.                          7   marked by my assistant.
       8        Q. But Okada wasn't even looking            8             MR. ZELLERS: Exhibit 25.
       9   at talc, was it?                                 9             (Carson Deposition Exhibit 25
      10        A. Let me see here. Okada was              10        marked.)
      11   looking at inflammation as -- as the endpoint   11             MS. O'DELL: This is a page out
      12   in the various components of inflammation       12        of the monograph?
      13   which I talked about here, the chemotaxis of    13             MS. BOCKUS: Yes.
      14   inflammatory immune cells, accelerated growth   14             MS. O'DELL: Are you going to
      15   division in the involved tissues.               15        identify it?
      16        Q. But what you say is that talc           16             MS. BOCKUS: And he can look it
      17   causes. When you say "it," you're referring     17        up in his whole monograph. I just
      18   to talc, correct? It causes inflammation and    18        pulled the page for simplicity.
      19   fibrotic reaction; isn't that what you're       19             MS. O'DELL: So feel free to do
      20   saying in this sentence?                        20        that, Doctor.
      21        A. It is talc, yes.                        21             MS. BOCKUS: Yes, page 412.
      22        Q. Okay. And yet, Okada, the               22   BY MS. BOCKUS:
      23   study that you cite for that proposition,       23        Q. So looking at Exhibit 25, this
      24   doesn't look at talc at all, does it?           24   is a page from the IARC monograph where it
                                                                        73 (Pages 286 to 289)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 99 of 227 PageID:
                                  60444

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 290                                            Page 292
       1   talks about the data -- the evidence that       1   black, titanium dioxide and talc.
       2   they have and the evidence that they            2            So regarding talc, the overall
       3   reviewed.                                       3   point of view here is whether or not it
       4             Do you see that?                      4   produces cancer, not just ovarian cancer, not
       5       A. That's correct.                          5   just lung cancer, but any cancer.
       6       Q. And what they actually state             6            And so I'm not sure that that
       7   with regard to experimental evidence is that    7   responds to your question.
       8   there is limited evidence in experimental       8   BY MS. BOCKUS:
       9   animals for the carcinogenicity of talc not     9        Q. No. My question was: You
      10   containing asbestos or asbestiform fibers.     10   state in your report that IARC found strong
      11             Correct?                             11   evidence in animals, and I want to know where
      12             MS. O'DELL: Object to the            12   you believe that statement occurs in the IARC
      13       form.                                      13   monograph, or do you know?
      14   BY MS. BOCKUS:                                 14            MS. O'DELL: And if you need a
      15       Q. Did I read it incorrectly?              15        minute to look, feel free to do that.
      16       A. No, I just lost you for a               16        A. Well, I can say that it might
      17   moment.                                        17   take me a while to look for it, but I can say
      18       Q. It's one sentence. Go ahead             18   that that's the basic definition of Group 2B,
      19   and take your time and read it.                19   is limited evidence in humans and compelling
      20       A. Yes, I agree with that. They            20   evidence in animals or other --
      21   found that inhaled talc, which does not        21   BY MS. BOCKUS:
      22   contain asbestos or asbestiform fibers, is     22        Q. Tell me where you're looking at
      23   Group 3.                                       23   that definition of 2B.
      24       Q. That wasn't my question. I'm            24        A. Let me see here.
                                             Page 291                                            Page 293
       1   talking about experimental animals because      1       Q.    We earlier marked the...
       2   that's what -- you state in your report that    2            Exhibit 21, I think.
       3   IARC found strong evidence in animals, and      3       A. Well, I have this other
       4   yet the part of IARC that I know of where       4   exhibit, which is the preamble from another
       5   they're addressing the animal data with         5   situation; it's Exhibit P-346, and...
       6   regard to talc is what I handed you in          6       Q. Well, let me just ask a
       7   Section 6.2, and it states there's limited      7   different question, rather than looking at
       8   evidence, correct?                              8   the preamble.
       9             MS. O'DELL: Objection.                9       A. All right.
      10        A. It states that there's limited         10       Q. Because that's kind of
      11   evidence -- I need to find this section in     11   overarching.
      12   the monograph. Just bear with me for a         12       A. It is.
      13   moment. It's page 412?                         13       Q. To know what IARC found with
      14             (Document review.)                   14   regard to talc and the evidence in animal
      15        A. Okay. I seem to be missing             15   models, wouldn't it be more appropriate to
      16   that part of the monograph.                    16   look at what they actually said about talc in
      17             MS. O'DELL: Do you have the 93       17   the animal studies?
      18        monograph?                                18       A. Yes.
      19             THE WITNESS: Where's the --          19            MS. O'DELL: Objection, form.
      20        this is 100C, and this is 93. Okay.       20       A. I would agree that that's the
      21        Here it is. All right. Okay.              21   case.
      22        A. Okay. The entire monograph is          22   BY MS. BOCKUS:
      23   designed to evaluate carcinogenic risk, and    23       Q. And to your knowledge, nowhere
      24   it looks at three different species, carbon    24   did they find strong evidence of
                                                                        74 (Pages 290 to 293)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 100 of 227 PageID:
                                   60445

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                              Page 294                                            Page 296
       1   cancer-causing potential of talc in animal       1       misstates the evidence.
       2   studies, correct?                                2       A. I believe that was their
       3            MS. O'DELL: Objection to form.          3   assumption.
       4       A. Well -- well, it says on that             4   BY MS. BOCKUS:
       5   page there's limited evidence in experimental    5       Q. Okay. The studies that you
       6   animals, so I'll agree that at least in this     6   reference in support of the notion that
       7   location it does not say strong evidence.        7   asbestos in -- that may or may not exist in
       8   BY MS. BOCKUS:                                   8   body powder contributes to cause ovarian
       9       Q. And without going through the             9   cancer, none of the studies that you cite to
      10   entire monograph, you don't know where that     10   have referenced an application of a product
      11   language came from, is that fair, that you      11   to the perineum of the women and girls study,
      12   used in your report?                            12   correct?
      13            MS. O'DELL: Object. Excuse             13            MS. O'DELL: Object to the
      14       me. Object to the form. I think he          14       form.
      15       was pointing -- directing you to the        15            THE WITNESS: I have a -- I
      16       preamble and you withdrew your              16       apologize greatly, but I lost the
      17       question, but --                            17       track. Could you repeat that
      18            MS. BOCKUS: Well, let me just          18       question.
      19       ask a qualifying question.                  19            MS. BOCKUS: That's totally
      20   BY MS. BOCKUS:                                  20       understandable because it was a little
      21       Q. Does the preamble in any way             21       bit convoluted.
      22   address their findings with regards to talc?    22            MS. O'DELL: Do you mind if we
      23       A. No, the preamble addresses the           23       get the realtime running again? We're
      24   methodology that's used by the IARC agency in   24       just off track here.
                                              Page 295                                            Page 297
       1   addressing all the substances that they          1            MS. BOCKUS: That's okay.
       2   evaluate.                                        2   BY MS. BOCKUS:
       3       Q. Okay.                                     3       Q. I'm looking on page 5. Do you
       4       A. And that's usually where I pull           4   see on page 5 of your report, sir,
       5   things like that.                                5   paragraph (c)?
       6            MS. O'DELL: Are you finished,           6       A. Yes.
       7       Doctor?                                      7       Q. And there you cite one, two,
       8            THE WITNESS: Unless I'm going           8   three, four, five, six, seven, eight, nine,
       9       to continue to search for this.              9   10, 11, 12 studies, correct?
      10   BY MS. BOCKUS:                                  10       A. Yes.
      11       Q. I don't need for you to look in          11       Q. Do you speak Italian?
      12   the preamble, because I'm really only           12       A. I can read it pretty well.
      13   interested in their findings as to talc, not    13       Q. Is that what you did for the
      14   their overarching methodology, that sort of     14   Bertolotti study?
      15   thing.                                          15       A. The Bertolotti study. Yes, I
      16       A. Okay. But it's important to              16   read most of it. I may have kibitzed with
      17   point out that this particular monograph is     17   some of my colleagues about the meaning of a
      18   an evaluation of the carcinogenicity of talc    18   few words.
      19   that does not contain asbestos or asbestiform   19       Q. At any rate, all of these
      20   fibers, so --                                   20   studies have to do with heavy occupational
      21       Q. Correct. Which was, from their           21   exposure to asbestos, correct?
      22   view, the talc that was included in all of      22            MS. O'DELL: Object to the
      23   the studies that they reviewed, correct?        23       form.
      24            MS. O'DELL: Objection,                 24       A. Yes.
                                                                        75 (Pages 294 to 297)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 101 of 227 PageID:
                                   60446

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 298                                             Page 300
       1   BY MS. BOCKUS:                                   1   microenvironment, and based on what we know
       2        Q. And you don't have any                   2   about the mechanism of action of talc as well
       3   information how the dose of asbestos to which    3   and even asbestos, they're all similar, and
       4   these women were exposed during their heavy      4   for that reason would be expected to be
       5   occupational exposure compares to any            5   additive.
       6   exposure to asbestos from the use of body        6       Q. But the study hasn't been done
       7   powder, correct?                                 7   even in a petri dish, has it?
       8        A. Well, I think these were not             8            MS. O'DELL: Object to the
       9   all occupational exposures, but I do not have    9       form.
      10   information regarding things like the route     10       A. I don't know if there's
      11   of exposure, no.                                11   something in progress or not, but that's the
      12        Q. Do you have any information             12   kind of study that is currently being looked
      13   regarding the dose?                             13   at. Combined exposures is the -- sort of the
      14        A. No, I don't.                            14   hallmark of research these days in
      15        Q. Do you have any information             15   toxicology.
      16   that would compare the dose of asbestos to      16   BY MS. BOCKUS:
      17   which the women in these studies were           17       Q. Do you know of anyone who's
      18   exposed --                                      18   looking at that question?
      19        A. Well, in some of the studies --         19       A. I don't.
      20        Q. Wait, I haven't finished my             20       Q. Okay. Have any of the heavy
      21   question.                                       21   metals that you have identified been
      22        A. Sorry.                                  22   identified as carcinogenic to the ovary by
      23        Q. -- to any alleged dose of               23   IARC?
      24   asbestos in body powder?                        24       A. No.
                                             Page 299                                             Page 301
       1            Can you make any comparison             1       Q. I want you to turn to page 7
       2   whatsoever to the amount of asbestos to which    2   now, if you would, please, on other evidence.
       3   these women were exposed to any exposure by      3   And you've talked about this paragraph a fair
       4   any woman who has used a Johnson & Johnson       4   amount already, and I don't want to repeat
       5   body powder?                                     5   any of the prior questions.
       6            MS. O'DELL: Object to the               6             But I want to ask you about the
       7        form.                                       7   statement in that first sentence, where you
       8        A. I don't think I'm able to make           8   say that transport of talc-containing
       9   that kind of comparison.                         9   materials from the perineum to the upper
      10   BY MS. BOCKUS:                                  10   reproductive tract and body cavities has been
      11        Q. Okay. There are ways to study           11   shown to occur with startling regularity.
      12   whether two toxins combined increase a risk     12   And I want to stop right there.
      13   more than exposure to a single toxin, whether   13             If I recall your testimony
      14   it -- whether one offsets the risk of one of    14   correctly, none of these studies even look at
      15   the toxins or whether you add them together,    15   the transport of talc-containing materials
      16   even multiply them together, right?             16   from the perineum to the upper reproductive
      17        A. Yes.                                    17   tract; isn't that correct?
      18        Q. Has any such study ever been            18             MS. O'DELL: Object to the
      19   done with regard to talc and the heavy metals   19       form.
      20   that you identify in your report?               20       A. Well, it is true that most of
      21        A. Not specifically a study to             21   the research that's been done in this area
      22   look at the combined contribution, but we       22   has been done on materials that have been
      23   know a lot about the mechanism of action of     23   instilled into the vagina or the posterior
      24   the metals in particular in the                 24   fornix, but I think and it's my opinion that
                                                                        76 (Pages 298 to 301)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 102 of 227 PageID:
                                   60447

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 302                                             Page 304
       1   application to the perineum is equivalent to     1   those studies that you list here done in
       2   that.                                            2   women who were standing up?
       3       Q. Do you have an opinion as to              3       A. The studies that I list in
       4   what percentage of the talcum powder applied     4   other evidence?
       5   in a daily dusting to the perineum makes its     5       Q. Yes.
       6   way to the vagina?                               6       A. I think not.
       7       A. No, I don't know.                         7       Q. In fact, were any of them done
       8       Q. Do you have an opinion as to              8   in women who were inclined with their head
       9   what percentage of the talc that, in your        9   elevated over their hips?
      10   opinion, would make its way to the vagina       10       A. No.
      11   would actually make its way to the cervix?      11       Q. So my question is: Where do
      12       A. I don't know that either.                12   you get the term "startling regularity" with
      13       Q. And out of the talc that makes           13   regard to the transport of talc from outside
      14   its way to the cervix, what percentage makes    14   a woman's body to the upper reproductive
      15   it past the cervix into the uterus?             15   tract?
      16       A. That, I don't know either.               16            MS. O'DELL: Object to the
      17       Q. Do you have any reason to                17       form.
      18   believe that talc would migrate with more       18       A. The propensity of evidence of
      19   frequency or rapidity than sperm?               19   rapid transport of particulate material
      20             MS. O'DELL: Objection to form.        20   regarding -- regardless of its composition.
      21       A. No, I don't have reason to               21   BY MS. BOCKUS:
      22   believe that would be the case.                 22       Q. Particulate material inserted
      23   BY MS. BOCKUS:                                  23   well into a woman's vagina whose hips are
      24       Q. Would you agree, in fact, that           24   above her head, correct?
                                             Page 303                                             Page 305
       1   it is unlikely that talc, an inert particle,     1              MS. O'DELL: Objection to form.
       2   would travel as quickly or in the same           2        A. Well, we have other studies
       3   percentages as sperm through the reproductive    3   too. We have the powdered glove examination
       4   tract?                                           4   studies, things of that nature, that are a
       5             MS. O'DELL: Object to the              5   little bit different.
       6        form.                                       6   BY MS. BOCKUS:
       7        A. I think the transport time is            7        Q. And you believe they support
       8   roughly the same for any particulate matter,     8   your conclusion that talc is transported from
       9   including sperm.                                 9   the perineum to the upper reproductive tract
      10   BY MS. BOCKUS:                                  10   with startling regularity?
      11        Q. Do you have any studies to              11        A. I think that's a valid
      12   support that opinion?                           12   conclusion supported by the evidence, yes.
      13        A. Well, we know -- we know the --         13        Q. I'm turning to page 8 now, and
      14   we know the velocity of motile sperm; it's      14   the number that you have here -- and you've
      15   very slow. And we have studies that have        15   repeated it a couple of times today -- about
      16   shown the progression of particles through      16   your opinion that the elimination of talc as
      17   the fallopian tubes at at least that fast a     17   a risk could result in over 3,000 lives saved
      18   rate, possibly faster.                          18   in the U.S. each year.
      19             And so the motility of sperm is       19              How did you come to that
      20   slower than the rate at which it passes         20   conclusion?
      21   through the female reproductive system, so      21        A. Well, I'm referring to talcum
      22   there are obviously other mechanisms at play    22   powder here --
      23   other than sperm motility.                      23        Q. Okay. Sure.
      24        Q. To your knowledge, were any of          24        A. -- which is the complete
                                                                        77 (Pages 302 to 305)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 103 of 227 PageID:
                                   60448

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 306                                             Page 308
       1   product.                                         1        A. There may not have been use of
       2            I came to that conclusion based         2   talcum powder in all those women, that's
       3   on the number of new cases of ovarian cancer     3   correct.
       4   that are diagnosed in the United States each     4        Q. Do you have any notion as to
       5   year and the number of ovarian cancer deaths     5   what percent of those women may have used
       6   that occur each year.                            6   talcum powder?
       7            And essentially, of 21,000 or           7        A. Based on these various studies,
       8   so cases of -- new cases of ovarian cancer,      8   it seems to vary between 30 and 60%. It's
       9   there are corresponding 14,000 or more deaths    9   more so in the U.S., Australia and the U.K.
      10   each year, so that's a two-thirds fatality      10        Q. Do you have an opinion as to
      11   rate if you look over time.                     11   how regularly a women needs to use talcum
      12            The -- at 30% increase in the          12   powder before her risk of ovarian cancer is
      13   risk of -- or a 30% increase in the risk of     13   increased by 30%?
      14   cancer applied in reverse, that is reducing     14        A. Well, based on the epidemiology
      15   those -- that 30% increased risk from the use   15   studies, that risk occurs in the population
      16   of perineal application of talcum powder        16   in general from ever use as opposed to never
      17   could result in the prevention of as many as    17   use, and so it would depend on the individual
      18   3,000 lives, depending on the prevalence of     18   woman.
      19   use.                                            19            Each person has an individual
      20       Q. Would that calculation require           20   susceptibility and individual characteristics
      21   that 100% of the women in the U.S. be using     21   and would probably have an individual use
      22   talcum powder on a daily basis?                 22   pattern. So I couldn't say for any
      23       A. It would require a hundred               23   individual woman.
      24   percent of the women in the U.S. to stop        24        Q. And that's not what I'm asking
                                             Page 307                                             Page 309
       1   using talcum powder on a daily basis.            1   for. I'm really asking for in general,
       2        Q. That wasn't my question.                 2   because that's what epidemiology is, correct?
       3            In order to attribute --                3   It's not talking about an individual woman,
       4        A. Well, my answer to your                  4   right?
       5   question then is no.                             5        A. That's correct, it's describing
       6        Q. In order to attribute 30% of             6   it in the population.
       7   all ovarian cancer deaths to the use of          7        Q. So in the population, in the
       8   talcum powder -- let me back up.                 8   studies that you've reviewed, what is the
       9            The data that you have that             9   minimum number of days per month, or however
      10   you've cited is talking about the percentage    10   you want to describe it, that a woman would
      11   of women -- the percentage of women who use     11   need to use talcum powder before she would be
      12   talcum powder who are diagnosed with ovarian    12   included in the group that you believe have a
      13   cancer, correct?                                13   30% increased risk of ovarian cancer?
      14            MS. O'DELL: Object to the              14             MS. O'DELL: Object to the
      15        form.                                      15        form.
      16        A. It is the total number of new           16        A. The only qualifier that I've
      17   diagnoses per year.                             17   been able to come up with and that I've used
      18   BY MS. BOCKUS:                                  18   in this report is the regular use of talcum
      19        Q. Okay.                                   19   powder.
      20        A. I think last year was                   20   BY MS. BOCKUS:
      21   22,000-something.                               21        Q. Okay.
      22        Q. But that number, 22,000, 100%           22        A. And that is going to vary over
      23   of those women did not use talcum powder,       23   a broad range. It would be periodically
      24   correct?                                        24   daily to several times a week would be
                                                                        78 (Pages 306 to 309)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 104 of 227 PageID:
                                   60449

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 310                                             Page 312
       1   regular use.                                     1   no threshold of exposure for risk; that we
       2       Q. And over how many years must a            2   are -- we are right to use a zero threshold
       3   woman use talcum powder on a regular basis       3   approach until we know more about the
       4   before her risk of ovarian cancer is             4   possibility of a threshold below which
       5   increased to 30% --                              5   exposure would be safe. At the current time
       6            MS. O'DELL: Object to the               6   we don't have that information.
       7       form.                                        7       Q. Do you believe that there
       8   BY MS. BOCKUS:                                   8   probably is a threshold below which use is
       9       Q. -- in your opinion?                       9   safe?
      10            MS. BOCKUS: Sorry.                     10       A. In the carcinogenic process,
      11       A. Some of the studies have                 11   which we haven't really talked about in this
      12   focused on usage periods as short as one        12   session today, there is an insult to a cell
      13   year, but most have studied longer periods of   13   which affects the genetic material, the DNA.
      14   use and separated use into things like          14   And there are built-in repair mechanisms that
      15   decades or accumulated total person-years       15   the cell has for fixing that problem that
      16   based on reports of the women, multiplying      16   occurred, a mutation, for example.
      17   frequency by time.                              17            These kinds of insults are
      18            So again, it would depend on           18   happening to cells all the time, not just
      19   the individual, but the research reports        19   from carcinogens in our environment, but just
      20   hover around five to ten years of regular       20   from natural occurrences, even endogenous
      21   use, resulting in significant odds ratios.      21   biochemical reactions cause these problems.
      22   BY MS. BOCKUS:                                  22            The question is: Is the repair
      23       Q. As I understand it in                    23   process sufficient to undo what's been done?
      24   toxicology, one of the basic tenets is that     24   And an exposure to environmental carcinogens,
                                             Page 311                                             Page 313
       1   it's the dose that makes the poison, correct?    1   that repair process is often overwhelmed so
       2         A. That's correct.                         2   that it cannot catch up with the damage
       3         Q. That water can kill you if you          3   that's being created, and a tumor is born,
       4   drink too much of it, right?                     4   basically.
       5         A. Theoretically.                          5             That is where the concept of
       6         Q. In a short period of time.              6   threshold comes from. Have we overwhelmed
       7             And so I'm trying to find out          7   the repair or not, and we don't have enough
       8   what you have determined is the threshold of     8   research evidence or scientific evidence to
       9   risk is -- for talcum powder use by women.       9   be able to define that line at this point.
      10   Do you have an opinion as to at what point a    10        Q. Has there ever been a study
      11   threshold has been reached where the use of     11   that showed that talcum powder caused DNA
      12   talcum powder by women in their perineal        12   damage in normal ovarian epithelial tissue?
      13   region increases their risk?                    13        A. Well, we do have the studies
      14         A. I think any use of carcinogenic        14   that have recently been produced by Fletcher
      15   materials or any exposure to carcinogenic       15   and Saed that show the inflammatory process
      16   materials increases the risk somewhat. A        16   is influenced by talc, and this is nonfibrous
      17   greater exposure, based on the                  17   talc, that result in mutagenic events that
      18   "dose makes the poison" principle, would        18   are available for promotion, and there are
      19   result in a greater risk.                       19   biomarkers that have also been established
      20             And we know from toxicologic          20   for that.
      21   studies that intense exposures can sometimes    21        Q. The studies by Saed did not
      22   accelerate the process and even shorten the     22   demonstrate DNA mutation, did they?
      23   latency period of a carcinogenic event.         23             MS. O'DELL: Object to the
      24             So my opinion is that there is        24        form.
                                                                        79 (Pages 310 to 313)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 105 of 227 PageID:
                                   60450

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 314                                             Page 316
       1       A. I think they actually did.                1            THE WITNESS: I'm sorry, it
       2   BY MS. BOCKUS:                                   2       appears that I do need to get the
       3       Q. That's your reading of them?              3       original paper here. There it is.
       4       A. Yes.                                      4       Okay. Thank you.
       5       Q. What Saed did is he placed talc           5            (Document review.)
       6   on cultured ovarian cancer cells, correct?       6   BY MS. BOCKUS:
       7       A. Yes.                                      7       Q. Can you answer the question:
       8       Q. And that actually -- what he              8   Did Saed have any either positive or negative
       9   recorded was an elevation in the CA-125?         9   controls that he used in his experiments?
      10       A. That's one of the things he              10            MS. O'DELL: Object to the
      11   did. He also measured -- he did a number of     11       form.
      12   genetic studies. He did transcribed RNA. He     12       A. I think he did, but I'd like to
      13   located individual SNPs, which are single       13   actually find it in here so I can give you
      14   nucleotide polymorphisms, in the genetic        14   the specifics.
      15   material.                                       15            Well, he used normal cells and
      16            And he found that as a result          16   epithelial ovarian cancer cells, and one was
      17   of that treatment, those mutations altered      17   the control for the other. He treated them
      18   the effectiveness of antioxidant enzymes that   18   in the same way.
      19   are part of the protection mechanism and        19   BY MS. BOCKUS:
      20   shield the repair process of the cell from      20       Q. Let me ask a different
      21   further damage.                                 21   question.
      22       Q. Let's go back to the CA-125.             22            What I'm asking is: Did he
      23            MS. O'DELL: If you need to             23   use, say, glass beads to see if -- as a
      24       pull the paper out, Doctor, just, if        24   control to the talc? Did he have anything
                                             Page 315                                             Page 317
       1       you want to take a moment and do that.       1   that he was controlling the cells' reaction
       2       I know you were searching for it while       2   to against the talc?
       3       you were talking.                            3       A. I don't believe so.
       4            THE WITNESS: Yes, I think I             4       Q. That would be important in an
       5       have it right here.                          5   experiment of this nature, would you not
       6            MS. BOCKUS: These are just              6   agree with that?
       7       general questions that I'm going to          7            MS. O'DELL: Object to the
       8       ask you.                                     8       form.
       9            MS. O'DELL: You still may get           9       A. Well, he did utilize normal and
      10       the paper out.                              10   cancerous cells, which would theoretically
      11            MS. BOCKUS: Do whatever you            11   act as a control in that experiment.
      12       want to do.                                 12   BY MS. BOCKUS:
      13            THE WITNESS: You can go ahead.         13       Q. That's not my question. I'm
      14       I'm...                                      14   really asking about another element that he
      15   BY MS. BOCKUS:                                  15   is exposing the cells to, both the normal and
      16       Q. What controls did Saed use?              16   the cancerous cells.
      17   Did he use any controls? In other words, did    17            MS. O'DELL: Objection to form.
      18   he place a known foreign object that was        18   BY MS. BOCKUS:
      19   not -- that was known not to be a carcinogen    19       Q. To see if the reaction was just
      20   on the cultured ovarian cells to see if there   20   a reaction to a foreign body versus talc
      21   was a difference?                               21   specifically.
      22            MS. O'DELL: Can you just pause         22            Did he do that?
      23       just for a minute, let the doctor pull      23            MS. O'DELL: Object to the
      24       out the exhibit?                            24       form.
                                                                        80 (Pages 314 to 317)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 106 of 227 PageID:
                                   60451

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 318                                             Page 320
       1       A. I don't believe that he                   1       A. I don't specifically know.
       2   provided a control exposure as part of this      2   BY MS. BOCKUS:
       3   experiment.                                      3       Q. There's no way to know that, is
       4   BY MS. BOCKUS:                                   4   there?
       5       Q. And you would agree that there            5       A. No, there's not.
       6   are many things that will increase a CA-125,     6       Q. Let me find my -- there we go.
       7   correct?                                         7           The Saed paper that you were
       8            MS. O'DELL: Object to the               8   looking at just a minute ago, it has
       9       form.                                        9   something printed across it. What does that
      10       A. Yes, it's an acute-phase                 10   say?
      11   reactant.                                       11       A. In blue here?
      12   BY MS. BOCKUS:                                  12       Q. Uh-huh.
      13       Q. Pregnancy can increase                   13       A. "For Peer Review."
      14   somebody's CA-125?                              14       Q. Okay. So it hasn't yet been
      15       A. That's correct.                          15   peer reviewed; is that correct?
      16       Q. And with regard to the SNPs,             16           MS. O'DELL: Object to the
      17   that is not the same thing as a test showing    17       form.
      18   mutation, correct?                              18       A. It's been submitted.
      19            MS. O'DELL: Object to the              19   BY MS. BOCKUS:
      20       form.                                       20       Q. So does that mean it has not
      21   BY MS. BOCKUS:                                  21   yet been peer reviewed?
      22       Q. It's a surrogate.                        22           MS. O'DELL: Object to the
      23       A. Well, it's because there was             23       form.
      24   transcribed RNA that was used to determine      24       A. I think it's been accepted for
                                             Page 319                                             Page 321
       1   their presence, and the -- it's just part of     1   publication.
       2   their procedure, but it identifies genetic       2   BY MS. BOCKUS:
       3   alterations. And those genetic alterations       3        Q. But the copy you have says on
       4   transformed into differential enzyme             4   it "For Peer Review," correct?
       5   activities.                                      5        A. That's correct.
       6       Q. Do you know whether there are             6        Q. In the paragraph that we were
       7   standard tests for genotoxicity and              7   looking at earlier, where you were talking
       8   mutagenicity?                                    8   about the startling regularity, later on in
       9       A. There are lots of standard                9   the paragraph you state that there
      10   tests, yes.                                     10   is clearly -- sufficient particulate
      11       Q. And Saed didn't use any of               11   materials applied routinely to the perineum
      12   those, did he?                                  12   have ready access and in sufficient
      13            MS. O'DELL: Object to the              13   quantities to produce biologic responses in
      14       form.                                       14   internal tissues.
      15       A. Well, he went directly to cells          15             What internal tissues have you
      16   in culture to see what happened when they       16   seen any study recording a biologic response
      17   were treated with talc.                         17   to talc from?
      18   BY MS. BOCKUS:                                  18             That was such a bad question,
      19       Q. Does the amount of talc that             19   I'm going to ask it again.
      20   Saed used compare in any way to the amount of   20             What internal tissues are you
      21   talc that may reach a woman's ovary from        21   referring to there?
      22   perineal application?                           22        A. Well, it says including --
      23            MS. O'DELL: Object to the              23   including ovaries and surrounding structures.
      24       form.                                       24   By surrounding structures, I'm referring to
                                                                        81 (Pages 318 to 321)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 107 of 227 PageID:
                                   60452

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 322                                            Page 324
       1   the fallopian fimbriae and the epithelium of     1   fallopian tube goes into that fluid and just
       2   the cavity.                                      2   gets moved around all the time; is that
       3       Q. So -- and I know we've been               3   correct?
       4   through this already, but to your knowledge,     4             MS. O'DELL: Objection. Excuse
       5   there are no studies reporting biologic          5       me. Objection, form.
       6   responses to talc in the vagina, correct?        6       A. Well, there's a fairly direct
       7       A. Not that I'm aware.                       7   presentation of the ovary, so there's not a
       8       Q. You're not aware of any studies           8   large space there, but there is a space. And
       9   reporting biologic responses to talc in the      9   whatever goes into that space remains there.
      10   cervix, correct?                                10   Some of it may come back out.
      11       A. Correct.                                 11   BY MS. BOCKUS:
      12       Q. Are you aware of any studies             12       Q. Does the fallopian tube move
      13   reporting biologic response to the uterus?      13   around during the month?
      14       A. No.                                      14             MS. O'DELL: Object to the
      15       Q. Are you aware of any studies             15       form.
      16   reporting a biologic response in the            16       A. I don't know.
      17   fallopian tubes?                                17             MS. BOCKUS: I'm almost
      18            MS. O'DELL: Object to the              18       finished. I'm going through all the
      19       form.                                       19       things that I've crossed off.
      20       A. Well, I don't -- I'm not aware           20   BY MS. BOCKUS:
      21   of studies that draws a direct correlation      21       Q. So I understand you correctly,
      22   between exposure to talc and reaction in the    22   you have not identified a nonthreshold dose
      23   fallopian tubes.                                23   of talc; is that correct?
      24            ///                                    24             MS. O'DELL: Object to the
                                             Page 323                                            Page 325
       1   BY MS. BOCKUS:                                   1       form.
       2        Q. Okay. Is the ovary attached to           2       A. You mean a dose that is below a
       3   the fallopian tube?                              3   safe threshold?
       4        A. It is -- it's in the proximity.          4   BY MS. BOCKUS:
       5   It's not directly attached.                      5       Q. Correct.
       6        Q. And what surrounds the ovary?            6       A. No, I have not.
       7        A. There's a structure that -- the          7       Q. Did you make any attempt to
       8   ovary itself?                                    8   extrapolate a de minimis risk level?
       9        Q. Yes.                                     9            MS. O'DELL: Object to the
      10        A. There's an epithelial membrane          10       form.
      11   around the ovary, and --                        11       A. I did not. It would be nice to
      12        Q. And then what touches the               12   be able to do that, considering that most of
      13   epithelial membrane?                            13   us have had talcum powder exposures of one
      14        A. Well, the fimbriae of the               14   sort or another during our lives. And it's
      15   fallopian tubes surround that and the rest of   15   something that seems to have been felt to be
      16   it is just sort of space.                       16   very useful.
      17        Q. Space. Is the space filled              17            So it would be nice to be able
      18   with fluid?                                     18   to do that exercise, but I haven't -- I have
      19        A. It is.                                  19   not been prevented -- presented with the
      20        Q. And is that fluid kind of               20   information to approach that, nor am I aware
      21   moving around?                                  21   of anyone else who's been able to do it.
      22        A. All the time.                           22   BY MS. BOCKUS:
      23        Q. All the time.                           23       Q. What information would you need
      24              So things that come through the      24   that you don't have?
                                                                       82 (Pages 322 to 325)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 108 of 227 PageID:
                                   60453

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 326                                             Page 328
       1       A. Well, we'd need -- we'd need              1   you? In other words, are they referred by
       2   dose information, first of all, which we         2   other people?
       3   don't have, to combine with the epidemiologic    3       A. I have primarily a referral
       4   results.                                         4   practice in toxicology.
       5            We need to define the                   5       Q. In toxicology? And so what
       6   mechanistic issues better than they are          6   types of patients are referred to you?
       7   currently, and at that point I think we would    7       A. I have patients who are either
       8   be able to make some strong conclusions          8   workplace-related patients who have had
       9   regarding potential thresholds of hazardous      9   chemical or other substance exposures. I
      10   doses.                                          10   also have a number of environmental exposure
      11       Q. You would agree that the great           11   patients that I see.
      12   majority of women who use talcum powder on a    12            And I also have a number of --
      13   regular basis are never diagnosed with          13   I also see a number of patients for general
      14   ovarian cancer, correct?                        14   routine surveillance activities or required
      15       A. I think that's true.                     15   exams by regulation, either for licensure or
      16       Q. And it's also true that the              16   certification.
      17   majority of women diagnosed with ovarian        17       Q. Are you sent patients where the
      18   cancer have never used talcum powder on a       18   patient is trying to figure out why they got
      19   regular basis, correct?                         19   some disease?
      20            MS. O'DELL: Object to the              20       A. Sometimes. Usually the patient
      21       form.                                       21   comes and tells me why they got the disease,
      22       A. I think it's a majority, but             22   and I go -- I talk to them about the
      23   there's a significant number who have.          23   possibilities, and we look at ways of
      24            ///                                    24   confirming that or refuting it, or in many
                                             Page 327                                             Page 329
       1   BY MS. BOCKUS:                                   1   cases, altering to a correct path of
       2       Q. But the majority have not,                2   diagnostic investigation.
       3   correct?                                         3        Q. So sometimes a patient comes to
       4       A. I would say more than 50% have            4   you and says: I was exposed to this chemical
       5   not.                                             5   and that's why I can't breathe?
       6       Q. And would you agree that -- let           6        A. Yes.
       7   me back up.                                      7        Q. And you do an investigation,
       8            When is the last time you               8   and sometimes you say: You know what, that
       9   conducted a pelvic exam?                         9   chemical has nothing to do with why you can't
      10       A. I haven't done one in a couple           10   breathe?
      11   of years.                                       11        A. Sometimes that's the case.
      12       Q. Under what circumstances did             12             MS. O'DELL: Are you finished,
      13   you do it two years ago?                        13        sir? Are you finished?
      14       A. I see patients regularly, and            14        A. Well, I just wanted to add --
      15   in some cases, pelvic exams are either          15   BY MS. BOCKUS:
      16   requested or indicated by the issue.            16        Q. Sure.
      17       Q. It's not something you do on a           17        A. -- that although many times it
      18   regular basis, correct?                         18   is the case, and often the patient does
      19       A. It's not.                                19   understand that connection quite well,
      20       Q. And you do not -- what                   20   usually from a very closely connected cause
      21   percentage of your patients are women?          21   and effect kind of relationship. It's when
      22       A. Probably half, maybe a little            22   things are stretched out much more in time,
      23   less than half.                                 23   and there is a likely suspect that may be an
      24       Q. How do patients come to see              24   innocent bystander, that they may get
                                                                        83 (Pages 326 to 329)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 109 of 227 PageID:
                                   60454

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 330                                            Page 332
       1   confused.                                        1   for that population of women?
       2       Q. Have you ever been referred a             2       A. Well, it varies depending on
       3   patient to determine why they have ovarian       3   the research study that has been done, but
       4   cancer?                                          4   I've seen odds ratios or relative risks all
       5       A. No.                                       5   the way from 1 or even below to very high
       6       Q. Do you know of any methodology            6   numbers, like 20 to 50.
       7   accepted in the medical community for            7       Q. 20.0, is that what you're
       8   determining why an individual woman has          8   saying?
       9   developed ovarian cancer?                        9       A. Yes, 20.0.
      10            MS. O'DELL: Object to the              10       Q. Not 1.2, but 20.0?
      11       form.                                       11       A. Correct.
      12       A. Other than genetic testing that          12       Q. Okay.
      13   identifies specific risks and history taking    13       A. Which is a -- which would be 20
      14   that might identify other known risk factors    14   times the normal risk without the exposure.
      15   for that woman, there is -- I don't believe     15       Q. Okay. So we've got obesity and
      16   that there is any good or prescribed            16   heavy exposure to asbestos. Any other risk
      17   procedure for making that determination, and    17   factors that you're familiar with?
      18   there is no reasonable screening test that      18            MS. O'DELL: Objection --
      19   can find that cancer when it is at an early     19       excuse me. Objection, misstates the
      20   stage.                                          20       doctor's testimony.
      21   BY MS. BOCKUS:                                  21            You may answer.
      22       Q. Do you believe that obesity              22            THE WITNESS: Okay.
      23   causes ovarian cancer?                          23       A. Other risk factors for ovarian
      24       A. It certainly seems to be                 24   cancer would include things like early
                                             Page 331                                            Page 333
       1   related to the occurrence of ovarian cancer      1   menarche, late menopause, never being
       2   from a statistical point of view.                2   pregnant. These are some of the more common
       3        Q. What is the increase in a                3   risk factors that are identified.
       4   woman's risk of ovarian cancer if she's obese    4            There are genetic risk factors
       5   compared to a nonobese woman?                    5   that are known, like the BRCA mutations,
       6        A. In terms of numbers?                     6   which confer an increased risk. Family
       7        Q. Yes, sir.                                7   history.
       8        A. I don't know the -- I don't              8   BY MS. BOCKUS:
       9   know the numbers.                                9        Q. Do you know the odds ratios of
      10        Q. What other risk factors are you         10   any of the risk factors that you just
      11   familiar with for ovarian cancer?               11   identified of never having children, having
      12        A. Well, certainly work with               12   early menarche or late menopause?
      13   asbestos is a risk factor, and we have a        13        A. Right offhand, I don't know
      14   number of studies that have shown women         14   what those odds ratios -- the range of those
      15   working in the asbestos industry or women who   15   are.
      16   are married to asbestos workers and have        16        Q. Do you know if any of those
      17   secondary exposure presumably from that are     17   odds ratios exceed 1.3?
      18   at risk for ovarian cancer.                     18        A. I think they do.
      19            There are --                           19        Q. Does that lead you to conclude
      20        Q. Let me stop you just one                20   that those things cause ovarian cancer?
      21   second.                                         21        A. It certainly argues for that.
      22        A. Yes.                                    22   The -- there's a risk factor that derives
      23        Q. What percentage -- what is              23   from something. You need a mechanism to fill
      24   their relative risk or what is the odds ratio   24   in the blank.
                                                                       84 (Pages 330 to 333)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 110 of 227 PageID:
                                   60455

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 334                                             Page 336
       1             But also, some of these risk           1        Q. So you think you just ran into
       2   factors are so common in the population that     2   her?
       3   we can concoct large cohort studies that will    3        A. Yeah.
       4   have -- can have very low relative risks,        4        Q. The other people that you
       5   like on the order of 1.3 or even lower, and      5   identified that you discussed your report
       6   still a significant result.                      6   with, did you ask them to read your report?
       7             So the more common a factor is,        7        A. I asked them to look at parts
       8   the easier it is to do the research and the      8   of it, early drafts of it to let me know if
       9   more likely you'll get a finding that's          9   they thought I was making sense.
      10   relevant to interpretation.                     10        Q. And did they offer you comments
      11        Q. What pushes a talc particle             11   and suggestions for changes in your paper?
      12   from the perineum into the vagina?              12        A. Not really. Mostly they gave
      13        A. Probably mostly the law of mass         13   me a pat on the back and said: I think
      14   action. It simply goes of its own volition.     14   you're doing a good job, just sort of beef
      15   These small particles are always in motion      15   this part up, and what do you mean by this,
      16   through molecular forces, and they simply       16   maybe I could rephrase that. That sort of
      17   move in all directions, and some of them move   17   thing.
      18   in that direction.                              18        Q. Did they give you written
      19        Q. Would that be true for any              19   suggestions?
      20   small particles applied to a woman's            20        A. No, these were all verbal
      21   perineum?                                       21   comments.
      22        A. Yes.                                    22        Q. Had you given them a hard copy
      23        Q. Are you board certified in              23   of the portions of your report that you
      24   medical toxicology?                             24   wanted them to comment on?
                                             Page 335                                             Page 337
       1        A. I'm not. I started practicing            1       A. Yes.
       2   medical toxicology before there was a board      2       Q. And they didn't redline it or
       3   in the specialty, and I've been grandfathered    3   make -- draw arrows or anything like that for
       4   into the profession as a member of the           4   you?
       5   American College of Medical Toxicology.          5       A. I think actually George Delclos
       6        Q. How long did you talk to                 6   did draw some -- or make some notes on there
       7   Dr. Ness about her paper?                        7   and hand it back to me, and I incorporated
       8        A. About her paper, probably a              8   those into my electronic version.
       9   minute and a half. About all kinds of other      9       Q. Do you still have George's
      10   things, for a while.                            10   notes to you?
      11        Q. What other kinds of things?             11       A. No, I don't.
      12        A. Mostly personal things that had         12       Q. Is he the only one out of the
      13   nothing to do with talc or this case.           13   people that you asked to look at it who gave
      14        Q. How long do you think that              14   you handwritten notes?
      15   conversation was?                               15       A. Yes, I think so.
      16        A. Well, with Dr. Ness, nothing            16       Q. Have you seen the term
      17   lasts very long, so I would say ten minutes     17   "intrinsic elimination system" regarding the
      18   at the most.                                    18   ovary in any of the publications that you've
      19        Q. Okay. Did you call her?                 19   read?
      20        A. No. She's -- she comes and              20       A. I don't know, I may have.
      21   goes in the same building where I office, and   21       Q. Can you think of one in
      22   my office is just on the opposite side of the   22   particular that discusses that characteristic
      23   floor of hers, and I see her sometimes in       23   of -- that you believe relates to the ovary?
      24   passing or in the elevator.                     24       A. Well, the migration papers
                                                                        85 (Pages 334 to 337)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 111 of 227 PageID:
                                   60456

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 338                                             Page 340
       1   discuss migration to the ovary. It would         1   that?
       2   probably be a talc paper, though. I don't        2        A. Well, I saw this actually when
       3   recall seeing it anywhere.                       3   I first started this process, and I think
       4       Q. Did you consult any gynecologic           4   Dr. Longo was involved in that activity,
       5   textbooks?                                       5   where they modeled the -- the application of
       6       A. No, I didn't. I may have                  6   talcum powder and did some calculations based
       7   looked at some diagrams on the Internet.         7   on the amount of substance that was used, and
       8       Q. Okay. Did you consult any                 8   they measured it in things like shakes and --
       9   gynecologic oncology textbooks?                  9   and then quantified the amount that was lost
      10       A. Not textbooks, no.                       10   from the container to determine what an
      11       Q. Do you know the position of the          11   application amount was.
      12   Society of Gynecologic Oncologists on the       12             I don't think they were able to
      13   question of whether does talc increase a        13   go beyond that point in the modeling process.
      14   woman's risk for ovarian cancer?                14        Q. You didn't see anything that
      15       A. No, I don't.                             15   Dr. Longo did that attempted to quantify the
      16       Q. Would that be important to you           16   amount of talcum powder from a single shake
      17   to know their position?                         17   that ended up on a woman's perineum, did you?
      18       A. No, I don't think so.                    18             MS. O'DELL: Object to the
      19       Q. Do you know the position of              19        form.
      20   ACOG on whether the use of -- perineal use of   20        A. I -- you know, I don't know the
      21   talc increases a woman's risk of ovarian        21   answer to that, simply because I don't
      22   cancer?                                         22   recall, but I wouldn't be surprised that
      23       A. I don't know that either.                23   there was an attempt made to do that. But
      24   That's not something I've looked at.            24   beyond that, I don't think anything would be
                                             Page 339                                             Page 341
       1       Q. Would that be important to you?           1   successful.
       2       A. No.                                       2            These were clothed subjects, so
       3       Q. Do you have any scientific text           3   that adds another factor to the calculation.
       4   that suggests that an inert particle resides     4   BY MS. BOCKUS:
       5   on the ovary longer than it does in the          5       Q. Is that the only experiment
       6   cervix?                                          6   that you're familiar with that you've seen
       7       A. Well, I have -- I have a paper            7   anywhere that attempts to quantify the amount
       8   that relates to the time for dissolution of a    8   of talcum powder from a single use that ends
       9   particle in biological fluids, which would go    9   up actually on a woman's perineum?
      10   to the length of time a particle of talc        10       A. There was another part of that
      11   remains in the ovary once it gets there.        11   study where they applied it to underwear with
      12            But I don't have -- I don't            12   the same sort of calculation process. It was
      13   know that I have a scientific paper that        13   all part of the same modeling process.
      14   specifically says that it stays in the ovary    14       Q. And do you recall what
      15   longer than it stays in the cervix.             15   percentage of the talc applied to the
      16       Q. You testified that you                   16   underwear ended up adhered to the woman's
      17   understand there have been some attempts to     17   perineum?
      18   quantify the amount of talc, I guess from a     18            MS. O'DELL: Object to the
      19   single use, that ends up on the perineum.       19       form.
      20            Did I understand that                  20       A. I don't think -- I don't think
      21   correctly?                                      21   they measured the amount that adhered to the
      22       A. Yes.                                     22   perineum. I think what they were interested
      23       Q. Can you tell me what those               23   in was proximity.
      24   attempts are, who did them, where did you see   24            ///
                                                                        86 (Pages 338 to 341)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 112 of 227 PageID:
                                   60457

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 342                                             Page 344
       1   BY MS. BOCKUS:                                   1       A. Uh-huh.
       2       Q. Okay. Can you tell me the                 2       Q. And echoing what my colleagues
       3   names of the environmental websites that have    3   have said today, if there's at any point I
       4   been talking about IARC revisiting their         4   ask a question that you do not understand,
       5   classification of talc?                          5   just stop me and ask me to rephrase it or let
       6       A. There are -- there are a number           6   me know otherwise, okay?
       7   of Twitter feeds and websites that carry on      7       A. I will.
       8   this kind of discussion. Science Interest is     8       Q. Thanks.
       9   one of them. I think IARC Watch is another       9            So going back shortly to your
      10   one. I have -- I get e-mails about some of      10   scope of work, do you teach any coursework on
      11   these and end up going into them for a period   11   talc or ovarian cancer?
      12   of time and seeing if they have anything        12       A. I teach some general courses.
      13   interesting going on. Some of them are          13   Up until last spring I taught a general
      14   searchable.                                     14   environmental health course for graduate
      15            And then I get e-mails from the        15   students in the Master of Public Health
      16   ones that I visit about other ones. So I        16   program at the School of Public Health, and
      17   spend as much of my time deleting these         17   in that course we did touch on things like
      18   e-mails without reading them as I do actually   18   environmental exposures that would include
      19   viewing the material.                           19   minerals of various varieties, but it was
      20       Q. So fair to say this is just              20   very cursory.
      21   chatter you've seen on the Internet in these    21       Q. And was that curriculum
      22   different chat rooms or Twitter accounts that   22   specific to environmental and industrial
      23   you visit from time to time?                    23   products or minerals as opposed to consumer
      24       A. It's all Internet based, yes.            24   products?
                                             Page 343                                             Page 345
       1            MS. BOCKUS: Okay. I think               1       A. We actually did touch on other
       2       that's all I have. Thank you.                2   consumer products as well in terms of the
       3            MS. O'DELL: Why don't we take           3   significant environmental problem that we
       4       a short break. We've been going about        4   have currently, but -- regarding the huge
       5       two hours.                                   5   volume of personal care products that goes
       6            MR. ZELLERS: Do you have                6   into our aqueous waste stream and how that's
       7       questions?                                   7   affecting the aquatic environment as well as
       8            MS. APPEL: I do, but --                 8   groundwater and so forth.
       9            MS. O'DELL: Yeah, do you                9            As a matter of fact, in that
      10       have --                                     10   course, as part of the culmination of the
      11            MS. APPEL: I don't have a lot.         11   course, there are student workgroups that
      12            MS. O'DELL: Okay. Sure. Why            12   develop presentations on a particular topic,
      13       don't you go ahead, and then we'll          13   and the topic of personal care products has
      14       take a break. We have been going            14   been a favorite choice for the last several
      15       about two hours, but, Renée, please.        15   years.
      16            If you're okay, Doctor.                16       Q. But your curriculum did not
      17            THE WITNESS: I'm fine.                 17   include talc among those products?
      18               EXAMINATION                         18            MS. O'DELL: Object to the
      19   BY MS. APPEL:                                   19       form.
      20       Q. It's been a while since we did           20       A. I think talc may have been
      21   introductions, so just as a reminder, my name   21   represented as an individual mineral on a
      22   is Renée Appel and I'm here on behalf of        22   slide that listed many minerals.
      23   Seyfarth Shaw and I represent Personal Care     23   BY MS. APPEL:
      24   Products, counsel.                              24       Q. Earlier today you had mentioned
                                                                        87 (Pages 342 to 345)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 113 of 227 PageID:
                                   60458

                         Arch I. "Chip"                Carson, M.D., Ph.D.
                                             Page 346                                             Page 348
       1   a shared file. Is that shared file something     1   accumulating information in the draft as a
       2   that you created or plaintiffs' counsel          2   result of my review of the literature.
       3   created?                                         3            So if I had to separate things
       4       A. It's something that I think               4   out, I would say that, by far, the -- most of
       5   plaintiffs' counsel created for me to be able    5   the time has been spent in reading articles
       6   to send them documents and receive documents,    6   and reviewing them and comparing them with
       7   and it's a Dropbox share file. It's -- at        7   other articles, and a comparatively small
       8   this point I think it might be mine. I'm not     8   amount of time has been spent in drafting the
       9   sure just exactly who's in charge of that or     9   report.
      10   runs it, but it comes directly into my          10            Although there were some
      11   Dropbox file.                                   11   strings of activity which was all report
      12             I know I had to boost my              12   drafting basically, I would say probably 85
      13   subscription to Dropbox in order to hold the    13   to 90% was research, seeking articles,
      14   2 gigabytes of data from -- that we were        14   reading them, reviewing them, and comparing
      15   putting into there.                             15   them.
      16       Q. Is there anything from that              16        Q. And you also testified earlier
      17   Dropbox file that you relied upon in forming    17   today that you discarded information not
      18   your opinion in your report that you have not   18   relevant or interesting to you.
      19   already provided to defense counsel?            19            How did you make that
      20       A. No, everything that was in that          20   determination?
      21   Dropbox that I've relied upon has been          21            MS. O'DELL: Objection to the
      22   identified here.                                22        form.
      23       Q. Who prepared Exhibit B to your           23        A. The things that I discarded did
      24   report?                                         24   not seem to fit into my gestalt of the
                                             Page 347                                             Page 349
       1       A. Exhibit B was a list of                   1   understanding of this question and the
       2   articles from the research literature            2   opinions that I wanted to express. They may
       3   included in the Dropbox that -- that I think     3   have been interesting information and useful
       4   does not -- I don't know whether it includes     4   for some purposes, but not for this
       5   the referenced articles from my report or        5   particular report.
       6   not, but they were all part of the same          6   BY MS. APPEL:
       7   collection of research articles and              7       Q. Was some of that information
       8   supplemental documents.                          8   that you discarded based on relevancy or that
       9       Q. And my question, Dr. Carson,              9   you determined was not of interest
      10   was: Who prepared that exhibit?                 10   information that may have been different than
      11       A. The exhibit was prepared by the          11   your opinions?
      12   plaintiffs' attorneys.                          12       A. No. I didn't discard any
      13       Q. You testified earlier that you           13   research because the opinions provided
      14   have spent approximately 150 to 180 hours in    14   differed from my own. These were things that
      15   your expert retention work; is that correct?    15   really were irrelevant to the question.
      16       A. Correct.                                 16            I remember finding an awful lot
      17       Q. Can you estimate what portion            17   of geological research stuff that just didn't
      18   of that time was spent researching versus       18   have any relevance to the question.
      19   what portion of time was spent actually         19            Because I used such broad
      20   drafting your expert report?                    20   search terms, I ended up pulling in a whole
      21       A. Those two things are in some             21   lot of things that were not necessary or
      22   ways difficult to separate because I would --   22   useful, and those just went in the trash.
      23   I was writing my report the entire time that    23       Q. You testified earlier that you
      24   I was reviewing the research materials and      24   have not treated any patients with ovarian
                                                                        88 (Pages 346 to 349)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 114 of 227 PageID:
                                   60459

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 350                                             Page 352
       1   cancer; is that correct?                         1   usually administer to my patients, and I have
       2       A. Not knowingly, not because of             2   plans to add that as a question in my
       3   ovarian cancer.                                  3   environmental exposure survey. Which I
       4       Q. Have you ever diagnosed any               4   haven't done already, but will as soon as I
       5   patients with ovarian cancer?                    5   get the opportunity.
       6       A. I think when I was in medical             6   BY MS. APPEL:
       7   school or residency, I probably participated     7       Q. You testified earlier today
       8   in that on several patients.                     8   that you do not believe there was ever a
       9       Q. Have you ever instructed a                9   point where talcum powder did not contain
      10   patient not to use talcum powder products?      10   asbestos, correct?
      11       A. I hadn't up until a month or             11       A. Yes.
      12   two ago, but I've been asking people about --   12       Q. So in forming your opinion in
      13   about their talcum powder use just as sort of   13   your report, you've assumed that the talcum
      14   a curiosity in mentioning that there might be   14   powder does contain asbestos, correct?
      15   a risk.                                         15            MS. O'DELL: Object to the
      16       Q. Do you ask that of all your              16       form.
      17   patients?                                       17       A. Well, I think the asbestos
      18       A. I would say no, I don't usually          18   contribution to this whole issue is important
      19   ask the men that, but I probably should.        19   and significant. I think there's good
      20       Q. And have the responses to those          20   evidence that whatever we call talcum powder
      21   inquiries of your female patients and their     21   is carcinogenic and responsible for ovarian
      22   talcum product use, has that been used at all   22   cancer -- as a cause of ovarian cancer, but I
      23   to inform your opinions in this case?           23   can't say -- I can't say based on looking at
      24       A. I don't think so. There have             24   a can of talcum powder whether or not it has
                                             Page 351                                             Page 353
       1   been very few that I have asked that question    1   asbestos in it or how much.
       2   in the last month or so. I've had a limited      2   BY MS. APPEL:
       3   clinic schedule during this period of time.      3       Q. Have you formed an opinion,
       4   We had the holidays and other things, so I       4   Dr. Carson, on whether there's a relationship
       5   haven't seen that many patients.                 5   between pure talc and ovarian cancer?
       6             And of those I've asked about          6             MS. O'DELL: Objection to form.
       7   it, it seems about half of the women have had    7       A. My opinion is there is, but
       8   a history of using talcum powder.                8   that's based on the research reports that
       9         Q. And of those women that are             9   have been done using so-called pure talc,
      10   using -- have told you that they have used      10   talcum powder, and I am -- I -- my opinion is
      11   talcum powder, are those women diagnosed with   11   that it's unlikely that those test substances
      12   ovarian cancer?                                 12   actually are pure talc.
      13         A. No.                                    13   BY MS. APPEL:
      14         Q. So suffice to say the inquiry          14       Q. So again, Dr. Carson, in
      15   that you've asked of your female patients       15   forming your opinions, you have done so on
      16   concerning their talcum use has nothing to do   16   the belief that all the talc powder products
      17   with the question that you've been posed in     17   or just pure talc do, in fact, contain
      18   this particular litigation?                     18   asbestos?
      19             MS. O'DELL: Object to the             19             MS. O'DELL: Objection to form.
      20         form.                                     20       A. It is my opinion that all
      21         A. Actually, that's the only              21   talcum powder products do contain a certain
      22   reason I've been asking them. It's not          22   amount of asbestos, even if it's extremely
      23   something that came to mind earlier. I have     23   small.
      24   an environmental exposure survey that I         24             My opinions have been formed
                                                                        89 (Pages 350 to 353)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 115 of 227 PageID:
                                   60460

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 354                                             Page 356
       1   based on research that has been done on          1   classified by IARC.
       2   available talcum powder products, so I guess     2   BY MS. APPEL:
       3   the research would have been done using some     3        Q. But it's your opinion that a
       4   small quantity of asbestos in all of those       4   possible carcinogen -- strike that.
       5   studies.                                         5             It's your opinion that any dose
       6   BY MS. APPEL:                                    6   of a possible carcinogen can cause cancer?
       7       Q. You also testified today,                 7             MS. O'DELL: Objection to form.
       8   Dr. Carson, that you have found in your          8        A. Yes, I think there is a
       9   research that there is a dose-response           9   potential for any dose of a carcinogen to
      10   relationship between talcum powder products     10   cause a cancer. There's also the principle
      11   and ovarian cancer, correct?                    11   that the lower the dose, the less likely it
      12       A. Well, a number of the research           12   is, the lower the risk is for developing a
      13   studies, the epidemiology studies have shown    13   cancer.
      14   positive and statistically significant          14   BY MS. APPEL:
      15   trends.                                         15        Q. And your opinion extends to
      16       Q. And those trends that you're             16   those particles that have not been identified
      17   relying on, Dr. Carson, actually only relate    17   as carcinogens, but may just be possible
      18   to duration and frequency, correct?             18   carcinogens?
      19            MS. O'DELL: Objection to form.         19        A. I think talc has been
      20       A. Yes, they do relate to duration          20   identified as a carcinogen.
      21   and frequency, which is the only surrogate we   21        Q. So you disagree with the IARC
      22   have for dose.                                  22   classification?
      23   BY MS. APPEL:                                   23        A. The IARC 2B classification is a
      24       Q. So in forming your opinion,              24   carcinogenic classification.
                                             Page 355                                             Page 357
       1   Dr. Carson, you have not determined a level      1       Q. But you recognize and -- that
       2   of harmful exposure to talcum powder products    2   there are different types of categories that
       3   that causes ovarian cancer?                      3   IARC has?
       4       A. That's correct.                           4       A. Yes.
       5       Q. And you did not conduct a dose            5       Q. And that -- it's that talc that
       6   assessment between talcum powder products and    6   does not contain asbestos was not, in fact,
       7   ovarian cancer, correct?                         7   categorized as a Group 1, correct?
       8            MS. O'DELL: Objection to form.          8       A. That's correct.
       9       A. Well, I did not conduct a                 9       Q. So is it your opinion, then,
      10   dose-response, but I am of the opinion that     10   looking at other 2B-classified particles by
      11   there's no safe threshold for exposure to a     11   IARC, that any exposure to pickled vegetables
      12   carcinogen until such a threshold is            12   would cause cancer?
      13   identified.                                     13       A. We know that there are a number
      14   BY MS. APPEL:                                   14   of carcinogens that are regularly present in
      15       Q. And does that include                    15   things like the food that we eat. We have a
      16   Category 2B particles as well --                16   rule that says that those things should not
      17            MS. O'DELL: Objection.                 17   be included in food items unless they have
      18   BY MS. APPEL:                                   18   passed a particular exemption process.
      19       Q. -- that it's a possible                  19            Pickled vegetables are
      20   carcinogen?                                     20   something that people have been familiar with
      21            MS. O'DELL: Objection to form.         21   and have been using for hundreds of years,
      22       A. It includes the talc that was            22   and things like talcum powder are things that
      23   discussed in the IARC report. Those             23   have been used for -- well, at least a
      24   conclusions have nothing to do with how it's    24   hundred years, but probably considerably
                                                                        90 (Pages 354 to 357)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 116 of 227 PageID:
                                   60461

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 358                                             Page 360
       1   longer.                                          1        A. Pickled vegetables.
       2             And whether or not those things        2        Q. -- I had was pickled
       3   are carcinogens, there are people who still      3   vegetables, and the question was whether or
       4   find enough value to offset that factor in       4   not is your opinion that any consumption of
       5   their own lives and they can make their own      5   pickled vegetables causes cancer?
       6   decisions regarding their exposure.              6            MS. O'DELL: Objection to form.
       7             It's a similar concept to              7        A. I believe the primary form of
       8   people who choose to smoke. Although smoking     8   cancer that's potentially related with
       9   is an addictive behavior, people are aware       9   pickled vegetables is stomach cancer, and
      10   that it causes disease, including cancer, and   10   there is a slight increase in risk with
      11   yet they continue to smoke.                     11   consumption of pickled vegetables for
      12             We continue to eat grilled            12   everybody who does it.
      13   meats, even -- most of us know now that         13   BY MS. APPEL:
      14   grilled meats contain polycyclic aromatic       14        Q. Okay. And what about gasoline
      15   hydrocarbons that are known carcinogens, some   15   or exhaust?
      16   of them Group 1 carcinogens, and yet, we        16        A. Gasoline meaning the fuel?
      17   continue that practice and revel in it even.    17        Q. Yes.
      18   That's just part of what we do as human         18        A. Well, gasoline used to contain
      19   beings.                                         19   a significant amount of benzene, which was
      20             The issue with talc is a              20   a -- determined to be a carcinogenic
      21   complicated question in my mind. I think I'm    21   substance. In recent years, most of the
      22   straying a bit from your -- from your           22   benzene has been removed from gasoline, so
      23   question, but baby powder, for example, is      23   now there's very little benzene in vapors
      24   something that has a very -- very dear sort     24   that are expressed.
                                             Page 359                                             Page 361
       1   of relationship to many people.                  1            But there's a small amount. So
       2            The experience with that from           2   when you inhale gasoline vapors, you are also
       3   the time you were a baby until you grow up       3   exposing yourself to a very small amount of a
       4   and have your own children involves a lot of     4   carcinogenic substance.
       5   the use of baby powder in many, many             5            As far as exhaust is concerned,
       6   households. That's a difficult relationship      6   diesel exhaust in particular has -- contains
       7   to break. It's psychological as much as it       7   particles that have been identified through
       8   is knowledge based.                              8   various bioassays to be carcinogenic. So
       9            So as we go through the                 9   diesel exhaust is regulated as a carcinogenic
      10   decades, we get a little safer and safer as     10   material, even though we continue to be
      11   we begin to peel these habits, these            11   exposed.
      12   dangerous habits away from our lives and        12        Q. And it's your opinion that any
      13   accept better lifestyles.                       13   exposure that we all incur related to exhaust
      14            MR. ZELLERS: Move to strike as         14   will cause us cancer?
      15       nonresponsive.                              15            MS. O'DELL: Objection to form.
      16            MS. APPEL: Respectfully --             16        A. It will cause an increase in
      17            MS. BOCKUS: Is he finished?            17   risk of cancer. Doesn't necessarily cause
      18            MR. ZELLERS: I don't think so.         18   cancer in everybody.
      19            THE WITNESS: I can go on.              19   BY MS. APPEL:
      20   BY MS. APPEL:                                   20        Q. Okay. Are you aware that Saed
      21       Q. Yeah. My question was more               21   has been hired by plaintiffs' counsel in this
      22   narrow, and I was analogizing your opinion as   22   litigation?
      23   to talcum powder and was asking about other     23        A. I am. And when I misspoke
      24   2B classifications, and my example --           24   earlier today regarding the Taher paper, I
                                                                        91 (Pages 358 to 361)
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 117 of 227 PageID:
                                   60462

                         Arch I. "Chip"               Carson, M.D., Ph.D.
                                             Page 362                                                             Page 364
                                                            1                CERTIFICATE
       1   was thinking of the Saed paper.                  2            I, MICHAEL E. MILLER, Fellow of
       2       Q. Okay. Last question: Counsel              3
                                                                the Academy of Professional Reporters,
                                                                Registered Diplomate Reporter, Certified
       3   was asking you about the migration process,          Realtime Reporter, Certified Court Reporter
                                                            4   and Notary Public, do hereby certify that
       4   and you mentioned that in the course of              prior to the commencement of the examination,
                                                            5   ARCH I. "CHIP" CARSON, M.D., Ph.D. was duly
       5   particles moving up the track, that some of          sworn by me to testify to the truth, the
       6   it may come back out even after it reaches       6   whole truth and nothing but the truth.
                                                            7            I DO FURTHER CERTIFY that the
       7   the fluid surrounding the ovaries, correct?          foregoing is a verbatim transcript of the
                                                            8   testimony as taken stenographically by and
       8       A. Yes.                                          before me at the time, place and on the date
                                                            9   hereinbefore set forth, to the best of my
       9       Q. So if particles have the                      ability.
      10   ability to come back out, that means that       10
                                                                        I DO FURTHER CERTIFY that pursuant
      11   there is, in fact, some form of an intrinsic    11   to FRCP Rule 30, signature of the witness was
                                                                not requested by the witness or other party
      12   elimination system.                             12   before the conclusion of the deposition.
                                                           13           I DO FURTHER CERTIFY that I am
      13       A. Well, if this is all based on                 neither a relative nor employee nor attorney
      14   mass action, it would not necessarily be an     14   nor counsel of any of the parties to this
                                                                action, and that I am neither a relative nor
      15   intrinsic elimination system, and I believe     15   employee of such attorney or counsel, and
                                                                that I am not financially interested in the
      16   that talc particles, once they produce an       16   action.
                                                           17
      17   inflammatory response, they become              18   __________________________________
      18   sequestered within that inflammatory milieu          MICHAEL E. MILLER, FAPR, RDR, CRR
                                                           19   Fellow of the Academy of Professional Reporters
      19   and no longer are available for movement back        NCRA Registered Diplomate Reporter
                                                           20   NCRA Certified Realtime Reporter
      20   out into the fluid.                                  Certified Court Reporter
      21            I'm sure there's some small            21
                                                                Notary Public in and for the
      22   percentage of them that are an exception to     22   State of Texas
                                                                My Commission Expires: 7/9/2020
      23   that, but for the majority, that would be the   23
                                                                Dated: January 22, 2019
      24   case.                                           24

                                             Page 363                                                             Page 365
       1           MS. APPEL: Okay. That's all I            1               INSTRUCTIONS TO WITNESS
       2      have. Thank you, Dr. Carson.                  2
       3           MS. TINSLEY: I don't have any            3            Please read your deposition over
       4      questions.                                    4    carefully and make any necessary corrections.
       5           MS. O'DELL: Okay. Why don't              5    You should state the reason in the
       6      we take a short break.                        6    appropriate space on the errata sheet for any
       7           THE VIDEOGRAPHER: Off the                7    corrections that are made.
       8      record at 5:37, end of Tape 4.                8            After doing so, please sign the
       9           (Recess taken, 5:37 p.m. to              9    errata sheet and date it.
      10      5:44 p.m.)                                   10            You are signing same subject to
      11           THE VIDEOGRAPHER: We're on the          11    the changes you have noted on the errata
      12      record at 5:44, beginning of Tape 5.         12    sheet, which will be attached to your
      13           MS. O'DELL: Dr. Carson, I               13    deposition.
      14      don't have any questions, so this will       14            It is imperative that you return
      15      conclude your deposition.                    15    the original errata sheet to the deposing
      16           MR. ZELLERS: Thank you,                 16    attorney within thirty (30) days of receipt
      17      Doctor.                                      17    of the deposition transcript by you. If you
      18           THE VIDEOGRAPHER: Going off             18    fail to do so, the deposition transcript may
      19      the record, 5:44. End of deposition,         19    be deemed to be accurate and may be used in
      20      end of Tape 5.                               20    court.
      21           (Proceedings recessed at                21
      22      5:45 p.m.)                                   22
      23               --o0o--                             23
      24                                                   24
                                                                              92 (Pages 362 to 365)
                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 118 of 227 PageID:
                                   60463

                            Arch I. "Chip"                 Carson, M.D., Ph.D.
                                                    Page 366                                     Page 368
       1            ERRATA                                      1          LAWYER'S NOTES
       2   PAGE LINE CHANGE                                     2
       3   ____ ____ _________________________________          3   PAGE LINE
       4      REASON: _______________________________           4   ____ ____ _____________________________
       5   ____ ____ _________________________________          5   ____ ____ _____________________________
       6      REASON: _______________________________           6   ____ ____ _____________________________
       7   ____ ____ _________________________________          7   ____ ____ _____________________________
       8      REASON: _______________________________           8   ____ ____ _____________________________
       9   ____ ____ _________________________________          9   ____ ____ _____________________________
      10      REASON: _______________________________          10   ____ ____ _____________________________
      11   ____ ____ _________________________________         11   ____ ____ _____________________________
      12      REASON: _______________________________          12   ____ ____ _____________________________
      13   ____ ____ _________________________________         13   ____ ____ _____________________________
      14      REASON: _______________________________          14   ____ ____ _____________________________
      15   ____ ____ _________________________________         15   ____ ____ _____________________________
      16      REASON: _______________________________          16   ____ ____ _____________________________
      17   ____ ____ _________________________________         17   ____ ____ _____________________________
      18      REASON: _______________________________          18   ____ ____ _____________________________
      19   ____ ____ _________________________________         19   ____ ____ _____________________________
      20      REASON: _______________________________          20   ____ ____ _____________________________
      21   ____ ____ _________________________________         21   ____ ____ _____________________________
      22      REASON: _______________________________          22   ____ ____ _____________________________
      23   ____ ____ _________________________________         23   ____ ____ _____________________________
      24      REASON: _______________________________          24   ____ ____ _____________________________
                                                    Page 367
       1        ACKNOWLEDGMENT OF DEPONENT
       2
       3
       4          I, ARCH I. "CHIP" CARSON, M.D.,
           Ph.D., do hereby certify that I have read the
       5   foregoing pages and that the same is a
           correct transcription of the answers given by
       6   me to the questions therein propounded,
           except for the corrections or changes in form
       7   or substance, if any, noted in the attached
           Errata Sheet.
       8
       9
      10
      11
      12   ___________________________________________
           ARCH I. "CHIP" CARSON, M.D., Ph.D. DATE
      13
      14
      15   Subscribed and sworn to before me this
      16   _______ day of _______________, 20 _____.
      17   My commission expires: _______________
      18
      19   _______________________________
      20   Notary Public
      21
      22
      23
      24

                                                                           93 (Pages 366 to 368)
                   Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 119 of 227 PageID:
                                     60464
                       Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 369

        A          249:23                added                adolescence             302:24 317:6
ability            account               115:22 175:24        267:16,24               318:5 326:11
211:18 362:10      162:11 163:13         addictive            adopt                   327:6
  364:9              166:18 224:14       358:9                100:13                agreed
able                 268:6,8,20 277:14   adding               adopted               235:23 236:12
34:22 36:1 38:12   accounts              119:15               98:16                   239:4
  42:22 64:3 71:15 277:19 342:22         addition             advantage             agreeing
  115:13 141:9     accumulated           14:1 24:9 68:8       240:5                 133:10
  154:11,14 175:20 310:15                 215:23              advice                ahead
  190:1 191:16     accumulating          additional           164:14                21:22 25:4 39:21
  216:2 220:1      348:1                 14:2 17:12 24:10     African-American        67:10 282:12
  258:17 281:10    accurate               24:20 25:18 28:3    196:23 198:3            290:18 315:13
  299:8 309:17     14:21 22:11 365:19     51:15 60:8 68:11      270:19                343:13
  313:9 325:12,17  Acheson                72:6 217:18         age                   aid
  325:21 326:8     145:12 154:19         additions            162:12 163:15         186:10
  340:12 346:5     achieved              57:24                agencies              air
Abney              259:7                 additive             93:24 97:7            186:3 187:3
36:22,23,24 37:8   acidolite             300:5                agency                aklevorn@burns...
  37:14 38:1,17    144:21                address              178:23 179:1 219:9    2:9
  45:23,23,24 55:2 acknowledge           32:4 38:2 93:13        219:11 225:23       al
  65:15 284:16     221:18                 165:6 214:16          294:24              5:9,10,12,13,18,19
  285:1,12         ACKNOWLED...           294:22              agent                   6:4,6,7,8,10,13,14
absence            4:12 367:1            addressed            179:13,18,20            6:16 26:5
72:16 99:23 240:19 ACOG                  215:2 216:3            226:24 227:9        Alabama
academic           338:20                addresses              228:21 235:12       2:5
70:12 76:5         act                   294:23               agents                albumin
Academy            317:11                addressing           178:15 179:10         183:18 189:6
1:18 364:2,19      action                291:5 295:1            225:22 226:3,16     allege
accelerate         96:6,6 98:2 99:22     adds                   226:21 227:7        138:23
311:22               272:12 299:23       169:7 249:14 341:3   ago                   alleged
accelerated          300:2 334:14        adhered              30:8 37:2 235:12      143:22 153:9 175:7
287:3,14             362:14 364:14,16    341:16,21              250:13 320:8          298:23
accept             activities            adhesions              327:13 350:12       allegedly
359:13             27:18 31:17 58:16     116:17 119:3,12      agree                 152:22
acceptance           60:9 232:6 257:4     120:6,19 132:24     75:6,14 77:20 78:3    Allen
213:11               319:5 328:14         133:4,14 185:6        92:22 96:4 106:10   2:2 8:18,20
accepted           activity              adjust                 120:14 121:2        allow
102:18 103:18,23   340:4 348:11          268:15                 134:14 159:2        12:4 254:21
  250:12 320:24    acute                 adjusted               160:23 167:18       allows
  330:7            198:16,20             269:4 272:22           168:13,18 172:14    42:19 87:18
access             acute-phase           administer             180:2 218:3         allude
13:23 102:1,9,10   318:10                352:1                  239:14,15 253:20    86:17 128:9
  162:5 321:12     add                   administered           253:23 258:12       alluded
accessed           83:16 119:17 256:3    188:23                 264:22 266:7,23     289:4
42:3                 299:15 329:14       administration         277:21 290:20       alterations
accomplished         352:2               257:3                  293:20 294:6        319:3,3


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 120 of 227 PageID:
                                     60465
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 370

altered               215:12               antiinflammatory      183:13 185:9        aquatic
314:17                anatomical           131:8,20              210:8 230:11        345:7
altering              84:3                 antioxidant           231:6,10 232:4      aqueous
329:1                 anatomy              314:18                296:10 302:1        345:6
alternative           207:22 209:9         Antonio               306:16 319:22       Arch
132:16 150:16,20      and/or               3:4                   340:5,11            1:13 4:5 5:1 9:18
Amanda                139:4 171:7 221:22   apart                applications           10:1 364:5 367:4
2:8 8:22              Angeles              28:5 207:18          194:7                  367:12
America               2:15                 apologies            applied              area
3:5,10                animal               74:4 257:23          109:3 116:15         37:1 91:3 160:24
American              291:5 293:14,17      apologize             119:14 201:5,7,16     162:10 163:22
32:14 77:13 335:5      294:1               285:19 296:16         201:24 264:16         186:19 198:13
amosite               animals              apparent              302:4 306:14          199:13 248:10
146:7                 286:24 290:9 291:1   211:2 251:8           321:11 334:20         249:16 252:21
amount                 291:3 292:11,20     apparently            341:11,15             258:12 301:21
55:16 73:5 143:22      294:6               208:22               applies              areas
  152:11,21 153:9     Annie                appear               218:7 228:20         43:3 70:19 198:22
  170:21 171:2,2,2    69:5,10              10:17 222:4 258:10    236:15                199:2 201:19
  171:7,16 177:21     answer               appearances          apply                argues
  202:21 231:12       11:18 12:4,5 23:7    4:2 56:19            186:19 231:4         110:7 333:21
  232:3 263:10         39:17 40:9 53:18    appeared              235:17,19           argument
  279:7 299:2 301:4    64:4 81:15 92:14    77:13,17             applying             213:10
  319:19,20 339:18     92:14,20 105:14     appears              240:9                argumentative
  340:7,9,11,16        110:10 112:9        258:7 276:3 316:2    appointment          88:17
  341:7,21 348:8       115:13 135:16,24    Appel                61:7                 aromatic
  353:22 360:19        141:9 148:4         3:17 4:8 9:9,9       appreciable          358:14
  361:1,3              156:12 161:9         343:8,11,19,22      202:21               arrive
amounts                162:23 172:4         345:23 349:6        appreciate           215:1 241:19
73:5,16 167:5          188:5 189:4          352:6 353:2,13      195:20               arriving
  169:11,16 176:5      206:15 208:18        354:6,23 355:14     approach             251:11
  211:4                220:1 307:4 316:7    355:18 356:2,14     42:15,18 95:16       arrows
amphibole              332:21 340:21        359:16,20 360:13     98:11,16 99:15,19   337:3
31:10 146:5,17        answered              361:19 363:1         99:20 100:4 312:3   art
analogizing           88:23 106:17         appendices            325:20              41:18 208:12,17
359:22                 110:15 116:20       102:2,11             approaches           arthritis
analyses               128:7 137:22        Appendix             93:12                121:18
113:24 114:4           152:6 157:2         19:13 21:21          approaching          article
analysis               228:15 242:5        apples               28:11                26:5,9,11,16,24
80:23 86:4 163:13     answering            254:18,18            appropriate            28:9,23 29:3,4,8
  191:18 192:18,21    150:2                application          98:10 99:22 164:18     31:9,20 32:6,14
  193:22 219:2        answers              86:13 87:11,16        293:15 365:6          32:22 33:10,11
  220:4 252:19        159:12 180:14         88:4,9,12,13,21     approximately          51:3,19 86:10
  257:17               367:5                109:3 110:24        347:14                 88:1,18 102:24
analyzes              anthophyllite         111:14 117:6        April                  103:7,11 117:3
219:22                144:11,23 145:3,4     119:24 147:2        30:21,24 33:19         248:17 280:17
analyzing              145:5 146:6          152:18 167:10        218:21              articles


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 121 of 227 PageID:
                                     60466
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 371

  25:6 28:3 51:14       116:20,22 117:13    97:6 175:4 205:18     assume                authored
  51:17 86:17 87:8      118:10,12 123:4       205:21              11:20 181:2           31:9 32:16 62:21
  104:23 105:1          124:11 128:7        assigning             assumed               authoring
  125:1 183:11          137:21 144:24       225:7                 352:13                89:11
  185:5 192:8 347:2     152:6 156:11        assist                Assuming              authorities
  347:5,7 348:5,7       157:1 165:7         43:21                 116:4                 89:21
  348:13                168:24 172:5        assistant             assumption            authority
asbestiform             199:11 214:1,16     58:8 289:7            139:14,19 296:3       90:24
290:10,22 295:19        216:3 228:14        assisted              attached              authorized
asbestos                242:5 278:19        43:23                 21:7,21 323:2,5       39:24
41:9,11,11 49:17        283:6 336:7         associate               365:12 367:7        authors
  55:12,17,20 64:19     337:13 351:1,6,15   61:8                  attachments           101:17 104:2,16,19
  72:10,17,17 106:2   asking                associated            15:24 16:2 21:1         105:5,11 106:23
  106:10 107:2        92:1,12 112:7,10      63:16 121:24 122:1    attempt                 107:11 108:8
  114:23 115:4,9        112:24 119:24         122:7 131:10        188:3 231:18            111:11 128:1,3
  125:1 138:17,23       136:3 174:17          145:9,11,16           277:13 325:7          163:6,17,21
  139:4,8,13,16,21      308:24 309:1          152:12,15,19          340:23                187:10 193:4,5,8
  140:8,22 141:7        316:22 317:14         153:10,13,16        attempted               194:11 196:18
  142:19 143:1          350:12 351:22         154:13 179:9        340:15                  210:22 241:7
  144:7,19,19 145:8     359:23 362:3          248:10 249:17       attempts                243:9 244:2,22
  145:18,24 146:2,5   aspect                  252:17 277:6        231:23 232:1,2          247:18 248:6,20
  146:15,17 147:10    137:8 173:19          association             268:9 339:17,24       249:10 269:4
  147:16,22 148:8     aspects               17:7,17 27:3 38:19      341:7                 271:24 277:16
  148:14 151:1        22:17,19,20 216:20      53:21 54:10 55:8    attention             author's
  152:11,15,17,21     aspirin                 64:19,20 85:2       105:2                 186:14
  153:9,13,22 154:1   131:9,13,20             91:20 107:3 110:2   attenuated            availability
  154:6,12,17 157:6   assemble                110:7,12 111:3      193:18                37:6
  157:15 158:19       24:8 40:18              129:18 130:9        attorney              available
  159:3 160:4,17      assess                  138:7,12 166:12     36:21 364:13,15       13:24 16:18 25:6
  163:8 166:15        111:20 231:19           196:11,21 198:1       365:16                34:2 40:19 50:15
  167:5,14 168:14     assessed                223:5 229:24        attorneys               54:13 69:1 78:5
  169:1 170:19        258:19                  230:9,20,21 233:2   13:2 20:3 24:6 46:8     94:16 174:1,9
  290:10,22 295:19    assessing               233:12 235:3,4,17     51:11 72:15 75:18     214:18 215:14,23
  296:7 297:21        99:2 113:23             235:24 237:8,23       96:11,13 101:7        216:9 228:9,10
  298:3,6,16,24       assessment              238:8,16 240:20       103:22 104:14         313:18 354:2
  299:2 300:3         5:15 30:13 53:6         243:12 244:3,15       141:22 347:12         362:19
  331:13,15,16          89:15 94:23 95:22     246:3,9 247:22      attribute             Avenue
  332:16 352:10,14      96:10,17 172:11       248:23 250:6        307:3,6               3:8
  352:17 353:1,18       172:15 173:1,8,13     254:1 262:16,21     attributed            average
  353:22 354:4          173:14,20,21          265:6,11,23         244:6                 231:2 280:19
  357:6                 174:5,13,18,20,21     270:17              Australia             avoid
asked                   174:23 175:2,7,14   associations          308:9                 241:10
32:3 38:1 39:15         175:20 205:22,24    109:9,20,21 121:13    author                avoiding
  53:15,17 57:4         214:6,12 232:9        193:18 221:24       27:5,24 29:2 77:6,7   244:24
  80:19 88:22           355:6                 223:7 233:8           101:13 129:14,16    aware
  106:16 110:15       assessments             245:10 272:23         246:22 286:13       14:23 25:15 27:15


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 122 of 227 PageID:
                                     60467
                       Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 372

  46:22 49:19,20     236:24               306:22 307:1         89:12 95:7 96:11    202:11 340:13,24
  50:22 51:20 52:1  bacteria              310:3 326:13,19      103:1 106:18        bias
  52:3 67:1,4 68:16 202:14                327:18               111:9 114:17        210:19 213:6,8,9
  88:1 116:23 122:9 bad                  Bates                 115:11 127:11         221:22 227:23
  127:24 131:7      321:18               71:17,20              128:3 139:7,10        228:11 239:17
  148:21 153:23     balance              bathe                 140:20 144:7,18       240:23,24 241:3,7
  161:16 185:5      248:8                199:18,20             145:2 147:14          241:9,13,24
  200:9 203:3,6     Balkwill             bathing               148:2,6 149:9         243:10 244:6,13
  204:5 212:24      127:5                199:22                153:24 185:3,12       244:20,23 245:1
  213:21 229:4      banned               beads                 186:14 189:1          269:7,8,13,18
  241:9 268:3,4     133:19,24 134:9,15   316:23                190:23 202:20         270:3 276:11,15
  322:7,8,12,15,20   134:18              bear                  203:24 206:19         277:14
  325:20 358:9      based                182:18 291:12         210:20 217:14,17    biases
  361:20            19:21 71:17,19       Beasley               218:5 219:4         221:18
awareness            75:24 85:17 93:22   2:2 8:18,20           228:20 231:8        Biddle
55:17                94:5,15,20,23       beef                  234:11 236:15       2:19 9:3
awful                105:8 113:1         336:14                238:3 242:6         billable
349:16               143:13,17 148:1     began                 246:21 256:12       40:4
a.m                  153:22 157:17       40:18 43:15 65:13     257:7 267:5         billing
8:8 31:10            180:4 192:24        beginning             271:23 278:20       45:9
                     193:8 214:15,22     67:20 81:8 89:8       279:4 281:21,24     biloba
         B           220:3 223:13         96:1 177:5 197:5     282:6 292:12        229:3
b                    224:20 227:21        199:10 253:12        296:2 302:18,22     binder
3:17 19:4,5,13       228:8 235:13         363:12               305:7 309:12        13:13 15:8 24:1,3,8
  21:21 25:1 286:1   251:21 274:18       begins                312:7 317:3 318:1     28:5 30:1 192:5
  346:23 347:1       280:2 284:19        24:22                 330:15,22 337:23      257:24
baby                 300:1 306:2 308:7   begun                 352:8 360:7         bioassays
22:2,3 85:6 144:16   308:14 310:16       241:4                 362:15              361:8
  152:23 177:22      311:17 340:6        behalf               believing            biochemical
  232:9 274:21       342:24 349:8        57:11 343:22         17:5                 312:21
  275:6,11,20        352:23 353:8        behave               Beneath              biologic
  358:23 359:3,5     354:1 359:8         213:3                125:12               59:18 229:24
back                 362:13              behavior             benzene                321:13,16 322:5,9
31:21 37:9 77:6     baseline             74:7 358:9           360:19,22,23           322:13,16
  125:16 136:20     176:1 195:8          beings               Berge                biological
  142:15 145:10     basic                249:19 358:19        6:13 242:15,15       87:17 111:23 112:1
  158:1 163:19      83:9 93:17 211:1     belief               Berry                  132:18 224:12
  168:11 207:19      238:10 292:18       200:15 206:22        129:20 145:22          229:8 230:10
  227:6 228:24       310:24               353:16              Bertolotti             339:9
  246:17 278:6      basically            believe              146:8 297:14,15      biologist
  307:8 314:22      276:5 313:4 348:12   22:12,13,19 25:8     best                 60:21
  324:10 327:7      basis                 27:22 34:6,9 35:5   12:2 74:7 364:9      biomarkers
  336:13 337:7      27:17 31:15 40:20     37:17 39:4 53:5     better               313:19
  344:9 362:6,10,19  120:18 141:19        54:20 61:22 67:12   109:14 249:7 326:6   biostatistician
background           157:5,11 158:9,14    69:18 70:3,4         359:13              61:24 253:17
155:23 156:1         199:2,13 279:20      72:24 84:16 85:1    beyond               bit


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 123 of 227 PageID:
                                     60468
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 373

  56:5 83:12 256:18    325:4,22 327:1      break                        C             66:13 84:17 85:3
  270:13 296:21        329:15 330:21       86:24 87:4 89:2      c                     85:7 86:8 89:23
  305:5 358:22         333:8 341:4 342:1    176:20 343:4,14     2:1,13 3:1 297:5      90:8,14,18,21,23
black                  343:1 359:17         359:7 363:6         calculate             91:4,6,10,12,14
183:16 292:1          bodies               breast               280:16                91:18,22 93:7,14
bladder               170:4 199:2,4        196:24               calculated            95:10,13,18 106:3
202:18,22             body                 breathe              212:11,12,14          106:12,14,15,19
blank                 110:20 122:11        329:5,10               280:23              107:5 108:5 109:4
333:24                 132:19 135:10       Brett                calculation           111:1,15 112:3
blanks                 154:9 181:24        79:21                306:20 341:3,12       113:23 116:8
187:14                 183:8 200:7 201:4   brief                calculations          119:22 120:6,14
block                  209:1 219:13        118:22               251:9,21 340:6        120:19,23 121:3,8
257:24                 247:19 248:21       briefly              calendar              121:22,24 122:8
blood                  250:3 256:9         190:22 225:12        45:17                 122:18,22 123:9
170:11                 270:17 272:2,14     bring                California            123:14 125:1,5
Blount                 272:24 278:21       23:24 28:8 29:3,17   2:15                  126:1,5,16,24
5:18 31:10 32:7        279:5,9,12,14        33:4,7 58:2         call                  127:7,13 128:2,13
  33:10                296:8 298:6,24      British              37:23 335:19          129:8 130:10
blue                   299:5 301:10        129:17                 352:20              131:3,14,18,22
320:11                 304:14 317:20       broad                called                132:7,12,14 135:1
Blumenkrantz          bolts                309:23 349:19        38:17 77:16 189:24    135:15,21 136:6
183:18,21,22          68:1                 broken               calls                 136:17,19 137:1
board                 book                 279:9                46:7 203:7 235:8      138:7,8,13 139:9
61:20,23 204:9        77:16,18             brought              Camargo               139:11 140:4
  334:23 335:2        boost                12:12,20 13:10,14    6:7 162:20,21         145:9,12 152:12
Bockus                346:12                13:20 14:2,8,20       165:18              152:16,20 153:10
3:2 4:7 9:5,5 234:1   borderline            15:2,7 24:9,21      Canada                153:13,21 154:2
  236:7 284:1,7,9     237:2                 28:4,21 29:24       5:15,22 30:14 65:8    154:13,17,23
  284:11 285:7,17     born                  33:15,20 34:1,8,9     89:15,22 93:5,19    155:1,6 158:19
  288:14 289:13,16    313:3                 36:6 50:18 51:16      94:3,18,20,22       159:4,10 160:5
  289:21,22 290:14    bottled               51:20 100:21          95:22 96:4,10,17    161:19 162:12
  292:8,21 293:22     170:7                 123:20,22 124:6       96:21,24 97:3       163:8,15 167:22
  294:8,18,20         bottom                124:11 176:13         98:13,15 99:1,13    168:8 178:23
  295:10 296:4,19     69:10 196:19          178:9 218:13          99:18 100:9 205:9   179:15,16 185:14
  297:1,2 298:1       bound                building               205:24              191:2,7,16 192:23
  299:10 300:16       189:6                234:12 335:21        Canadian              194:18 196:11,24
  302:23 303:10       Bradford             built-in             30:3                  197:17 202:18,24
  304:21 305:6        107:20,24 110:18     312:14               Canal                 210:9 211:4,5
  307:18 309:20        215:7,12 219:22     burden               2:9                   212:20,21 216:10
  310:8,10,22 314:2    225:4 229:21        182:19               cancer                220:7,8 221:21
  315:6,11,15 316:6    230:18 240:7,9      Burns                17:8 23:5 27:5 30:5   222:1 223:8
  316:19 317:12,18     255:1 264:8,16      2:8 8:23               32:1 36:17 38:4     224:13,15,17
  318:4,12,21         Branch               business               38:20 41:3,12,14    225:24 230:13,23
  319:18 320:2,19     58:5                 76:1 149:7,12,20       41:16,24 53:8,23    231:3 234:7,21
  321:2 323:1         BRCA                 bystander              55:9 60:12,21       235:4,18,20 237:9
  324:11,17,20        333:5                329:24                 62:10,19 63:1       237:24 238:9,17


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 124 of 227 PageID:
                                     60469
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 374

  244:4 245:4 246:4   capable               careers                64:15 66:12 68:2    239:22 250:17
  246:10 247:23       78:4 164:13 202:6     213:24                 78:4,15,17 80:12      255:14
  248:11,24 249:17      220:21              carefully              80:20 81:4 95:8     case-specific
  250:7 252:4 255:5   capacity              365:4                  96:8 105:19 108:4   171:13
  256:22 260:21       42:4 56:20            Caroline               110:17 120:2        catch
  265:12,24 267:1,9   caption               3:12 9:12              123:5 141:6,13,20   313:2
  267:17 268:2,6,19   19:4                  caroline.tinsley...    144:4,8,20 147:12   categories
  269:19,21 270:18    carbohydrate          3:13                   147:15 148:7        225:12 357:2
  270:19 273:1,5,9    279:7                 carpentry              156:5 167:11        categorized
  273:14,21,24        carbon                229:12                 171:6 173:17        357:7
  274:7,14,20 275:4   183:16 185:21         carried                174:13 176:8        category
  275:11,20 276:4,6     291:24              193:17 196:20          185:12 187:17       113:24 146:7 226:3
  277:7 279:17        carcinogen              211:18               191:23 196:6          226:6,11 227:9
  280:8,13,22 281:8   178:22 179:14,15      carries                211:8 215:18,20       229:5 355:16
  281:22 282:14,19      179:19 226:22       196:17                 217:15 219:2        causal
  284:20 286:18,23      235:9,13 288:7,9    carry                  228:16 236:19       53:21 54:11 85:2
  288:23 289:2,3        315:19 355:12,20    241:17 342:7           242:7 246:14,17       132:6 247:21
  292:4,4,5,5 296:9     356:4,6,9,20        Carson                 246:21 252:13         248:23 250:5
  306:3,5,8,14        carcinogenesis        1:14 4:5 5:1,5,6 6:3   293:21 302:22       causation
  307:7,13 308:12     41:14,17 116:13         8:14 9:18 10:1,18    329:11,18 335:13    17:2 100:10 109:3
  309:13 310:4          226:14 288:19         13:4,9 14:9,19       350:23 362:24         218:6 220:5 233:9
  314:6 316:16        carcinogenic            15:18 20:10 21:3 cases                     233:13 234:6
  326:14,18 330:4,9   28:12 81:20 91:5        21:10 26:2,6,19    1:8 37:11,12 57:6     cause
  330:19,23 331:1,4     114:23 138:18         29:14 30:16 31:5     76:10,11 78:15      23:5 38:4 53:8 98:9
  331:11,18 332:24      139:4 154:6 169:6     32:8,19 36:7,10      131:4 140:9,10        99:24 120:6,19,22
  333:20 338:14,22      171:20 178:16,17      67:18 74:10,16       159:5,9 160:16        122:17 127:12
  344:11 350:1,3,5      179:21 225:7,9        89:10 98:21 99:10    162:4 175:3           128:16 129:7
  351:12 352:22,22      226:4,17 227:1,10     124:17 130:3         185:14,17 224:15      135:7,14,15
  353:5 354:11          227:13 229:3          149:23 150:13        224:17 240:3          136:24 154:12
  355:3,7 356:6,10      249:19 272:14         159:21 163:3         250:22 251:10,24      160:5 179:2 188:4
  356:13 357:12         291:23 300:22         164:9,18 165:5,17    254:20 273:4,23       199:5 211:2
  358:10 360:5,8,9      311:14,15,23          171:11 173:6         274:24 278:3          286:18 296:8
  361:14,17,18          312:10 352:21         177:7 192:11         306:3,8,8 327:15      312:21 329:20
cancerous               356:24 360:20         195:23 225:15        329:1                 333:20 352:22
317:10,16               361:4,8,9             243:1 247:8        case-control            356:6,10 357:12
cancers               carcinogenicity         253:14 271:1       125:18 126:8 223:4      361:14,16,17
17:4 91:8 93:16       83:18 169:8 180:4       283:10 284:10        232:17 233:1        caused
  121:11,14 122:2       248:12 249:9,20       289:9 347:9 353:4    238:14 239:15,17    166:14 198:21
  123:14 153:17         290:9 295:18          353:14 354:8,17      240:13,14 241:5       224:17 286:22
  166:14 167:3,8      carcinogens             355:1 363:2,13       242:2 243:13          313:11
  168:6,10 179:2,8    288:13 312:19,24        364:5 367:4,12       244:5,16,21 245:9   causes
  213:2 236:16,23       356:17,18 357:14    Casale                 246:1,7 251:6       53:8 85:6 86:8
  237:2,3,5 238:12      358:3,15,16         146:11                 253:21 254:10         93:16 122:21
  251:1,2 280:2       care                  case                   258:22 259:3,5        123:8 126:16
cancer-causing        3:20 9:10 343:23      21:24 38:9 40:4        260:13                128:2,13 131:18
286:3,11 294:1          345:5,13              50:4 51:7,9 57:16 case-controlled          132:14,23 135:5


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 125 of 227 PageID:
                                     60470
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 375

  139:8,10 287:1,17    61:23 328:16          239:4                  180:8,18 181:6        208:5
  287:18 288:23        certified             characterize         chronic               claimed
  330:23 355:3         1:19,20 61:20         85:18 140:7 249:7    114:18 115:24         214:22
  358:10 360:5           334:23 364:3,3,20   Charest                116:6,10 121:7      class
cavities                 364:20              2:8 8:23               131:14 199:2,9,13   229:2 272:12
301:10                 certify               charge                 252:15              classification
cavity                 364:4,7,10,13         93:20 144:3 346:9    chrysotile            6:11 178:20 225:6
83:12 183:8 207:1        367:4               Charles              145:18 147:9            225:8 288:8 342:5
  322:2                cervical              129:19                 154:21,23             356:22,23,24
CA-125                 198:12 199:14,24      chat                 cigarette             classifications
314:9,22 318:6,14        200:12              342:22               265:13,18             225:14,22 359:24
CDC                    cervix                chatter              circumstances         classified
90:6,11,12 234:24      189:10,13 200:20      204:2,5,6,24 205:3   186:18 206:20         162:7 233:18
cell                     201:6,7,16 206:23     278:9 342:21         327:12                249:18 356:1
115:1 139:1 312:12       209:15,22 302:11    check                cite                  classifies
  312:15 314:20          302:14,15 322:10    193:12               19:11,12 20:5         178:14
cells                    339:6,15            chemical               29:11 33:11 71:2    classify
287:3,4,14 312:18      chairperson           179:19,20 328:9        71:4 123:6 130:12   63:17
  314:6 315:20         95:17                   329:4,9              148:10,17 181:23    clause
  316:15,16 317:1      chairs                chemicals              183:5,12 184:2      107:8
  317:10,15,16         95:20                 63:7,13,15 72:23       189:8 191:22        cleanly
  319:15               chance                  73:6,17 75:1         195:3,11 196:5      264:2
cellulose              110:4,5,8 227:23        114:24 115:16,18     208:24 211:12       clear
279:8                    228:11 245:17         172:6 174:6          216:8 217:6,13,19   11:15
cement                   251:22                175:15,19 176:7      217:21,23 242:17    clearance
146:1,13               change                  177:9,13,22          242:21 246:22       84:6 132:19 249:8
Center                 59:7 205:5 253:5        178:15 179:10        259:19 270:11       cleared
1:15 90:3 93:6           366:2               chemotaxis             271:16 283:6        278:21 279:5
centers                changed               199:6 287:2,13         287:5,23 296:9      clearly
90:17                  17:9 75:2,4 81:1      children               297:7               321:10
Century                  204:13,19           333:11 359:4         cited                 cleavage
136:20                 changes               Chip                 13:11 15:8,11,13      168:21 169:1
certain                77:11 97:18 336:11    1:13 4:5 5:1 8:13      24:15 29:9 32:23    clinic
12:12 13:15 75:5         365:11 367:6          9:18 364:5 367:4     54:18 66:17,20      58:7 90:16 351:3
  80:20 135:5          channel                 367:12               142:22 184:7        clinical
  206:18 213:10        206:23                chlamydia              185:18 217:9        27:17 31:16 38:24
  216:17 243:15        Chappell              267:8,23               218:1 256:8           58:8 60:4,8 70:12
  284:11 353:21        6:4 129:19            choice                 270:11 286:13         76:5
certainly              chapter               345:14                 307:10              close
117:1 141:18 158:7     77:16                 choose               citing                202:1 223:9
  159:9 226:20         characteristic        164:17 358:8         20:19 70:24           closely
  262:3 330:24         337:22                chose                citizens              329:20
  331:12 333:21        characteristics       33:4                 219:9 221:16          closer
CERTIFICATE            199:5 286:3,11        chromium             claim                 198:13
4:10 364:1               308:20              169:7,11,24 171:7    115:23 133:2          closes
certification          characterization        172:1 173:22         138:16 169:5        191:4


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 126 of 227 PageID:
                                     60471
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 376

clothed                59:5 335:5           95:15                 15:11 18:13 22:13     conclusion
341:2                  column               common                  22:19 98:8 172:14   86:19 106:5,6
coach                  160:10 165:24        144:24 145:2            305:24                107:7 108:9
164:23                   196:21 243:24        161:24 265:13       completely              141:11,19 163:12
coaching                 273:3,7              333:2 334:2,7       106:13,19 112:9         193:3,5,7 215:14
165:2                  combination          commonly                120:14                223:1,12 224:11
coauthors              104:12               144:17                complicated             224:19 248:5
101:6,9                combine              communicated          358:21                  250:2 286:12,20
cobalt                 326:3                65:4,7 104:15         component               305:8,12,20 306:2
169:7,12,24 171:7      combined             communications        74:22 137:2 176:2       364:12
  172:1 173:22         299:12,22 300:13     45:20 47:1,12 77:1      177:17,20           conclusions
  180:8,19             come                 community             components            18:16 76:22 85:16
cofactor               44:8,9 96:9 106:4    204:8 240:1,2         63:21 64:13 114:21      87:19,22,23 89:13
267:21 277:18            149:4,5,12 282:9     248:16 330:7          140:15 147:21         117:17 171:4
coffee                   285:10 305:19      community-based         287:12                173:10 215:2,9
265:11,13,17,21,23       309:17 323:24      238:20                composed                216:22 218:2,4
  266:1                  324:10 327:24      companies             279:6                   222:5 241:19
cogent                   362:6,10           72:5 75:9,22          composition             251:11 253:1,1
224:12                 comes                  143:15 150:23       304:20                  326:8 355:24
cohort                 56:3 232:16 251:24   company               concentration         concoct
125:8,9 232:21           313:6 328:21       58:17 60:15 69:19     59:18 198:11          334:3
  237:7,8 238:7,10       329:3 335:20         70:14 71:1,4 73:8   concentrations        condition
  240:12,20,22           346:10               76:6,8,13,17,18     76:20                 116:24 119:16
  241:12 242:1         comfortable            77:22 149:13        concept                 121:19 122:5
  244:5 245:10         39:11,24               150:23 151:13       313:5 358:7           conditions
  250:15,23 251:5,7    coming               comparable            concern               121:3,7 186:5,18
  251:13,18,20         18:16 25:16 198:4    187:4 201:15          269:10                conduct
  252:3,14,20,21       commencement           254:18              concerned             215:13,17 355:5,9
  257:12 258:12        364:4                comparatively         236:1 361:5           conducted
  334:3                commencing           348:7                 concerning            61:14,15 85:11
coin                   1:16                 compare               272:13 351:16           114:3 206:8 209:5
109:14                 comment              298:16 319:20         concerns                209:12 327:9
colleague              96:1 221:10 336:24   compared              166:15                confer
117:8                  comments             170:13 201:6 331:5    conclude              333:6
colleagues             44:2,4,8 96:20,24    compares              111:12 128:1          conference
44:12,14 46:8            97:2 117:13        298:5                   210:18 243:9        46:7
  51:15 79:9,10,15       216:23 247:15      comparing               252:20 333:19       confidence
  79:17 80:13            336:10,21          239:23,24 348:6,14      363:15              126:9 223:8 227:24
  297:17 344:2         Commerce             comparison            concluded               228:12 261:23
collected              2:4                  132:20 161:14         91:19 122:24            276:21
277:23 278:1,3         commission             166:17 214:23         166:11 220:4        confirm
collection             364:22 367:17          299:1,9               246:1 247:19        85:12 185:4
12:14 153:17 347:7     committee            compelling              272:17 286:17       confirmed
collectively           2:6 95:16,17,20      220:10 230:13           288:5               152:9
238:15 246:8             129:17               292:19              concludes             confirming
College                committees           complete              106:2                 328:24


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 127 of 227 PageID:
                                     60472
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 377

conflicts             considered              151:13 152:4       context              187:14 273:8,13,18
105:4                 13:16,18,22 61:6        155:9 344:23       56:15 78:11            273:20 274:21
conformed               94:6 124:3 130:19     345:2              continue               278:4 315:16,17
137:7                   159:4,8 174:24      consumers            58:7 74:18 263:19      316:9
confound                175:3,5 206:2       214:8                  283:7 295:9        conversation
264:18                  210:20 214:6        consumption            358:11,12,17       118:23 335:15
confounder              219:1 221:20        360:4,11               361:10             convoluted
265:19                  225:3 258:16        contact              continued            296:21
confounders             264:6               37:24 39:19 202:2    43:16                copies
266:14,17,18 268:6    considering           contacted            continues            13:11,14 14:9
  268:9               110:18 215:1 222:6    36:20,21 37:5,14     206:24                 36:14
confounding             258:9 325:12          284:16             continuing           copy
210:19 221:23         considers             contain              244:12               10:20 13:17,21
  227:23 228:12       205:12                16:4 19:10 139:13    continuous             14:11 21:13 28:6
  264:6,7,11,19,23    consistency             140:22 141:6,13    43:17                  30:2,20 149:24
  264:24 266:3,4,8    107:12 108:1,4          141:17 148:14      contract               150:7 159:19
  266:11,20 268:21      109:7 110:19          290:22 295:19      59:3                   162:22 195:19
confused                210:24 222:20         352:9,14 353:17    contractions           259:24,24 260:1
330:1                   229:24 230:9          353:21 357:6       188:15                 321:3 336:22
confuses                237:22 240:7,10       358:14 360:18      contractor           cornstarch
265:6                   240:11 245:6        contained            59:7                 29:6 132:10,15,17
conjunction             249:22              16:16 54:21 72:24    contradicted           132:22 133:19,24
76:16                 consistent              73:1,6 150:17      205:10                 134:8,14 278:20
connected             110:12,13 111:6,9       152:22,22 175:8    contribute             278:20 279:4,13
120:11 329:20           111:13 112:19         175:15 181:1       18:11 20:22 74:22    Corporation
connection              114:4 132:6 223:5     285:9                80:22 221:21       58:12 59:11,11,13
110:23 119:21           232:20 237:23       container            contributed          correct
  329:19                238:4               340:10               20:5 73:20           20:20,21 22:22,23
consensus             consistently          containing           contributes            39:1 45:3,4 49:6
224:16 234:5,11       131:21 191:11         5:21 139:4 290:10    296:8                  53:23 55:12 57:19
consequence           constituent           contains             contributing           60:16,17,19,20,24
152:23 153:3          63:20 64:13           16:7 71:23 139:16    171:20                 61:4,18,19 62:2,5
consider              constituents            139:20 141:21      contribution           62:7,19 63:2,10
51:4 54:9,12 55:20    64:2                    157:6,15 158:10    78:24 299:22           63:13 64:10,11,14
  80:20 90:20 123:4   constructed             361:6                352:18               81:6 82:4 83:9,21
  137:11,14,19        149:15                contaminant          contributor            84:19 85:4 90:14
  156:23 215:7        consult               143:23               167:10                 90:18 96:2 98:5
  232:24 238:22       338:4,8               contaminated         control                101:12 105:15
  239:9,11 241:1      consultant            77:12 147:16 148:8   90:3 93:7 157:24       106:3 108:23
  257:11              55:23 56:4            contamination          316:17,24 317:11     110:13 114:5
considerably          consultants           106:2,11 107:2         318:2                116:18 120:7
357:24                105:11                  187:13             controlled             121:8,9 122:14,16
consideration         consulting            contemporaneous      266:21 268:1           125:14,18,23,24
221:14                56:16                 94:4                 controlling            127:13 128:13
considerations        consumer              Content              317:1                  131:1,5,17,23
91:9 225:4 254:17     22:5,7 73:8 143:23    31:10                controls               132:8,24 134:4


                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 128 of 227 PageID:
                                   60473
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 378

138:7,13,14,15        269:5,11 270:1      31:11 57:16 60:15     344:12              Crowley's
146:24 147:11         271:5,8,22 272:19     157:6 158:10        coursework          50:8 73:3
148:15,20 152:24      272:20 273:6,9,22     168:14 180:9,20     344:10              CRR
154:2 155:7 157:7     274:4,10,17 275:3     181:7 248:9         court               364:18
158:11 166:9,9        275:13 276:18         249:16              1:1,19 9:15 12:6    crystal
168:2 170:5 172:3     280:22 281:8        cosmetics               364:3,20 365:20   180:13
172:6 176:8,9         283:17,18 286:7,8   219:15                Coussens            cull
177:10,14,23,24       286:9,18 287:6,7    Cottreau              117:10 126:21       42:22
178:3,13,19           287:18 288:9,16     127:2                 covariate           culmination
179:16,17,22          290:5,11 291:8      Coughlin              272:17              345:10
181:7 182:2,5,6       294:2 295:21,23     3:7 9:8               Covariates          culture
183:10 184:22         296:12 297:9,21     counsel               272:8               319:16
185:2,9,19 186:1      298:7 301:17        2:6,11,16,22 3:5,10   covered             cultured
186:3,4,11,20         304:24 307:13,24      3:15,20 8:15        43:5 185:3 285:21   314:6 315:20
187:15,20,23          308:3 309:2,5         11:19 15:5 23:1     covers              cure
188:12,18 190:11      311:1,2 314:6         25:11,15,17,20      22:17,20            100:8
190:16 194:16,23      318:7,15,18           26:17 27:10 30:10   co-workers          curiosity
195:7 196:7,8,14      320:15 321:4,5        32:3 33:5 34:16     134:12              350:14
197:16,19,22          322:6,10,11 324:3     34:19,24 35:19,24   Cramer              curious
198:6,22 200:22       324:23 325:5          36:5 38:15 39:3     6:10 195:12,15,17   40:17
201:20 202:16         326:14,19 327:3       45:20 47:6 53:17      195:22 196:5,9    current
205:7,21 206:6        327:18 329:1          65:20 71:13 72:5      197:24 255:8      41:17 94:13 120:3
207:3 208:2,4,10      332:11 347:15,16      101:10,15 102:13      259:13 260:9        148:1 205:11
209:3,4 210:10        350:1 352:10,14       104:24 105:12,18    create                247:19 248:20
216:7,11 217:8        354:11,18 355:4,7     105:23 108:23       199:12 279:13         250:3 312:5
220:8 221:9,11,12     357:7,8 362:7         118:12,20 142:23    created             currently
222:21 223:17         367:5                 148:22 343:24       25:8 148:22 313:3   60:5 204:4 300:12
224:2,6 225:9,10    corrected               346:2,5,19 361:21     346:2,3,5           326:7 345:4
226:1,4,5,8,19,23   134:3                   362:2 364:14,15     credentials         curriculum
227:2,11,14,20,24   corrections           count                 104:18              5:6 21:6 57:18
228:13 230:2,14     58:1,19 365:4,7       251:1                 criteria              58:20 70:23
232:15,17 233:5,9     367:6               country               109:2 215:8,13        344:21 345:16
234:15,22,24        correctly             97:23,24 100:11         229:21 237:22     cursory
235:1,15 236:1,19   100:1 107:6,9           233:20                240:7,10 255:1    344:20
237:9,17,20,24        166:20 222:2,3      couple                  264:8,16          cut
238:9,17 240:2,4      301:14 324:21       25:5 30:8 40:21       criterion           74:9
240:14,17 246:4,5     339:21                87:2 176:15         110:19              CV
246:10 250:8        correlation             181:21 218:18       crocidolite         58:1 64:23 77:4
253:15,16 254:4     322:21                  231:22 256:15       144:13,15 145:11
255:2,19 256:24     correspondence          257:6 286:21          145:16 146:6              D
257:5,10 258:24     87:17                   305:15 327:10         147:9 154:21,22   daily
259:11 260:15       corresponding         course                crossed             231:9 232:10
261:7 262:6,18,22   27:24 278:4 306:9     56:5 73:3 74:13       324:19               260:22 261:16
264:17 265:9        corrugated              344:14,17 345:10    Crowley              262:13,15 263:10
266:16 267:2        146:13                  345:11 362:4        48:16,17,18,19,24    263:11,14 302:5
268:16,21,24        cosmetic              courses                 49:2,21,22         306:22 307:1


                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 129 of 227 PageID:
                                     60474
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 379

 309:24              30:14                dendritic             365:3,13,17,18      285:2
damage               decide               42:6                 depositions          detect
135:11 313:2,12      29:17                department           53:2 56:13 66:11     211:19,23 251:12
 314:21              decided              61:8 79:18 80:1,2     66:15 67:21 68:8      252:9 253:3
dangerous            33:7 40:11 59:6       239:6                68:11,20,24 70:14     255:22
359:12               decisions            depend                148:11 164:12       detected
data                 14:14 358:6          308:17 310:18        deposits             180:8,19 188:2
76:24 149:3 150:17   decision-making      dependent            41:9 169:15            211:24 243:12
 211:19 215:14       5:23 99:1,14,20      139:3 180:24         deps@golkow.com        244:15 251:14
 220:11 263:24       declare              depending            1:24                 determination
 273:11 274:18       226:21               181:3 306:18 332:2   derived              78:6 280:12 330:17
 277:23 278:1,2      deemed               depends              205:24                 348:20
 280:3 290:1 291:5   365:19               78:14 156:6 236:5    derives              determinations
 307:9 346:14        defendants            239:19              333:22               194:14 251:10
date                 2:17,22 9:1,4 52:4   depo                 describe             determine
1:17 57:20,21 58:2   defense              33:8                 14:20 208:15,23      85:23 157:14 190:4
 227:4 284:22        52:12 57:14 346:19   deponent              309:10                258:18,22 318:24
 364:8 365:9         defer                4:12 8:13 367:1      described              330:3 340:10
 367:12              82:23 95:19 144:3    deposed              199:10               determined
dated                 169:2 281:2         66:5,12              describing           59:14 91:12 143:18
25:24 26:9 30:14     define               deposing             309:5                  259:1 279:24
 218:21 364:23       135:22 137:5         365:15               description            280:7 311:8 349:9
day                   281:16 313:9        deposition           5:3 84:14 237:15       355:1 360:20
60:6 189:19 228:24    326:5               1:13 5:1,4 6:1 8:9    266:3               determines
 367:16              defines               10:8,16,18 11:4     design               280:14
days                 99:18                 12:11,19 13:6       190:1 211:18         determining
39:20 40:7 189:21    definition            14:6,8 15:1,18,21    221:19 240:21       330:8
 300:14 309:9        23:20 136:2 228:18    16:4,9 21:3,10      designated           develop
 365:16               292:18,23            23:24 25:24 26:2    227:18               53:21 135:2 199:1
de                   definitions           26:6,19,23 29:14    designation            251:1 345:12
325:8                228:23                29:22 30:16 31:5    227:16 228:10        developed
deal                 definitively          32:8,19 36:4,7      designed             330:9
164:16 239:5         162:6                 52:14 66:4,7,19     291:23               developing
dealing              degree                71:1,3 98:20,21     designers            356:12
168:10 199:9         59:17,24 249:22       98:24 108:17,20     241:1                development
dealings             Delclos               124:12,16,17        designing            135:20 136:5
37:2                 79:20 337:5           130:2,3 148:18,19   241:2                  284:20
dealt                deleting              149:10,11,16,18     designs              diagnosed
137:16               342:17                149:21 150:9,10     254:15               306:4 307:12
dear                 demonstrate           151:17 159:21       desired                326:13,17 350:4
358:24               119:11 223:4          163:3 192:11,14     231:14                 351:11
deaths                313:22               195:23 225:15       despite              diagnoses
306:5,9 307:7        demonstrates          243:1 245:24        166:11               307:17
decades              126:14 276:11         247:3,8 249:7       detail               diagnostic
310:15 359:10        demonstration         271:1,4 289:9       220:1                329:2
December             98:9 99:23            363:15,19 364:12    detailed             diagrams


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 130 of 227 PageID:
                                     60475
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 380

  338:7               difficulties           133:13 183:2        238:19                 72:3,4,6,22 75:7
Diana                 161:17,21              244:2 278:13        distinctions           75:10,14,21 76:6
282:18                dioxide                338:1               154:15                 76:9,13,19 77:22
diaphragm             292:1                discussed             distinguish            77:23 78:10,10,11
201:17                Diplomate            13:5 21:14 38:10      34:22 35:5 154:11      78:18,19 136:4
die                   1:20 364:3,19          80:12,14 107:12       162:2,7              158:5 245:8 346:6
233:20                direct                 127:3 170:18        distinguishing         346:6 347:8
diesel                82:2,11 83:4           225:11 235:11       161:18                doing
361:6,9                 181:14 243:17        238:9,23 244:23     distort               39:21 40:1 45:13
differ                  322:21 324:6         254:3 336:5         266:4 269:13,19        46:4 48:8 147:24
180:3 201:21          directed               355:23              DISTRICT               148:3 232:5
differed              221:11               discusses             1:1,1                  285:11 336:14
193:23 349:14         directing            28:10 29:5 127:6,7    division               365:8
difference            294:15                 280:11 337:22       287:4,15              Donath
19:2 21:19 194:9      direction            discussing            DNA                   3:7 9:7,7
  194:12 201:12       334:18               13:5 93:14            312:13 313:11,22      dose
  212:18 242:1        directions           discussion            doctor                153:4,5 206:16
  252:9 277:19        334:17               79:9 81:1 163:20      73:24 92:2,10,13       230:14 255:9
  315:21              directly               164:4 165:20          92:21 113:1,4        256:21 298:3,13
different             101:5 138:22 201:7     166:1 204:7 285:3     127:23 164:11        298:16,23 311:1
43:3 68:7 93:11,12      201:16 216:21        342:8                 207:6 289:20         311:18 324:22
  94:2 97:22 106:6      263:6 319:15       discussions             295:7 314:24         325:2 326:2
  137:9 138:21          323:5 346:10       47:23 48:1              315:23 343:16        354:22 355:5
  139:2 143:15        director             disease                 363:17               356:5,9,11
  155:5 168:15        58:6,13,24 59:10     77:14 90:3 93:7       doctor's              doses
  172:6 179:8,9,11    dirty                  122:17,21 123:8     332:20                326:10
  179:21 181:2        264:1                  126:15 127:12,19    document              dose-response
  186:17 213:2        disadvantage           128:2,13 196:14     1:7 6:12 10:21        111:13 112:20
  225:22 237:21       251:15                 233:21 265:7          28:17 30:7,9,12      173:1,9,13,19,21
  240:11 254:16,16    disagree               269:15 328:19,21      33:3 68:15 71:22     174:1,4,9 222:14
  254:17,20 261:3     108:9,12 223:22        358:10                91:24 92:16 93:2     222:16,18 223:9
  280:2 291:24          225:1 356:21       diseases                99:9 100:13 102:6    254:24 255:4,8,15
  293:7 305:5         discard              121:12                  113:10,17 120:3      255:17,21,23
  316:20 342:22       42:23 349:12         dish                    134:7 193:13         256:5,21 257:8
  349:10 357:2        discarded            300:7                   218:13,24 225:13     259:20 262:9,24
differential          348:17,23 349:8      dispute                 257:22 282:17        263:1,17,19
319:4                 discount             151:2,6                 291:14 316:5         270:14 354:9
differentiate         238:18               disseminate           documentation          355:10
168:24                discounting          93:22                 72:16                 Doug
differentiated        244:20               dissolution           documents             3:23 8:4
212:22                discounts            339:8                 12:12,15,17 13:15     Downey
differently           91:17                dissolved               14:7,24 19:6 24:5   69:17,18
201:5 213:3 238:22    discovered           279:10                  25:19 29:23 30:19   Downey's
difficult             241:3                distillation            33:24 34:1,5,7,13   69:20
162:2 256:20 257:2    discuss              214:21                  34:15,18,23 36:14   Dr
  347:22 359:6        80:11 114:12         distinction             71:5,9,12,16 72:3   6:3 8:13,19 13:4,9


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 131 of 227 PageID:
                                     60476
                         Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                             Page 381

 14:9,19 20:10       265:14,21,22           259:14 268:12        137:17 170:20       83:20,23 84:10
 27:24 31:2 33:19    drinking               270:13 278:19        213:23 270:3          208:8,11,16 209:3
 36:10 46:11,16,18   170:7 265:23 266:1     293:1 321:7          272:14                305:16 337:17
 47:9,24 48:2,5,11   drive                  345:24 347:13      effort                  362:12,15
 48:12,16,18,19,24   5:21 13:20 36:5,11     348:16 349:23      143:21 150:15         Ellis
 49:2,16,21,22,22    Dropbox                351:23 352:7       efforts               2:13 3:12 9:13
 49:23 50:1,8,11     346:7,11,13,17,21      361:24             140:6 147:21          elongated
 51:5,9,21 67:18      347:3               early                Egli                  137:7
 73:3 74:10,16       drug                 65:21 214:1 222:7    183:16 185:18         emphasizes
 79:20,21 80:8       219:14                 245:24 330:19        187:10 188:20       99:21
 89:10 99:10 117:3   drugs                  332:24 333:12      eight                 employee
 117:9,12 149:23     131:8,20               336:8              24:10 192:19,22       58:7,24 364:13,15
 150:13 164:9,18     due                  easier                 193:9 194:5 297:8   Enbridge
 165:5,17 171:11     29:6 110:3,5         334:8                either                58:12,18 59:11,13
 173:6 177:7          171:19 187:12       east                 24:15,21 29:9         endeavors
 218:22 236:12        251:12 265:24       3:3 145:21             31:15 32:23 37:17   213:18
 253:14 283:10       Duffy                EASTERN                52:17 73:7 75:8     ended
 284:10 335:7,16     3:7 9:8              1:1                    82:2 92:13 94:6     194:12 340:17
 340:4,15 347:9      duly                 easy                   96:5 101:21           341:16 349:20
 353:4,14 354:8,17   9:19 364:5           150:4,6                139:21 140:8        endogenous
 355:1 363:2,13      duplicated           eat                    176:6 177:21        115:7 312:20
draft                125:19               357:15 358:12          181:14 194:12       endpoint
5:15 30:13 44:1      duration             echoing                226:21 282:4        287:11
 89:14 95:22 97:6    212:15 241:16        344:2                  302:12,16 316:8     ends
 205:18,21,22,24      272:24 354:18,20    Edelman                327:15 328:7,15     339:19 341:8
 348:1               dust                 163:23 165:22          338:23              Energy
drafting             229:15,18              166:8              electronic            58:14 59:10,12
347:20 348:8,12      dusting              editing              337:8                 engineering
drafts               140:3 201:17 302:5   43:17                element               59:19
336:8                Dydek                editors              317:14                England
dramatically         47:16,19,24 48:2,5   249:12               elements              145:14
75:4                  48:12 49:23 50:1    edits                169:13 170:1          English
draw                 DYKEMA               103:6                  172:16              211:21
76:22 86:18 87:19    3:2                  education            elevated              entire
 171:4 337:3,6       D.C                  61:12                146:14 304:9          52:20 69:13 83:11
drawing              3:19                 effect               elevation               291:22 294:10
204:9                                     98:9 99:24 100:14    314:9                   347:23
drawn                         E             138:18 154:23      elevator              entirety
85:17 87:21          E                      211:2,23,23        335:24                68:21
draws                1:17 2:1,1 3:1,1,2     244:20 251:13,14   eliminate             entry
322:21                 364:2,18             253:2 274:19       200:5                 58:14
drink                earlier                276:5,14 329:21    eliminated            environment
311:4                51:5 68:19 79:7      effectiveness        134:3                 181:3 312:19 345:7
Drinker                116:22 136:15      314:18               eliminates            environmental
2:19 9:3               167:12,22 214:5    effects              199:23                31:12 55:19 57:7
drinkers               216:4 238:23       63:15 129:13         elimination             57:11 179:1


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 132 of 227 PageID:
                                     60477
                          Arch I. "Chip"            Carson, M.D., Ph.D.
                                                                                                 Page 382

  278:12 312:24       5:17 31:2 33:19        etiology              181:24                  171:11 173:4
  328:10 342:3          218:22               220:17                exactly                 189:11 207:10
  344:14,18,22        equal                  EU                    62:13 142:11            234:1 294:13
  345:3 351:24        245:17                 97:21                   174:16 251:8          324:4 332:19
  352:3               equally                evaluate                257:2 280:7 346:9   exemption
enzyme                235:18                 170:19 249:8          exam                  357:18
319:4                 equipment                256:21 291:23       62:9 189:9,11,12      exercise
enzymes               162:6                    295:2                 327:9               280:24 325:18
314:18                equivalent             evaluated             examination           exhaust
epidemic              72:20 259:2 261:16     105:8                 4:5 9:21 284:8        360:15 361:5,6,9
182:22                  302:1                evaluating              305:3 343:18          361:13
epidemiologic         errata                 210:24 230:24           364:4               exhaustive
191:15 211:11         4:11 365:6,9,11,15     evaluation            examined              214:16
  224:21 231:1          366:1 367:7          228:21 269:14         102:9 160:10 190:8    exhaustively
  236:24 239:5        especially               295:18                207:7 286:2         210:19
  263:24 264:20       112:2 240:20           event                 example               exhibit
  270:19 326:3        ESQUIRE                311:23                64:17 76:14 84:6      5:4,5,6,7,9,10,12
epidemiological       2:2,3,8,13,19 3:2,7    events                  93:13 97:21 117:3     5:13,15,16,18,19
84:16 104:21            3:12,17              313:17                  140:13 154:19         5:21,22 6:2,4,6,7
  111:19 210:6        essentially            eventually              205:8 245:1           6:8,10,11,13,14
  212:7 213:1         16:24 134:18           42:17 43:18 214:24      265:10 267:7          6:16,17 7:3,5,6
  247:20 248:8,21       136:18 194:4           233:12                268:11 269:18         10:16,18 12:11,19
  249:15 250:4          220:3 274:19         everybody               276:14 286:14         15:17,18,21 16:4
  266:5                 306:7                360:12 361:18           312:16 358:23         16:16 17:10,15
epidemiologist        establish              evidence                359:24                19:4,5 21:3,6,10
61:5,7 79:23          39:22 111:22           87:14 91:20 93:22     examples                21:13,20,23 22:10
  238:24 239:9          247:21 248:22          98:1 109:2 111:2    199:4                   24:24 25:1,24
epidemiologists         250:5                  112:15 143:19       exams                   26:2,6,10,19,23
211:14 232:24         established              170:10 203:7        327:15 328:15           27:7,13,23 28:14
  233:18 236:1        85:19 86:1 220:5         204:15 206:4        exceed                  28:18 29:14 30:15
epidemiology            313:19                 210:24 211:1        333:17                  30:16 31:4,5 32:7
61:9,18,21,23         estimate                 220:11 222:16       exception               32:8,18,19,22
  87:14 140:1         45:12 166:7 174:1        223:10 226:7,13     15:12 362:22            33:10,18 34:15,24
  213:14,17 220:17      174:9 232:2            227:22 228:3,8      Excerpt                 36:4,7,12 43:14
  239:7,12 270:20       256:20 257:2           230:9 233:14        6:17                    50:19 54:22 57:19
  308:14 309:2          347:17                 235:13 247:20       exchanged               58:2,21 65:1,12
  354:13              estimates                248:8,22 249:15     47:11                   66:18,21 68:10
epithelial            39:8 193:22              250:4 288:18,20     excluding               69:4,8 70:24 71:6
116:11,12 133:12      Estimating               288:22 290:1,2,7    216:17                  89:16,17 94:24
  153:17 235:20       282:19                   290:8 291:3,8,11    exclusion               98:20,21,24 99:7
  236:16 237:1        et                       292:11,19,20        193:19                  100:21 101:14
  313:12 316:16       5:9,10,12,13,18,19       293:14,24 294:5,7   excuse                  102:4,15,24
  323:10,13             6:4,6,7,8,10,13,14     296:1 301:2 304:4   19:19 20:9 54:3         103:17 104:3,10
epithelium              6:16 26:5              304:18 305:12         73:22 81:22 86:20     106:1,21 124:16
322:1                 Eternit                  313:8,8 352:20        105:14 128:22         124:17 130:2,3
Epstein               146:10                 evidencing              149:22 164:7          146:23 148:17,18


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 133 of 227 PageID:
                                     60478
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                 Page 383

  149:10,11,18,24      expected                82:23 122:23          198:14,16,20        extra
  150:1,2,8,9,18,19    300:4                   144:4 169:3           199:9,12,23 200:5   228:24
  151:10,10 152:2,2    expense                 213:20                200:6 209:6,8       extrapolate
  158:2,3,6,7          252:17                expires                 212:13,15 224:14    325:8
  159:20,21 160:3      expensive             364:22 367:17           224:18 229:15       extremely
  163:2,3 192:11,14    241:15                explain                 255:4,12 265:7      76:3 241:15 353:22
  195:22,23 196:5      experience            106:3,11,13,15          269:14,20 297:21    e-mail
  218:20 219:5,5       19:23 118:19 121:6      107:3 190:22          298:5,6,11 299:3    37:22 47:11
  225:14,15,20           359:2                 212:18 284:17         299:13 311:15,17    e-mails
  242:24 243:1         experienced           explained               312:1,5,24 318:2    342:10,15,18
  247:3,8 259:16       159:10                111:8                   322:22 328:10
  260:7 271:1,4,12     experiment            explains                331:17 332:14,16            F
  282:22 283:1         317:5,11 318:3        106:19 242:1            351:24 352:3        F
  289:5,8,9,23           341:5               explanation             355:2,11 357:11      3:7,18
  293:2,4,5 315:24     experimental          182:13 243:12           358:6 361:13        face
  346:23 347:1,10      116:23 120:2            244:15              exposures              97:19
  347:11                 185:21 188:4        explanations          55:18,19 57:8,11      face-to-face
exhibits                 189:17 247:20       150:16,20               84:7 298:9 300:13    45:24
5:1 6:1 7:1 21:2         248:21 249:6        exposed                 311:21 325:13       fact
  53:1 68:24 69:2        250:4 290:7,8       145:24 146:15           328:9 344:18         84:3 85:19 86:1
  148:11,22 149:4        291:1 294:5           160:17,18 167:5     express                 91:18 108:3 132:5
  150:18 152:1         experimentation         213:22 298:4,18     349:2                   132:22 133:18
  284:4                87:18                   299:3 329:4         expressed               191:9 192:1 199:8
exist                  experiments             361:11              16:14 360:24            238:3 241:15
97:20 253:2 296:7      85:12 86:3,7 206:9    exposes               expressing              244:2,22 246:22
existed                  316:9               83:11                 18:21 81:4 181:5        249:12 257:7
161:17                 expert                exposing              extend                  262:23 288:3,5
existing               5:5 10:11 15:16       317:15 361:3          41:14                   302:24 304:7
212:13                   37:5 47:14 48:7     exposure              extended                345:9 353:17
exists                   48:14 49:19 50:2    77:11 82:2,11,15      23:15,17 209:23         357:6 362:11
27:15 59:13 86:19        55:11,20 56:17,21     82:20 83:4,7        extending             factor
  209:21 213:18          57:3,9 66:11,15       91:21 111:21        43:2                   90:13,18 91:14
  254:2                  67:23 80:5,9          113:23,24 117:5     extends                 110:9 128:14
exonerated               117:24 118:20         135:4,6 152:12,15   356:15                  129:1 147:6 171:1
286:10                   137:12,15,20,23       152:17 153:9        extensive               191:14,18 230:18
expand                   156:13,15,24          154:22 160:4        42:7 83:13              267:17 268:19,21
16:8                     168:20 171:13         161:1 163:7         extent                  280:18 331:13
expanded                 187:8 207:16          166:15 168:13,16    35:3 75:6 155:18        333:22 334:7
41:5,9                   224:4 239:12          170:20,21 171:24      170:9                 341:3 358:4
expect                   252:13 347:15,20      174:12,17,20        external              factoring
16:8 17:13 131:19      expertise               175:2,4,6,13,20     86:13 87:10,15         170:21
  167:2 191:7          151:1,6 280:21          178:1 179:3,12,20     88:3,12,20 119:24   factors
  194:16 197:16        experts                 179:22 181:14,19      185:8                19:24 95:12 107:21
  198:19 201:14        49:8,14 50:21 51:1      181:22 182:16,17    externally              108:1 162:11
  245:17 262:24          51:24 52:4,8,12       191:1,6 193:20      116:15 119:13           163:14 166:18
  263:18                 66:4,8,9 70:14        194:6 198:10,10       188:9                 215:8 219:23


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 134 of 227 PageID:
                                     60479
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                 Page 384

  221:20 230:4           203:4 212:5         FDI                     141:21 158:11       findings
  266:20,24 279:22       242:14 243:6         222:10               field                  106:24 114:3
  280:1,15 330:14        247:12 265:2        Federal                61:12 213:14,17        220:17 223:19
  331:10 332:17,23       269:7 331:11         134:7                figure                  253:22 254:21
  333:3,4,10 334:2       332:17 341:6        feedback               328:18                 276:13 294:22
factory                  357:20               79:14                file                    295:13
 145:20 146:11         family                feeds                  24:6 35:23 346:1,1   finds
facts                   58:9 333:6            342:7                  346:7,11,17          123:7 197:24 226:7
 214:21                Fannin                feel                  filed                 fine
faculty                 1:15                  74:9 99:8 113:3       272:13 274:9,12       39:14 173:7 343:17
 239:6                 FAPR                    164:5,9 289:19        275:5,10,19 277:4   finish
fail                    364:18                 292:15              files                  12:2,5 74:1 103:13
 365:18                far                   Fellow                 42:2                 finished
failed                  10:10 198:11          1:18 364:2,19        filings                20:10 74:17 103:14
 187:13 220:10           249:23 348:4        fellowship             271:21 276:2           173:5,6,7 207:11
  232:1                  361:5                61:18                fill                    207:13 283:4
failure                fast                  felt                   333:23                 295:6 298:20
 166:17                 303:17                19:10 20:4 40:2      filled                  324:18 329:12,13
fair                   faster                  41:13 216:1,22       323:17                 359:17
 11:21,23 31:23         303:18                 254:21 325:15       filter                first
  74:15 211:24         fatal                 female                 187:14                29:2 30:24 36:16
  246:18 265:15         233:21                82:3 83:5 145:13     fimbriae                40:8 65:10 77:6,7
  266:1 285:8          fatality                181:15,18 207:24     322:1 323:14           81:18 83:15
  294:11 301:3          306:10                 209:8 303:21        final                   114:16 124:24
  342:20               fault                   350:21 351:15        103:7 107:8            140:1 160:9 166:3
fairly                  241:5                feminine              finalized               215:20 230:18
 84:13 86:18 145:17    favorable              288:6                 16:19                  237:15 261:12,15
  214:16 235:9          217:7,10             fewer                 financially             286:1 301:7 326:2
  279:10 282:9         favorite               160:16                364:15                 340:3
  324:6                 345:14               fibers                find                  fit
fallopian              fax                    72:11,17 114:22       34:20 42:18,19,20     348:24
 183:14 184:4 190:3     1:23                   115:5,8,10,10         91:15 111:12        five
  191:4 200:24         FDA                     138:23 140:9          132:6 142:18         261:4,4,10 262:10
  303:17 322:1,17       5:16 30:21 31:2        169:2 290:10,22       143:1 167:2 194:6     262:12,14 263:9
  322:23 323:3,15        33:19 65:4 133:18     295:20                194:11 218:17         263:11 297:8
  324:1,12               134:15 143:6,11     fibrosis                262:20 281:14,18      310:20
false                    143:13 218:14,20     116:16 119:3,12        282:12 291:11       fixing
 187:12                  219:13,21 220:4       120:5,19 132:24       293:24 311:7         312:15
familiar                 220:16,20 221:13      133:4,15 185:6        316:13 320:6        Fletcher
 11:9 27:14 41:4         221:16 222:5,11     fibrotic                330:19 358:4         5:10 26:5,9 313:14
  90:2,21 97:12          222:13,15,19         287:1,19             finding               floor
  99:10 129:4,11,21      224:7,20 230:14     fibrous                100:10 193:18         2:15 335:23
  129:23 131:12,15       234:14               77:12 114:23 115:7     222:11,11 223:21    Flower
  144:12 155:8,13      FDA's                   115:9 137:5,6,12      223:23 262:5         2:14
  155:16 158:17,23      143:4,8 223:12         138:17 139:5,21       277:22 283:22       fluid
  159:15 162:20          234:14                140:15 141:14,17      334:9 349:16         323:18,20 324:1


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 135 of 227 PageID:
                                     60480
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 385

  362:7,20            108:11 109:17         250:10,20 252:7       180:17 235:18       fragments
fluids                110:14 111:17         254:9 257:19          240:24 241:13        168:21 169:1
 279:10 339:9         114:7 116:20          258:14 259:10       formula               fragrance
FLW                   119:6 120:9,21        260:24 261:20        280:15                63:7,13,15 72:23
 1:5                  123:11 127:15         263:4,22 264:10     formulate               73:6,16 74:22
focus                 128:6,19,24 132:1     266:10 267:4,19      20:23 43:12 44:20      75:1 115:17 172:6
 22:14,16 38:20       133:7 136:8 137:6     268:23 269:24         70:19                 174:5 175:14,18
  93:15 94:2 249:24   137:10 139:23         270:6 275:23        formulated              176:6 177:9,13,22
focused               140:24 141:24         276:9,17 277:10      97:4 101:24 106:7    fragrances
 230:14,19 249:22     144:2 147:5,17        278:24 284:24       formulating            174:10 175:23
  310:12              148:23 151:4,14       285:15 288:11        45:14 46:4 71:10       177:19
focusing              152:6 153:2,15        290:13 293:19         107:21 139:15       frame
 216:17               154:4 155:12,20       294:3,14 296:14       205:18               39:12
follow                157:9 158:13,22       297:23 299:7        formulation           framework
 11:10                159:7 161:6           300:9 301:19         73:19                 5:23 99:1,14
following             162:15 164:24         302:20 303:6        fornix                frankly
 193:19               167:16 168:4,17       304:17 305:1         301:24                37:10
follows               170:15,24 171:10      307:15 309:15       forth                 FRCP
 9:20 98:13,15        172:8,18 174:7,15     310:7 313:24         16:14 19:7,17         364:11
food                  175:10,17,24          316:11 317:8,17       54:15,16 76:21      free
 170:6 219:14         179:5,23 180:5        317:24 318:9,20       81:7,18 155:22       99:8 113:3 164:6,9
  357:15,17           181:9 182:4,15        319:14,24 320:17      200:7 220:16          289:19 292:15
footnote              184:21 185:11         320:23 322:19         345:8 364:9         frequency
 148:16               186:13 188:11         324:5,15 325:1,10   found                  272:23 302:19
force                 189:15 193:11         326:21 330:11        25:13 35:7,20          310:17 354:18,21
 189:10,13            194:22 195:6          340:19 341:19         109:20 112:20       frequently
forces                197:4,21 198:15       345:19 348:22         131:2 144:15,17      241:18
 334:16               199:17 200:3          351:20 352:16         144:24 147:10       front
foregoing             201:10 202:9          353:6,19 354:19       181:7 184:13,24      24:12 192:3 256:1
 364:7 367:5          203:10,20 204:18      355:8,21 356:7        185:13 190:5,7,10     260:10
foreign               207:5 209:11,19       360:6,7 361:15        195:2,8 205:10      fuel
 199:2,4 209:16       210:15 212:3          362:11 367:6          221:16 223:3,6       360:16
  315:18 317:20       214:10 216:13       formation               256:4 261:9         full
form                  218:10 219:17        19:9 120:12 176:2      290:21 291:3         98:8 99:23 244:1
 11:22 17:21 18:22    221:1 222:9         formed                  292:10 293:13       functional
  19:20 25:3 37:16    223:16 224:1,23      353:3,24               314:16 354:8         206:21
  38:7 53:10 54:2     226:10 228:2        former                foundation            funded
  55:14 59:2 60:23    229:7,14 231:10      244:6                 165:1                 104:13,23
  62:12 63:9,24       231:21 232:19       formerly              four                  funder
  65:24 70:16 73:11   233:4,11 234:10      22:6                  124:21 125:9          93:17
  75:13 78:2,13,23    234:17 235:7        forming                 143:16 172:15       funding
  80:16 81:13 82:18   236:3,7,21 237:11    18:9 271:16 346:17     189:20 245:21        104:6,8,11 105:3
  84:2,21 85:15       238:2 239:2           352:12 353:15         252:21 261:3          105:17,22
  86:15 87:12 88:6    240:16 242:4          354:24                297:8               further
  92:18 94:12 95:4    244:9 246:12        forms                 fourth                 138:17 163:12
  97:9 98:4 107:15    248:3 249:3          154:5 175:3 180:7     3:13 84:15 210:3,5     283:23 314:21


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 136 of 227 PageID:
                                     60481
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 386

  364:7,10,13       genital                 23:1,6 56:14          309:22 315:7        345:8
future              86:13 87:11 88:3        164:12 188:14         321:19 324:18       group
 16:10 249:24         88:20 119:1           266:21 336:22         342:11,13 343:4     39:3 80:19 178:15
                      170:12 185:8          367:5                 343:14 344:9          178:16 189:20
         G            186:19 192:22       glass                   363:18                226:3,16 227:1,6
gain                  194:6 200:11        316:23                Golkow                  227:9,12,16,18
267:15,24             201:19 220:6        gleaned               1:23 3:23 8:6           229:11,18,19
Galveston             227:15,17 234:7     18:8                  good                    235:8,12 237:4
58:5                  244:3 246:3 252:3   glove                 105:1 120:17 221:3      249:20 250:24
gas                   273:18 274:6        305:3                   266:2 330:16          261:12,15 263:6
145:13,14             277:5               gloves                  336:14 352:19         285:13 290:23
gasoline            genitals              133:20 134:9,16,17    GOSSETT                 292:18 309:12
360:14,16,18,22     273:14 274:2,15         189:22,23 190:9     3:2                     357:7 358:16
  361:2               276:5               go                    government            groups
Gates               genotoxicity          12:21 25:4 59:7       221:8                 6:11 190:10 263:2
258:5,6,7,11        319:7                   67:9 69:16 85:22    gradient              grow
gauging             gentlemen               99:6,17 145:10      111:23 112:1          359:3
76:20               54:4 74:11              163:19 164:14       graduate              growth
general             geological              205:12 213:24       281:1 344:14          115:2 139:1 287:3
16:7 28:10 40:12    349:17                  224:9 228:23,24     Graham                  287:14
  40:24 41:15,16    geologist               246:17 253:4        5:13 29:2             guess
  42:15 55:19 75:24 61:2 115:15             256:18 262:8,19     grandfathered         65:16 205:23
  79:8 82:6 92:23   George                  272:21 278:6        335:3                   339:18 354:2
  97:20 100:5,14    79:20 337:5             281:13 282:12       granuloma             guiding
  103:9 106:4       George's                288:4 290:18        120:11                91:7
  126:22 127:20     337:9                   314:22 315:13       granulomas            gynecologic
  147:12 156:16     Gertic                  320:6 328:22        116:16 119:3,12       60:12 338:4,9,12
  161:7,8 180:3     257:12 258:9            339:9 340:13          120:5,18 132:24     gynecologist
  279:11 286:20     gestalt                 343:13 359:9,19       133:4,13 185:6,13   60:18
  308:16 309:1      348:24                goes                  great                 gynecologists
  315:7 328:13      getting               68:1 136:19 219:21    74:17 326:11          208:13
  344:12,13         63:21 64:6 110:6        225:21 324:1,9      greater               gynecology
generally             142:14 257:20         334:14 335:21       137:8 153:4 154:22    32:15 208:6
38:8 44:20 97:6     gigabytes               345:5                 166:22 168:8
  122:6,16 147:10   346:14                going                   196:10,22 198:2              H
  178:14 236:15     Ginkgo                11:10,20 39:21          198:11,17,20        habits
generate            229:3                   73:24 74:19 85:21     212:22 250:16       161:24 359:11,12
45:7                girls                   86:22 87:22 112:5     255:11 262:19       habitual
generated           296:11                  117:24 136:11         263:13 311:17,19    23:4,10,21 38:3
49:11               give                    156:3 162:23        greatly                53:7,22 199:11
generic             12:3 54:4 64:4          164:16,19 176:17    296:16                half
84:13                 135:23 156:3,8        176:18 192:4        grilled               86:22 111:19
genetic               188:5 230:3           233:16 247:6        358:12,14              176:22 184:19,20
267:13 312:13         316:13 336:18         284:3 285:18,22     gross                  327:22,23 335:9
  314:12,14 319:2,3 given                   288:2 289:6,14      214:11                 351:7
  330:12 333:4      11:4 18:10 20:3         294:9 295:8         groundwater           hallmark


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 137 of 227 PageID:
                                     60482
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 387

 300:14              5:15,22 30:14        70:19 113:8          158:2               76:21 257:4 284:19
Halme                 31:12 58:7,24       hereinbefore        Hopkins-28            288:7
183:23 184:3          61:9 63:15 65:8     364:9               7:4 148:17 149:10    hypothesis
hand                  77:18 79:18 89:15   he'll                150:1,8,18 151:10   132:2 193:21
159:19 192:8          89:21,22 90:24      164:21               152:2 158:3         hysterectomies
 195:18 247:6         93:5,6,10,19 94:3   high                hormone              189:18
 289:6 337:7          94:7,18,20,22       145:17 249:22       255:10 268:15,18     hysterectomy
handed                95:21 96:4,10,16      332:5              269:4               189:20,21 190:2
160:2 291:6           96:21,24 97:3       higher              hospitalized          193:2,20 194:8,19
handled               98:13,15 99:1,2     160:19 167:3,21     239:23,24             196:13 197:1,18
95:17                 99:13,17 100:9,15     168:5 170:12      hospitals             198:5
handling              137:17 205:9,23       263:10            134:18
164:13                207:3 237:18        highlighted         hospital-based                I
handwritten           239:8 344:14,15     260:1               238:14,19 239:15     IARC
6:2 281:23 337:14     344:16              high-grade           239:21 240:12        6:11,17 28:6,11
hand-selected        healthcare           212:19,21            246:7                 176:13 178:9,14
75:10                93:24 204:8          Hill                hour                   178:22,22 203:3,4
happen               healthy              107:20,24 109:2     45:11 86:22 176:22     203:6,11 204:10
252:1                240:1                  110:18 215:8,12   hours                  204:12,13 205:11
happened             health-related         219:23 225:4      40:4 45:13,18 60:9     205:13,17,20
274:11 319:16        93:21                  229:21 230:18      343:5,15 347:14       206:2 225:3,6,12
happening            hear                   240:7,9 255:1     households             225:13,20 226:7
312:18               142:13                 264:8,16          359:6                  226:20 227:8,15
happy                heard                hips                Houston                227:18,22 228:10
164:21 165:6,15      14:19 204:23         304:9,23            1:15,16 8:10 37:1      228:11,23 235:2
 246:20 284:5        hearing              hired                59:4 61:10            249:18 278:10,17
hard                 16:6,15 17:14        40:2 361:21         hover                  288:5,5,21 289:4
336:22               heavily              historical          310:20                 289:24 291:3,4
Harlow               160:18               191:17              huge                   292:10,12 293:13
255:7                heavy                history             250:24 345:4           294:24 300:23
harm                 168:15 170:11        184:13,19 196:23    human                  342:4,9 355:23
188:5                 172:2 173:23          267:7,23 330:13   112:15 226:13          356:1,21,23 357:3
harmful               175:7,19 176:6        333:7 351:8        236:5 249:19          357:11
355:2                 297:20 298:4        hit                  288:7 358:18        IARC's
hazard                299:19 300:20       282:15              humans                205:6 206:3
97:19,19 143:19       332:16              hold                178:16,17 179:3      idea
 153:4,6 172:22      held                 346:13               225:9 226:4,8,17     73:4 169:17
hazardous            1:14 8:10            holidays             227:1,22 235:14     identified
326:9                Heller               351:4                288:19 292:19        34:8 52:22 70:23
Hazards              184:1,8,15,24        hope                hundred                127:11 128:4,9
77:17                 283:16              68:7                306:23 357:24          151:9 163:16
head                 help                 hoping              hundreds               286:6 300:21,22
188:22 304:8,24      258:1 284:5          251:23              357:21                 324:22 333:3,11
healing              helpful              Hopkins             hydrocarbons           336:5 346:22
122:13               79:14                70:1,2 148:12,17    358:15                 355:13 356:16,20
health               helps                  149:10,24 150:8   hygiene                361:7


                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 138 of 227 PageID:
                                     60483
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                 Page 388

identifies             improvements            321:22,23 358:10    individual              127:20 128:1,12
 86:11 88:1,18          167:18               inclusion              71:22 110:17           138:24 171:18
   319:2 330:13        impurities             41:8                   126:20 171:24         287:2,14 313:15
identify                169:14               income                  178:4,5 193:5         362:17,18
 8:15 71:15 86:10      inability              56:2                   214:22 229:21       influence
   87:7,8 172:21        162:10 163:13        incorporated            308:17,19,20,21      213:11 272:1
   220:10 289:15         251:12               151:20 180:11          308:23 309:3          279:23
   299:20 330:14       inappropriate           214:17 244:24         310:19 314:13       influenced
Identifying             166:16                 337:7                 330:8 345:21         216:21 272:15
 99:2                  inasmuch              incorrect             industrial              313:16
Igor                    184:11                105:14                76:20 156:15         inform
 282:18                incidence             incorrectly             344:22               350:23
ill                     131:3,14,22 191:7     290:15               industries            information
 240:1                   191:16 194:17       increase               76:2                  16:17,21 18:8
illness                  196:14 197:17        121:21 202:18,23     industry                19:10 20:22 42:2
 134:2                   280:3                 231:3 233:17         331:15                 42:4,23 70:18
illustrative           inclined                275:14 299:12       inert                   78:5 149:17
 216:22                 304:8                  306:12,13 318:6      303:1 339:4            155:23 156:1
Imerys                 include                 318:13 331:3        infection               166:13 173:24
 3:5,10 9:6,8 69:19     45:19 67:2,22          338:13 360:10        122:12 267:8,23        174:3,8 205:12
   70:10 72:3 75:8       82:24 101:20          361:16              infections              232:21 243:10
   75:16,23 147:19       146:5 191:17        increased              202:14                 244:13 267:13
   149:13 150:23         237:1 257:12         84:18 91:21 121:14   infer                   281:4,12 282:7
   157:23 158:5          272:8 332:24          122:8 131:3          166:13                 298:3,10,12,15
   284:13                344:18 345:17         152:19 211:5        inflammation            312:6 325:20,23
immediately              355:15                220:7 232:13         86:8,11 87:9 88:2      326:2 348:1,17
 40:17 65:14           included                236:4 262:6 277:7     88:11,19 114:18       349:3,7,10
immune                  24:17 66:24 67:6       306:15 308:13         116:1,7,10,16       ingredients
 287:3,14                67:13 152:3 158:8     309:13 310:5          117:4 119:2,11,20    140:8
immunogenic              169:14 195:9          333:6                 122:11,15,16        inhalation
 81:19 114:17            214:19 217:4        increases               123:13 125:4         82:3,15,23 83:6
impact                   226:2 258:8          132:23 133:3           126:23 127:9          134:12 181:15,19
 209:16 271:20           295:22 309:12         236:24 237:3          131:18,21 132:14      181:22 182:2,17
imperative               347:3 357:17          311:13,16 338:21      132:23 133:3,11     inhale
 365:14                includes              incur                   134:21 136:18,23     361:2
implanted               87:14 280:12 347:4    361:13                 137:3 138:12        inhaled
 286:23                  355:22              independent             198:21,23 200:10     84:7 182:9 290:21
important              including              53:6 79:4 157:5,10     248:13 249:21       initial
 18:9,15 94:1           19:6 41:2,2 83:12      158:9,14              279:14 283:20        37:23 198:14
   159:13 209:20         93:6 114:22 121:7   INDEX                   287:1,11,12,18        237:14
   254:21 258:11,15      163:23 165:21        4:1                  inflammatory          initially
   283:22 295:16         169:6 193:23        indicate               115:1,6,11 119:20     40:11
   317:4 338:16          221:21 237:2         135:1,19 154:18        120:10 121:3,6,10   initiation
   339:1 352:18          245:8 252:15          220:12                121:12,19 122:4      116:13
impossible               277:17 278:21       indicated               122:17,21 123:8     injected
 266:19                  279:5 287:2 303:9    241:8 327:16           126:15 127:12,19     186:7


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 139 of 227 PageID:
                                     60484
                         Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                               Page 389

injury                114:24 115:5,8,11    83:19,23 84:9        involving              jdonath@coughl...
 57:6 134:2            138:24               208:8,11,16 209:3    57:16                  3:8
innocent             intention              337:17 362:11,15    in-person              Jersey
 329:24               156:10              introduced             46:9                   1:1 3:9
inquiries            intentionally         188:8 284:12         ions                   Jim
 350:21               115:21              introductions          180:10                 77:7
inquiry              interaction           343:21               irrefutable            jive
 351:14               196:21 197:12       invasion               226:13                 116:24
inserted               198:1               212:23               irrelevant             job
 304:22              interest             inverted               349:15                 53:6 164:22,23
insofar               37:6 105:5 342:8     188:21               isolated                 336:14
 235:24                349:9              investigate            254:15                John
instance             interested            150:16               issue                   70:1,2 148:12
 74:2                 39:21 295:13        investigated           66:14 80:12 90:11     Johnson
instances              341:22 364:15       104:20                 118:5 141:20          1:3,3 2:16,16,22,22
 76:12               interesting          investigation           144:8,20 160:4,11      9:1,1,4,4 22:4,5,7
instilled             43:1 80:24 342:13    79:5 286:15 329:2      163:7 176:7            22:7 41:22,23
 301:23                348:18 349:3         329:7                 199:19 213:13          43:9,9 70:3,4 72:4
Institute            interests            investigations          264:19 278:17          72:4 73:7,8 75:8,8
 90:21,23 91:7,12     93:12                193:6 214:23           289:1,2 327:16         75:16,16,22,22
  91:19 93:8,14      internal             Investigators           352:18 358:20          129:19 143:23,23
  95:11,18 234:21     75:7,15 76:6,8,12    251:22               issues                   147:20,20 149:13
institution            76:19 77:1 88:9    invoice                29:7 41:8,20 55:7       149:13 150:22,22
 58:10                 88:13 321:14,15     14:10                  64:18 77:18 80:20      151:12,12 299:4,4
instructed             321:20             invoices                137:16 207:3         join
 350:9               International         14:9 45:3,7            258:17 285:6          234:3 236:10
INSTRUCTIONS          178:22 225:23       involve                 326:6                joinery
 365:1               Internet              147:2 187:22 189:8   Italian                 229:13
insufficient          338:7 342:21,24       250:21               297:11                Jonathan
 166:13 247:21       interpretation       involved              Italy                   3:7 9:7
  248:22 250:5        223:18 334:10        37:3 47:10 50:3       146:12                journal
  288:18             interpreting           54:24 56:23 57:3    item                    27:14,16,21 31:14
insult                264:20                57:6 62:8,17         14:5 35:4,5 126:18      32:14 249:13
 312:12              interrupt              63:21 64:7 73:9     items                  journals
insults               74:11 86:21 191:5     76:15 96:16          13:21 20:6,14 35:1     63:4 103:11
 312:17              interval               135:20 136:5          357:17               Julie
intend                261:23 276:21         138:4,10 141:6,13                           70:8,9 148:12
 16:5 22:21 96:23    intervals              142:14 147:15                J             jumped
  97:2 156:8          126:10                148:7 156:20,21     Jane                    275:20
intended             interview              184:8 185:18         3:2 9:5 284:10        jumping
 15:10                272:16 277:17         187:19 189:12       January                 285:19
intense              interviewed            232:10 250:16,22     1:11 5:2 8:2,7 26:1   J&J
 311:21               273:17 274:1,8,13     267:1,9 287:4,15      26:10 94:9,14         152:3 155:8
intensifies          intimately             340:4                 364:23               J.D.P
 138:17               120:11              involves              jbockus@dykem...        29:2
intensify            intrinsic             172:15 359:4          3:3


                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 140 of 227 PageID:
                                     60485
                       Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                             Page 390

       K            155:2 161:9 171:6    183:17                190:1                leigh.odell@beas...
kaolin              171:12,16,23        labeling              lattice                2:3
129:13 130:24       176:5,11 177:12      30:22 134:4 219:10    180:11               length
Katherine           177:15,16,17,18     labia                 law                    137:8 339:10
2:19 9:2            177:20 178:1         200:19                334:13               lesser
katherine.mcbet...  180:7,17,23         laboratory            lawsuit                190:20
2:20                184:17 189:4         286:24                142:14 271:20        letter
keep                204:11 208:21       lack                    276:2                5:16 30:20,23
110:6               213:5 218:11         107:12 110:11        lawsuits                 33:18 218:14,21
Kemble              221:2 246:13,16       208:8 222:20         68:2 272:1,13           219:20,21
3:8                 275:16 282:5          251:11 254:6          273:12 274:8,12     let's
key                 291:4 292:11,13     lacking                 274:19 275:5,9,18    26:22 31:4 89:1
20:5                293:13 294:10        222:16 223:10          277:3                  225:12 237:21
kibitzed            299:23 300:1,10       224:13              lawyer                   253:4 256:17
297:16              300:17 302:7,12     laggers                36:24 80:4 285:13       257:6 259:13
kill                302:16 303:13,13     145:21               lawyers                  270:10 314:22
311:3               303:14 311:20       Lancet                 39:16 44:7,9,11      level
kind                312:3 315:2 319:6    28:24                  46:2,21,24 75:11     20:19 109:22
24:7 38:11 42:6     320:1,3 322:3       Langseth              LAWYER'S                 111:20 171:24
  84:5 278:14       324:16 329:8         6:14 246:23 247:13    4:13 368:1              217:2 238:13
  293:10 299:9      330:6 331:8,9         247:18 248:17       lays                     245:15 263:13
  300:12 323:20     333:9,13,16 336:8   language               117:4                   325:8 355:1
  329:21 342:8      337:20 338:11,17     92:6,7 134:6         leach                 levels
kinds               338:19,23 339:13      294:11               189:3                 170:11
285:6 312:17 335:9  340:20,20 344:6     languages             lead                  LHG
  335:11            346:12 347:4         214:19                27:5 121:3,8          1:5
Klevorn             357:13 358:13       large                   224:13 333:19       LIABILITY
2:8 8:22,22        knowingly             241:16 251:19        leading                1:5
know               350:2                  324:8 334:3          90:24 116:15         licensure
10:10 28:16 29:12  knowledge            largely               leads                  328:15
  36:23 42:20 44:6 104:11 120:1 156:2    232:16                70:18 116:8,12       lifestyles
  44:19 46:18 47:16 169:11 224:7        larger                  122:12               359:13
  48:10,13,16,18,19 293:23 303:24        19:6 22:18 39:3      learn                 ligation
  49:7,10 51:6      322:4 359:8           153:4                96:9                  190:13,14,19,23
  66:11 68:2 69:20 knowledgeable        lasts                 leave                    191:4,17 193:1,20
  72:11 73:15 74:3 168:21                335:17                129:2 257:17            194:8,19 196:13
  74:7,24 75:20    known                late                  lecture                  196:24 197:18
  80:7 94:14 96:7  129:9 135:17          40:6 65:21 333:1      42:2                    198:4
  96:12 101:15      166:18 171:2,3        333:12              left                  light
  103:8,12,15,20    178:21 226:21       latency                13:13 177:7 257:15    162:1
  104:2,5,18 105:4  266:20 280:3         168:7 279:16,24      legally               likelihood
  105:6,10,13,13,19 315:18,19 330:14      280:1,7,12,14,18     68:1                  211:22 240:22
  105:21 134:5      333:5 358:15          280:21,24 281:3,7   legs                  limb
  141:1 142:9 146:3                       281:21 282:14,19     186:3 187:3 188:22    224:9
                            L             311:23              Leigh                 limit
  148:24 149:3,17
  151:8,23 153:8,12 labeled             Latin                  2:2 8:17              135:11


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 141 of 227 PageID:
                                     60486
                          Arch I. "Chip"            Carson, M.D., Ph.D.
                                                                                                  Page 391

limitation               125:9,13 143:2         64:7 66:5 73:9        362:19                214:2,3 245:23
 162:9 163:12,17         155:4 222:10           75:22 80:6 97:5     Longo                   252:24 271:19
limitations              227:17 345:22          100:11 104:22,24     5:9 25:22,24 49:16     300:12 338:7,24
 158:18,24 160:9      listing                   105:12 118:1,13       49:22 142:4 143:1   looking
limited                5:7 125:17 126:8         142:15 178:3          157:20 340:4,15      28:18 53:21 67:8
 87:15 160:11         lists                     181:5 218:8 224:5   Longo's                 77:6,8 78:9 99:19
  227:21 228:3         24:18 73:2 226:16        284:13 351:18        50:11 142:1,18         118:4 125:23
  235:13 290:8        literature                361:22              long-term               126:12,17 139:24
  291:7,10 292:19      5:7 19:4,7,12,22      litigations             129:12                 140:1 148:16
  294:5 351:2            20:17 21:14,20,23    56:24 57:2            look                    152:1 158:1
limiting                 24:16,23 25:8,13    little                  31:18 42:20,21         162:19 164:3
 236:18                  29:10,13,19 31:24    68:6 256:18 296:20      71:22 72:13 78:18     166:1 194:4
limits                   31:24 32:24 33:12      305:5 327:22          93:1 94:2 106:22      197:11 222:24
 223:8                   33:13 34:14,20,23      359:10 360:23         110:19 111:14         247:24 248:16
line                     35:1,10 36:2,14     lives                    113:6,8 118:10,12     255:6 259:24
 46:8 313:9 366:2        40:12,19,24 41:5     233:22 236:5            130:1 155:3           273:11 282:22
  368:3                  41:10,19 42:12         305:17 306:18         161:24 162:23         283:2,7 287:8,11
lines                    43:7,8,16 45:14        325:14 358:5          175:6,13 184:11       289:23 292:22
 106:22 113:9            46:5 51:5,19           359:12                191:19 193:16         293:7 297:3
link                     52:17 54:9,13       LLC                      199:11 204:24         300:18 320:8
 158:19                  62:22 65:13 66:18    3:15,15 9:13,14         219:24 220:15         321:7 352:23
liquid                   67:3,6,14 68:10     LLP                      229:1 233:19          357:10
 187:14                  71:6 79:6 85:17      2:8,13,19 3:7,12,17     237:21 238:11       looks
list                     85:23 87:18 94:16   locate                   242:23 243:23        134:6 160:3 291:24
 6:2 13:16,19,22         94:21 95:11          199:3                   246:19 247:7        Los
  17:23 18:5,7,18        101:22 110:20       located                  248:14 257:6,14      2:15
  19:17 21:14,20,23      116:15 130:13        314:13                  259:13 260:16       lost
  24:22,24 25:8          157:22 158:6        location                 262:2,14 270:10      290:16 296:16
  29:10,13,19 32:24      175:1 178:11         294:7                   272:6 274:11          340:9
  34:14,18,23 35:1       213:1 214:3,14      Lockey                   285:21 287:24       lot
  35:11,15,18 36:15      215:24 217:4,20      77:7                    289:16 292:15,17     40:22 117:1 137:16
  51:19 58:15 67:20      218:7 220:11,14     Logan                    293:16 295:11         141:18 146:21
  68:10 71:6 90:12       221:15 222:6         2:20                    299:22 301:14         207:7 239:5
  90:17 101:21,22        223:14 224:21       logistic                 306:11 328:23         299:23 343:11
  123:12,18,22,23        230:22 237:22        272:18 277:18           336:7 337:13          349:16,21 359:4
  124:1,6,12,13,15       267:2 282:23        London                 looked                lots
  126:13 130:13          347:2 348:2          145:21                 41:20,22,24 42:1      93:10 319:9
  133:9,16 143:13     lithotomy              long                     69:2 72:2 88:8      Louis
  145:10 146:22        185:23 187:2           39:10 168:8,9           89:20 107:20         3:14
  154:18 178:11       litigation                169:22 241:16         129:24 130:8,22     Louisiana
  217:20 281:13,18     1:5,23 3:23 8:6,11       280:18 281:17         131:8 142:10         2:10
  282:5,23 283:6         10:8,12 23:2,8         335:6,14,17           143:12 155:24       low
  304:1,3 347:1          36:18 37:4 39:17    longer                   159:18 163:6         153:5 334:4
listed                   46:22 48:5,15,21     58:23 59:9,12,15        165:17 183:12       lower
 13:15 20:15 35:10       49:8 52:5,9,13         209:7 310:13          184:10,11,15         197:16 223:8 269:4
  51:18 52:16 68:9       55:1 56:15 63:22       339:5,15 358:1        191:15 196:9          334:5 356:11,12


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 142 of 227 PageID:
                                     60487
                         Arch I. "Chip"        Carson, M.D., Ph.D.
                                                                                          Page 392

low-grade           103:4               145:14               2:19 9:2,2           medical
 212:19            Margaret             mass                 MDL                  1:15 10:5 58:5,6,13
lubricant          2:3 8:19             334:13 362:14        1:4 8:11 10:8 55:2    58:24 59:10 90:17
 134:9             margaret.thomp...    Master               mean                  175:1 207:19
lubricating        2:4                  344:15               18:4 22:15 39:23      220:22 330:7
 133:20            mark                 material              40:1 62:14 88:16     334:24 335:2,5
lucky              10:16 15:17 20:24    28:12 62:3 78:7       135:6 150:21         350:6
 282:15             25:23 26:10,22       151:19 229:8         153:5 157:10        medicine
lung                30:13 31:4 32:6      279:8 304:19,22      179:1 180:18        55:15 58:9,10 60:4
 130:9 131:3 292:5  32:18 36:5 124:15    312:13 314:15        236:8 254:2          60:7 79:22 80:18
lungs               130:2 159:20         342:19 361:10        264:11 270:7        meet
 84:6 182:18        163:2 192:2         materials             320:20 325:2        39:2 45:24
                    195:21 218:16       5:21 6:3 13:11,16     336:15              meeting
         M          225:12 247:2         13:18,22 14:2,24    meaning              38:13 39:5,18 40:8
M                  marked                15:8 18:19 19:13    262:2 273:13,24       45:22 48:4
2:3 3:12           10:19 12:11 15:19     19:14,16 20:17       288:18 297:17       meetings
magnesium           21:4,11 24:24        24:1,3,14,20         360:16              45:19 46:9,12,15
180:12              26:3,7,20 27:6       25:10,12 28:5       meaningful            47:9
magnitude           28:13 29:15 30:17    29:6,24 30:1        252:9                member
166:6 211:20        31:6 32:9,20         35:10,15,17 42:8    means                239:6 335:4
main                34:14 36:8,12        42:24 43:10 77:4    23:12 111:6 186:2    members
134:8               43:14 50:18 54:21    91:4 123:20          227:22 228:10       38:14 129:18
major               57:19 58:21 65:1     157:24 175:22        231:7,8,24 362:10   membrane
160:11              65:11 89:16,17       279:9 282:5 301:9   meant                323:10,13
majority            94:24 98:22          301:15,22 311:15    258:4                memory
57:9 109:19 137:10  100:20 102:4,15      311:16 321:11       measured             71:23 126:19
 245:12 326:12,17   124:18 130:4         347:24              314:11 340:8          183:15 276:6
 326:22 327:2       146:23 159:22       mathematical          341:21              men
 362:23             160:3 163:4         280:15               measurements         160:16 350:19
making              192:12 195:24       matter               232:6                menarche
54:17 216:23        218:15 225:16       8:10 15:22 16:6,12   measures             333:1,12
 330:17 336:9       243:2 247:9 271:2    16:15 17:15 34:11   241:10               menopause
mammalian           289:7,10 293:1       44:21 45:6 46:19    meats                333:1,12
288:20,23          market                47:1 49:5 51:22     358:13,14            menstruation
Managing           140:21                55:2 80:10 86:4     mechanism            183:23 184:3
99:2               MARKETING             89:13,14 96:14      224:12 248:11        mention
Mantovani          1:4                   106:7 141:3 149:1    249:20 279:3        109:19 256:6
127:5              married               172:12 187:20        299:23 300:2        mentioned
manufactured       331:16                209:7 215:9          314:19 333:23       49:23 51:5 104:8,9
22:4,6 146:12      Marriott              217:24 219:6        mechanisms            105:16 252:23
manufacturers      1:14                  303:8 345:9         126:22 135:11         345:24 362:4
145:14             Marysville           matters               303:22 312:14       mentioning
manufactures       76:17                37:7 86:1 100:11     mechanistic          255:22 350:14
60:15              mask                 Mayo                 326:6                merged
manuscript         145:13               90:16                media                58:17
101:1,4 102:18     masks                McBETH               278:13,15            mesothelioma


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 143 of 227 PageID:
                                     60488
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 393

 32:16 131:4          2:14                 mine                 MO                   months
 161:19 166:23        microenvironment     218:3 346:8          3:14                 23:19 45:6 261:13
 167:4 182:22         171:18 300:1         mineral              mode                  261:14
mesotheliomas         microphone           114:22 115:5,10      272:23               morning
167:7,9               284:2                 132:21 138:23       Model                284:12
met                   microscopist          180:11 345:21       282:20               Morristown
46:3 47:13 48:2,23    61:3                 mineralogist         modeled              3:9
 142:7                microscopy           61:3                 340:5                motile
metal                 162:1                minerals             modeling             303:14
77:18 169:13 172:2    mid                  64:16,20 344:19,23   232:8 340:13         motility
 173:23 180:10        39:13                 345:22               341:13              303:19,23
metals                middle               mines                models               motion
114:23 169:6,18       38:18 165:24         155:17 156:4,9       232:5 272:18         334:15
 170:12 174:2         midst                minimis               277:18 293:15       Mount
 175:8,19 176:1,6     221:7                325:8                modest               3:8
 177:8,13,18,21       migrate              minimum              233:2,19             mounts
 180:3 181:1,1        182:10 183:13        309:9                modified             111:2 233:14
 299:19,24 300:21      302:18              mining               16:20,22 28:24       move
metastasis            migrates             41:21 77:19 155:10   Mohamed              121:15 140:17
212:23                85:13 198:9 206:10    156:4,8,14,17,20    27:5                  162:8 176:18
meta-analyses         migrating             156:24              molecular             192:5 205:14
61:15 125:13          206:5                minor                334:16                236:8 241:21
 215:22               migration            103:6                moment                324:12 334:17,17
meta-analysis         82:3 83:5 88:10      minute               16:2 56:6,6 68:13     359:14
27:1,3 61:14 94:23     125:22 181:15       164:1 292:15          113:15 116:4        moved
 191:20 192:15         186:23 187:5         315:23 320:8         155:3 183:16        227:5 324:2
 193:8 194:5 195:3     190:15,24 194:15     335:9                234:18 280:6        movement
 195:9 215:13,18       197:15 203:7        minutes               281:14,16 282:4     362:19
 215:20 216:5          204:14,15 205:6     235:12 335:17         290:17 291:13       moving
 242:19,20 243:7       206:5,21 337:24     misclassification     315:1               323:21 362:5
 256:4 257:9           338:1 362:3         161:23 166:16        Monferrato           multiple
 268:14,20            Mike                  241:13              146:11               68:2 119:19 214:19
method                9:16 86:20           misclassified        monograph            multiply
143:17                milieu               167:8                6:18 176:14 178:10   299:16
methodology           279:11 362:18        misleading            203:13,21 204:21    multiplying
40:10 214:2 215:4     Miller               77:24                 205:11 289:12,17    212:14 310:16
 215:6,10 239:19      1:17 9:16 364:2,18   missed                289:24 291:12,16    mutagenic
 244:19,24 251:4      milling              271:11                291:18,22 292:13    313:17
 254:5 264:15         155:9 156:4,9,14     missing               294:10 295:17       mutagenicity
 294:24 295:14         156:18,20,24        291:15               monographs           319:8
 330:6                mind                 misspoke             28:7 178:11          mutation
Michael               81:11 165:9 192:6    258:4 361:23         Montgomery           120:13 312:16
1:17 2:13 8:24         281:14 296:22       misstates            2:5                   313:22 318:18
 10:22 48:17           351:23 358:21       19:20 65:24 128:23   month                mutations
 164:15 364:2,18      mindful               239:2 296:1         309:9 324:13         314:17 333:5
michael.zellers@...   265:12                332:19               350:11 351:2        M.D


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 144 of 227 PageID:
                                     60489
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 394

  1:14 4:5 5:1 9:18   231:13 349:21       Nicholson           notes                 309:9 314:11
  59:24 364:5 367:4   365:4               70:6 129:20         4:13 42:1 43:17       326:23 328:10,12
  367:12            need                  nickel               92:16 124:20,21      328:13 331:14
                    29:21 41:14 45:17     169:7,12,24 171:8    124:22 125:14        342:6 354:12
         N            54:5 57:24 58:1       172:1 173:23       126:18,19 183:19     357:13
N                     93:1 99:21 113:4      180:8,19           222:19 255:7        numbered
2:1 3:1               163:24 164:8,14     night                281:23 337:6,10     21:22,22
Nadler                173:5 192:9         29:20 33:7           337:14 368:1        numbers
282:18                213:21 234:1        nine                notice               71:20 194:13
name                  241:1 253:5 258:1   143:15 297:8        5:4 10:15 11:1        241:16 331:6,9
8:4 9:23 88:18        265:12 282:3        NIOSH                12:10,19 13:10       332:6
  123:16 284:10       291:11 292:14       76:16                14:6 15:1 23:24     Numerous
  343:21              295:11 309:11       nonfibrous          notion               286:2
named                 314:23 316:2        313:16              296:6 308:4          Nurses
36:22                 325:23 326:1,1,5    Nonmetallic         November             237:15,18 258:5
names                 333:23              77:19               65:22 89:12 227:5    Nursing
342:3               needed                nonobese            Ns                   59:5
narrow              249:6                 331:5               283:3                nuts
359:22              needs                 nonoccupational     NSAID                67:24
national            98:1 164:19 308:11    161:13 162:11       131:12 132:5         N.W
90:21,23 91:6,7,12 negative                 163:14            NSAIDs               3:18
  91:18 93:7,14     72:20 187:14          nonresponsive       131:19
  95:10,18 178:24     245:18 316:8        121:16 140:18       nucleotide                    O
  234:21            neither                 205:15 234:2      314:14               oath
natural             364:13,14               236:8 241:22      number               24:19 122:20
170:1 280:4 312:20 Ness                     359:15            5:3 7:2 45:6,13        152:14 173:15
naturally           79:23,24 80:8         nonsignificant       46:6 49:10 57:5     obese
170:3                 117:3,9,10,12       261:22               71:18 86:16 90:16   331:4
nature                127:1 136:14        nonthreshold         93:9 95:14 111:24   obesity
140:16 305:4 317:5    335:7,16            324:22               114:13 124:20       267:20 330:22
NCI                 never                 nonusers             125:5,17 146:14       332:15
92:23 94:6,21       60:14 62:8,17,21      170:13               147:23 155:5        object
NCI's                 63:6,12 64:9,12     non-coffee           159:5,9 160:15,15   11:22 17:20 19:19
94:8                  64:20 80:8 111:21   265:22               183:5 191:14          37:15 38:6 53:9
NCRA                  118:15,18 138:4     normal               208:22 212:16         54:1,5 55:13
364:19,20             182:8 216:5         122:11 313:12        215:21 217:9          60:22 62:11 63:8
necessarily           308:16 326:13,18      316:15 317:9,15    220:20 221:17         63:23 65:23 70:15
93:16 135:9 171:3     333:1,11              332:14             223:13 224:11         73:10 75:12 78:1
  172:19 173:2,9    new                   normally             227:3 228:4           78:12,22 80:15
  213:16 218:3      1:1 2:10 3:9 17:12    281:2                233:19 245:18         81:12 82:17 84:1
  239:3 254:18        25:5,10 119:15      Notary               250:16 251:23         84:20 85:14 86:14
  255:20 361:17       220:10,11 266:24    1:21 364:4,21        255:16 258:21         88:5 92:17 94:11
  362:14              267:13,16 306:3,8     367:20             259:4 273:4           95:3 97:8 98:3
necessary             307:16              noted                278:11 279:22         107:14 108:10
19:11 20:4 78:18    nice                  222:13,15 283:20     280:1 305:14          109:16 111:16
  79:2 173:12,16,17 263:23 325:11,17        365:11 367:7       306:3,5 307:16,22     114:6 116:19


                  Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 145 of 227 PageID:
                                   60490
                       Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 395

119:5 120:8,20       277:9 278:23        Obstetrics             64:7 65:21 66:1       286:16,21 287:22
123:10 127:14        284:23 285:14       32:15                  142:15                291:15,20,21,22
128:6,18,23          288:10 290:12       obtain               odds                    295:3,16 296:5
131:24 133:6         294:13,14 296:13    101:3                126:9 232:14 233:1      297:1 299:11
136:7 139:22         297:22 299:6        obtained               245:13 255:9          300:20 305:23
140:23 141:23        300:8 301:18        101:5 245:16           259:1 261:22          307:19 309:21
144:1 147:4 151:3    303:5 304:16        obvious                263:7,9,12 269:2      316:4 320:14
153:1,14 154:3       307:14 309:14       110:22                 272:22 276:20         323:2 332:12,15
155:11,19 157:8      310:6 313:23        obviously              277:22 278:5          332:22 335:19
158:12,21 159:6      315:18 316:10       303:22                 310:21 331:24         338:8 342:2 343:1
161:5 162:14         317:7,23 318:8,19   OB/GYN                 332:4 333:9,14,17     343:12,16 344:6
167:24 168:3         319:13,23 320:16    207:20               offer                   360:14 361:20
170:14,23 172:7      320:22 322:18       occasions            16:5 22:21 336:10       362:2 363:1,5
172:17 174:14        324:14,24 325:9     11:7 55:5 56:11      offered               old
175:9,16 179:4       326:20 330:10       occupation           171:12                42:1
181:8 182:3          340:18 341:18       229:19               offhand               older
184:21 185:10        345:18 351:19       occupational         333:13                29:4
186:12 188:10        352:15              55:15,18 57:7,10     office                once
189:14 193:10       objection              60:7 79:22 80:18   335:21,22             72:2 339:11 362:16
194:21 195:5        18:22 25:2 59:2        146:19 160:18      official              oncologist
197:3,20 199:16      87:12 88:22           161:1,15 163:7     70:2                  60:19
200:2 201:9 202:8    106:16 110:14         166:14 168:15      offset                oncologists
203:9,19 204:17      137:21 143:10         229:12 297:20      358:4                 208:17 338:12
207:4 209:10,18      144:22 147:17         298:5,9            offsets               oncology
210:14 212:2         148:23 151:14       occur                299:14                338:9
214:9 216:12         152:5 157:1         103:6 162:4 301:11   Oh                    ones
218:9 219:16         167:16 168:17         306:6              66:9 180:21 192:7     68:3 75:17 102:5
220:24 222:8         171:9,15 174:7      occurred               197:12                109:21 206:1
223:15,24 224:22     179:23 198:15       149:21 194:7 274:7   Ohio                    258:16 342:16,16
226:9 228:1 229:6    228:14 229:14         312:16             76:17                 one-half
231:20 232:18        234:9 242:10        occurrence           Okada                 60:6
233:3,10 234:2,16    291:9 293:19        17:3 111:1 119:21    127:3 287:5,8,10      ongoing
235:6 236:2,3,7      294:3 295:24          121:11 126:23        287:22              198:24
236:20 237:10        302:20 305:1          136:16 230:12      okay                  open
238:1 239:1          317:17 324:4,5        331:1              17:23 20:12 25:22     206:23,24
240:15 242:4         332:18,19 348:21    occurrences            39:9 44:5 63:4      operate
244:8 246:11         353:6,19 354:19     312:20                 65:3 74:5 92:3      278:13
248:2 249:2 250:9    355:8,17,21 356:7   occurring              100:23 113:3        operates
250:19 252:6         360:6 361:15        171:19                 123:18 124:15       97:22
254:8 257:18        objections           occurs                 130:15 138:15       operating
258:13 259:9        10:24 164:24 165:2   199:1 292:12           149:9 150:11        134:19
260:23 261:19       observational          308:15               165:14 192:4,21     operative
263:3,21 264:9      266:9,12,15          October                197:10 207:14       69:19
267:3,18 268:22     observed             36:19 37:13,18         247:10 258:2        opine
269:23 270:5        156:22 187:12          38:18 39:5,13        259:17 270:24       23:7 120:18 137:24
275:22 276:8,16      213:15 283:12         40:6,6,8 59:14       282:15 285:18       opined


                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 146 of 227 PageID:
                                     60491
                         Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                            Page 396

 150:24                236:19,22 271:17    17:3,8 23:5 27:4     249:17 250:7          338:1 339:5,11,14
opining                285:9,10 349:2,11    30:4 32:1,16 38:4   252:4 255:4         overall
82:14 108:3 122:20     349:13 350:23        38:20 41:2,12,15    256:22 260:21       110:20 217:11
opinion                353:15,24            41:24 53:8,23       267:1,9,17 268:5      230:24 292:2
43:4 74:20 81:18     opportunity            55:9 62:10,18       268:19 269:19,21    overarching
 81:24 82:5,7,9,10   16:11 352:5            63:1 66:13 84:17    270:18 272:24       293:11 295:14
 83:1,10,14,15,16    Oppose                 85:3,6 89:23 90:8   273:5,9,13,21,24    oversees
 84:15 86:7 88:12    236:11                 90:13,18 91:14,22   274:7,14,20 275:4   219:14
 92:23 107:21        opposed                95:12 106:3,11,14   275:10,19 276:4,6   oversight
 114:12 115:15       308:16 344:23          106:15,19 107:5     277:7 279:17        70:4 95:19
 116:6,9 123:2       opposite               108:5 109:4 111:1   280:8,13,22 281:7   oversimplification
 141:3 144:6         335:22                 111:15 112:3        281:22 282:14       214:12
 148:13 156:4        oranges                113:23 116:8        284:20 288:23       Overstreet
 169:10 171:17       254:19,19              119:22 120:6,13     289:2 292:4 296:8   3:23 8:5
 181:5,12 206:14     order                  120:19,23 121:22    306:3,5,8 307:7     overwhelmed
 208:7 210:5,12      76:21 92:24 98:2       121:24 122:8,18     307:12 308:12       313:1,6
 211:7,10 259:20       100:13 173:10        122:22 123:8,14     309:13 310:4        oxidative
 301:24 302:3,8,10     213:11 241:17        125:1 126:1,16,24   313:12 314:6        134:21,24 135:5,7
 303:12 305:16         250:23 256:21        127:7,13 128:2,13   315:20 316:16         135:12,15,19,23
 308:10 310:9          307:3,6 334:5        131:14,18,22        326:14,17 330:3,9     136:2,4,15,19,22
 311:10,24 346:18      346:13               132:7,12 133:12     330:23 331:1,4,11     137:15,17,20,24
 352:12 353:3,7,10   organization           135:21 136:5,16     331:18 332:23         138:6 198:24
 353:20 354:24       93:20                  136:24 138:7,8,13   333:20 338:14,21      199:7 200:10
 355:10 356:3,5,15   organizations          139:8,11 140:3      344:11 349:24       oxygen
 357:9 359:22        93:6,11,24 94:7        145:9,12 152:12     350:3,5 351:12      199:6
 360:4 361:12          279:24               152:16,19 153:10    352:21,22 353:5     oxytocin
opinions             organs                 153:12,17,21        354:11 355:3,7      186:8 188:17
16:5,8,9,12,13,20    198:21                 154:1,13,17,23    ovaries               O'Dell
 16:23,24 17:6,9     original               155:1,6 158:19    82:2,16 83:4,8,17     2:2 8:17,17 10:22
 17:13,17 18:9,20    193:6 316:3 365:15     159:4,10 160:5      84:5 85:13 116:5      11:22 13:3,9
 19:9,21 20:23       Orleans                161:19 162:12       116:7,11 154:8        14:20 15:5 17:20
 22:21 34:10 38:12   2:10                   163:8,14 166:14     169:19,23 177:14      18:22 19:19 20:9
 39:22 41:13 43:13   ounce                  167:8,22 168:6,8    181:14 182:1,10       20:12 21:17 25:2
 44:17,17,21 45:15   100:7                  191:2,16 192:23     182:14 183:14         37:15 38:6 46:10
 46:4 54:15,19       outliers               194:18 196:11       184:12 191:2          46:13 53:9 54:1,7
 57:5 63:19 64:1     245:21                 197:17 210:8        198:10 200:17         55:13 59:2 60:22
 70:19 71:10 79:1    outline                211:4,5 216:10      201:1 206:6,10,14     62:11 63:8,23
 79:5,12 80:14,23    285:20                 220:6,7 221:21,24   206:17 208:8          65:23 67:9,17
 81:2,3,4,7,16       outlined               223:8 224:13,15     209:2,6,17,23         70:15 71:17 73:10
 82:22 84:24 85:22   105:7 215:11           224:17 230:12,23    278:22 279:5          73:22,23 74:2,6
 89:14 95:8 117:18   outset                 231:3 234:7 235:4   283:12 321:23         74:14 75:12 78:1
 123:3 139:3,15      84:23                  235:18,20 237:1,9   362:7                 78:12,22 80:15
 156:8 196:6 215:9   outside                237:24 238:8,16   ovary                   81:12,22 82:17
 217:8,11,15,18,21   48:14 97:5 104:22      244:4 245:4 246:4 300:22 319:21           84:1,20 85:14
 217:24 218:2          304:13               246:10 247:23       323:2,6,8,11          86:14,20 87:5,12
 219:6 235:16,21     ovarian                248:10,24 249:8     324:7 337:18,23       88:5,22 91:23


                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 147 of 227 PageID:
                                   60492
                      Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 397

88:5,22 91:23       222:8,22 223:15       354:19 355:8,17      paper                12:15 27:17 31:15
92:3,5,11,17        223:24 224:22         355:21 356:7         27:6 84:12 89:17      38:23 41:10 46:3
94:11 95:3 97:8     226:9 228:1,14        360:6 361:15          95:6 100:16,17,19    49:4 52:23 82:22
98:3 99:8 106:16    229:6,14 231:20       363:5,13              101:15,21 104:3,6    86:3 90:9 103:5
107:14 108:10       232:18 233:3,10     O.M                     104:10,16,19         104:13,23 105:16
109:16 110:14       234:9,16 235:6      76:16                   105:22,23 106:1      105:22 123:3
111:16 112:22       236:2,11,20         o0o                     106:22 108:8         126:11 144:10
113:2,3 114:6       237:10 238:1        7:9 363:23              111:11 112:7,11      149:14 157:19
116:19 119:5        239:1 240:15                                112:13 113:2,21      173:13 174:21
120:8,20 123:10     242:4,10 243:4,14            P              114:11 117:20,21     180:12 195:9,16
127:14 128:6,18     243:17 244:8        P                       126:21 127:2,4,4     215:10 219:1
128:22 130:6        246:11 248:2        2:1,1,2 3:1,1           127:18 129:22,24     223:22 228:18
131:24 133:6        249:2 250:9,19      page                    136:11,14 155:3      231:24 279:11
136:7 137:21        252:6 254:8         5:3 7:2 17:24 18:18     159:16 160:2         291:4,16 314:19
139:22 140:23       257:18 258:1,13       18:19 21:24 24:23     161:6 162:17,20      318:2 319:1
141:23 143:10       259:9 260:23          30:24 67:8,20         162:21 163:1         336:15 341:10,13
144:1,22 147:4,17   261:19 263:3,21       69:4,6,8,16 77:8,9    164:8,19,20          345:10 347:6
148:23 149:22       264:9 267:3,18        81:8,16,19 99:6       165:18 245:23        358:18
150:6 151:3,14      268:22 269:23         99:17 106:21          246:23,23 247:13    parted
152:5 153:1,14      270:5 275:22          108:15 112:16         249:21 259:13       39:19
154:3 155:11,19     276:8,16 277:9        113:9 114:13,16       280:10 282:19       participants
157:1,8 158:12,21   278:23 282:3          115:23 124:24         314:24 315:10       272:2
159:6,23 161:5      284:23 285:14         125:8,16,17,20,21     316:3 320:7 335:7   participated
162:14 163:24       288:10 289:11,14      126:7,8 130:13        335:8 336:11        207:21 350:7
164:5,15 165:4,9    289:19 290:12         148:11,16 160:9       338:2 339:7,13      particle
167:16,24 168:3     291:9,17 292:14       163:10,19 164:2       361:24 362:1        303:1 334:11 339:4
168:17 170:14,23    293:19 294:3,13       183:2 196:16         papers                339:9,10
171:9 172:7,17      295:6,24 296:13       197:5 220:16         70:22 71:3 76:9      particles
173:4 174:7,14      296:22 297:22         221:13 229:22         111:13 127:10,24    182:14 184:5,12
175:9,16 176:17     299:6 300:8           243:15,24 248:1       128:17 136:15        185:22 186:11,23
176:21 178:4        301:18 302:20         248:17 249:13         337:24               187:22 188:2,7,23
179:4,23 181:8      303:5 304:16          256:19,20 260:17     paragraph             189:3 190:4,9,10
182:3 184:21        305:1 307:14          272:6,21 283:1,3     163:11,21 166:4,5     209:16 283:11
185:10 186:12       309:14 310:6          285:24 289:11,18      244:1,2 248:14       303:16 334:15,20
188:10 189:14       313:23 314:23         289:21,24 291:13      272:7 286:1 288:4    355:16 356:16
193:10 194:21       315:9,22 316:10       294:5 297:3,4         297:5 301:3 321:6    357:10 361:7
195:5 196:2 197:3   317:7,17,23 318:8     301:1 305:13          321:9                362:5,9,16
197:20 198:15       318:19 319:13,23      366:2 368:3          parallel             particular
199:16 200:2        320:16,22 322:18    pages                  245:1                44:2 77:23 151:17
201:9 202:8 203:9   324:4,14,24 325:9   21:23 68:9 71:5        Pardon                211:19 241:14
203:19 204:17       326:20 329:12         124:21 193:16        68:13                 280:17 282:7
207:4,10,14         330:10 332:18         210:12 367:5         Parmley               295:17 299:24
209:10,18 210:14    340:18 341:18       paid                   5:19 32:17            337:22 345:12
212:2 214:9         343:3,9,12 345:18   224:4,8                parsing               349:5 351:18
216:12 218:9        348:21 351:19       pancreatic             133:9                 357:18 361:6
219:16 220:24       352:15 353:6,19     265:11,24              part                 particularly


                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 148 of 227 PageID:
                                     60493
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 398

 83:17 91:3 141:5     271:6 315:22          331:23 341:15         277:17 279:17       petitions
 160:17 241:6         pay                   362:22                280:7,14,18,21      30:22 221:16
particulate           105:2                percentages            281:7,22 282:14     petri
187:19 209:7 303:8    PC                   303:3                  311:6,23 342:11     300:7
 304:19,22 321:10     2:2                  perfectly              351:3               Pharmaceutical
parties               Pecan                164:12,18             periodic             31:11
364:14                3:3                  perform               23:12                pharmacologists
parts                 peel                 42:13 241:8           periodically         220:22
209:8 336:7           359:11               performed             309:23               Philadelphia
party                 peer                 40:13 76:18 140:12    periods              2:21
364:11                102:15,19,21          173:19 182:8         261:3 263:20 280:1   phone
pass                   320:13,15,21         214:5,13 215:22       280:12,24 281:3     37:23
284:2,3                321:4                228:5                 310:12,13           phrase
passed                peer-review          performing            peritoneal           82:5,8
101:7 357:18          103:5,16 105:9       252:17                161:18               phrasing
passes                peer-reviewed        perineal              Perkison             83:13
303:20                27:21 95:11 103:10   17:2,7 27:4 82:1,12   79:21                physical
passing               pelvic                83:3,10 91:21        person               13:17
335:24                83:12 122:17,21       107:4 109:3          308:19               physician
pat                    123:8 126:15         110:24 111:14        personal             10:2 55:16 79:22
69:17,18 336:13        127:12,18 128:1      117:6 140:2 147:2    3:20 9:10 57:6       physicians
path                   128:12 207:1,21      152:18 168:14         151:5 156:2,17      207:23 208:4
182:18 329:1           327:9,15             181:13 183:1,13       196:23 257:3          213:20 220:21
pathological          Penninkilampi         187:6 189:9 198:9     280:20 284:19       physiology
62:9                  256:4,6 257:8         200:16 201:5,24       335:12 343:23       84:4
pathologist           Pennsylvania          210:7 211:3 214:6     345:5,13            Ph.D
62:6 162:3            2:21                  230:10 235:3         personally           1:14 4:5 5:1 9:18
pathway               people                247:22 248:10,23     156:19                 28:1 59:21 364:5
191:1,5 206:21,22     44:10,15 49:11        249:16 250:6         persons                367:4,12
patient                199:20 212:16        283:13 284:18        146:15 149:6         picked
171:14 328:18,20       221:3 240:2          306:16 311:12         182:15              259:23
 329:3,18 330:3        250:24 328:2         319:22 338:20        person-years         pickled
 350:10                336:4 337:13        perineally            212:6,10,17 310:15   229:10 357:11,19
patients               350:12 357:20       166:22                Perspectives           360:1,2,5,9,11
60:5 130:22 134:13     358:3,8,9 359:1     perineum              31:13                piece
 184:15 185:1         perceived            183:7 206:22 231:5    pertaining           51:4 87:15 119:23
 190:19 239:23,24     29:7                  232:4 296:11         182:9                  149:17 282:7
 240:1 327:14,21      percent               301:9,16 302:1,5     pertinence           piecemeal
 327:24 328:6,7,8     56:2 274:13 275:10    305:9 321:11         78:7                 40:20
 328:11,13,17          275:19 306:24        334:12,21 339:19     pertinent            pieces
 349:24 350:5,8,17     308:5                340:17 341:9,17      42:5,16 43:4 68:4    18:11 42:23
 350:21 351:5,15      percentage            341:22                70:17 76:22         Pier
 352:1                55:22 60:3 75:20     period                 167:10 186:22       70:8,9 148:12,18
pattern                76:3 273:12,23      23:14,15,17 40:21      214:18                149:11 150:1,10
238:5 308:22           274:23 302:4,9,14    44:24 96:1 145:15    petition               151:17 158:2
pause                  307:10,11 327:21     168:7 261:9 262:9    219:12               Pier-47


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 149 of 227 PageID:
                                     60494
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 399

Pier-47                 142:24 148:22        313:9 326:7 331:2   30:22 93:21 191:23  294:1 326:9 356:9
7:5 148:18 149:11       178:2 224:5          340:13 344:3         205:19            potentially
  150:2,9,19 151:10     285:12 346:2,5       346:8 352:9         positive           77:24 221:20
  152:2 158:2,7         347:12 361:21       pointing             72:9,13 107:3       233:22 360:8
pipe                  plans                 112:23 294:15         109:8,20,21 110:7 pound
145:21                85:9 352:2            poison                110:23 145:18     100:7
Pitocin               plant                 311:1,18              154:20,24 166:11 powder
188:14                146:12                policies              191:14 210:6      1:4 8:11 17:3,8
Pittsburgh            plasters              91:8                  221:23 223:5,7     22:2,4 23:4,11
117:11                146:1                 polite                245:3,9,13,18,20   30:4 32:1 38:4,18
place                 platy                 74:10                 261:22 263:8       48:20 52:4,8,13
97:18 315:18 364:8    137:10                polycyclic            316:8 354:14       53:8,23 55:1,8,9
placed                plausibility          358:14               positives           62:23 63:20 64:2
227:8 314:5           230:1,10              polymorphisms        187:12              64:10,13 65:5,8
places                play                  314:14               possession          66:13 72:18 73:1
162:5 254:16          303:22                pooled               12:18               73:7,8,17 81:19
placing               players               166:6 192:18,21      possibilities       82:1,13,15 83:3,7
245:1                 233:15                population           328:23              83:10,18 84:17
plain                 please                258:19 265:14        possibility         85:2,6 87:16 90:8
211:21                8:15 9:24 30:12        308:15 309:6,7      244:23 262:7        90:13 91:13 107:4
plaintiff               53:12 73:24 87:7     332:1 334:2          278:17 312:4       107:13 108:5
28:14 46:2,21,24        98:19 105:15        populations          possible            110:24 114:17,22
  50:21 51:24 57:14     113:15 119:10       166:17 254:16        90:15 111:22        115:24 132:11
  72:14 75:11           164:5,9 165:10      population-based      178:21 179:14      133:3,19 139:8,10
  171:24                243:18 301:2        239:17 240:13         187:11 189:2       139:12,16,20
plaintiffs              343:15 365:3,8       244:21               241:24 242:9,12    140:21 141:4,5,12
2:6,11 8:18,21,23     pleurodesis           portion               243:11 244:14      141:16,20 143:5,7
  10:12 13:1 15:5     129:5,7,13 130:9      347:17,19             262:3 265:20       143:9,24 144:8,16
  20:3 23:1 24:6        130:23              portions              266:8,13 267:17    144:16,20 147:3
  25:11,15,17,20      PLLC                  221:8 336:23          268:7 272:14       147:11,14 148:6
  26:17 27:10 30:10   3:2                   pos                   288:7,15 355:19    148:13 151:11
  32:3 33:5 34:16     plugged               187:1                 356:4,6,17         152:3,18,23
  34:19,24 35:7,19    280:16                posed                possibly            157:14 158:10
  35:24 36:5 38:14    pocket                351:17               16:9 225:8 229:3    175:8,15 176:7
  39:3,16 44:9        123:24                poses                 249:19 266:24      177:9,22 178:3
  45:20 47:5,14       point                 214:7                 267:9 303:18       181:13 182:1,23
  49:9,14 51:1        38:1 40:3 42:11       position             posterior           184:14 192:22
  53:15,17 57:12        49:19 86:23 107:1   30:3 69:21,22 90:7   301:23              193:19 194:6
  65:20 71:13 72:5      136:12,13 142:11     94:21 185:24        potential           198:8 199:4,12
  75:18 78:20 80:6      147:13 148:5         186:22 187:3        37:5 97:19 134:10   200:1,16,18,23
  80:9 96:13 101:7      187:24 190:2         188:22 204:14,20     136:24 158:18      201:4,16,18 202:1
  101:10,15 102:13      194:10 202:11        205:6 206:4,10       159:3 161:22       202:6,18,21,24
  103:22 104:14,24      209:21 223:2         234:15,20,23         170:20 171:21      206:5 210:8 211:3
  105:12,18,23          233:14 236:6         246:24 338:11,17     172:22 180:4       211:6 216:9
  108:22 117:24         289:3 292:3          338:19               241:9 268:9,21     219:11 220:6
  118:13,21 141:22      295:17 311:10       positions             276:14 277:14      230:11 231:4,7,11


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 150 of 227 PageID:
                                     60495
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 400

 231:19 232:2,9       precautionary         presently            print                  214:13 241:2
 257:3 260:22         97:13,15,17 98:7      85:10                24:7                   311:22 312:10,23
 262:10 270:18         98:10,16 99:15,18    presumably           printed                313:1,15 314:20
 272:2,14,24           99:20 100:4,6        331:17               320:9                  340:3,13 341:12
 274:22 275:6,11      precept               pretty               prior                  341:13 357:18
 275:20 288:6         97:21                 31:18 43:5 68:7      65:24 96:17 107:1      362:3
 296:8 298:7,24       precision              85:19 168:8          189:19,21 272:2      processes
 299:5 302:4          37:21                  206:23,24 217:3      277:3,23 301:5       121:11 127:20
 305:22 306:16,22     predecessors           297:12               364:4                 156:16
 307:1,8,12,23        147:20                prevalence           privileged            produce
 308:2,6,12 309:11    Pregnancy             306:18               13:7                  154:1 216:2 321:13
 309:19 310:3         318:13                preventative         probable               362:16
 311:9,12 313:11      pregnant              99:22                178:21 179:14         produced
 325:13 326:12,18     333:2                 prevented             226:21               14:14 20:1 72:4
 340:6,16 341:8       premenopausal         325:19               probably               75:21 149:6
 350:10,13 351:8      255:10                prevention           11:8 56:1,12 60:9      313:14
 351:11 352:9,14      preparation           100:7 233:23          66:23 151:20         produces
 352:20,24 353:10     19:8 43:22,24          306:17               178:17 201:21        82:13 114:18
 353:16,21 354:2       108:17,20            preventive            205:12 226:17         115:24 116:6,10
 354:10 355:2,6       prepare               58:9                  227:1,9 277:1         292:4
 357:22 358:23        24:4 42:10 43:19      prevents              279:8 308:21         product
 359:5,23             prepared              202:11                312:8 327:22         22:4,6 69:24 72:11
powdered              17:9 24:4 50:6,9,12   previous              334:13 335:8          77:23 132:18
134:17 189:22,23       126:13 346:23        48:4                  338:2 348:12          151:9 152:3
 305:3                 347:10,11            previously            350:7,19 357:24       296:10 306:1
powders               preparing             10:24 28:13 29:9     problem                350:22
140:3,3,15 167:14     18:14 65:11 284:17     32:23 42:3 48:2     312:15 345:3          production
power                 prescribed             51:14 56:14         problems              133:12
211:15,17,22 251:5    330:16                pre-2014             93:13 134:11          products
 251:10,21 252:8      presence              276:20,24             312:21               1:4,5 3:20 9:11
 258:17               49:17 72:10 134:24    primarily            procedure              22:2,2,5,7 23:4
practically            138:16 169:6         134:11 145:24        319:2 330:17           49:17 57:16 60:15
245:20                 184:12 265:5          146:4 153:20        procedures             73:20 75:16
practice               319:1                 160:24 161:2        11:10 155:9,14         140:13,21 141:5,6
31:16 38:24 47:21     present                168:16 181:17       proceeded              141:13 143:5,7,9
 60:4 70:13 76:4      142:21 169:16          279:6 328:3         214:20                 144:8 146:1 147:3
 328:4 358:17          170:6 175:21,24      primary              proceeding             147:11,15,22
practices              244:4 266:11,14      93:15 182:24         28:15 38:9             148:7,13 151:11
1:5 41:21 76:1         357:14                205:20 206:1        proceedings            151:13,21 152:4
 100:15               presentation           210:23 360:7        4:3 8:1 10:9 363:21    155:9 184:20
practicing            324:7                 principle            process                214:7 219:11
335:1                 presentations         97:13,16,17,24       28:11 43:18 95:19      284:19 343:24
preamble              345:12                 98:7 100:6 311:18    102:17 103:5,9,16     344:23,24 345:2,5
28:7 293:4,8          presented              356:10               105:9 120:10,12       345:13,17 350:10
 294:16,21,23         134:1 209:22          principles            122:11 171:18         353:16,21 354:2
 295:12                325:19               99:13                 173:20 198:24         354:10 355:2,6


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 151 of 227 PageID:
                                     60496
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 401

profession           proven                 321:1               364:10                32:4 38:2 39:16
335:4                111:3                 publications         purview               40:10,12 53:11,18
professional         provide               62:22 64:17,22       13:6                  62:14 65:16 68:6
1:18 19:23 42:4      57:5 59:16 72:15       70:22 76:13,23      pushes                81:15 86:2 87:24
 55:24 58:16 61:11    79:11 84:5 219:10     77:10 103:10        334:11                92:2,12,13,14,15
 138:1 364:2,19      provided               108:6 135:19        put                   92:18,21 107:17
professionals        25:11,14,17,19         142:1 213:12        78:10 124:1 207:18    110:10 112:9
220:23                26:16 27:10 30:10     337:18               230:6                113:14,19 115:14
professor             33:4 34:16,19        publicity            putative              116:22 124:10
58:9 61:8             35:6,18,24 50:3      272:1                28:12                 127:23 128:9
program               51:10 53:3 59:5      publish              putting               135:17,24 148:4
178:24 344:16         75:17 77:21 78:11    76:9                 346:15                153:8 156:11
progress              78:20 101:14         published            P-346                 158:24 165:5,8,10
147:23 300:11         102:12 142:23        31:12 51:14 61:13    7:7 28:14 293:5       165:13 171:13
progression           318:2 346:19          61:16 63:6 64:9                           172:4 180:15
280:4 303:16          349:13                64:12 71:3 85:5              Q            206:15 214:15
proliferation        providing              85:17 86:17 92:24   qualifications        215:2 216:3
115:2 139:1          56:15                  100:18 103:1        142:9,10              263:16 285:4,4
promotion            proving                107:1 117:2         qualified             290:24 292:7,9
116:13 120:13        218:6                  119:10 146:8        17:16 156:11          293:7 294:17,19
 313:18              proximity              185:5 204:20        qualifier             296:18 298:21
propensity           323:4 341:23           206:4 208:19        309:16                300:18 304:11
212:23 304:18        psoriasis              214:3 216:1,5       qualifying            307:2,5 312:22
proper               122:4                  260:13 267:2        294:19                316:7,21 317:13
172:15               psychological          281:3               qualitative           321:18 338:13
proportion           359:7                 pull                 173:8                 344:4 347:9 349:1
140:7 224:16         PTI                   192:9 295:4 314:24   quality               349:15,18 351:1
proposal             3:15,15 9:13,14        315:23              40:14 69:23 70:5      351:17 352:2
136:21 219:9         public                pulled                70:11 157:24         358:21,23 359:21
 248:15              1:21 61:9 79:18       289:18                228:5                360:3 362:2
proposition           89:21 93:5,10,21     pulling              quantified           questioning
125:23 126:15         93:23,23 94:7        123:24 349:20        206:16 340:9         33:23
 128:5 183:6 287:6    96:1 100:15 239:8    Pulmonary            quantify             questions
 287:23               344:15,16 364:4      77:11,16             143:22 231:23        15:6 23:7 33:9,17
propositions          364:21 367:20        pulmonologist         339:18 340:15        34:3 85:24 87:3
54:17                publication           62:1 79:21            341:7                112:6 113:1 150:3
propounded           5:9,11,12,14,18,20    pure                 quantities            156:6 159:13
367:6                 6:5,6,7,9,10,13,15   353:5,9,12,17        73:19 74:21 75:1      162:24 164:21
prospective           6:16 51:3 63:18      purport               169:15 321:13        168:24 181:22
237:7                 77:3,15 91:16        190:14               quantity              195:14 218:18
protection            94:9,14 96:18        purpose              201:21 232:2,9        245:1 256:16
179:1 314:19          101:14 102:3,14      28:8 33:14,20         257:2 354:4          278:7 283:24
protective            102:19 103:19         95:15               question              285:23 301:5
135:10                106:23 123:7,17      purposes             11:13,18 12:3,6       315:7 343:7 363:4
proved                136:3 138:5,11       283:9 349:4           17:2 18:10 20:2      363:14 367:6
97:20                 213:5,8,9 214:18     pursuant              22:18,21,24 23:3    quickly


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 152 of 227 PageID:
                                     60497
                       Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                          Page 402

 282:9 303:2         245:13 261:22        297:16 336:6       10:23                8:4,16 10:23 14:16
quite                263:7,9,12 269:3     337:19 365:3       Reath                  89:4,8 177:1,5
56:5 90:15 213:3     272:22 276:21        367:4              2:19 9:3               247:16 253:5,8,12
 252:16 264:1        277:23 278:5       reading              recall                 363:8,12,19
 329:19              331:24             91:23 92:7,15,16     14:6 29:12 31:22     recorded
quotation          rationale              134:6 162:16         37:10 47:22 48:3   314:9
245:8              136:21                 193:17 196:19        69:12,14 70:7,24   recording
quote              ratios                 222:23 243:15        79:13 90:10        232:6 321:16
91:24              126:9 255:10 259:2     244:1 248:7          101:16 105:7       records
                     310:21 332:4         272:11 314:3         142:11 187:16      76:21 149:8,12,20
         R           333:9,14,17          342:18 348:5,14      240:23 241:7,24    recruit
R                  RDR                  reads                  244:20,23,24       239:20
2:1 3:1            364:18               286:1                  269:7,8,13,18      rectal
radar              reach                ready                  270:3 272:2,15     198:12 199:13,23
204:3              79:5 116:5 173:10    113:13,19 321:12       276:11,14 277:14     200:11 202:24
radioactive          177:14,19 182:1    real                   280:6 286:19       redline
183:17 187:19        201:1 206:17       270:4,8                301:13 338:3       337:2
  189:5              215:14 263:8       really                 340:22 341:14      redo
radionuclides        319:21             105:2 115:13 143:6   recalled             43:2
189:3              reached                186:22 295:12      271:21 274:21        redox
ran                141:11 182:14          309:1 312:11         275:6              181:3
29:20 33:6 36:2      311:11               317:14 336:12      recalling            reduce
  336:1            reaches                349:15             281:5                131:21,22 147:21
randomly           169:18,23 177:16     realtime             receipt              reduced
193:23               177:18 206:13      1:21 296:23 364:3    365:16               191:6,7 194:13
range                362:6                364:20             receive                196:13
309:23 333:14      reaching             reason               10:15 43:24 346:6    reduces
ranging            215:8                94:1 132:17 133:22   received             132:11 240:22
276:22             reactant               133:23 134:8       10:20 59:21 143:16   reducing
rapid              318:11                 241:20 245:4       Recess               306:14
122:12 132:19      reaction               286:13 300:4       89:5 177:2 253:9     reduction
  304:19           287:1,19 317:1,19      302:17,21 351:22     363:9              132:6 193:24
rapidity             317:20 322:22        365:5 366:4,6,8    recessed               194:17
302:19             reactions              366:10,12,14,16    363:21               refer
rapidly            119:21 121:6           366:18,20,22,24    recited              21:24 22:1 23:11
278:21 279:4,10      312:21             reasonable           146:18                 29:21 33:16,22
rappel@seyfarth... reactive             227:24 228:12        recognize              81:10 115:17
3:18               199:6                  330:18             225:18 357:1           187:18 190:13
rate               read                 reasonably           recognized             192:8 211:14
45:10 297:19       44:15 100:1,24       39:11                208:12 213:13,17       235:2 258:5
  303:18,20 306:11   107:9 112:13       reasoning              233:15 267:21      reference
rates                127:17 130:16      216:16               recommendation       20:19 24:22 35:15
121:14 167:3,22      154:16 166:19,20   reasons              143:14                 35:17 51:18
  168:6              222:2,3 250:3      93:10 160:12         reconsider             210:11 296:6
ratio                252:24 267:8,11      238:21             203:14 204:1         referenced
137:8 232:14 233:1   290:15,19 297:12   reassert             record               7:1 143:12 158:5


                   Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 153 of 227 PageID:
                                     60498
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                               Page 403

  216:19,24 217:3       154:16 188:5          123:13 124:3          146:15 160:19      274:21 276:4
  280:11 296:10         267:13 292:2          162:10 236:15,22      215:15 236:14      reminder
  347:5                 298:10,13 304:20      354:17,20             245:14 258:18,23   343:21
references              326:9 337:17        related                 259:2,6 331:24     remove
15:11,14 17:24          345:4 358:6         41:8 48:15 49:18        332:4 334:4        200:5
  18:3,7,17 19:3,17     361:24                77:18 91:10           364:13,14          removed
  20:5,15 24:11,15    regardless              136:15 161:1        relatively           360:22
  29:9 32:24 33:11    78:7 304:20             248:12 249:21       267:16               render
  35:22 52:17         regards                 269:15 285:6        relevance            38:12
referral              294:22                  331:1 360:8         349:18               rendering
328:3                 region                  361:13              relevancy            34:11
referred              187:6 198:9 200:17    relates               349:8                RENEE
24:21 102:3 151:24      201:6 202:1         1:7 37:22 41:11       relevant             3:17
  184:8 192:15          311:13                55:18 66:13 82:11   42:24 334:10         Renée
  210:12 270:13       Register                91:8 95:12 117:5      348:18             9:9 343:15,22
  328:1,6 330:2       134:7                   212:6 337:23        reliable             repair
referring             Registered              339:8               78:6                 312:14,22 313:1,7
22:3 110:16 121:13    1:20 364:3,19         relating              reliance               314:20
  158:4 205:23        regression            31:24 55:7 62:9,18    101:21               repeat
  211:16 287:17       272:18 277:18           62:22 63:1 72:23    relied               11:14 53:11 107:16
  305:21 321:21,24    regular                 77:22 86:7 120:1    76:12,19 77:1,4        165:15 296:17
refers                27:17 31:15 210:7       131:13 136:24         88:8 232:12          301:4
211:17 228:4            231:6,19 284:18       138:11 167:9          242:21 271:16      repeated
refine                  309:18 310:1,3,20     192:22 234:7          346:17,21          305:15
43:1                    326:13,19 327:18      252:3               relies               repeating
refresh               regularity            relation              205:20               165:10
71:22 126:19 164:1    301:11 304:12         112:2 126:23          relook               rephrase
  183:15                305:10 321:8          209:24 212:13       246:17               11:15 336:16 344:5
refute                regularly             relationship          rely                 replacement
54:19 245:11          199:20,22 231:4       30:4 38:19 41:3       70:13 71:9 76:6,8    268:15,18 269:5
refuted                 308:11 327:14         47:5,8 48:11,14       93:4 97:6 104:22   replete
54:10,16 217:22,24      357:14                51:6,8 53:22          174:3 205:17       140:14
  218:4               regulated               54:11 58:4,12         242:18             report
refuting              361:9                   86:18 90:7 91:17    relying              5:5 13:12 14:4 15:9
328:24                regulation              121:10 127:6,8,19   18:20 19:15,16         15:15,16,22 16:3
regard                328:15                  133:11,14 136:17      123:1 201:3          16:16,19 17:10,15
290:7 291:6 293:14    regulatory              140:2 154:16,20       281:11 282:13        17:16,23 18:11,14
  299:19 304:13       97:7 219:13             159:3 210:7 211:3     354:17               18:18,21 19:3,8
  318:16              Reid                    256:22 262:24       remains                19:11,13 20:1,4,6
regarding             6:6 159:15 160:2        263:1,18 265:6      169:22 324:9           20:20 21:1,7,15
18:9 22:18 36:17      rejected                268:5 284:18          339:11               21:21 22:10 24:15
  37:6 41:18,23       219:11 225:6            286:15 329:21       remember               24:16,23 25:1,7
  55:17 63:19 64:21   rejects                 353:4 354:10        37:20 165:12           25:22,24 29:11
  65:4,8 69:23,23     203:6                   359:1,6               183:20 269:20        42:10 43:13,18,19
  72:10,19 75:15      relate                relative                349:16               43:22,24 44:1,13
  78:24 93:16 138:1   17:1 18:4 48:5,7      145:17,19,23          remembered             45:15 49:4 50:3,5


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 154 of 227 PageID:
                                     60499
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 404

  50:6,9,9,12,12,14    19:7 40:14 49:11      research              Respectfully         resulting
  50:17 54:14,21         49:13,16,24 50:24   27:18 31:16 38:21     359:16               87:10 88:3,20
  57:22 65:11,17,19      52:7 67:21 68:9       40:13,15 62:9,18    respiratory            137:18 310:21
  73:3 80:14 81:8        72:8,9 116:14,23      63:12,17 64:8       77:14 134:11         results
  81:10,16 89:12         117:2 120:2,3         76:5,15,18 87:13    respond              72:10,13,19 82:1
  92:8,9 94:3,4          132:3 140:1,14        91:8 93:15,17       12:15 34:3 164:21      83:4,7 86:12
  100:18 105:20          141:21 142:2,5,21     105:17,20 126:20    responding             111:6,10 120:13
  114:13 117:13,15       142:24 143:3          129:17 132:3        30:21                  151:16,18 157:23
  122:10 126:20          146:10 310:16,19      138:5,11 139:11     responds               181:13 191:2
  132:9 145:12,22        353:8                 139:24 140:11       292:7                  194:9 196:18
  146:9 148:10         represent               158:18,23 159:2     response               215:23 222:21
  155:22 158:7         18:13 105:1 284:13      159:12 165:21,21    12:10 13:10 23:23      223:18 232:4
  181:24 183:3           343:23                178:23 225:24         33:17,23 113:24      245:6,16,18,19,20
  192:16 205:9         represented             231:1,1 238:4         115:1,6,8,12         260:17 266:4
  209:1 210:13         345:21                  248:16 249:6          138:24 219:8         269:19 277:4
  211:12 215:11        represents              251:8 254:15          285:3 321:16         326:4
  216:2,21,23 217:6    19:5 226:12 233:21      285:11 300:14         322:13,16 362:17   retained
  229:22 230:22        reproductive            301:21 310:19       responses            32:3 36:16 46:19
  251:8 255:24         26:11 27:13,20          313:8 332:3 334:8   321:13 322:6,9         48:20 57:15 65:19
  256:7,9,18 270:12      82:4,12 83:6,11       347:2,7,24 348:13     350:20               96:14
  282:4,8 284:17         84:4 86:12 87:10      349:13,17 353:8     responsible          retention
  285:9,22 291:2         88:2,14,19 116:18     354:1,3,9,12        70:10 91:7 230:12    249:7 347:15
  292:10 294:12          119:4,13 181:16     researched              352:21             retrograde
  297:4 299:20           181:18 183:1,8      168:16 284:21         responsive           183:22 184:3
  309:18 336:5,6,23      185:7 186:24          285:5,6             12:18 15:1 20:2      retrospective
  346:18,24 347:5        188:6,8 191:3       researching           rest                 242:2 243:10
  347:20,23 348:9        200:18 206:11       118:4 347:18          265:14 323:15          244:13 260:12
  348:11 349:5           207:17,24 301:10    reside                restated               269:11
  352:13 355:23          301:16 303:3,21     199:3                 100:6                return
reported                 304:14 305:9        residence             restates             365:14
84:11 109:8 113:22     request               209:21                92:23                revel
  157:22 166:7         14:7 51:11 72:21      residency             restating            358:17
  174:24 175:2,5         108:22 285:11       350:7                 210:22               reverse
  185:14 191:10,11     requested             residents             result               306:14
  246:2 261:13         143:14 327:16         60:7 80:19            16:21 88:9,11        review
  283:12                 364:11              resides                 185:8 191:6        18:14 19:22 27:2
reporter               requests              339:4                   200:11 201:15        27:16 30:6 31:15
1:19,20,21 9:16        12:16                 residual                212:17 221:23        31:23 39:22 40:1
  12:6 364:3,3,3,19    require               200:6 266:7             245:3 285:10         40:19 42:12,13,15
  364:20,20            100:9 173:9 241:16    respect                 305:17 306:17        42:17 43:7,8 44:1
Reporters                306:20,23           17:6 33:9 91:13         311:19 313:17        45:14 46:5 49:5
1:19 364:2,19          required                103:16 114:10         314:16 334:6         50:5,8 52:20 53:1
reporting              100:10 171:3            131:9 173:22          348:2                65:14 66:23 68:14
274:5 322:5,9,13         328:14                174:5 175:14,18     resulted               68:15 72:22 73:2
  322:16               requiring               187:4 205:6 206:9   64:17 146:10           75:11 77:14 79:6
reports                217:2                   234:6 237:15          203:13               80:23 86:3 90:6


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 155 of 227 PageID:
                                     60500
                        Arch I. "Chip"         Carson, M.D., Ph.D.
                                                                                            Page 405

  90:10 95:11 98:19   15:9 19:18 20:15    160:6,13,19           262:17,21 263:2       249:17 250:7
  99:9 102:20,22      21:8,15 24:1,12     162:13 163:1,8,23     264:4,8 265:3,8       254:2 258:18,23
  108:19 113:1,4,10   25:1,18 26:12,15    165:18,22 166:8       266:5,15,22           259:3,6 260:20
  113:17 164:8,19     27:7,11 28:1,15     166:21 167:15         268:12 269:16,22      262:6,6 267:1,10
  164:20 193:13       28:19 31:2 32:12    169:8,9 170:1,4,8     270:4,14,21           267:17 268:19
  203:12,22 205:13    34:11 38:5,21,22    170:22 171:8          271:10,13,17          277:7 291:23
  205:17 214:14       38:24 39:7 44:24    172:2,12,22 173:1     272:3 273:1,5,15      299:12,14 305:17
  220:10,13 223:13    45:2 49:5 50:13     174:22 176:14,16      274:3,9,16,22         306:13,13,15
  224:20 242:21       50:19 52:18 53:18   178:12,18 179:10      275:2,7,8,12,21       308:12,15 309:13
  257:22 282:4,17     54:22 56:16 59:19   181:16 182:11         276:7,15,24 277:8     310:4 311:9,13,16
  291:14 316:5        59:22 60:1 61:21    183:3,9 184:9,16      277:24 278:22         311:19 312:1
  320:13 321:4        62:10 63:7,22       184:18 185:1,24       279:18 282:12,23      325:8 330:14
  348:2               67:5 68:21,24       186:8 188:9,16,24     283:14,20 285:19      331:4,10,13,18,24
reviewed              71:7 81:5,9,20      189:10 191:12,23      291:21 293:9          332:14,16,23
5:8,21 6:3 14:3       83:8,20 84:18       192:16,19 193:2,9     299:16 301:12         333:3,4,6,10,22
  19:8,14 20:18       85:3 89:18 91:1,5   194:2,9,20 195:4      309:4 311:4 312:2     334:1 338:14,21
  35:9,12,14 40:21    91:22 94:10,19      195:12,16 197:2       315:5 333:13          350:15 356:12
  42:8 43:9,16 49:4   95:1,8,22 96:6      197:24 198:8        right-hand              360:10 361:17
  49:12,13,15,24      98:2,11,12,17       199:5,15 200:21     160:9 243:24          risks
  50:2,11,14 51:1     99:15,16 100:12     201:1,19 202:3,7      248:15 272:7        146:15 160:19
  51:12 52:7,11,14    100:18 101:1,11     202:15,19 203:4     rise                    330:13 332:4
  66:3,8,10,10,11     101:18 103:2,24     203:17 204:16,23    20:18 238:12            334:4
  66:16,20,23 67:13   106:8,12 107:13     205:1 206:3 208:1     245:14              RNA
  67:22 68:12,20,23   107:22 108:1,6,9    208:9 209:9 210:3   risen                 314:12 318:24
  69:13 75:7,9,15     108:18 109:9,12     210:9,13 214:8      217:2                 Roberta
  75:23 76:2 87:8     109:15 110:4        215:5 216:6         risk                  79:23,24
  89:11 91:11 95:6    111:15 112:6,16     218:22 219:2,15     27:4 84:18 90:13      rooms
  100:17 102:16       112:21 113:18       219:23 220:18,23      90:17 91:14,22      134:19 342:22
  108:16,21 142:4     114:1,10,14,19      221:8 222:17          95:12 96:10,17      rose
  142:17,21 143:4,8   115:2 116:2 117:9   223:14,23 224:5       99:3 107:4 110:13   109:22
  217:5 219:1 221:6   117:14,18 118:16    225:4,24 226:18       113:23 121:21       rotations
  227:8 242:18        121:19 122:13       226:22 227:10,13      122:8 126:2 132:7   207:20
  281:7 290:3         123:23 125:2,6,10   227:19 229:17         132:11,23 133:3     roughly
  295:23 309:8        126:2,5,10,12       230:1,16,17           134:2,2 145:17,19   274:5 279:19 303:8
  320:15,21           128:17 129:4        232:11,14 233:2       145:23 152:19       roulette
reviewing             130:10,14,17,20     234:21 235:14,16      162:11 163:14       251:23 252:4
67:1 211:11 347:24    130:24 131:4        236:16 238:24         166:18,22 172:11    route
  348:6,14            132:7,12 133:5,20   243:7,13 244:7,17     172:15 173:8,13     82:19 179:3,19,21
reviews               134:16,22 138:14    246:24 247:13,23      173:20 174:21,23      181:20 182:24
215:24                138:19 139:17       249:1 250:18          190:20 192:23,24      298:10
revisiting            142:5 145:6         252:13 253:18,19      193:22 211:5        routes
278:17 342:4          146:20,23 147:1,3   254:3 255:1,18        214:5,7,12 215:15   179:11
Rheumatoid            148:14,19 155:6     256:13,23 257:4,9     220:7 222:1 231:3   routine
121:18                155:10 156:5        257:13 259:8,20       232:14 236:4,14     23:12 328:14
right                 157:15,20 158:3     260:4,14,22 261:6     244:4 245:14        routinely
10:3,9,13 11:5 13:8   158:20 159:5        261:11,18 262:11      247:23 248:11,24    321:11


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 156 of 227 PageID:
                                     60501
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 406

Royston               35:22 340:2          76:16                  41:17 60:5,11       sentences
3:15 9:14             saying               screen                 67:15 69:9 77:5     113:13 286:22
rule                  127:21 245:11        204:4                  99:4 109:5 149:23   separate
227:23 228:11           279:21 287:20      screening              155:3 183:18        21:1 28:4 149:19
  357:16 364:11         332:8              5:15 30:13 89:15       218:17 255:6          347:22 348:3
ruled                 says                   330:18               260:18 263:1,5,18   separated
140:10                98:8 244:10,18       Seal                   272:9 277:19        310:14
running                 249:4,11,12        129:20                 278:2 281:19        sequestered
296:23                  250:11 288:22      search                 286:4 287:10        132:20 362:18
runs                    294:4 321:3,22     25:13 34:20 36:3       290:4 292:24        sequesters
346:10                  329:4 339:14         40:12,23,24 41:1     297:4 315:20        116:2
Russ                    357:16               41:5,10,15 42:7      316:23 317:19       sequestration
36:22                 schedule               42:24 43:2 79:6      319:16 327:14,24    171:19
                      351:3                  214:17 295:9         328:11,13 335:23    series
        S             scheduled              349:20               339:24 340:14       168:23
S                     189:18               searchable           seeing                serous
2:1 3:1               Schildkraut          342:14               167:7,9 338:3         153:20 212:19,20
Saed                  6:16 255:13 270:12   searched               342:12                212:21 237:2
27:24 51:5,9,19,21      270:16 271:5,12    41:1                 seek                  serve
  313:15,21 314:5       277:15             searching            241:19                58:8
  315:16 316:8        school               315:2                seeking               served
  319:11,20 320:7     61:9 79:18 207:19    second               348:13                10:24
  361:20 362:1          239:8 281:1        50:17 54:4 81:24     seen                  service
safe                    344:16 350:7         82:9,10 99:19      16:17 84:11 139:11    14:3 59:16
312:5,9 325:3         science                125:8,16 145:15      167:21 208:19       services
  355:11              94:5 105:2 342:8       163:20 166:3,5       321:16 332:4        1:23 3:23 8:6 56:16
safer                 sciences               181:12 244:1         337:16 341:6          58:7,24 59:6
359:10,10             26:12 27:14,20         247:24 248:17        342:21 351:5        serving
safety                  59:18                273:3 331:21       selected              58:23 59:9 105:11
30:3 214:7            scientific           secondary            71:12                 session
SALES                 19:6 51:4 98:1,9     82:19 181:19         selection             312:12
1:4                     99:23 120:17         331:17             221:22 239:16         set
sample                  175:1 204:8        Secondly             self-report           15:11 16:14 19:6
187:12 193:24           213:18 218:6       215:21               243:11 244:14           19:17 38:13 43:13
  251:9                 220:11 221:14      second-to-last       send                    54:15 81:7,18
samples                 222:6 223:14       163:11               346:6                   95:15 155:22
143:14 190:3            224:16 269:14      secretions           sense                   364:9
San                     313:8 339:3,13     200:7                336:9                 sets
3:4                   scientist            section              sensitive             220:16
satisfy               62:4 70:9            24:16 112:14,18      209:16 210:1 241:6    setting
43:4                  scientists             113:6 115:17       sent                  54:15 57:7,10
Saturday              150:23,24 213:20       124:24 125:22      14:10 328:17          settings
1:11                    220:21               157:23 249:13      sentence              160:18 207:20
saved                 scope                  291:7,11           99:19 107:9 112:22    seven
233:22 305:17         344:10               see                    286:1 287:20        297:8
saw                   Scott                18:1 30:12 40:13       290:18 301:7        seventh


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 157 of 227 PageID:
                                     60502
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 407

  58:15                72:16 109:21            262:16 263:8,9,12   230:4 297:8          soon
Seyfarth                 117:12,17 145:23      275:14 277:22       size                 352:4
3:17 9:10 343:23         146:14 245:3,9        278:5 310:21        194:1 251:9          sorry
shake                    255:8,9,14 313:11     326:23 334:6        Sjösten              20:12 54:3 67:9
340:16                 Shower                  345:3 352:19        183:21 184:4 189:7     69:7 86:21 100:19
shakes                 22:3,3,5,6              354:14 360:19       skin                   103:12 107:16
340:8                  showing               significantly         286:24                 119:17 163:11
share                  237:3 318:17          196:22 198:2          skipping               173:7 184:1 197:8
24:6 35:23 44:13       shown                   201:22 275:21       198:3                  222:23 236:8
  117:23 346:7         72:12 88:11 112:1       277:6               slide                  243:14 260:3
shared                   119:2 139:12        signing               345:22                 271:9 298:22
80:17 346:1,1            144:10 236:23       365:10                slight                 310:10 316:1
Shaw                     237:8 253:21        silicate              360:10               sort
3:17 9:10 343:23         301:11 303:16       180:13                slightly             42:15 67:24 121:6
sheet                    331:14 354:13       similar               16:20 193:18           149:16 238:18
146:13 365:6,9,12      shows                 83:15 116:21 162:1    slow                   240:5 251:22
  365:15 367:7         192:23 213:1 231:2      166:7 201:15        303:15                 295:14 300:13
shield                   238:4 260:20          300:3 358:7         slower                 323:16 325:14
314:20                   273:3,7             similarity            303:20                 336:14,16 341:12
shipped                shutdown              106:24                small                  350:13 358:24
151:20                 221:7                 simple                74:20 76:3 77:21     sounds
short                  sic                   68:7                    159:4,11 160:15    171:14 184:17
86:24 310:12 311:6     26:1 144:21           simplicity              169:15,16 208:22   source
  343:4 363:6          side                  289:18                  223:7 279:7        104:5 105:3 136:18
shortcut               248:15 272:7          simply                  334:15,20 348:7      155:17 286:7
281:19                   335:22              61:7 136:3 245:17       353:23 354:4       sources
shorten                sign                    251:12 252:16         361:1,3 362:21     54:10,16,18 104:7
311:22                 365:8                   254:14 334:14,16    smoke                  104:11,13 127:8
shortly                signal                  340:21              358:8,11               143:16 157:17,18
344:9                  211:19                single                smokers              South
short-circuit          signature             221:19 299:13         265:22               2:14 3:13
14:12                  364:11                  314:13 339:19       smoking              so-called
show                   significance            340:16 341:8        265:13,18 266:1      353:9
25:20 72:15 84:17      109:23 238:13         sir                     358:8              space
  88:9 92:9 117:15       245:15 254:6        20:9 150:14 164:7     SNPs                 323:16,17,17 324:8
  119:8,20 124:13        258:24 259:7          180:22 207:11       314:13 318:16          324:8,9 365:6
  132:10 151:1           261:9,17 262:5        297:4 329:13        social               speak
  185:6 200:10           263:11 276:24         331:7               47:4 278:13,15       43:6 297:11
  202:17,23 209:6      significant           sit                   Society              speaking
  210:6 237:23         55:16 87:16 100:14    123:6 156:7           338:12               165:1
  238:4,7,15 245:13      109:9 110:3,11      sitting               sold                 special
  246:8 253:24           143:19 147:21       67:5                  151:12 152:3         136:2 162:3,6
  255:3,17,20 257:7      159:11 166:12       situation             somebody's           specialist
  262:9 268:5            235:9 240:21        208:15 265:19         318:14               207:2 208:6
  313:15                 246:2,9 253:22        293:5               somewhat             specialists
showed                   254:1 257:16        six                   311:16               207:24


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 158 of 227 PageID:
                                     60503
                         Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 408

specialty             spinning               305:10 321:8        253:15               329:22
335:3                 251:22 252:4         starts                status               strike
species               split                272:7                 103:15 199:7         31:1 33:2 34:6
199:6 288:20,24       57:13                state                 stay                   46:23 53:16 61:12
  291:24              spoke                9:23 41:17 106:23     284:3                  63:5 64:8 69:7
specific              79:11,15               107:6 109:7         stays                  80:4 90:1 98:14
20:5 21:24 22:17      spring                 114:16,21 122:10    339:14,15              118:20 121:15
  22:18 64:3,4        344:13                 127:11,16 128:17    Steering               122:3 131:6
  73:18 78:14,19      spurious               132:9 166:10        2:6                    140:17 141:10
  92:5,6 93:1         221:23                 180:18,21 181:2,6   stenographic           152:9 160:22
  115:14 134:5        square                 229:22 248:20       247:15                 176:11 186:6
  137:23 171:14       2:20 190:1             249:10 256:19       stenographically       204:12 205:4,14
  175:7 216:20        St                     257:1 290:6 291:2   364:8                  210:4 212:9
  285:4 330:13        3:14                   292:10 321:9        step-wise              217:22 219:20
  344:22              stack                  364:22 365:5        147:23 167:18          222:14 227:16
specifically          24:10                stated                sticker                236:9 240:8
19:15,16 23:9         staff                187:11 203:16         28:18                  241:21 259:6
  41:16 62:20 64:21   221:3                  245:7               stimulate              264:18 265:17
  88:24 90:10 105:6   stage                statement             115:1 139:1 188:15     276:22 356:4
  116:24 126:18       142:12 330:20        67:3,7,14 120:15      stomach                359:14
  177:15 180:23       stages                 123:2 138:21,22     360:9                stringent
  220:2 267:12        42:12                  167:19 203:12       stop                 219:10
  289:2 299:21        stamp                  286:7 292:12        13:3 301:12 306:24   strings
  317:21 320:1        30:24                  301:7                 331:20 344:5       348:11
  339:14              stand                states                straying             strong
specificity           128:5 254:22         1:1 90:4 91:1 93:18   358:22               86:18 121:10 235:4
264:12                standard               97:18 100:12        stream                 235:24 255:9
specifics             218:5 220:13 319:7     113:21 219:14       345:6                  288:19,22 291:3
316:14                  319:9                221:13 291:7,10     Street                 292:10 293:24
Spectra               standing               306:4               1:15 2:4,9,14 3:3      294:7 326:8
58:14 59:10,12        186:20 187:5 304:2   stating                 3:13,18            stronger
spectrum              starch               17:16                 strength             17:18 85:1
235:20 258:8          29:1 183:22 184:4    statistical           229:23 230:8,19      strongly
  288:12                189:22,23 190:9    109:22 110:22           235:17             110:8 111:2
spend                   190:10               211:15,17,21        strengthened         structural
55:23 342:17          start                  223:18 233:8        17:1,6               279:8
spent                 12:3 40:16 65:10       254:6 258:23        strengthens          structure
45:13 60:4 347:14       65:17 232:3          259:7 261:8,17      95:7                 180:24 323:7
  347:18,19 348:5,8     250:24 263:6         262:4,20 276:23     stress               structures
sperm                 started                331:2               134:21 135:1,5,7     137:7 154:8 321:23
302:19 303:3,9,14     65:18 168:11 335:1   statistically           135:12,15,20,23      321:24
  303:19,23             340:3              110:3,11 246:2,9        136:2,4,16,19,22   student
sphincter             starting               253:21 254:1          137:15,17,20,24    345:11
202:10                39:22                  262:16 277:6,22       138:6 198:24       students
spin                  startling              354:14                200:10             344:15
213:10                301:11 304:12        statistician          stretched            studied


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 159 of 227 PageID:
                                     60504
                        Arch I. "Chip"         Carson, M.D., Ph.D.
                                                                                          Page 409

  161:4,13 212:16     246:8,18 249:23     253:24 255:7,9,13   40:20 284:20        suggestions
  226:2 265:8         249:24 250:16,17    255:14 257:11,12    subset              336:11,19
  310:13              251:5,6,7,13,18     257:17 258:5,9,12   77:21 78:5          suggests
studies               251:20 252:3,9,15   259:3,8,18 260:9    substance           248:9 249:15 339:4
84:16 88:7,10         252:18,20,21,24     260:13 262:3        132:21 135:4,7      suitability
  106:24 107:13       253:21 254:7,11     266:9,12,15,21        170:20 178:21     29:5
  108:5 109:8,19      254:20 255:3,16     269:3,11 270:12       179:2 183:21      Suite
  111:7,10,20,22      257:7 258:9,22      270:16,20 271:5       227:18 328:9      2:10,20 3:4,13
  112:1,15,20         259:5 264:20,23     271:13,19 272:4       340:7 360:21      summary
  113:22 114:1        265:1 266:5 268:2   276:2 277:2,4,15      361:4 367:7       109:1 149:17
  119:2,7,11,19       268:4,8 270:11      281:6,11 282:13     substances          superior
  123:13 124:2        271:15 281:6,11     286:10,16 287:23    73:19 74:21 91:10   132:15
  125:5,10,18,22      282:13 283:11,16    296:11 297:14,15      135:14 202:5      supervisor
  126:9,13 128:3,4    283:19 286:2        299:11,18,21          226:12 295:1      60:6
  128:8 131:7,13,19   293:17 294:2        300:6,12 313:10       353:11            supervisory
  132:5,10 135:18     295:23 296:5,9      321:16 332:3        substantial         69:22
  140:6,12 146:11     297:9,20 298:17     341:11              134:1 167:5         supplemental
  146:14,18,19        298:19 301:14     studying              substantially       102:2,11 347:8
  147:1 154:15        303:11,15 304:1,3 265:10                103:7               support
  160:10,21,24        305:2,4 308:7,15 stuff                  substantive         79:12 89:13 91:20
  161:13,15 162:10    309:8 310:11      349:17                79:12 194:8           148:12 191:22
  163:22 167:23       311:21 313:13,21 subcommittee           Substitute            209:1 217:15,18
  174:24 181:23       314:12 322:5,8,12 129:19                29:1                  221:15 296:6
  183:5 185:17        322:15,21 331:14 subgroup               substituting          303:12 305:7
  188:1 191:12,15     334:3 354:5,13,13 193:22                29:5                supported
  192:19,22 193:6,9 study               subject               substitutions       237:16 305:12
  194:5 195:8 200:9 38:21 84:12 101:6   51:13 138:6,12        75:5                supporting
  201:3 202:17,23     101:10 110:17       365:10              subtypes            270:13
  205:20 206:1        123:1,7,16 126:14 subjects              112:3 237:12        supportive
  208:19,24 210:6     129:12 130:8,12   238:11 239:20         successful          34:10 193:21 196:6
  210:11,23 211:11    136:4 145:20        241:17 252:10       148:3 341:1           217:7 219:5,8
  214:23 216:9,11     147:7 154:19        341:2               suffer                246:24 259:19
  216:17,18,19        161:6 182:9       submission            241:12,14           supports
  217:1,3,7,10,13     183:24 184:2,3,6  57:22                 suffered            95:7 126:14 190:15
  217:18,23 218:1     185:21 187:11,18 submit                 258:17                190:23
  221:18 223:4,6,6    187:24 188:4,7,20 96:23 97:3            suffice             sure
  228:4,6,9 232:17    189:7,17 194:13   submitted             351:14              14:13 36:1,2 39:6
  232:22 237:1,4,7    195:12,15,17,22   25:7 51:3 96:20       sufficient            53:14 54:6 62:13
  237:8 238:7,10,15   196:4 211:15,18     221:15 320:18       59:15 216:2 226:7     62:16 68:3 70:3
  238:20,20 239:16    211:22 212:7      submitting              226:13 230:5        87:1,5 105:15
  239:18,22 240:12    221:19,19 222:20 103:10                   283:8 312:23        107:19 113:16
  240:12,13,14,20     233:1 237:16,17   Subscribed              321:10,12           129:16 135:16
  240:22 241:6,8,12   237:18 239:20     367:15                suggest               136:9 150:21
  242:2,3 243:13      240:21 241:1,2,4 subscription           107:2                 165:5,11 174:16
  244:5,7,16,21       242:15,17 249:14 346:13                 suggested             176:23 180:14
  245:9,10,13 246:2   250:23 251:16     subsequent            38:13                 186:22 195:21


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 160 of 227 PageID:
                                     60505
                         Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                                          Page 410

  197:9 238:21       synthesize            363:9 364:8          221:24 223:7        55:1,7,8 62:22
  240:4 243:21        93:21              takes                  224:12,14,18        63:20 64:2,10,13
  260:2 264:24       system               281:17                225:7 227:15,17     65:4,8 66:13
  270:7 292:6         83:20,24 84:4,6,10 talc                   230:11,22 234:7     72:17 73:1,7,8,17
  305:23 329:16        208:8,12,17 209:3 3:5,10 10:8 22:2       235:3 237:9,24      81:19 82:1,13,15
  343:12 346:9         303:21 337:17       27:4 29:1,6,7 37:3   238:8,16 243:11     83:3,7,10,18
  362:21               362:12,15           41:2,9,11,24         244:3,14 245:3      84:17 85:2 87:16
surface              Systematic            49:17 55:2 64:19     246:3,10 247:22     90:7,13 91:13
54:19 217:12          27:2                 64:21 69:23 70:5     248:9,24 249:8,9    107:13 108:5
surgeries            S-A-E-D               85:12 86:8,13        249:16,18 250:6     110:24 114:17,22
207:21                27:24                87:11 88:3,11,20     252:3 255:4         115:24 132:11
surgical                                   89:22 90:12,17       260:21 268:5        133:2 139:7,10,12
133:20 134:16                  T           91:21 107:4 109:4    269:21 271:22       139:16,20 140:3
surprised            table                 111:14,20 114:23     273:14 274:2,6,15   140:20 141:4,5,12
340:22                24:11 108:15 109:1   115:5,8,10,10        276:4 277:5         141:16,20 143:5,7
surrogate              149:15 257:15       116:5,6,9,15         283:11,13 284:19    143:9,24 144:7,15
318:22 354:21          260:16,17,20        117:5 118:13         286:3,10,17,22      144:20 147:3,11
surround               272:21 277:20       119:1,14 120:1       287:9,16,18,21,24   147:14 148:6,13
323:15               tables                126:4 127:6          288:8,23 290:9,21   151:11 152:3,18
surrounding           102:2,11             129:13 130:23        291:6 292:1,2       157:14 158:10
116:12 180:24        Taher                 132:16,21 133:11     293:14,16 294:1     167:14 175:8,15
  321:23,24 362:7     5:12 27:5,6 89:16    133:14 136:16        294:22 295:13,18    176:7 177:9 178:3
surrounds              94:24 100:16,24     137:5,6,6,10,12      295:22 299:19       181:13 182:1,23
323:6                  102:3,14 105:23     138:17,18 139:4,5    300:2 302:9,13,18   198:8 199:3,12
surveillance           106:1,23 107:11     139:21 141:14,17     303:1 304:13        200:1,16,18 201:4
328:14                 108:8 111:11        141:21 142:14        305:8,16 313:16     201:15,18 202:1,6
survey                 112:7,10,13         143:16 147:22        313:17 314:5        202:18,20,24
129:12 351:24          113:21 245:23,24    151:9,24 156:8,13    316:24 317:2,20     206:5 210:8 211:3
  352:3                361:24              156:17,20,24         319:17,19,21        211:5 216:9
Susan                take                  157:6 158:11         321:17 322:6,9,22   219:10 220:6
70:6                  10:7 12:6 43:16      166:22 167:4,9       324:23 334:11       230:11 231:4,6,11
susceptibilities       86:23 87:3 89:1     168:14 169:7,12      335:13 338:2,13     231:19 257:3
267:14                 96:5,5 97:18 98:2   169:19,22 170:12     338:21 339:10,18    260:21 262:9
susceptibility         98:10 99:9,21       171:19 176:2         341:15 342:5        288:6 302:4
308:20                 124:12 130:1        177:17,17 180:9      344:11 345:17,20    305:21 306:16,22
susceptible            164:1 166:18        180:20 181:7         353:5,9,12,16,17    307:1,8,12,23
83:17 239:16           176:19 220:15       182:10,13,18         355:22 356:19       308:2,6,11 309:11
suspect                228:22 229:1        183:6,12,23,24       357:5 358:20        309:18 310:3
154:5 199:18           242:23 243:23       184:2,8,12,14,20     362:16              311:9,12 313:11
  208:21 329:23        248:14 260:5        184:24 185:8,15    Talcs                 325:13 326:12,18
swear                  281:14 290:19       186:19 187:5,22     31:11                340:6,16 341:8
9:17                   292:17 315:1        189:9 190:20       talcum                350:10,13,22
sweating               343:3,14 363:6      192:24 196:11       1:4 8:11 17:2,7      351:8,11,16 352:9
200:6                taken                 198:11 199:3         23:4,11 30:4 32:1   352:13,20,24
sworn                 89:5 92:8 177:2      200:11 206:10,13     38:3,18 48:20       353:10,21 354:2
9:19 364:5 367:15      207:18 253:9        209:24 214:7         52:4,8,12 53:7,23   354:10 355:2,6


                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 161 of 227 PageID:
                                     60506
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                              Page 411

  357:22 359:23        39:4                 test                    364:22              295:5 298:10
talc-containing       tell                   72:19 143:17         text                  305:4 310:14
 301:8,15              11:13 26:23 36:1       157:23 162:6         339:3                314:10 318:6
talc/ovarian            44:3 67:4 76:11       196:20 198:1        textbooks             323:24 324:19
 36:17 268:1            118:8,11 119:10       318:17 330:18        338:5,9,10           329:22 332:24
talk                    124:5 129:14          353:11              Thank                 333:20 335:10,11
 134:20 160:8           169:20,21 225:18    tested                 11:2 21:17 54:7      335:12 340:8
  163:21 165:20         243:19 259:22        143:17                 130:5,6 159:23      344:17 347:21
  254:23 256:17         281:10 288:21       testified               192:10 196:1,2      348:3,23 349:14
  264:7 288:2,4         292:22 339:23        9:20 55:6 56:8         243:3,4 283:9       349:21 351:4
  328:22 335:6          342:2                 279:16 339:16         284:7 316:4 343:2   357:15,16,22,22
talked                telling                 347:13 348:16         363:2,16            358:2
 38:8 44:16 46:3       124:8                  349:23 352:7        Thanks              think
  47:13 49:2 55:2     tells                   354:7                344:8               11:11 24:17 30:8
  117:16,19 118:18     110:21 328:21        testify               theoretical           35:21 37:9 44:22
  170:18 259:14       ten                    17:14 57:5 124:4      117:1                49:18 50:23 52:23
  268:12 278:8,16      56:12 310:20           364:5               theoretically         64:1 66:22 67:17
  283:17 287:13         335:17              testifying             242:11 311:5         74:14 77:5 80:17
  301:3 312:11        tendency               83:2 149:6             317:10              81:1 82:10 84:13
talking                213:10               testimonies           theory                85:19,24 86:16
 45:23 55:24 65:14    tenets                 71:3                  85:6,12,18 117:4     87:13,13 92:18
  161:7 164:7 177:8    310:24               testimony               122:15 131:17       94:1 104:7 108:12
  196:17 205:9        term                   11:5 19:20 24:19       168:2 186:15        111:8 118:6
  233:7 246:6 291:1    135:22 136:23          56:17 65:24 68:19     190:15,24 194:16    120:22 121:23
  307:10 309:3          208:12,15,17,20       71:1 78:21 118:21     197:15 200:15       122:1,23 123:18
  315:3 321:7 342:4     212:5 265:2           128:21,23 152:14      203:7 204:14,15     124:14 126:21
talks                   304:12 337:16         173:14 187:2          206:5,9 209:2       127:16 128:8
 112:14,18 126:22     terminated              190:18 239:2          210:4               132:2,8 133:8
  290:1                58:3,11,16 277:3       251:17 252:2,12     therapy               141:15 143:15
tallying              terms                   252:14 301:13        268:16,18 269:5      144:10 148:5
 45:16                 18:15,20 20:23         332:20 364:8        therapy-treated       154:14 156:11
tape                    22:14,15 41:2       testing                255:11               167:17 173:18
 89:4,8 177:1,5         43:6 46:9 56:17      70:11 72:8,16        thereabouts           178:10 193:3
  253:6,8,12 363:8      62:18 76:20 94:13     140:13 141:21        231:9                201:8,20 203:12
  363:12,20             133:9 136:20          142:18,24 143:5,7   thing                 203:14 206:19
taught                  138:5,8 159:9         143:9,11 151:18      133:15 142:20        208:14 209:20
 344:13                 160:8 201:21          155:17 157:13,19      241:11 278:14       213:22 214:4
teach                   235:21 252:8          157:21 330:12         295:15 318:17       217:16 218:4,15
 344:10,12              278:9 280:21        tests                   336:17              219:7 220:12
technetium              331:6 345:2          85:11 86:3,6         things                228:3 231:24
 183:17 189:5           349:20                150:24 162:3         12:22 38:11 42:19    239:3 247:4
technical             Terry                   197:12 206:8          49:18 89:10 119:8   251:19 256:10
 19:7                  6:8 191:19 192:1       209:6,13 319:7,10     124:3 133:9         258:15 259:23
technically             192:15 194:5        Texas                   175:21 204:9        260:8 266:10
 65:18                  195:3 268:11,14      1:16 3:4 8:10 58:4     209:22,24 222:19    268:7 271:9
telephone               268:20 269:3          59:1,4 239:7          271:20 278:7,18     280:19 282:8


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 162 of 227 PageID:
                                     60507
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                                Page 412

  284:2 285:1 289:1   three                 Tinsley                 118:9,19 167:12       88:14,19 116:18
  293:2 294:14         46:14,17 47:9         3:12 9:12,12 363:3     214:4 216:4           119:4,13 181:16
  298:8 299:8           106:22 185:18       tissue                  278:10 351:10         181:18 183:1,8
  301:24 303:7          221:6 245:21         133:12 135:1,2,5     top                     185:7 186:24
  304:6 305:11          291:24 297:8          135:11 170:11        165:23 256:19          188:6,8 191:3
  307:20 311:14       threshold               287:4 313:12        topic                   200:18 202:13
  314:1 315:4          311:8,11 312:1,2,4   tissues                216:6 345:12,13        206:11 207:17,24
  316:12 320:24         312:8 313:6 325:3    114:18 116:1,11,12   topics                  301:10,17 303:4
  326:7,15,22           355:11,12             135:6,8 185:1        41:6                   304:15 305:9
  333:18 335:14       thresholds              198:13 199:14,15    toss                  training
  336:1,13 337:5,15    326:9                  199:24 200:13        109:15                19:23 55:17 138:2
  337:21 338:18       thumb                   286:23 287:15       total                 transcribed
  340:3,12,24          13:20 36:5,11          321:14,15,20         19:22 161:3 307:16    314:12 318:24
  341:20,20,22        thwarting             titanium                310:15              transcript
  342:9 343:1          122:12                292:1                totally                69:14 221:6 364:7
  345:20 346:4,8      time                  title                  148:3 296:19           365:17,18
  347:3 350:6,24       8:7 11:12 16:19       27:2                 touch                 transcription
  352:17,19 356:8       23:14,16,18 25:7    titled                 344:17 345:1          367:5
  356:19 358:21         37:3 39:12 40:20     28:24 31:10 32:15    touched               transcripts
  359:18                45:9 55:22,24         77:18 249:14         64:18                 50:1 52:12,15,21
thinking                57:21 59:15 60:3      270:17              touches                 66:4,7,20,22 67:2
 80:18 105:19           60:8 75:5 101:23    today                  323:12                 67:21 68:8,12
  267:12 362:1          120:4 147:13,18      8:6 9:16 10:7,17     toxicity              transformed
third                   148:6 161:17          11:10 12:13,20,24    180:4                 319:4
 26:14,15 83:14         169:19 192:5          13:20 14:21 15:2    toxicologic           translates
  125:21 208:7          199:1 209:21,23       15:7 16:13 17:13     311:20                236:5
  243:24 273:7          215:19 228:22,24      17:18 22:1 23:23    toxicologist          transmission
thirty                  234:6 260:5 261:4     24:21 28:4,22        10:5 47:20 137:4      134:10
 365:16                 261:9 277:24          29:18 33:4,15,21    toxicologists         transport
Thomas                  280:5 290:19          34:1,9 36:6 45:21    220:22                184:11 185:21
 47:16,19               303:7 306:11          50:18 51:16,20      toxicology              186:11 188:6
Thompson                310:17 311:6          74:7 83:2 100:22     59:22 178:24           202:11 301:8,15
 2:3 8:19,20 46:10      312:5,18 323:22       120:18 124:4,6,12     300:15 310:24         303:7 304:13,19
  46:11,16,18 47:9      323:23 324:2          156:7 181:5 206:3     328:4,5 334:24      transported
  48:11 236:12          327:8 329:22          218:14 305:15         335:2,5              183:7 305:8
Thoracic                339:8,10 342:12       312:12 344:3        toxin                 transports
 129:18                 342:17,23,23          345:24 348:17        299:13                202:21
thoroughly              347:18,19,23          352:7 354:7         toxins                trash
 102:8                  348:5,8 351:3         361:24               299:12,15             349:22
thought                 359:3 364:8         Today's               trace                 travel
 20:2 29:21 33:16     timely                 16:11                 170:11 177:8,13,21    200:18 303:2
  33:22 167:13         99:21                told                  track                 traveling
  227:3 264:14,15     times                  38:2 39:20 42:9       296:17,24 362:5       202:6
  271:24 336:9         206:18 282:20          43:10 44:7,19       tract                 travels
thousands               305:15 309:24         47:2 79:7 80:8       82:4,12 83:6,11       200:16,23 201:6
 159:8                  329:17 332:14         84:23 103:21          86:12 87:10 88:2      202:14


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 163 of 227 PageID:
                                     60508
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                             Page 413

treat                   323:3 324:1,12         154:13 155:6       102:23 138:1        304:14 305:9
 60:11                 tubes                   179:2 240:11       147:19 148:2       urethra
treated                 183:14 184:4 190:3     241:3 280:2 328:6  151:15 156:17      202:2,7,10,15,22
 254:14 316:17           190:5 191:5 201:1     357:2              157:16 349:1       urinary
  319:17 349:24          303:17 322:17,23    typical             understood          202:13
treatment                323:15               45:5               11:20 53:20         usage
 212:14,15 314:17      tubing                typically           undertook           268:16 269:5
treatments              146:13                42:13 70:13 71:2   32:2                 310:12
 93:15                 Tucker                  238:12            underwear           USB
tremolite               2:13 3:12 9:13                           341:11,16           5:21
 77:13 144:11,21       tumor                           U         underwent           use
  145:3 146:6           166:16 313:3         Uh-huh              130:23              17:3,8 23:4,11,12
trend                  tumors                 320:12 344:1       undo                 23:13,21 27:4
 110:23 114:4 255:9     280:2,4,13           unable              312:23               38:3 53:7,22 82:1
Trendelenburg          turn                   241:18 255:22      unfair               82:12 83:3,10
 188:21                 106:21 108:15        unaware             92:19                99:14,18 107:4
trends                   163:10 196:16        67:24 205:4,5      unfortunately        131:9,13,20
 354:15,16               285:24 301:1        uncontrolled        251:15               132:10 133:19,24
trial                  turning                221:22             Union                134:15 140:2
 16:6,15 17:14 56:9     305:13               Undated             3:15 9:13            166:21 168:15
  56:19                Twitter                5:12               United               169:19 174:4
tried                   342:7,22             undergraduate       1:1 90:3,24 93:18    181:13 182:22
 54:12                 two                    59:17               100:12 219:14       184:14 187:13
true                    25:16,18 35:21       underlying           306:4               189:8,9 190:14
 90:19 121:5 154:7       37:12 41:3 77:10     99:12              universe             192:22 196:11
  172:5,9 190:12         89:10 96:5 113:13   Underneath          231:1                199:11 200:11
  216:14 262:23          145:5 148:11         126:1,4            University           201:17,18 202:19
  263:17 267:5           149:5 150:17        underpowered        58:4 59:1,4 239:7    202:24 208:20
  275:24 301:20          151:24 160:11        241:18 251:16,18   unknown              211:4 214:7 216:9
  326:15,16 334:19       201:21 221:5          251:20 252:16,22 266:20                220:6 221:24
truth                    222:19 272:12       understand          unmeasured           230:22 231:19
 364:5,6,6               297:7 299:12         11:13,14 15:4 18:5 266:13,17            232:10 235:3
try                      327:13 343:5,15       22:8 23:10 80:3,5 unreasonable         237:24 238:8,16
 11:15 14:12 34:2        347:21 350:12         87:21 95:21,24    134:1                243:11 244:3,14
  39:17 156:12         two-thirds              112:11 127:18     unrecognized         246:3,10 247:22
  231:23                272:12 306:10          168:7 180:15      266:17               248:9,23 249:16
trying                 type                    207:22 284:14     update               249:18 250:6
 15:4 18:5 112:8        25:12 61:17 144:7      310:23 324:21     94:8 237:16          252:3 254:5
  311:7 328:18           146:2 153:12,21       329:19 339:17,20 updated               260:21 261:10,11
tubal                    153:22 155:1          344:4             220:9 258:5          261:13,14,17
 190:13,14,19,23         172:24 174:12       understandable      updates              262:10,13,15
  191:3,17 193:1,20      179:15,16 244:6      296:20             58:20                263:10,12,14
  194:7,19 196:12      types                 understanding       uploaded             270:18 272:3,15
  196:24 197:18         76:2 144:10,19        36:11,13 38:10     24:5                 272:24 273:18
  198:4                  145:8 146:5,17        72:7 73:5,16 75:3 upper                274:6 277:5
tube                     153:24 154:1,12       76:1 78:4 100:3   183:7 301:9,16       283:13 284:18


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 164 of 227 PageID:
                                     60509
                           Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 414

  288:6 298:6          vagina                303:14              voluntary          18:15 37:4 81:2
  306:15,19 307:7      200:19 301:23         Venter              219:9               82:6 93:12 136:20
  307:11,23 308:1        302:6,10 304:23     183:17 187:18       vulvar              141:8 164:17
  308:11,16,17,21        322:6 334:12        verbal              198:12 199:14,24    207:1 217:14
  309:11,18 310:1,3    vaginal               336:20                200:12            245:2 272:12
  310:14,14,21         198:12 199:14,24      verbatim                                294:21 302:6,10
  311:9,11,14 312:2      200:12              364:7                       W           302:11,14 316:18
  312:8 315:16,17      vague                 verify              Wagner              319:20 320:3
  316:23 319:11        143:10 147:18         92:24 175:21        129:20              332:5
  326:12 338:20,20       174:15              vermiculite         wait               ways
  339:19 341:8         valence               64:18 77:12,17      250:24 298:20      18:12 39:19 208:23
  350:10,13,22         180:18,21 181:2,6     version             want                299:11 328:23
  351:16 359:5         valid                 337:8               21:24 33:16,22      347:22
useful                 173:10 175:4          versions             39:7 44:6 74:8    weak
171:1 325:16 349:3       223:17 238:21       44:1                 88:17 113:12      203:8 204:15 206:6
  349:22                 305:11              versus               246:20 251:24      233:2,18
user                   valuable              111:21 251:6         254:23 278:6      webpage
231:14                 42:18                   317:20 347:18      283:6 284:1       41:23
users                  value                 video                292:11 301:1,4,6 website
131:14 170:12          28:24 358:4           8:9                  301:12 309:10     41:23 43:9 225:13
  192:24 211:6         vapors                videographer         315:1,12           225:21
uses                   360:23 361:2          3:22 8:3,5 9:15     wanted             websites
28:11 280:14           variation               89:3,7 176:24     34:2 39:16 329:14  79:7 214:4 278:12
usually                136:22 192:24           177:4 253:7,11     336:24 349:2       278:16 342:3,7
169:14 180:11          varies                  363:7,11,18       War                week
  281:2 295:4          56:5 332:2            Videotaped          145:15             60:6,8,10 309:24
  328:20 329:20        varieties             1:13                warned             weeks
  350:18 352:1         344:19                view                213:23             30:8 40:21
uterine                various               202:5 236:6 289:3   washing            Weibull
188:15 198:12          18:11 41:1 52:15        292:3 295:22      190:3              282:20
  199:15,24 200:12       71:4 79:17 93:23      331:2             Washington         weigh
uterus                   107:13 143:15       viewed              3:19               254:6
200:20,24 302:15         144:9 175:3 188:2   91:17               wasn't             weighing
  322:13                 215:24 245:7        viewing             144:3 156:10 251:7 251:5 277:15
utilize                  280:15 286:23       342:19               258:17 260:2      weight
20:22 317:9              287:12 308:7        visit                287:8 290:24      91:19 229:23 230:3
UTMB                     344:19 361:8        342:16,23            307:2              230:6 267:15,24
59:6,6                 vary                  vitae               waste              welcome
U.K                    153:22 231:15         5:6 21:7 57:18      345:6              14:17
308:9                    308:8 309:22          58:20 70:24       Watch              went
U.S                    vast                  vitamins            342:9              35:4 168:23 275:1
118:24 178:24          245:12                170:7               water               275:11 319:15
  305:18 306:21,24     vegetables            volition            170:7,7 311:3       349:22
  308:9                229:10 357:11,19      334:14              waterfront         Werb
                         360:1,3,5,9,11      volume              43:6               126:21
        V              velocity              345:5               way                we'll


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 165 of 227 PageID:
                                     60510
                        Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                           Page 415

 10:16 26:10 30:13    20:11 37:5 40:3      255:10,11 260:21    workgroups            261:10,10 262:10
 32:18 85:22 87:3     47:14 48:7,15        269:19,21 271:21    345:11                262:12,15,20
 124:15 130:1,1       54:6 56:21 67:19     273:4,8,13,16,21    working               263:9,11,14
 159:20 163:2         71:1 74:8 80:9       273:24 274:6,8,13   55:23 103:3 221:3     267:21 279:18
 195:21 228:24        113:5,18 150:4,11    274:14,20 275:4       331:15              280:9,19 281:8
 229:1 260:4          164:16,23 165:3      275:10,19 276:3,6   workplace-related     310:2,20 327:11
 343:13               165:12 192:4,10      283:12 288:6        328:8                 327:13 345:15
we're                 196:1 207:12         296:11 298:4,17     works                 357:21,24 360:21
11:10,19 28:17        223:2 243:3,19       299:3 304:2,8       70:10               Yessaian
 89:3,7 168:10        257:20,23 258:2      306:21,24 307:11    world               69:5,11
 176:24 177:4         282:6 291:19         307:11,23 308:2,5   145:15 240:5        yes/no
 195:16 199:9         295:8 296:15         308:11 310:16       worry               272:17
 213:22 233:7         315:4,13 316:1       311:9,12 326:12     105:3
 253:7,11 296:23      332:22 343:17        326:17 327:21       worth                        Z
 363:11               359:19 364:11,11     331:14,15 332:1     100:7               Zellers
we've                 365:1                351:7,9,11          wouldn't            2:13 4:6 8:24,24
12:11 13:5 24:24     witnesses            women's              36:1 42:20 85:18      9:22 11:2,3 12:1
 36:12 46:6 47:11    52:15,16,21 67:23    82:16 207:3,17         141:8 167:2 224:9   14:18 15:20 17:22
 58:20 65:11 86:21    70:14               wonder                 293:15 340:22       19:1 20:7,13 21:5
 94:24 100:20        woman                118:3                writing               21:12,18 25:9
 102:4,15 160:3      185:7 186:18 187:2   wood                 43:15 45:15 65:17     26:8,21 29:16
 225:11 235:23        187:5 231:15,16     229:15,18              65:19 347:23        30:18 31:7 32:10
 238:23 254:2         299:4 308:18,23     Woodruff             written               32:21 36:9 37:19
 259:14 322:3         309:3,10 310:3      32:17                40:14 281:23          38:16 53:13 54:8
 332:15 343:4         330:8,15 331:5      wording                336:18              55:21 59:8 61:1
whatsoever           woman's              93:1                 wrote                 62:15 63:11 64:5
299:2                86:12 87:9 88:2,19   words                54:14                 66:2 67:11 68:5
wheel                 116:17 119:4,13     83:19 84:9,10,11                           68:18 70:21 71:19
251:23 252:5          169:18 200:17        84:14 127:17                 Y            72:1 73:12,14,23
width                 202:2 304:14,23      133:10 208:23       yeah                  74:5,13,23 75:19
137:9                 319:21 331:4         297:18 315:17       118:7 176:21          78:8,16 79:3
Wild                  334:20 338:14,21     328:1                 183:20,22 197:14    80:21 81:17,23
286:9                 340:17 341:9,16     work                   218:15 336:3        82:21 84:8,22
Wilde                women                37:1 45:5 48:8,14      343:9 359:21        85:20 87:1,6,20
286:6                60:11 118:24          49:16 51:10,12,21   year                  88:15 89:1,9 92:1
willing               159:10 160:16        56:3 57:10 60:6     221:5 233:20 261:4    92:4,11,20 93:3
226:20                161:3,12 166:21      63:14 64:16 76:5      261:13,14,16        94:17 95:5 97:11
withdraw              167:3 178:2,4,6      76:5,15 104:13,21     262:10 272:16       98:6,23 99:11
62:16 73:12 131:11    182:22 185:19,23     118:19 146:16         305:18 306:5,6,10   106:20 107:18
 176:12 190:21        188:14,21 189:17     239:5 264:1           307:17,20 310:13    108:14 110:1
 224:8 235:22         189:19,20 190:8      331:12 344:10       years                 111:4 112:4,24
 264:5                191:8 193:19,24      347:15              23:19 37:2 75:2       113:7,11,20 114:9
withdrew              194:18 196:12,22    worked                 96:5 130:24         117:7 119:9
294:16                197:17 198:2        37:7,11 60:14          147:23 168:9,9      120:16 121:1,15
witness               202:13 207:7        workers                212:16 250:12       121:17 123:15
9:17 10:11 13:8       233:20 250:17,22    145:21,24 331:16       255:12 261:4,5,5    124:19 127:22


                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 166 of 227 PageID:
                                   60511
                        Arch I. "Chip"         Carson, M.D., Ph.D.
                                                                                            Page 416

128:11,20 129:3       239:10 240:18     1.2                   12                    1:5
130:7 132:4           241:21,23 242:8   332:10                5:19 32:18,19,22      163
133:17 136:10         242:13 243:5,16   1.3                     60:9 250:12 297:9   6:7
138:3 140:17,19       243:21,22 244:11  232:14,24 235:23      12/18                 17
141:2 142:3           246:15 247:11,17    236:14 333:17       5:15                  6:6 159:20,21
143:20 144:5          248:4 249:5         334:5               12:32                   160:3 283:3
145:1 147:8 148:9     250:14 251:3      1.63                  177:1                 174
149:2 150:12          252:11 253:4,13   276:23                12:32 p.m             113:9
151:7,22 152:8        254:12 258:3,20   1.74                  177:2                 177
153:7,18 154:10       259:12 261:2      145:19                120                   113:9
155:15,21 157:4       262:1 263:15      1/1/14                226:2                 18
157:12 158:16         264:3,13 267:6,22 5:16                  1215                  6:7 163:2,3
159:1,14 160:1        269:1 270:2,9     1:38                  163:20                18th
161:8,11 162:18       271:3,7 276:1,12  177:5                 1216                  30:14
163:5 164:3,11,22     276:19 277:12     1:38 p.m              163:11                180
165:7,11,14,16        279:2 282:11,21   177:3                 124                   45:18 347:14
167:20 168:1,12       283:23 284:5      10                    6:2                   1800
168:19 170:17         289:8 343:6       5:4,16 31:4,5 33:18   13                    3:4
171:5,22 172:10       359:14,18 363:16    218:20 219:5        5:21 36:4,7,12        19
172:20 173:11       zero                  229:22 297:9        130                   1:11 5:2 6:8 8:2
174:11,19 175:12    312:2               10%                   6:4                     94:15 192:11,14
176:4,19,23 177:6   Zurbenko            56:7                  14                    19th
178:5,8 179:7       282:19              10:37                 5:22 98:20,21,24      8:7 136:20
180:1 181:11                            89:4                    99:7 130:24         19103
182:7 184:23                 $          10:37 a.m             14th                  2:21
185:16 186:16       $450                89:5                  37:18                 192
188:13 190:6        45:11               10:55                 14,000                6:8
192:7,13 193:15                         89:8                  306:9                 195
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195:1,10,21 196:3                       10:55 a.m             148                   6:10
197:6,23 198:18     07962               89:6                  7:3,5                 1952
199:21 200:8        3:9                 100                   15                    5:13 28:24
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203:15,23 204:22                        100C                    111:5 124:16,17     167:14
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205:14,16 207:8                         291:20                  146:23 246:1,6      1974
                    5:4 10:16,18 12:11
207:15 209:14                           100%                    259:5               5:19 32:15
                      12:19 89:4 114:13
210:2,17 212:4                          306:21 307:22         15th                  1979
                      130:13 148:16
215:3 216:15                            11                    26:1 37:18            6:4 129:12
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221:4 222:12,24                           24:23 32:7,8        45:18 347:14          145:13
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223:11,20 224:3                           33:10 297:9         159                   1984
                      357:7 358:16
225:2,17 226:15                         11/16/18              6:6                   77:14
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                    30:21,24 218:21
232:7,23 233:6                          112                   6:4 18:19 130:2,3     37:10
                    1,000
234:3,4,13,19                           3:3                   16th                  1991
                    227:7
235:10 236:10,13                        1170                  39:5                  5:18 31:13,21
                    1.19
237:6,13 238:6                          2:10                  16-2738               1992
                    276:21

                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 167 of 227 PageID:
                                     60512
                          Arch I. "Chip"           Carson, M.D., Ph.D.
                                                                                            Page 417

 255:7                2007                    293:2             8:12                44:24
                      6:14 127:4 250:12     21,000              28                  31
         2              287:5               306:7               7:6 68:10           5:16
2                     2008                  210                 284                 32
4:2 5:5 15:17,18,21   146:8 246:23          3:5 130:22          4:7                 5:18,19
  16:4,16 17:10,15    2009                  213                 289                 334
  22:10 43:14 54:22   26:1                  2:16                6:17                2:5
  65:12 89:8 108:15   2010                  215                 29                  337
  109:1 177:1         126:21 203:17         2:21                5:13 71:5           196:16,20 197:5,9
  221:17 272:6,21       204:20 257:12       216                                       260:17
  346:14                258:6,11            3:14 163:10                  3          339
2A                    2011                  22                  3                   196:17,20
226:16                6:6,7 159:16 163:2    6:13 242:24 243:1   5:6 21:3,6 57:19    34%
2B                    2013                    364:23              58:2,21 65:1      273:15,19 275:1
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  229:2,11,17,19        268:11,14,20        307:22                196:21 223:1,2,13 274:15 275:1
  235:8,12 249:20       269:3               22,000-something      227:6 253:8       343
  292:18,23 355:16    2014                  307:21                290:23            4:8
  356:23 359:24       30:21 31:1 33:19      225                 3rd                 35
2B-classified           218:21 220:4        6:11                26:10               11:8 55:5 56:13
357:10                  222:7 271:21        23                  3,000                 164:12
2.53                    272:13,16 273:12    6:14 247:3,8        233:22 305:17       350
145:23                  273:17 274:1,12     234                   306:18            3:8
2.96                    274:13 277:3,23     2:4                 3.3.1               351
145:17                2016                  24                  112:14              278:3
20                    6:10,16 195:12        6:16 69:6 184:15    3:06                36
6:10 112:16 168:9       196:5 255:8,14        185:1 255:12      253:8               5:21
  195:22,23 196:5       259:15,16 260:13      271:1,4,12        3:06 p.m            36.5
  259:16 260:7          271:5,13            243                 253:9               274:2 275:5,15
  261:5,5,10 262:15   2017                  6:13                3:19                36103-4160
  262:20 263:11,14    6:13 242:15           247                 253:12              2:5
  279:17 280:8        2018                  6:14                3:19 p.m            364
  281:8 332:6,13      30:15 36:19 37:13     25                  253:10              4:10
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332:7,9,10              66:1 89:12 100:24   26                    56:13 71:5 109:8 366
2000                    102:3 142:15        5:9,10,12             109:11,19 111:5   4:11
2:20 145:22             227:5 257:9         267-0058              246:1 259:6 308:8 367
20004-1454            2019                  3:9                   364:11 365:16     4:12
3:19                  1:11 5:2,9,10 8:2,7   269-2343            30%                 368
2001                    26:10 94:9 364:23   2:5                 84:18 211:4 231:3   4:13
127:4                 202                   27                    232:13 233:17
2004                  3:19                  67:20 68:9 69:4,8     306:12,13,15               4
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                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 168 of 227 PageID:
                                     60513
                         Arch I. "Chip"          Carson, M.D., Ph.D.
                                                                            Page 418

  66:21 68:10 69:4    109:11,14 118:24    70130               975
  69:8 71:6 126:8       327:4             2:10                3:18
  178:16 220:16       50/50               78205               98
  221:13 224:11,11    57:14               3:4                 5:22
  227:1,9 253:12      504                 799-2845            988-2706
  272:21 282:22       2:11                2:11                2:21
  283:1 285:24        51.5                                    99
  363:8               275:12                      8           117:4 127:2
40                    515                 8
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  279:18 280:9        554-5500              99:17 305:13
  281:8               3:5                 8/1/00
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2:15                  210:12 243:24       820
430-3400            6.2                   193:17
2:16                291:7                 85
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  50:19 99:6 148:11 696-3675              4:6 5:15 30:15,16
  148:16 227:12     3:14                    89:16
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363:8                 81:8,16,19 89:17    90%
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363:9                 101:14 102:4,15     90071
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363:12,19             104:3,10 106:1,21   917.591.5672
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363:10                183:2 210:13        93
5:45 p.m              256:19 301:1        6:18 291:17,20
363:22              7/9/2020              95%
50                  364:22                261:23
332:6               70s                   973
50%                 168:11                3:9


                     Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 169 of 227 PageID:
                                   60514




                          Exhibit 5
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 170 of 227 PageID:
                                   60515



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   IN RE JOHNSON & JOHNSON                          MDL NO. 16-2738 (FLW) (LHG)
   TALCUM POWDER PRODUCTS
   MARKETING, SALES PRACTICES,
   AND PRODUCTS LIABILITY
   LITIGATION

   THIS DOCUMENT RELATES TO ALL CASES




                               RULE 26 EXPERT REPORT OF
                                 ARCH CARSON, MD, PHD




   Date: November 16, 2018
                                        Arch Carson, MD, PhD
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 171 of 227 PageID:
                                   60516



                                Talcum Powder and Ovarian Cancer

   1. Introduction
   I was asked to explain the relationship between the regular perineal use of talc-based personal
   hygiene products and the subsequent development of ovarian cancer in their users. I intend this
   report to explain this relationship. I will describe ovarian cancer, what is known about its natural
   history, and will present statistics regarding its incidence, prevalence and fatality. I will then
   describe what talc is and why talcum powder is used in personal care products. I will then
   present the scientific evidence linking talc-based personal hygiene products and their
   components with cancer, and will show how the various components of this evidence, along with
   other data, lead me to conclude that regular perineal application of talcum powder products
   causes ovarian cancer in some users, and raises the risk of ovarian cancer in all users.
   2. Qualifications
   I am a physician who specializes in the practice of medical toxicology. I am currently an
   Associate Professor at the University of Texas School of Public Health in Houston and the
   Program Director of the Occupational and Environmental Medicine Residency training program
   at the University of Texas Health Science Center at Houston. I received my medical degree from
   the Ohio State University and a doctor of philosophy degree in Toxicology from the Kettering
   Laboratory at the University of Cincinnati. I am board certified by the American Board of
   Preventive Medicine in Occupational Medicine, and have been in the continuous practice of
   medical toxicology since 1991. My professional activities have included patient care, basic and
   applied research, teaching of medical students, graduate students and post-graduate medical
   trainees, and professional consulting. I have been a program director of the NIOSH-funded
   Education and Research Center at the University of Texas for 19 of the last 21 years. Other
   major collaborations include as Liaison for the World Health Organization Collaborating Centre
   in Occupational Health and as environmental exposure consultant to the MD Anderson Cancer
   Center in Houston. My curriculum vitae is attached to this report as Exhibit A.
   3. Information reviewed and methodology employed
   In the preparation of this report, I have reviewed relevant published scientific and medical
   literature, reports and documents produced in the process of litigation, and various other
   documents and websites that I believed to be pertinent to the refinement or extension of my
   professional opinions. I applied the same methodology and scientific rigor in this research that I
   use in my academic and clinical practice. Documents and other sources which I considered in
   reaching my opinions are listed in Exhibit B, “Materials and Data Considered.”
   4. What is ovarian cancer?
        a. What is cancer?
          All types of cancer involve the uncontrolled growth and accumulation or dissemination of
          cells that originated from normal cells, but have been altered so that they behave
          differently. The many cells of a single cancer that result from this change are typically
          all derived from a single progenitor cell, and represent a clone of cells. When this clone
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 172 of 227 PageID:
                                   60517



        reaches sufficient numbers, the cells themselves may develop into a recognizable “mass”
        that is called a tumor. Tumors may cause symptoms and other health problems simply by
        taking up space and putting pressure on neighboring structures or blocking important
        fluid channels or nerves, thus disrupting normal functions of the body. Still other cancers
        can proliferate into the blood stream. As the number of cancerous cells increase, the
        biochemically active substances that they produce can also become a problem resulting in
        abnormal biological responses throughout the body. Some substances that might become
        a problem in this way include normal or abnormal hormones, enzymes, antibodies, and
        proteins. Cancerous cells are considered malignant if they lose their normal tendency to
        stop proliferating when they have filled a space or the bounds of their particular tissue
        type, referred to as contact inhibition. Malignant cells ignore these boundary cues and
        may invade other tissue spaces and organs with devastating results. They may also
        migrate via the blood stream or other routes to distant sites within the body where they
        set up a new location of tumor growth and tissue invasion. This process is called
        metastasis. Typically, cancers are not diagnosed until they produce sufficient symptoms
        or biochemical abnormalities that lead to an exhaustive diagnostic search resulting in
        their discovery. Occasionally, cancers are discovered accidentally as part of another
        investigation, e.g. a chest x-ray may find an asymptomatic lung cancer; a blood test may
        disclose a telltale abnormality. Still fewer cancers are discovered before they cause
        health problems through screening tests that are sensitive and specific enough to detect
        common cancers at a preclinical and hopefully highly treatable stage, e.g. routine
        colonoscopies to detect colon cancer, or PSA blood tests to detect prostate cancer.
        b. Carcinogenesis-a two-step process
        The process of normal cells becoming cancer cells is generally recognized as resulting
        from a two-step process.
        Initiation. During initiation, a change is produced at one or more places in the DNA of a
        cell’s chromosomes. Because the DNA represents the genetic code that becomes
        duplicated and passed along to cells that arise from it, when that cell divides to produce
        two cells, the change to the genetic code is also duplicated and is present in both of them.
        Normally, the abnormal cell that results from a change in the genetic code cannot survive
        because its cellular machinery is also abnormal and poorly or non-functional. Less often,
        if the cell is able to survive in the body, it is still abnormal and deformed, and is
        recognized by the body’s immune system as alien. The immune system attacks it and
        destroys it, and it does not survive. In the very rare instance that an alteration to the
        genetic material results in a survivable hereditary change that is not fatal, and which can
        escape the surveillance of the body’s immune system, the resulting clone may live and
        persist. (Coussens LM, 2002)
        Promotion - Once a cancer clone has been produced, it is at risk for being discovered
        and destroyed by the body’s immune system, or failing to thrive in an environment for
        which it is not suited. Promotion is the process by which the cancer clone is shielded


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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 173 of 227 PageID:
                                   60518



         from the body’s defenses and is stimulated to undergo rapid growth, transforming a
         microscopic cancer clone into a self-sustaining symptomatic cancer over time. (Ferrante
         D, 2007) (Coussens LM, 2002)
         Most known carcinogenesis events occur by the two-step process and involve a long
         latent period between the moment of the alteration in the genetic material and the
         recognition that a cancer is present. In human cancers, this latent period is often several
         months to many years in length. The latency period for ovarian cancer, generally, and for
         cancers induced by environmental agents is usually quite long, often >20 years. (Nadler
         DL, 2014) Promotion occurs throughout the latent period and stimulates the growing
         cancerous cells to become a recognizable cancer. A third stage in the natural history of a
         cancer, referred to as Progression, involves maturation, differentiation or de-
         differentiation and accumulation of transcriptional changes that solidify the tumor’s
         growth rate and invasiveness. Some carcinogenic substances are initiators and some are
         promotors, and still others are called complete carcinogens because they are capable of
         initiation and promotion.

         c. Ovarian cancer
         Ovarian cancer is a group of cancers that arise in the ovary or in adjacent tissues. It is
         estimated that about 22,240 women will receive a new diagnosis of ovarian cancer and
         about 14,070 women will die from ovarian cancer in the United States in 2018.
         (American Cancer Society, n.d.) (Torre LA, 2018) Ovarian cancer ranks fifth in cancer
         deaths among women, and first due to cancers of the female reproductive system. Most
         ovarian cancers are not discovered until they have reached an advanced stage and have
         spread to sites elsewhere in the body. Because advanced ovarian cancers are more
         difficult to treat, they have a high fatality rate. For these reasons, any effective prevention
         of ovarian cancer or reduction in ovarian cancer risk can have a significant impact on this
         disease and can save many women’s lives.
         There are several recognized forms of ovarian cancer that are distinguished by the
         specific tissues from which they arise, or the microscopic characteristics of the tumor
         cells themselves. About 85% to 90% of malignant ovarian cancers are epithelial ovarian
         carcinomas, and the majority of these are of the serous type (American Cancer Society,
         n.d.) (Prat, 2015). Ovarian, fallopian tube, and peritoneal cancers have a similar clinical
         presentation and are treated similarly, and current evidence suggests that they may have a
         common origin, supporting a common staging system (Soong TR, 2018).
         Despite significant advances in cancer diagnosis and therapies over the past several
         decades, there have been few changes in the incidence or fatality rates for ovarian cancer.
         Consequently, it is worth considering preventable environmental causes of the ovarian
         cancer epidemic. (Woodruff, 1979) (LA Torre, 2018)
   5. What is talc?
        a. General



                                                    3
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 174 of 227 PageID:
                                   60519



        Talc is a hydrated magnesium silicate mineral produced through a metamorphic
        geological process and having the generalized chemical formula Mg 3 Si 4 O 10 (OH) 2 .
                                                                                R   R   R   R   R   R   R




        Some substitution of atoms occurs in variations of talc found in nature. Small amounts of
        Aluminum (Al) or Titanium (Ti) can substitute for Silicon, and small amounts of Iron
        (Fe), Manganese (Mn), Aluminum (Al) and Calcium (Ca) can substitute for Magnesium.
        This produces slight variations in the color, hardness and chemical properties of the
        mineral. Talc is the softest mineral on the Mohs Hardness Scale. (King, n.d.) It is
        essentially insoluble in water, but is slightly soluble in dilute mineral acids. The process
        seems to involve the extraction of magnesium and other cations leaving only the silicate
        as silicic acid and silica.
        The commercial value of talc stems from its crystalline structure. Most talc is present in
        natural deposits as the platy form of talc, in which the talc crystals are arrange in large
        flat sheets running parallel to one another. These sheets are attracted to each other by
        weak Van der Waals forces that can be easily overcome by mechanical forces, causing
        the sheets to slide on each other. On the macro scale, this property gives talc its
        characteristic slippery feeling on the skin. The platy structure also gives talc its ability to
        absorb moisture and oil. Some talc is found as a fibrous crystalline structure, similar to
        some asbestos, also a magnesium silicate mineral. In fact, these two minerals are closely
        related in terms of their formation and composition. Talc deposits are often intermingled
        with asbestos and vice versa. (Rohl, 1974) (Rohl AN, 1976) (National Institute for
        Occupational Safety and Health, 2011) (Lockey, 1981)
        b. Talcum Powder and Cancer.
        Numerous studies have examined the cancer causing characteristics of talc. (Wild, 2006)
        Talc has caused cancer when implanted in various tissues and under the skin in laboratory
        animals. It causes inflammation and fibrotic reaction, including the chemotaxis of
        inflammatory immune cells, and accelerated growth and division of cells in the involved
        tissues (Okada, 2007). This is a normal body process that leads to the thwarting of
        infection and rapid healing, but in the absence of tissue injury, accelerated growth and
        cell division has the effect of amplifying and propagating viable genetic mutations,
        leading to cancer. Talc particles have been repeatedly demonstrated in ovarian tumor
        tissues (Henderson WJ C. J., 1971) (Henderson WJ T. H., 1979) and in inflammatory
        tissue in otherwise normal ovaries (Mostafa SAM, 1985). In 2006, the International
        Agency for Research on Cancer (IARC) evaluated the published evidence for the
        carcinogenicity of talc, not containing asbestiform fibers, when inhaled into the
        respiratory system and when applied to the perineum in personal hygiene activities. The
        agency concluded that talcum powder is a “possible human carcinogen” (Group 2B)
        when applied to the perineum, meaning that there is insufficient evidence of
        carcinogenesis in humans, but strong evidence in other mammalian species. IARC also
        concluded that there was insufficient evidence of carcinogenicity by the inhalation route
        (Group 3). (International Agency for Research on Cancer, 2010) Since that time,



                                                   4
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 175 of 227 PageID:
                                   60520



            numerous other studies have added to the data on this issue. A recent meta-analysis
            showed that talc workers do have an excess of lung cancers. (Chang C-J, 2017)
            When implanted under the skin or into tissues of laboratory animals, talcum powder
            induces an inflammatory response. This reaction involves the chemotaxis of
            inflammatory cells of the immune system, lymphocytes, neutrophils and macrophages,
            the release of cytokines that promote membrane permeability and stimulate cell division.
            As this reaction matures over time, granulomas may begin to develop. All of this
            signifies that talcum powder is an effective and potent promotor of already initiated
            genetic alterations. (Fletcher NM M. I., 2018) (Fletcher NM S. G., 2018) (Saed GM,
            2017) (Radić I, 1988) (Okada, 2007) Other studies have demonstrated the ability of these
            same reactions to satisfy the carcinogenic initiation step, characterizing talcum powder as
            a complete carcinogen. (Shukla A, 2009) (Fletcher NM M. I., 2018)
            c. What about asbestos and other components in talc and talc-based products?
            Talcum powder products in the marketplace have been shown to contain asbestos.
            (Paoletti L, 1984) (VanOrden D, 2000) (VanGosen BS, 2004) (Longo WE, 2017)
            Asbestos is conclusively recognized as a cause of ovarian cancers. The IARC Working
            Group concluded that “a causal association between exposure to asbestos and cancer of
            the ovary was clearly established, based on five strongly positive cohort mortality studies
            of women with heavy occupational exposure to asbestos, (International Agency for
            Research on Cancer, 2012)” and “studies showing that women and girls with
            environmental, but not occupational exposure to asbestos had positive, though non-
            significant, increases in both ovarian cancer incidence and mortality. (Acheson ED, 1982)
            (Fox, 1982) (Berry G, 2000) (Newhouse ML, 1972) (Reid A H. J., 2008) (Reid A S. A.,
            2009) (Pira E, 2005) (Magnani C, 2008) (Bertolotti M, 2008) (Ferrante D, 2007)
            (Germani D, 1999) (Rösler JA, 1994) The classification determined by IARC included
            all forms of asbestos and talc containing asbestiform fibers (fibrous talc). I have seen
            evidence that Johnson & Johnson’s talcum powder products contain asbestos and fibrous
            talc. 1
                 P




            d. Carcinogenic metals in talcum powder
            In addition to other related minerals, talcum powder may contain varying amounts of
            chromium, cobalt and nickel, metal ions that are recognized as cancer causing. These
            ions leach out of the talcum powder slowly over time, resulting in continuous, low-level
            exposure of the surrounding tissues to carcinogenic metals. (Jurinski JB, 2001) I have
            seen evidence that Johnson & Johnson’s talcum powder products contain nickel (Group 1




   1
    Ex. 28, Hopkins Dep. (Aug. 16 & 17, 2018; Oct. 26, 2018; and Nov. 5, 2018); Ex. 47, Pier Dep. (Sept. 12 & 13,
   2018); Expert Report of William E. Longo, PhD and Mark W. Rigler, PhD (Nov. 14, 2018)



                                                            5
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 176 of 227 PageID:
                                   60521



              human carcinogen), chromium (Group 1 human carcinogen), and cobalt (Group 2B-
              possible human carcinogen). 2      P




              e. Other potentially cancer-causing constituents
              Johnson & Johnson’s Baby Powder and Shower to Shower contain numerous ingredients
              that have been added to the products, i.e. fragrance chemicals, some of which have been
              shown to produce cancer in laboratory animals. These substances are likely to be present
              in very small or trace quantities, and likely present a lower level of risk than the major
              components, by mass. Nonetheless, any additional risks are added as part of a total risk
              profile. I have reviewed the report of Dr. Michael Crowley and agree with his
              conclusions that these chemicals may contribute to the inflammatory properties, toxicity,
              and potential carcinogenicity of the products. 3      P




   6. Epidemiology linking talcum powder and ovarian cancer
   Many research studies have shown a strong association between talcum powder exposure and the
   development of ovarian cancer. (Langseth H, 2008) (Terry KL, 2013) (Schildkraut JM, 2016)
   (Trabert, 2016) (Berge W, 2017) (Cramer Daniel W, 2016) (Penninkilampi R, 2018)
              a. What evidence links exposure to talcum powder products with ovarian cancer?
              Multiple epidemiological studies have examined the link between the personal hygiene
              use of talc containing products and the occurrence of ovarian cancers (Booth M, 1989)
              (Cook LS K. M., 1997) (Cook LS e. a., 1997) (Cramer DW, 1982) (Whittemore AS,
              1988) (Harlow BL W. B., 1989) (Chen Y, 1992) (Harlow BL C. D., 1992) (Rosenblatt
              KA, 1992) (Hartge P, 1988) (Tzonou A, 1993) (Chang S, 1997) (Heller DS, 1996)
              (Penninkilampi R, 2018). Talcum powder causes proliferation of human (Prat, 2015)
              ovarian cells in culture (Buz'Zard AR, 2007), and causes these cells to express reactive
              oxygen species (ROS) (Buz'Zard AR, 2007).
              The research investigating the link between talcum powder exposure and ovarian cancer
              has been reviewed as a scientific whole at multiple stages. (Harlow BL H. P., 1995)
              (Ness Roberta B, 1999) (Muscat JE, 2008) (Terry KL, 2013) (Berge W, 2017)
              (Penninkilampi R, 2018)
              Laboratory, animal and human studies support the conclusions that talc causes ovarian
              cancer, and have filled in the blanks that establish biological plausibility and scientific
              coherence. (Jaiswal M, 2000) (Balkwill Fran, 2001) (Okada, 2007) (Saed Ghassan M,
              2017) (Harper, 2019)
   7. Talcum powder product use



   2
       Ex. 47, Pier Dep. (Sept. 12 & 13, 2018)

   3
       Expert Report of Michael Crowley, PhD (Nov. 12, 2018).

                                                                6
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 177 of 227 PageID:
                                   60522



   Numerous studies have interviewed women regarding their personal practices of application of
   talc-based powders to the perineal area. Due to variations in these practices, it has been difficult
   to estimate dose in order to evaluate the dose response relationship for ovarian cancer. It is also
   difficult to exactly estimate the quantity of talcum powder administration during personal
   hygiene activities. For studies that attempted to determine amount of exposure, most relied on a
   method of estimating the frequency of application and/or the duration of those practices, then
   simply multiplying to reach a total number of applications over time. (Harlow BL H. P., 1995)
   (Langseth H, 2008) A review of studies of perineal talcum powder or cornstarch application
   suggests that the use of cornstarch instead of talcum powder reduces the risk of ovarian cancer.
   (Whysner J, 2000)
   8. Other evidence
         a. Transport of talc-containing materials from the perineum to the upper reproductive
             tract and body cavities has been shown to occur with startling regularity and with
             respect to a wide variety of particulate materials. (Egli GE, 1961) (Venter PF, 1979)
             (Blumenkrantz MJ, 1981) (Halme J, 1984) (Sjösten ACE, 2004) Clearly, sufficient
             particulate materials applied routinely to the perineum have ready access and in
             sufficient quantities to produce biological responses in internal tissues, including the
             ovaries and surrounding structures. There are a limited number of animal studies
             suggesting that this transport does not occur. (National Toxicology Program, 1993)
             These are not as compelling as the human evidence because of anatomical and
             physiological differences between animals and humans in this regard, as well as the
             overwhelming evidence in humans.
   9. Conclusions and opinions
   The following conclusions and opinions are expressed with respect to reasonable medical and
   scientific certainty and I have applied reliable scientific principles and methods to the facts in
   reaching them. These opinions are based upon the documents and literature reviewed and cited
   herein, and also upon my own professional training and experience in practice of medicine and
   medical toxicology.
     I.   Talcum powder products sold for personal hygiene use are carcinogenic.
   Talcum powder is immunogenic, producing chronic inflammation in the tissues in which it
   sequesters, with the attraction of lymphocytes and macrophages and the ongoing local release of
   pro-inflammatory cytokines and reactive oxygen species. Further, all talcum powder has some
   component of mineral fibers that are toxic to macrophages and intensify the inflammatory
   response and stimulate cell growth and proliferation. The presence of asbestos, fibrous talc,
   carcinogenic metals and other chemicals further intensify this effect. Cohort and case-control
   studies have shown statistically significant associations between talc-based powder use and
   ovarian cancers. The presence of carcinogenic metals such as, chromium, cobalt and nickel, and
   toxic fragrance components in commercial talcum powder products, adds to their carcinogenic
   potency. Talcum powder is a complete carcinogen and can both initiate and promote the
   development of cancers in the tissues in which it sequesters.


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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 178 of 227 PageID:
                                   60523



    II.   Perineal use of talcum powder products for feminine hygiene purposes results in
          direct exposure to the female reproductive tract.
   A proportion of talcum powder from personal hygiene applications to the perineum is
   transported or migrates through the reproductive tract, through the patent fallopian tubes, onto
   the ovaries and into the pelvic cavity. Talc particles have been identified in reproductive system
   structures of women who utilize talc powders. These include the uterine cervix, the
   endometrium, the fallopian tubes and the ovaries. Inhalation is likely a secondary route of
   exposure.
   III.   Common carcinogenic constituents of talcum powder products participate in and
          add to the carcinogenic process.
   Naturally occurring carcinogenic components of talcum powder, i.e. asbestos, chromium, nickel,
   and cobalt, are liberated in bodily fluids and tissues and are free to exert their carcinogenic
   effects. Added substances that are toxic or carcinogenic, i.e. fragrance chemicals, may also
   contribute to these effects. This process is the most intense where the duration is the longest.
   Because the ovaries have no intrinsic elimination system, the transport of talc particles and their
   constituents reaches the ovaries where it stalls and sequesters. For these reasons, ovarian tissue
   is most at risk for the carcinogenic effect of these substances.
   IV.    Regular perineal application of talcum powder products causes epithelial ovarian
          cancer in some users, and raises the risk of ovarian cancer in all users.
   Multiple case-control and cohort epidemiological studies have looked at the relationship between
   the perineal use of talc-based powders and the eventual development of epithelial ovarian cancer.
   Most, but not all, of these studies show a consistent positive relationship. When confounding
   and bias are exhaustively considered, the positive association remains. I conclude that the
   apparent cause and effect relationship between perineal talcum powder use and ovarian cancer is
   real, amounting to about a 30% increased risk of ovarian cancer in talcum powder product users.
   At the current rate of ovarian cancer diagnosis and mortality, elimination of this source of risk
   could result in over 3,000 lives saved in the U.S. each year.
   In 1965, Sir Austin Bradford Hill published what has come to be recognized as the best
   collection of factors to consider for the assessment of scientific evidence that relates the
   causation of disease to environmental exposures (Hill, 1965). These factors include: (1) Strength
   of association, (2) Consistency of the evidence, (3) Specificity, (4) Temporality, (5) Biological
   gradient, (6) Plausibility, (7) Coherence, (8) Experiment, and (9) Analogy. Below I provide my
   evaluation of the scientific evidence with respect to the Hill factors.
   Strength of association –Many epidemiological studies have attempted to examine the
   association between perineal use of talcum powder products and ovarian cancer. Most of these
   have been case-control studies, where women diagnosed with ovarian cancer are paired with
   others of similar demographic background who do not have ovarian cancer. All of these women
   are interviewed about their past practices and exposures, including the use of talcum powder
   products. The resulting data are analyzed to compute an odds ratio (OR) that describes the

                                                    8
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 179 of 227 PageID:
                                   60524



   likelihood of those with cancer having had greater exposure to talcum powder than those who
   did not. Cohort studies selected populations of women, assessing them for many factors,
   including perineal talcum powder use, and followed them over time counting the occurrences of
   ovarian cancers. These studies were than able to compute a relative risk (RR) of exposure to
   talcum powder resulting in ovarian cancers. Of more than 25 case-control studies in the
   literature, the heavy majority showed positive and significant ORs for perineal talcum powder
   use and ovarian cancer. The three cohort studies did not find a significant relative risk of
   perineal talcum powder exposure leading to ovarian cancer, but did show positive non-
   significant trends. Several research groups have looked at the totality of the research evidence,
   evaluated the published study reports, and have reanalyzed those data on a common playing field
   through meta-analyses. Taken in their totality, and accounting for sources of bias and differing
   statistical treatments, these epidemiological studies support a strong association between the
   perineal use of talcum powder and ovarian cancer.
   Consistency of the evidence – As stated above, the majority of epidemiological studies that
   have investigated the link between perineal talcum powder use and ovarian cancer have reported
   positive associations. These studies are consistent in their findings of a relationship between
   perineal use of talcum powder products and the development of ovarian cancer. Further, recent
   meta-analyses of previously published studies have verified the comparability of the research
   methods used and the consensus of conclusions.
   Specificity – Specificity is the concept that a specific disease, rather than a host of diseases, is
   produced by a particular exposure, and that the exposure is a principal cause of the disease.
   Although talcum powder is known to cause non-specific inflammation in many tissues where its
   residues locate, the stimulation of ovarian cancer is particularly associated with the presence of
   talc in the ovaries and fallopian tubes. Of known factors associated with ovarian cancer, i.e.
   nulliparous state, early menarche, late menopause, oral contraceptive use, living in the twentieth
   century and beyond, perineal talcum powder exposure is proving to be prominent among them.
   Temporality – If a particular exposure is the cause of a particular disease, then the onset of
   exposure should precede the onset of the disease. Studies investigating the link between perineal
   talcum powder exposure and ovarian cancer are designed to compare those with prior exposure
   to those who are not exposed, and so the scientific evidence supports this consideration.
   Biological gradient – A basic toxicological principle is that a greater exposure intensity will
   result in a larger proportion of those exposed expressing the toxic effect, in this case ovarian
   cancer. In order to determine the intensity of a long-term environmental exposure, typically a
   measure of frequency or quantity of use is multiplied by the duration of such use. This allows
   categorization of exposure levels and comparisons. Although some studies have failed to find
   evidence of a dose-response relationship, several more recent reports have shown a clear dose-
   response when the number of subjects rose to a level producing sufficient statistical power to
   allow the analysis after subdivision of subjects into pertinent categorical groups, and frequency
   and duration were measured (Schildkraut JM, 2016) (Cramer Daniel W, 2016) (Wu, et al., 2009).



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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 180 of 227 PageID:
                                   60525



   Plausibility – This factor expects the rational presentation of a mechanism whereby the exposure
   in question leads to the disease. Thus, if no such mechanism can be proposed, it is less likely
   that causation will be supported. In the case of ovarian cancer, the mechanism supported in the
   literature is as follows: Talcum powder products are applied to the perineal area in the course of
   routine personal hygiene practices. This element is supported by the existence of these products
   in the marketplace for many years and the statements of subjects interviewed for the purpose of
   conducting the scientific research discussed elsewhere in this report. Portions of the applied
   powders are transferred via active processes or passive mass action movements into the female
   reproductive tract, some making it all the way to the distal fallopian tubes, the ovary surfaces and
   the pelvic and peritoneal cavities. This element is supported by the observations that particulate
   materials of differing variety can make their ways along these pathways to the listed destinations,
   and the finding and confirmation of talc particles in normal ovarian tissues and ovarian tumor
   tissues at the time of oophorectomy or autopsy. Once reaching the target tissues, talcum powder
   and its constituents initiate carcinogenesis via multiple means, including, inflammation with
   chemotaxis of inflammatory cells, liberation of cytokines, and reactive oxygen species,
   inactivation of TP53 genetic modulator, inhibition of DNA repair, and long-term promotion of
   genetic mutations via continuous inflammation and cellular growth stimulation.
   Coherence – The proposed cause and effect relationship should not “seriously conflict with the
   generally known facts of the natural history and biology of the disease.”(Hill, 1965) The
   proposal that talcum powder product use results in the occurrence of ovarian cancer is entirely
   consistent with what is known about other factors related to ovarian cancer, i.e. early menarche,
   late menopause, pregnancies, breastfeeding history, oral contraceptive use, etc. All are factors
   that influence the local inflammatory environment of the ovary and its surroundings and have the
   potential to promote existing transcriptional errors and mutations.
   Experiment – Interventions, such as tubal ligation that decreases the incidence of ovarian cancer
   by blocking the exposure route, offers experimental support for this mechanism. The use of
   cornstarch-based dusting powders as a substitute for talcum powder products offers additional
   experimental support.
   Analogy – Have there been other environmental exposures that have been associated with
   ovarian cancers that act via similar mechanisms? Talcum powder is somewhat unique in terms
   of its delivery mechanism. But beyond that, the case of asbestos exposure is similar. Asbestos
   exposure has resulted in excesses of ovarian cancers in exposed women, although the route of
   exposure is thought to be by inhalation. Nonetheless, asbestos is a mineral very similar both
   chemically and structurally to talc that has been found in the ovary and peritoneal cavity of
   exposed women. The mechanisms of carcinogenesis for both asbestos and talc are similar and
   analogous. Further, talc-based products contain asbestos and non-asbestos mineral fibers having
   carcinogenic potential.
   When considering these factors, I gave the most weight to the compelling strength of association
   and consistency, as well as the well-described biologic mechanism.



                                                   10
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 181 of 227 PageID:
                                   60526



   The currently available scientific research, when considered in its totality, demonstrates a cause
   and effect relationship between the use of talcum powder products and the development of
   epithelial ovarian cancer. This opinion is reinforced by my consideration of the Hill factors for
   the assessment of causation.
   In reviewing the scientific and medical literature on talcum powder product use, I also performed
   a risk assessment and considered whether perineal use of those products poses a safety risk to
   consumers. This involved careful consideration of the epidemiological literature, data on the
   dose-response relationship and exposure, as well as the nature of these products, which are used
   primarily for personal care. I also considered evidence of the toxicity of these products, for
   which repeated testing and analyses have shown to contain carcinogens.
   In considering the weight of this epidemiologic, toxicologic, and mechanistic evidence, across
   multiple studies, time, demographics, and researchers, demonstrating a consistent association
   between perineal use of talcum powder products and ovarian cancer, it is my opinion that talcum
   powder products increase the risk of ovarian cancer and pose a significant health hazard.
   In conclusion, it is my opinion that the perineal use of talcum powder products causes ovarian
   cancer in some users and increases the risk of ovarian cancer in all users of these products.
   All of my opinions in this report are provided with respect to a reasonable degree of medical and
   scientific certainty. I reserve the right to amend or supplement my report as new information
   becomes available.



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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 182 of 227 PageID:
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 184 of 227 PageID:
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 186 of 227 PageID:
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 187 of 227 PageID:
                                   60532




                         Exhibit A
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 188 of 227 PageID:
                                   60533



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Biosketch
Arch “Chip” Carson, MD, PhD is a physician (The Ohio State University), board certified in
Occupational Medicine (American Board of Preventive Medicine), who holds a Doctor of Philosophy
degree in Toxicology (University of Cincinnati, Kettering Laboratory). He has served on the faculty
of the University of Cincinnati and the New York University Medical Center and joined the faculty of
the University of Texas School of Public Health in 1992 in its Environmental Sciences Discipline and
Occupational and Environmental Health and Aerospace Medicine Module. He is Associate Professor
of Occupational Health, directs the Occupational and Environmental Medicine Residency Program and
is a member of the research team of the Southwest Center for Occupational and Environmental
Health, a NIOSH Education and Research Center, and WHO Collaborating Centre in Occupational
Health. He maintains a clinical practice of occupational medicine and medical toxicology. In his more
recent role as Medical Director for the University of Texas Medical Branch in Galveston, he is
responsible for the health monitoring and care of more than 15,000 employees. He is a frequent
consultant to governments, corporations and the legal community on matters related to industrial
chemical exposure, toxicology and environmental justice.            His research interests include:
environmental and occupational chemical exposures, inhalation injuries, metal exposures and cancer,
and professional training in occupational medicine.

Professional Activities/Employment
2017-18       University of Texas Medical Branch, Galveston, Assistant Clinical Professor of
              Preventive Medicine and Family Medicine
2017-18       University of Texas Medical Branch, Galveston, Medical Director, Employee Health
              Services.
2017-18       Enbridge Corporation, Houston Texas, Medical Director, Employee Health Services.
2010-18       University of Texas Health Science Center, Houston, Associate Professor of
              Occupational Health.
2010-18       University of Texas Health Science Center at Houston, Program Director,
              Occupational and Environmental Medicine Residency.
1991-18       Private practice of Occupational Medicine and Toxicology, New York, Texas and Ohio.
2011-18       Spectra Energy Corporation, Houston Texas, Medical Director, Employee Health
              Services.
1997-13       Texas Medical Center Inc., Houston Texas, Medical Director, Employee Health
              Services.
1992-08       University of Texas School of Public Health, Assistant Professor of Occupational
              Medicine and Environmental Sciences.
1998-08       University of Texas Health Science Center at Houston, Program Director,
              Occupational and Environmental Medicine Residency.
2003-08       Southwest Center for Occupational and Environmental Health, Principal Investigator
              and Director, Diller Phosgene Exposure Incident Registry of the American Chemistry
              Council.
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 189 of 227 PageID:
                                   60534
                                                                          A CARSON– revised July, 2018


2000-06       Chevron Phillips Chemical Company, Houston Texas, Corporate Medical Director.
2003-05       U.S. Department of Energy Office of Worker Advocacy Physician Review Panel
              Appointee.
1997-04       Southwest Center for Occupational and Environmental Health, Principal Investigator,
              City of Houston Lead Poisoning Epidemiology Project.
1992-03       UT Health Services, University of Texas Houston Health Science Center, Attending
              Physician, Occupational Medicine and Toxicology.
1997-01       University of Houston Downtown, Medical Director, Student Health Service.
1998-99       University of Texas School of Public Health, Convener of the
              Occupational/Environmental Health and Aerospace Medicine Module.
1992-97       Respiratory Consultants of Houston, PA, Attending Physician, Occupational Medicine
              and Toxicology.
1992-95       Exxon Chemical Americas, Baytown Polymer Center and Basic Chemicals Technology,
              Baytown TX, Consultant Physician.
1990-91       New York University Medical Center, Bellevue Hospital, Tisch Hospital, and
              Manhattan VA Hospital, New York NY, Dept. of Medicine, Clinical Instructor.
1982-90       Chemical Information Services Inc, Cincinnati OH, Associate in Toxicology.
1978-87       University of Cincinnati College of Medicine, Cincinnati OH, Instructor and Lecturer,
              Adjunct Assistant Professor of Industrial Toxicology.
1974-79       University of Cincinnati College of Medicine, Kettering Laboratory, Cincinnati OH,
              Research Technologist in Occupational Medicine and Clinical Studies.
1969-74       Millstone Inc., Cincinnati OH, Design Engineer, environmental control systems.

Educational Background
2002          Certificate of Board Eligibility, Medical Toxicology, American Board of Preventive
              Medicine/American Board of Emergency Medicine
1992          Certificate of Training - Residency in Occupational Medicine University of Texas
              Health Science Center at Houston, School of Public Health, and Southwest Center for
              Occupational and Environmental Health, Houston TX, 1992.
1991          Certificate of Training - Postgraduate Internship in Internal Medicine, New York
              University Medical Center and Bellevue Hospital Center, New York NY.
1990          MD - Ohio State University College of Medicine, Columbus OH.
1987          PhD - Kettering Laboratory, University of Cincinnati College of Medicine, Cincinnati
              OH, awarded in the field of "Environmental Health – Toxicology.”
1973          BS - University of Cincinnati College of Arts and Sciences Cincinnati OH. Awarded in
              "Biological Sciences with Concentration in Engineering."
1969          Rensselaer Polytechnic Institute, Troy NY. Management Engineering
1968          Villa Madonna College, Covington KY. Certificate in Contemporary Physics.

Fellowships

2011-13       UTHealth, Health Educators Fellowship, University of Texas Health Science Center at
              Houston.



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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 190 of 227 PageID:
                                   60535
                                                                            A CARSON– revised July, 2018


1983-85          American Lung Association Fellowship in Lung Research (Inhalation Toxicology),
                 American Lung Association of Southwestern Ohio, Grant.
1981-82          Owens Corning Fiberglas, Graduate Research Fellowship in Combustion Toxicology.
1979-80          National Institute for Occupational Safety and Health, Centers for Disease Control,
                 Doctoral Fellowship in Industrial Toxicology.

Certifications
2012             License to practice medicine, State of Ohio 35.098635
2010             Certified Healthy Homes Specialist – National Environmental Health Association.
2002             Board Eligibility, Medical Toxicology, American Board of Preventive
                 Medicine/American Board of Emergency Medicine.
1994             Board Certification, Occupational Medicine, American Board of Preventive Medicine.
1992             License to practice medicine, State of Texas J2524.
1991             License to practice medicine, State of New York 186563.
1982             Emergency Hazard Response, Environmental and Industrial Chemical Accident
                 Management, U.S. Environmental Protection Agency.
1979             Pulmonary Function Testing for Occupational Surveillance, NIOSH #003.

Professional Community Service
2013-18          University of Texas Health Science Center at Houston, Steering Committee on
                 Interprofessional Collaboration
2013-18          University of Texas Health Science Center at Houston, Chemical Safety Committee.
1998-18          Association of Environmental and Occupational Clinics/ATSDR community resource
                 on toxic exposures and health consequences, Federal Region VI.
1997-18          City of Houston Biological, Chemical and Radiation Emergency Preparedness
                 Program. Medical Toxicology On-Call Advisor to the Houston Medical Strike Team.
1998-18          Association of Occupational and Environmental Medicine Residency Directors.
                 Chairman 2005-2006
2010-18          University of Texas Health Science Center at Houston, Graduate Medical
1997-08          Education Committee
2010-18          University of Texas Health Science Center, Houston, Community/Press
1994-08          Resource and Speaker via Public Information Office, (Toxic Exposures and
                 Environmental Health).
1996-18          American College of Occupational and Environmental Medicine, Council on Academic
                 Affairs and Co-chair, Academic Section 2004-2006. Occupational Medicine Residency
                 Directors Committee, Chair 2006-2007, Appointed Member, Taskforce on the Future
                 of Occupational Medicine Education 2005-2007. Appointed Co-chair, Taskforce on
                 the Future of Occupational Medicine Education 2013-2015.
1996-18          Texas College of Occupational and Environmental Medicine. Secretary/Treasurer-
                 2004-5, President Elect-2005-6, President-2006-7, Past President 2007-8.
2003-12          Boy Scouts of America, Sam Houston Council, Registered Adult Leader and Merit
                 Badge Counselor.
2005-08          University of Texas School of Public Health, Practice Council Co-chair


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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 191 of 227 PageID:
                                   60536
                                                                          A CARSON– revised July, 2018


2003-05        U.S. Department of Energy Office of Worker Advocacy Physician Review Panel
               Appointee.
1996-00        American Public Health Association, Occupational Health Subcommittee
1994-96        Advisory Board, National Environmental Education and Training Center (NEETC),
               Curriculum Development Committee.
1981-85        Tri-State Air Committee Inc., Cincinnati OH, (voluntary air quality organization)
               Scientific Advisor, Elected to Board of Directors in 1982, President and Chairman
               1984-85.
1981-85        American Lung Association of Southwestern Ohio, Cincinnati OH, (voluntary health
               organization) speakers bureau.
1982-83        City of Cincinnati, Appointment to Occupational Health Scientific Liaison Board
               (municipal advisory committee).
1981-83        Cincinnati Area Toxic Substances Coalition, Cincinnati OH, (coalition of business,
               voluntary, and labor organizations with interest in environmental toxic substance
               issues) Cofounder and Chairman.
1982-83        Ohio River Valley Committee on Occupational Safety and Health, Cincinnati OH,
               (organized labor coalition) Scientific Resource Committee.
1972-82        Walnut Hills-Evanston Medical Center, Cincinnati OH, (primary care center) Board of
               Directors.

Professional Societies
1991-18        American College of Occupational and Environmental Medicine.
1991-18        Texas College of Occupational and Environmental Medicine
2007-18        Texas Public Health Association.
2006-18        International Congress on Occupational Health.
2003-18        American College of Medical Toxicology.
2002-06        Society of Occupational and Environmental Health.
2001-06        American Conference of Governmental Industrial Hygienists.
1994-00        American Public Health Association.
1983-87        American Industrial Hygiene Association.
1983-87        Society of Toxicology.
1980-85        American Thoracic Society, Associate Member and Participant in Occupational and
               Environment Scientific Session.

Publications
Anderson F, Carson A, Whitehead L and Burau K Age, Race and Gender Spatiotemporal
Disparities of COPD Emergency Room Visits in Houston, Texas. Occupational Diseases and
Environmental Medicine. 3:1-9, 2015. http://dx.doi.org/10.4236/odem.2015.31001.
Anderson F, Carson A, Whitehead L and Burau K. Spatiotemporal Analysis of the Effect of Ozone
and Fine Particulate on CVD Emergency Room Visits in Harris County, Texas. Open Journal of Air
Pollution, 3:87-99, 2014. http://dx.doi.org/10.4236/ojap.2014.34009.




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in hazardous waste operations and emergency response (HAZWOPER) workers. Disaster Med Public
Health Preparedness. 7:452-460, 2013. PMID 24274124.
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Pugach S, Clarkson T, (Carson A). Prenatal mercury exposure and postnatal outcome: clinical case
report and analysis. Clin Toxicol 47:366-370, 2009.
Pauluhn J, Carson A, Costa DL, Gordon T, Kodavanti U, Last JA, Matthay MA, Pinkerton KE and
Sciuto AM. Workshop summary: phosgene-induced pulmonary toxicity revisited: appraisal of early
and late markers of pulmonary injury from animal models with emphasis on human significance.
Inhalation Toxicology. 19(10):789-810, 2007.
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Zock JP, Benavides FG and Anto JM. Occupational risk factors and asthma among health care
professionals, American Journal of Respiratory & Critical Care Medicine. 175(7):667-75, 2007.
Savely SM, Carson A and Delclos GL. “A survey of the implementation status of environmental
management systems in U.S. colleges and universities” J Cleaner Production, 15(7) 650-659, 2007.
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model for U.S. colleges and universities” J Cleaner Production, 15(7) 660-670, 2007.
Delclos GL, Arif AA, Aday L, Carson A, Lai D, Lusk C, Stock T, Symanski E, Whitehead LW,
Benavides FG and Anto JM. Validation of an asthma questionnaire for use in healthcare workers.
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LW. “A global survey of occupational health competencies and curriculum” International Journal of
Occupational and Environmental Health; 11:181-194, 2005.
Nooka A, Duonghi L, Carson A, Hassan M. Assessing Occupational Risk for Pancreatic Cancer by
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occupational medicine in the United States" [Letter] Am J Preventive Med. 23(4):307-9, 2002.
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Global Study of Occupational Health Competencies and Curricula, Report to the World Health
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“Occupational Health in the Petroleum Industry” Project], 1999 Pan American Health Organization
(co-author).
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Program: Case Density and Impact Analysis, June 30, 1999, Technical Report (Principal
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Styrene Plastic in Rats.” Doctoral Dissertation, University of Cincinnati Kettering Laboratory, 1987.
Carson A, “A Dynamic Method for the Generation of Fresh Smokes From Combustion or Pyrolytic
Decomposition of Structural Materials.” Doctoral Dissertation, University of Cincinnati Kettering
Laboratory, 1987.
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Vinegar A and Carson A, "Pulmonary Function Changes in Chinese Hamsters Exposed Six Months
to Diesel Exhaust," Environ Int, 5:369-371, 1981.
Lockey JE, Jarabek A, Carson A, McKay R, Harber P,. Khoury P, Morrison J, Prior J and Brooks SM,
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Breath Diffusing Capacity (DLCOsb) in a Working Population," Am Rev Respir Dis, 123:132, 1981
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Vinegar A, Carson A and Pepelko WE, “Pulmonary Function Changes in Chinese Hamsters Exposed
to Diesel Exhaust," in Health Effects of Diesel Engine Emissions, Vol. 2, WE Pepelko, RM Danner
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 194 of 227 PageID:
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Urinary Mandelic and Phenylglyoxylic Acids in Styrene Exposed Workers and a Control Population,"
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Industry," Arch Environ Health, 35:287-294, 1980.
Brooks SM, Zipp T, Barber M and Carson A, "Measurement of Maximal Expiratory Flow Rates in
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Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 195 of 227 PageID:
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                         Exhibit B
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 196 of 227 PageID:
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   LITERATURE:

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          Diseases of the Chest 73 (1979): 285–88.
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          Francisco Suso Vargas, and Vera Luiza Capelozzi. “Talc Particles and Pleural
          Mesothelium Interface Modulate Apoptosis and Inflammation.” Pathology 46, no. S2
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          Who Manufactured Gas Masks from Chrysotile and Crocidolite Asbestos: A 40-Year
          Follow-Up.” British Journal of Industrial Medicine 39, no. 4 (November 1982): 344–48.
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          Particles from Two Different Geographical Regions in Human Lung Epithelial Cells.”
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          Khan, Govil Patil, and Iqbal Ahmad. “The Primary Role of Iron-Mediated Lipid
          Peroxidation in the Differential Cytotoxicity Caused by Two Varieties of Talc
          Nanoparticles on A549 Cells and Lipid Peroxidation Inhibitory Effect Exerted by
          Ascorbic Acid.” Toxicology in Vitro: An International Journal Published in Association
          with BIBRA 24, no. 4 (June 2010): 1139–47.
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          Gynecologic Cancers and Associated Diagnostic Procedures: The Women’s Health
          Initiative Randomized Trial.” JAMA 290, no. 13 (October 1, 2003): 1739–48.
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   Armstrong, Deborah K., Brian Bundy, Lari Wenzel, Helen Q. Huang, Rebecca Baergen,
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          England Journal of Medicine 354, no. 1 (January 5, 2006): 34–43.
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           G. Seamon. “Ten-Year Relative Survival for Epithelial Ovarian Cancer:” Obstetrics &
           Gynecology 120, no. 3 (September 2012): 612–18.
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           Bioassay.” Toxicology and Applied Pharmacology 87, no. 2 (February 1987): 222–34.
   Begg, Melissa D., and Dana March. “Cause and Association: Missing the Forest for the Trees.”
           American Journal of Public Health 108, no. 5 (May 2018): 620.
   Belotte, Jimmy, Nicole M. Fletcher, Awoniyi O. Awonuga, Mitchell Alexis, Husam M.
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           Ovarian Cancer: A Meta-Analysis.” European Journal of Cancer Prevention, January
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   DEPOSITIONS, TRANSCRIPTS AND REPORTS:

   Affidavit of Laura Plunkett, PhD 02.22.18
   Deposition of Alice Blount in the Ingham v. J&J Matter on 04.13.18
   Deposition of Annie Awanais Yessian on 07.13.2017
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 223 of 227 PageID:
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   Deposition and Exhibits of Pat Downey Dated 8.7.18-8.8.18
   Deposition and Exhibits of John Hopkins Dated 8.16.18-8.17.18, 10.17.18 and 11.05.18
   Deposition and Exhibits of Susan Nicholson Dated 7.26.18-7.27.18
   Deposition and Exhibits of Julie Pier Dated 9.12.18-9.13.18
   Ingham v. J&J Volume 11 (Egilman, Koman, Martinez, Packard) 6-14-18
   Ingham v. J&J Volume 14A (Madigan, Williams) 6-20-18
   Ingham v. JJ Volume 24A (Warner Huh, MD) 7.5.18
   Ingham v. JJ Volume 24B (Warner Huh, MD) 7.5.18
   John J. Godleski Expert Report for Brower Matter Dated 6.23.18
   Lanzo Plaintiffs MIL re Imerys Spoliation and Concealment of Talc Samples
   Laura Plunkett - Supplemental Expert Brower Report
   Longo Analysis of J&J's Historical Talc Samples from the 1960's
   Longo Analysis of J&J's Historical Talc Samples from the 1970's
   Longo Analysis of J&J's Historical Talc Samples from the 1980's
   Longo Analysis of J&J's Historical Talc Samples from the 1990's
   Longo Analysis of J&J's Baby Powder Historical Samples - Asian - October 2018
   Longo Analysis of J&J's BP Talc Products for Amphibole (Tremolite) Asbestos 8.2.17
   Longo Analysis Report_Exhibit BB_04.28.2017
   Longo MAS Project 14-1852 Below the Waist Application of Johnson's BP 9.2017
   Longo Process Blanks for the Analysis of J&J's Products from the 60's to 90's for Asbestos
   Longo TEM Analysis of Historical 1978 Johnson's BP Sample for Amphibole Asbestos 2.16.18
   Longo Verification of Lee Poye's TEM Analysis of J&J's Historical Vermont Talc 11.5.18
   Michael Crowley Expert Report Dated 11.12.18
   Report of Results: MVA11730 Investigation of Italian Talc Samples for Asbestos 08.01.2017
   RJLEE-001497
   Thomas Dydek Brower Expert Report Dated 8.16.18 (corrected on 8.20.18)
   Thomas Dydek Educational Report_FINAL (4-9-2018)
   Thomas Dydek MDL Educational Report Dated 4.9.18


   OTHER SOURCES:

   American Cancer Society Ovarian Cancer Statistics
   ATSDR Toxicological Profile for Asbestos
   EPA Chemical Assessment Summary for Asbestos - 2017
   EPA Guidelines for Carcinogen Risk Assessment - March 2005
   EPA Health Assessment Document for Talc - 1992
   Exhibit 1 - ATTORNEYS' EYES ONLY
   Exhibit 2 - ATTORNEYS' EYES ONLY
   Exhibit 3 - ATTORNEYS' EYES ONLY
   FDA 4-1-2014 Response Letter to Epstein Denying Petition
   Fitzgerald Analysis of J&J Baby Powder #1 and #2 Dated July 26, 2017
   IARC Monograph 100C - Arsenic, Metals, Fibres, and Dusts - Excerpts
   IARC Monograph 14 - Asbestos - 1977
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   IARC Monograph 2 - Some Inorganic and Organometallic Compounds - 1973
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   Styrene - 2002
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   Phosphide and Vanadium Pentoxide - 2006
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   IMERYS013188                                   J&J History
   IMERYS045182                                   J&J S2s and BP Product Analysis - 1972
   IMERYS045184                                   JNJ 000087928
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   IMERYS210136                                   JNJ000063951
   IMERYS210729                                   JNJ000064544
   IMERYS219720                                   JNJ000064762; JNJ000265171
   IMERYS286445                                   JNJ000065264
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   IMERYS340454                                   JNJ000087710
   IMERYS340798                                   JNJ000087716
   IMERYS342524                                   JNJ000089413
   IMERYS406170                                   JNJ000231304
   IMERYS422289                                   JNJ000237076
   IMERYS 088907                                  JNJ000237379
   IMERYS 284935                                  JNJ000239723
   IMERYS137677-IMERYS137690                      JNJ000239730
   IMERYS209971                                   JNJ000245002
   IMERYS241866                                   JNJ000246437
   IMERYS248877                                   JNJ000251888
   IMERYS255101                                   JNJ000260697
   IMERYS255224                                   JNJ000277941
   IMERYS255384                                   JNJ000291914
   IMERYS255394                                   JNJ000291916
   IMERYS255395                                   JNJ000314315
   IMERYS279884                                   JNJ000314406
   IMERYS279968                                   JNJ000347962
   IMERYS281335                                   JNJ000347962
   IMERYS281776                                   JNJ000521616
   IMERYS324700                                   JNJ000000704
   IMERYS-A_0011817                               JNJ000011150
   IMERYS-A_0015663                               JNJ000016645
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 225 of 227 PageID:
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   JNJ000019415                                     JNJ000460665
   JNJ000025132                                     JNJ000526750
   JNJ000026987                                     JNJ000886067
   JNJ000046293                                     JNJAZ55_000000577
   JNJ000245678                                     JNJAZ55_000000905
   JNJ000245762                                     JNJAZ55_000004563
   JNJ000251888                                     JNJAZ55_000008177
   JNJ000260700                                     JNJL61_000014431
   JNJ000261010                                     JNJMX68_000003728
   JNJ000265536                                     JNJMX68_000012858
   JNJ000279507                                     JNJMX68_000013019
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   P-468
   Read-the-Letter-from-the-FDA-on-Cosmetics
   The Birth of Our Baby Products _ Kilmer House
   WCD 002478 - Exhibit 32 Waldstreicher
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 226 of 227 PageID:
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                            Arch Carson, MD, PhD Legal Testimony, 2015-2018

   Elaine Hale and Kenneth Dorsey parker, Jr. v. Centerpoint Energy Houston Electric, LLC; in the 55th
   District Court of Harris County, Texas.
   2016                     Harris County, TX              for Plaintiff

   Danny Henderson and Linda Henderson; Magdaleno Flores and Maria Flores; Shari Waldrop; and Bryan
   Thomas v. Magnablend, Inc., Nugreen Specialty, Inc., Nugreen Solutions, Inc., and Enviro Tech Inc.; in
   the 40th District Court of Ellis County, Texas.
   2015                      Ellis County, TX                    for Defendant

   Edgar Guadalupe Solis v. Eastman Chemical Company, Texas Operations, Tradebe Environmental
   Services, Inc. d/b/a Tradebe Industrial Services LLC; in the 234th District Court of Harris County, Texas.
   2015                     Harris County, TX                for Defendant
Case 3:16-md-02738-MAS-RLS Document 9886-3 Filed 05/29/19 Page 227 of 227 PageID:
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                                     Arch I. Carson, MD, PhD
                              Professional Consultation Fee Schedule


     Evidence-base research, report preparation, documentation, conference   $450/hr

     Interview, physical examination or medical testing of patients           450/hr

     Review of documents                                                      450/hr

     Testimony at deposition or trial plus expenses                          450/hr

     Inspection, examination or sampling of physical evidence or sites       450/hr

     Travel                                                                  200/hr
              (Travel maximum $4,000 per diem, plus expenses)

     Laboratory analyses/studies                                             at cost

     Overhead and Supplies                                                   at cost
